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                            Exhibit 1
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                                                                                                                Filed pursuant to Rule 424(b)(3)
                                                                                                                   Registration No. 333-166854




                                                         pharmaceuticals
                       TIBET PHARMACEUTICALS, INC.
                                               Minimum Offering: 2,500,000 Common Shares
                                               Maximum Offering: 3,000,000 Common Shares

     This is the initial public offering of Tibet Pharmaceuticals, Inc., a British Virgin Islands company. We are offering a minimum of
2,500,000 and a maximum of 3,000,000 our common shares. None of our officers, directors or affiliates may purchase shares in this offering.

     The offering price will be $5.50 per common share. No public market currently exists for our common shares. We have applied for
approval for quotation on the NASDAQ Global Market under the symbol “TBET” for the common shares we are offering. We believe that
upon the completion of the offering contemplated by this prospectus, we will meet the standards for listing on the NASDAQ Global Market.

      Investing in these common shares involves significant risks. See “Risk Factors” beginning on page 9 of this prospectus.

                                                                   Per Common Share         Minimum Offering          Maximum Offering
            Public offering price                                  $          5.50          $   13,750,000           $    16,500,000
            Placement discount                                     $         0.385          $      962,500           $     1,155,000
            Proceeds to us, before expenses                        $         5.115          $   12,787,500           $    15,345,000

       We expect our total cash expenses for this offering to be approximately $600,000, exclusive of the above commissions. In addition, we
will pay the Placement Agent an accountable expense allowance of 1 % of the amount of the offering, or $165,000 (maximum offering) or
$137,500 (minimum offering). The Placement Agent must sell the minimum number of securities offered (2,500,000 common shares) if any
are sold. The Placement Agent is required to use only its best efforts to sell the securities offered. The offering will terminate upon the earlier
of: (i) a date mutually acceptable to us and our Placement Agent after which the minimum offering is sold or (ii) January 31, 201 1 . Until we
sell at least 2,500,000 common shares, all investor funds will be held in an escrow account at SunTrust Bank, Richmond, Virginia. If we do
not sell at least 2,500,000 common shares by January 31, 2011, all funds will be promptly returned to investors (within one business day)
without interest or deduction. If we complete this offering, net proceeds will be delivered to our company on the closing date. We will not be
able to use such proceeds in China, however, until we complete certain remittance procedures in China. If we complete this offering, then on
the closing date, we will issue common shares to investors in the offering.

    These securities have not been approved or disapproved by the Securities and Exchange Commission or any state securities
commission nor has the Securities and Exchange Commission or any state securities commission passed upon the accuracy or
adequacy of this prospectus. Any representation to the contrary is a criminal offense.


                                                 Anderson & Strudwick,
                                                                                                                                PDF001
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                                   Incorporated
                              Prospectus dated January 14, 2011




                                                                        PDF002
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                                                   Conventions That Apply to This Prospectus

     Unless otherwise indicated, references in this prospectus to:
       •   “$,”“US$,”“USD” and “U.S. dollars” are to the legal currency of the United States;
       •   “China” and the “PRC” are to the People’s Republic of China, excluding, for the purposes of this prospectus only, Taiwan and
           the special administrative regions of Hong Kong and Macau;
       •   “GMP” means Good Manufacturing Practices, a certification program applicable to Chinese pharmaceutical producers;
       •   “common shares” or “shares” arc to our common shares, par value USDS 0.001 per share;
       •   “NMIP” means the National Medical Insurance Program, China’s national medical insurance program;
       •   “NDRC” means the National Development and Refonn Commission, which imposes price controls on some pharmaceutical
           products;
       •   “provinces” are the 31 provincial level governments in China, including 22 provinces, four municipalities directly administered
           under the PRC central government (for example, Beijing and Shanghai) and five autonomous regions (for example, Guangxi and
           Tibet);
       •   “RMB”, “Renminbi” and ¥ are to the legal currency of China;
       •   “SAFE” means China’s State Administration of Foreign Exchange;
       •   “SFDA” means the State Food and Drug Administration of the PRC;
       •   “TCM” means traditional Chinese medicine; and
       •   “we,” “us,” “our company” and “our” are to Tibet Pharmaceuticals Inc., a British Virgin Islands company formerly named
           Shangri-La Tibetan Pharmaceuticals, Inc. (“TBET”), its predecessor entities and its consolidated subsidiaries, including Chinese
           Tibetan Pharmaceuticals Limited, a Hong Kong company (“CTP”); and Yibo Information Consulting (Shenzhen) Company Ltd.,
           a PRC company (“WFOE”);
       •   “YSTP” is to Yunnan Shangri-La Tibetan Pharmaceutical Group Limited, a PRC company, which WFOE controls by contractual
           arrangements.

      This prospectus contains translations of certain RMB amounts into U.S. dollar amounts at a specified rate solely for the convenience
of the reader. Unless otherwise noted, all exchange conversions relating to our financial perfonnance made in this prospectus are based upon
a rate of RMB 6.8 1 72 to US$ 1 .00, which was the exchange rate on December 3 1 , 2009. Conversions relating to the health care market and
Chinese economy that are based on third-party sources may be based upon exchange rates at different dates.

      Unless otherwise stated, wc have translated balance sheet amounts with the exception of equity at December 31, 2009 at RMB 6.8172
to US$1.00 as compared to RMB 6.8420 to US$1 .00 at December 3 1, 2008, We have stated equity accounts at their historical rate. The
average translation rates applied to income statement accounts for the year ended December 31, 2009 and the year ended December 31,
2008 were RMB 6.8296 and RMB 7.0685, respectively. We make no representation that the RMB or U.S. dollar amounts referred to in this
prospectus could have been or could be converted into U.S. dollars or RMB, as the case may be, at any particular rate or at all. On January
14, 2011, the exchange rate was $1 .00 to RMB 6.5895. See “Risk Factors - Fluctuation of the Renminbi could materially affect our
financial condition and results of operations” for discussions of the effects of fluctuating exchange rates on the value of our common shares.
Any discrepancies in any tabic between the amounts identified as total amounts and the sum of the amounts listed therein are due to
rounding.

      For the sake of clarity, this prospectus follows English naming convention of first name followed by last name, regardless of whether
an individual’s name is Chinese or English, For example, the name of our chief executive officer will be presented as “Taylor Guo” or
“Taylor Z. Guo”, even though, in Chinese, his name would be presented as “Ziqiang Guo”.

     Unless otherwise indicated, all information in this prospectus assumes:
       •   no person will exercise any outstanding options;
       •   the sale of 3,000,000 common shares, the maximum number of shares offered in this offering; and
       •   an offering price of $5.50 per share.




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                                                       PROSPECTUS SUMMARY

        This summary highlights key aspects of the information contained elsewhere in this prospectus. Because it is a summaty, it does
  not contain all of the information that you should consider before making an investment decision. You should read the entire
  prospectus carefully, including the "Risk Factors” section and the financial statements and the accompanying notes to those
  statements. This summary contains forward-looking statements that involve risks and uncertainties, such as statements about our plans,
  objectives, expectations, assumptions or future events. In some cases, you can identify forward-looking statements by terminology such
  as “anticipate,” "estimate,” “plan,” "project ,” “continuing,” “ongoing ,” "expect, " " we believe, " “we intend,” “may,” "should, "
  "will,” "could,” and similar expressions denoting uncertainity or an action that may, will or is expected to occur in the future. These
  statements involve estimates, assumptions, known and unknown risks, uncertainties and other factors that could cause actual results to
  differ materially from any future results, performances or achievements expressed or implied by the forward-looking statements. You
  should read the entire prospectus carefully, including the "Risk Factors” section and the financial statements and the notes to those
  statements.

  Overview
      Our company is a specialty pharmaceutical company focusing on the research, development, manufacturing and marketing of
  modernized traditional Tibetan medicines. We conduct business through our operational entity, YSTP, located in Yunnan Province,
  China. We control YSTP’S operations through a series of contractual arrangements between our wholly-owned subsidiary, WFOE, and
  YSTP. YSTP is a variable interest entity whose shareholders have granted to WFOE the exclusive right to control it in exchange for
  YSTP shareholders receiving an equity interest in TBET.

      YSTP develops products in China for promoting health in human respiratory, digestive, urinary and reproductive systems. Its five
 SFDA-approved modernized traditional Tibetan medicines are designed to address large market opportunities. YSTP’s product
 development pipeline includes potential expanded uses of its existing products for additional medical indications and a number of new
 product candidates that are intended to address significant medical health needs in China.

       YSTP currently sells both prescription and over-the-counter traditional Tibetan medicines. It has developed and presently is
 selling five pharmaceutical products, ail of which have received Chinese-govemment approval. YSTP’s principal commercialized
 product is its 25 Ingredients Mandrake Pill, which is authorized by the SFDA for use to regulate menses to treat endometritis as well as
 pelvic inflammations and womens’s anemia. YSTP’s second largest selling product is its 1 5 Ingredients Gentiana Pill, which the SFDA
 approved for use in regulating lung function, alleviating coughing and removing phlegm, and for the treatment of bronchus-related
 coughing, asthma and hoarseness.

      YSTP has received SFDA approval for a sixth product, and is evaluating market potential for it before beginning
 commercialization. In addition, YSTP is in the process of developing several additional products for which it hopes to secure
 government approval and to commercialize in the future. YSTP sells its products principally to distributors in China, who in turn sell
 them chiefly to hospitals, hospital pharmacies and retail pharmacies.

  Corporate Information
      Our principal executive office is located at 53 Niwang Road, Shangri-La County, Diqing, Yunnan Province, China 674400. Our
 formal corporate mailing address is: Room 1701, 17/F, 90 Jaffe Rd., Wanchai, Hong Kong. Our telephone number is (+852) 9798 5569.
 Fax (+852) 3020 1 055. We do not maintain a corporate website at this time.
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    Geographic Market
       YSTP’s products are sold throughout China. A majority of its sales are concentrated in the southern provinces of China, most
  notably Yunnan Province (where YSTP is located), Guangdong Province, and Zhejiang Province.




      Our headquarters and YSTP’s manufacturing facilities are located in Shangri-La County, in Yunnan Province and close to the
 source of the raw materials YSTP uses to formulate its medicines. Yunnan Province is part of the Tibetan Plateau, a massive area at
 generally high altitude that is the habitat for a wide variety of plant species not readily found elsewhere. The Province has been said to
 have the greatest biodiversity of any area in China, and to host 60 percent of the plants used in traditional Chinese medicine.

    Tibetan Medicine
       Tibetan medicine has developed over the past seventeen centuries into a significant system to promote health and treat maladies.
 While traditional Tibetan medicine is generally considered alternative medicine in the West, it is accepted as mainstream medical
 practice in China and is regulated as such by the SFDA.

       Tibetan medicine relies on treatments involving diet, behavior modification, herbal medicines and physical therapies. While
 changes in diet (types and amount of food and number and times of daily meals) and behavior (meditation, exercise, sleep and eating
 patterns) are generally considered important first treatments in Tibetan medicine, herbal medicines are typically the most common and
 important element of treatment. If necessary, Tibetan medicine also incorporates physical therapies such as acupuncture, massage,
 cupping, moxibustion (heating/buming herbs on the body) baths and inhalation therapy.

       Tibetan herbal medications, the type of products we develop and sell, are composed of a wide variety of medicinal herbs, minerals
 and, to a lesser extent, animal substances. Medications always consist of several ingredients, generally consisting of one major group of
 ingredients and two minor groups. The major group is addressed to the intended effect. One minor group supports the major group, and
 the other minor group is intended to help suppress unwanted side effects.

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    Industry and Market Background - Generally
       YSTP operates in China’s healthcare industry, which is large and rapidly growing as a result of population growth, and aging of
  the population, the country’s growing wealth, and substantial government support. A recent OECD study indicates that spending hikes
  and regulatory changes in China have contributed to significant growth in health-care spending in the country, and that such spending
  in 201 0 is likely to increase another 8.7 percent, with about 4.5 percent of gross domestic product (GDP) allocated to healthcare. The
  consulting firm Scientia Advisor projects that healthcare spending in China will reach $600 billion by 20 15, a threefold increase over
  2000 expenditures.

        Improving health-care seivices is a major focus of government activity and support in China. In April 2009, the Chinese
  government implemented large-scale healthcare reforms in an effort to significantly improve health care facilities and infrastructure and
  to extend health insurance and care to ever larger segments of the population, both urban and rural. The State Council allocated $123
  billion as part of its New Medical Reform Plan.

       Pharmaceutical sales and usage play a larger role in the Chinese healthcare market than in the healthcare sectors of many other
  countries. With a small share of the population presently enjoying insurance coverage, a still-developing state health-care system, and a
  massive rural and relatively poor population, individuals (who generally must pay for care out of pocket) and health-care providers rely
  heavily on medicines, both traditional and modem.

       According to Business Monitor International, the Chinese market became the eighth largest phaimaceutical market in the world in
  2007, from ninth in 2006. It further estimated that sales of medicines in China, including both prescription and over-the-counter
  medicines, totaled US$33.9 billion (approximately RMB257 billion) in 2007, representing an increase of 25.6% from 2006 and a 2003-
  2007 compound average growth rate (“CAGR”) of 17.8%.

      Traditional Chinese Medicine (“TCM”) is a major and accepted segment of the health-care industry in China. According to the
 China Statistical Yearbook 2006-2008, traditional Chinese medicine accounted for approximately 21 % of all medicines sold in China,
 based upon the sales revenues for each year between 2005 and 2007. Similarly, the consulting firm Helmut Kaiser estimated that, in
 2005, the output value of TCM amounted to RMB1 1 0.3 billion, accounting fora quarter of the overall output value in China’s medical
 industry. It also stated that the net yield and profits of TCM production is much higher than the average for the country’s medical
 industry. The total TCM market in China will rise to about RMB 1 88.5 billion in 2015. (Traditional Chinese Medicine in China and
 Worldwide: Markets, Products, Companies, Developments, Technologies and Sciences, by Helmut Kaiser Consultancy, released in July,
 2009) TCM products have been widely used in China for thousands of years and are deeply ingrained in the Chinese culture.

    Industry and Market Background - Tibetan Medicine
      Traditional Tibetan medicine is a sector of the TCM market segment. The market for Tibetan pharmaceuticals in China is a small
 but growing in relation to the overall pharmaceutical market in China. There are over one hundred producers oftraditional Tibetan
 medicines, of which about 40 (including our company) have received some GMP certification. Many producers of traditional Tibetan
 medicines are relatively small, engage in little or no research and development, and employ traditional as opposed to modem
 formulation and manufacturing techniques.

       According to China Medicine Source Net (“CMSN”), in 2006, the 1 7 GMP-certified Tibetan medicine manufacturers in the Tibet
 Autonomous Region had total annual industrial output of RMB623 million or about $9 1 ,0 1 8,87 1 . Overall, China’s Tibetan medicine
 industry in 2006 is estimated to have been about RMB 1 billion in size, or about 0.5% of China’s total pharmaceutical industty. Yet, the
 Tibetan medicine industry as a whole is growing rapidly, CMSN projected that the Tibetan medicine industiy is growing at an annual
 rate of 50 percent.

    Our Opportunities
      Generally, we believe that a number of demographic, social, economic and policy trends point to continued growth in the Chinese
  pharmaceutical market generally and the traditional Tibetan pharmaceutical product market in particular. These include:
        •   China’s longstanding preference for TCM and Tibetan medicine remedies;
        •   the rapid growth of the Chinese economy;
        •   the aging population in China;
        •   increases in government spending on public health care, as well as in providing medical care in lural areas;
        •   government support for modernized TCM and Tibetan medicine as a key component of increasing quality of healthcare;

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        •   the rapidly growing over-the-counter market, of which TCM (including Tibetan medicine) makes up more than half; and
        •   the relative low price of traditional Chinese medicines compared to Western medicine.
       In addition, we believe that interest in traditional Tibetan medicines outside of China is both significant and growing.

    Our Competitive Strengths
       We believe that we have developed a strong position in the traditional Tibetan medicine market as a result of access to raw
  materials, research and development efforts, modem production techniques, an emphasis on quality control, high-quality, effective
  products and effective marketing. We believe these strengths position us to take advantage of the growth of the Chinese pharmaceutical
  market generally and the expansion of the traditional Tibetan medicine market in particular. More specifically, we have:
        •   an established portfolio of five SFDA-approved, market-leading pharmaceuticals already in distribution;
        •   worked to develop promising additional products that arc in various stages of clinical testing and review for approval in
            anticipation of commercialization;
        •   growing diversity in YSTP’s product offerings, with four major categories of products for maintenance of health in the
            respiratory, digestive, urinary and reproductive systems;
        •   strong research and development capabilities;
        •   modem, sophisticated formulation and manufacturing techniques;
        •   strict quality control procedures;
        •   an experienced management team;
        •   access to abundant raw materials used in traditional Tibetan medicine, but not generally available outside YSTP’s
            geographical region;
        •   effective marketing capabilities;
        •   an established distribution network throughout China; and
        •   received significant governmental support to protect and enhance traditional Tibetan medicine.

    Our Strategies
       Our objectives arc to maintain and strengthen the position of YSTP’s products in the Tibetan medicine healthcare segment in
  China, develop new products and to increase the sales of YSTP’s products. YSTP will continue to integrate its marketing, sales,
  management, technology, research and development and capital resources, to continue build its brand awareness, and to become the
  market leader forthe development, manufacture and commercialization ofTibetan pharmaceutical products throughout the world. We
  intend to achieve these objectives by:
        •   promoting YSTP’s existing brands to maintain national recognition;
        •   developing and introducing additional products to broaden or strengthen YSTP’s existing product pipeline;
        •   expanding YSTP’s distribution network for further market penetration;
        •   building brand awareness;
        •   expanding beyond the China healthcare market; and
        •   pursuing strategic acquisition and licensing opportunities.

    Our Challenges and Risks
       (Durability to successfully execute our strategies is subject to certain risks and uncertainties, including those relating to:
        •   competition from other traditional Tibetan medicine producers that, while generally smallerthan us today, in some cases also
            are striving to modernize, become more efficient and expand;
        •   competition from other TCM and modem and Western medicine, which also is making inroads into the Chinese
            pharmaceutical market;
        •   possible changes in perception of the efficacy of traditional Chinese and Tibetan medicines;
        •   possible disruptions in access to needed quality raw materials;
        •   the inability to forecast with certainty YSTP’s ability to develop, prove the efficacy of and secure government approval for
            new pharmaceutical products;
                                                                                                                           PDF007
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        •   possible changes in national or regional government policies relating to health care generally and the promotion and
            approval of traditional Tibetan medicines in particular;
        •   our abilities to implement successfully our growth strategy; and
        •   YSTP’s ability to protect and safeguard its brands and product formulations.

       In addition, we face risks and uncertainties that may materially affect our business, financial condition, results of operations and
  prospects. Thus, you should consider the risks discussed in “Risk Factors” and elsewhere in this prospectus before investing in out-
  common shares.

    Corporate Structure
    Overview
       TBET is a holding company incorporated in the British Virgin Islands. TBET was formed in December 2009 under the name
  Shangri-La Tibetan Pharmaceuticals, Inc. In July 20 1 0, it changed its name to Tibet Pharmaceuticals, Inc. TBET owns all of the
  outstanding capital stock of CTP, our wholly-owned subsidiary in Hong Kong. CTP in turn owns all of the outstanding capita] stock of
  WFOE, our operating subsidiary based in Shenzhen, Guandong Province, China. WFOE has entered into control agreements with all of
  the owners ofYSTP, which agreements allow WFOE to control YSTP Through our ownership of CTP, CTP’s ownership of WFOE and
  WFOE’s contractual agreements with the owners ofYSTP as well as YSTP itself, we control YSTP.

       Corporate History - YSTP
       Yunnan Diqing Shangri-La Tibetan Medicine Co., Ltd was incorporated on April 19, 2000 as a domestic Chinese corporation. On
  December 24, 2002, it changed its name to Yunnan Shangri-La Tibetan Pharmaceutical Group Limited (“YSTP”). As YSTP has
  continued to grow, it has increased its registered capital, which presently stands at RMB 60,000,000 (approximately $8,801,267).

       The Chairman of our Board, Hong Yu, is also the chairman and principal shareholder of YSTP and holds 79.5% of the shares of
  YSTP. Indeed, the holders of the majority of the shares ofYSTP also hold the majority of the shares of WFOE and TBET. Because our
  controlling shareholders also own the vast majority ofYSTP shares and also because YSTP has entered into control agreements pursuant
  to which our wholly-owned subsidiary WFOE has effective managerial authority over the business ofYSTP.

       Corporate History — TBET, CTP and WFOE
      We formed TBET, CTP and WFOE in 2009, 20 1 0 and 20 1 0, respectively, in anticipation of registering the common shares of
  TBET in an initial public offering. In connection with the formation of TBET, CTP and WFOE, WFOE entered into certain control
  agreements with YSTP and its shareholders, pursuant to which we, by virtue of our ownership of CTP and CTP’s ownership of WFOE,
  control YSTP.

       Control Agreements
       We conduct our business in China through our subsidiaiy, WFOE. WFOE, in turn, conducts it business through YSTP, which we
  consolidate as a variable interest entity. WFOE and YSTP operate in connection with a series of control agreements, rather than through
  an equity ownership relationship.

       Chinese laws and regulations currently do not prohibit or restrict foreign ownership in pharmaceutical businesses. Yet, Chinese
  laws and regulations do prevent direct foreign investment in certain industries. On March 26, 2010, to protect the Company’s
  shareholders from possible future foreign ownership restrictions, YSTP as well as all of the shareholders ofYSTP entered into an
  Entrusted Management Agreement, Exclusive Option Agreement, Shareholders’ Voting Proxy Agreement and Pledge of Equity Interest
  Agreement (collectively, the “Control Agreements”) with WFOE in return for ownership interests in TBET.

       The Control Agreements operate as follows:
        •   in the Equity Pledge Agreement, all of the shareholders ofYSTP pledged all of their rights and interests equity in YSTP,
            including rights in the shares ofYSTP and associated voting rights, to WFOE;
        •   in the Shareholders’ Voting Proxy Agreement, all of the shareholders ofYSTP irrevocably appointed parties designated by
            WFOE with the exclusive right to exercise their voting rights associated with their shares in YSTP;
        •   in the Exclusive Option Agreement, YSTP and all of its shareholders irrevocably granted to WFOE the exclusive option to
            purchase all of their shares ofYSTP; and
        •   in the Entmsted Management Agreement, YSTP and all of its shareholders granted to WFOE the exclusive responsibility for
            the operation ofYSTP, including the rights to appoint and terminate members of its board of directors, to manage and control
                                                                                                                         PDF009
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       all cash flow and assets ofYSTP, and to control and administer the financial affairs and daily operations ofYSTP.

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       As a result of these Control Agreements, which also cause WFOE to absorb 1 00% of the expected losses and gains of YSTP, we are
 considered the primary beneficiary of YSTP. While YSTP maintains its separate corporate identity, management authority for its
 decisions and actions is fonnally vested in WFOE, and indirectly with its ultimate parent entity TBET, as a result of the Control
 Agreements. Accordingly, we consolidate YSTP’s operating results, assets and liabilities in our financial statements. Fora description of
                                                                 —
 these contractual arrangements, see “Our Corporate Structure Contractual Arrangements with YSTP and its Shareholders.”

       In exchange for these grants, the shareholders of YSTP received ownership of the majority of the shares of TBET. That is, 20 YSTP
 shareholders (including Mr. Hong Yu, who founded YSTP and is the chairman of the boards of both YSTP and TBET) transferred their
 right to control YSTP to WFOE. YSTP shareholders then collectively received 10,983,750 ofTBET’s 1 1,812,500 presently issued and
 outstanding shares, representing 93% ofTBET’s issued common shares. Pursuant to the Shareholders’ Voting Proxy Agreement, WFOE
 designated Mr. Tiangui Li as its designee to vote the proxies of these TBET shareholders.

       Our corporate structure is as follows:


                    Tibet Pharmaceuticals, Inc.
                              /mm
                                                                      93%
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                               BVI


                                                                                                          /
                                      100%                                                          /
                                                                                                /
                  China Tibetan Pharmaceuticals
                          Limited (CTP)                                               /                                  100%
                            l long Kong                                          /
                                                                             /
                                                                        /
                                      100%



                  Vibo Information Consulting
                                                          /                                      Yunnan Shangri-La Tibetan
               (Shen/hcn) Company Ltd. {WFOE)
                                                                                                Pharmaceutical Group Limited
                                                                                                          (YSTP)
                              China
                                                                                                               China


                         ft     Equity interest

                         —      Contractual arrangements including Entrusted Management Agreement and Exclusive Option
                                Agreement. For a description of these agreements, see Our “Corporate Structure Contractual
                                Arrangement willi YSTP and YSTP’s Shareholder*."

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  The Offering

  Common Shares Offered:                                                        Minimum: 2,500,000 common shares
                                                                                Maximum: 3,000,000 common shares
  Shares Outstanding Prior to Completion of Offering:                           1 1,812,500 common shares
  Shares to be Outstanding after Offering:                                      Minimum: 1 4,312,500 common shares
                                                                                Maximum: 14,812,500 common shares
  Offering Price per Common Share:                                              S5.50
  Gross Proceeds:                                                               Minimum: S 1 3 ,7 5 0,000
                                                                                Maximum: $16,500,000
  Proposed NASDAQ Global Market Symbol:                                         “TBET” (CUSIPNo. G88615 102)
  Transfer Agent:                                                               Computershare Trust Company, N.A., 250 Royall St.,
                                                                                Canton, MA 02021
  Risk Factors:                                                                 Investing in these securities involves a high degree of risk. As
                                                                                an investor, you should be able to bear a complete loss of your
                                                                                investment. You should carefully consider the information set
                                                                                forth in the “Risk Factors” section of this prospectus before
                                                                                deciding to invest in our common shares.
  Closing of Offering:                                                          The offering contemplated by this prospectus will terminate
                                                                                upon the earlier of: (i) a date mutually acceptable to us and our
                                                                                Placement Agent after the minimum offering is sold or(ii)
                                                                                January 3 1 , 201 1 . If we complete this offering, net proceeds
                                                                                will be delivered to our company on the closing date (such
                                                                                closing date being the above mutually acceptable date on or
                                                                                before January 3 1 , 20 1 1 provided the minimum offering has
                                                                                been sold). We will not complete this offering unless our
                                                                                application to list on the NASDAQ Global Market is approved.
                                                                                We will not be able to use such proceeds in China, however,
                                                                                until we complete certain remittance procedures in China.

  Placement
       We have engaged Anderson & Stmdwick, Incorporated as our Placement Agent to conduct this offering on a “best efforts,
 mini mu m/maxi mum” basis. The offering is being made without a firm commitment by the Placement Agent, which has no obligation or
 commitment to purchase any of our common shares. Our Placement Agent is required to use only its best efforts to sell the securities
 offered. The offering will terminate upon the earlier of: (i) a date mutually acceptable to us and our Placement Agent after which at least
 2,500,000 common shares are sold or (ii) January 3 1, 201 1. Until we sell at least 2,500,000 common shares, all investor funds will be
 held in an escrow account at SunTrust Bank, Richmond, Virginia. If we do not sell at least 2,500,000 common shares by January 3 1 ,
 2011, all funds will be promptly returned to investors (within one business day) without interest or deduction. If we complete this
 offering, net proceeds will be delivered to our company on the closing date.

       We will not be able to use the proceeds of the offering in China until we complete certain remittance procedures in China, which in
 the ordinary course may take approximately six months from the close of an offering. To remit the proceeds of the offering, we must
 open a special foreign exchange account after submitting to SAFE certain documents, remit the offering proceeds into that account, and
 finally apply for settlement of the foreign exchange by submitting to SAFE certain application forms, identity documents, payment
                                                                            —
 orders to a designated person, and a tax certificate. See “Risk Factors We must remit the offering proceeds to China before they may
 be used to benefit our business in China, and this process may take several months to complete.”

       None of our officers, directors or affiliates may purchase shares in this offering.

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    Summary Financial Information
  In the table below, we provide you with summary financial data of our company. This information is derived from our consolidated
  financial statements included elsewhere in this prospectus. Historical results are not necessarily indicative of the results that may be
  expected for any future period. When you read this historical selected financial data, it is important that you read it along with the
  historical statements and notes and “Management’s Discussion and Analysis of Financial Condition and Results of Operations”
  included elsewhere in this prospectus.

                                                                             Period Ended              For the Fiscal Year ended
                                                                           September 30, 2010                  December 31,
                                                                              (Unaudited)             2009                    2008
             Total Sales                                                   $   23,876,375        $23,008,031            $15,580,269
             Income from Operations                                        $   10,189,600        $ 9,415,877            $ 6,091,960
             Net Other Income (Expense)                                    $     (125,636)       $ (170,899)            $ (158,477)
             Net Income attributable to TBET                               $   10,063,964        $ 9,244,978            $ 5,933,483
             Other Comprehensive Income attributable to
             TBET                                                          $      367,913        $    42,693            $ 651,895
             Comprehensive Income attributable to TBET                     $   10,431,877        $ 9,287,671            $ 6,585,378
             Basic and Diluted Earnings per share (based on
               1 1 ,8 1 2,500 common shares outstanding for
               September 30, 2010, 1 1,782,500 shares December
               3 1 , 2009, and 1 1 ,632,500 shares December 3 1 ,
               2008(1)                                                                 0.85                  0.79                    0.51

                                                                                September 30,
                                                                                     201(1                     December 31*
                                                                                  (Unaudited)          2009                   2008
             Total Assets                                                       $27,155,159       $17,952,955           $15,982,524
             Total Current Liabilities                                          $ 3,364,176       $ 3,833,643           $ 2,343,715
             Total Shareholders’ Equity                                         $20,145,173       $10,537,196           $10,069,677
             Total Liabilities and Shareholders’ Equity                         $27,155,159       $17,952,955           $15,982,524

 (l)   We have presented earnings per share in TBET after giving retroactive effect to the reorganization of our company that was
       completed on March 18, 2010, upon WFOE’s incorporation and approval by Shenzhen Industry and Commerce Bureau.

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                                                               RISK FACTORS

      Investment in our securities involves a high degree of risk. You should carefully consider the risks described below together with all
of the other information included in this prospectus before making an investment decision. The risks and uncertainties described below
represent our known material risks to our business. If any of the following risks actually occurs, our business, financial condition or results
of operations could suffer. !n that case, you may lose all or part of your investment. You should not invest in this offering unless you can
afford to lose your entire investment.

Risks Related to Our Company
Our recent operating history makes it difficult to evaluate our future prospects and results of operations.
       While YSTP was incorporated in 2000, it operated as a very small business until recently, when business began to develop rapidly. It
first became profitable in 2006. While YTSP has grown appreciably in its brief history, there is no guarantee that it will be able to remain
successful in the future.

     We and YSTP are subject to a variety of risks inherent in the business of developing, manufacturing and marketing pharmaceutical
products, and more particularly traditional Tibetan medicines, in China.

     We and YSTP bear certain inherent risks and uncertainties experienced in evolving markets such as the growing market for traditional
Tibetan medicine products in China. Some of these risks and uncertainties relate to our and YSTP’s ability to:
       •   develop additional products to attract and retain a larger customer base;
       •   secure required governmental approvals;
       •   attract additional customers and increased spending per customer;
       •   increase awareness of YSTP’s brand and continue to develop customer loyalty;
       •   respond to competitive market conditions;
       •   respond to changes in YSTP’s regulatory environment;
       •   manage continuous growth;
       •   manage risks associated with intellectual property rights;
       •   maintain effective control of YSTP’s costs and expenses;
       •   raise sufficient capital to sustain and expand our business;
       •   attract, retain and motivate qualified personnel; and
       •   upgrade YSTP’s technology to support additional research and development of new pharmaceutical products.

     If we are unsuccessful in addressing any of these risks and uncertainties, our business may be materially and adversely affected.

Potential disruptions in the capital and credit markets may adversely affect our business, including the availability and cost of short¬
term funds for liquidity requirements, which could adversely affect our results of operations, cash flows and financial condition.
     In the last two years, the global economy has experienced a significant contraction, which has affected the availability of business and
consumer credit. We may need to rely on the credit markets, particularly for short-term borrowings from banks in China, as well as the capital
markets, to meet our financial commitments and short-term liquidity needs if internal funds are not available from YSTP’s operations.
Disruptions in the credit and capital markets, as have been experienced since mid-2008, could adversely affect our ability to draw on such
short-term bank facilities. Our access to funds under such credit facilities is dependent on the ability of the banks that are parties to those
facilities to meet their funding commitments, which may be dependent on governmental economic policies in China. Those banks may not
be able to meet their funding commitments to us if they experience shortages of capital and liquidity or if they experience excessive
volumes of borrowing requests from us and other borrowers within a short period of time.

      Long-term disruptions in the credit and capital markets, similar to those that have been experienced since mid-2008, could result from
uncertainty, changing or increased regulation, reduced alternatives or failures of significant financial institutions and could adversely affect
our access to liquidity needed for our business. Any disruption could

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require us to take measures to conserve cash until the markets stabilize or until alternative credit arrangements or other funding for our
business needs can be arranged. Such measures could include deferring capital expenditures, and reducing or eliminating discretionary uses
of cash.

      Continued market disruptions could cause broader economic downturns, which may lead to lower demand for YSTP’s products and
increased likelihood that our customers will be unable to pay for YSTP’s products. Further, bankruptcies or similar events by customers may
cause us to incur bad debt expense at levels higher than historically experienced. These events would adversely impact our results of
operations, cash flows and financial position.

YSTP’s ability to develop new Tibetan pharmaceutical products is uncertain.
      YSTP expends a significant amount of time and effort to develop and prove new products. Its products require long lead times to
develop and test to secure regulatory approval and gain market acceptance. The nature of pharmaceutical development is that some
products in which substantial investments are made ultimately prove not to be safe or effective, orotheiwise prove not to be commercially
viable. In addition to the long lead-time needed to develop, test and secure approval for traditional Tibetan medicine, the products often
take a relatively long time to demonstrate their efficacy in use. As a result, the commercial success of any product may develop, if it
develops at all, only over a long period of time.

YSTP’s operations are capital-intensive, and its business could be adversely affected if it fails to maintain sufficient levels of working
capital.
        Developing and testing these pharmaceutical products requires substantial investments of capital and effort overextended periods of
time. Substantial time is needed to develop formulations suitable for use in products, to refine those formulations, and then to conduct
clinical trials to determine the efficacy and safety of the products. At times formulations must be modified based on the results of laboratory
or cl i n ical testing. YSTP has generated positive cash flow from operating activities of $10,143,153 and $6,049,836 as of December 31, 2009
and 2008, respectively. As a result, we believe we have sufficient working capital to fund our research, development and other operational
needs for next 12 months. Yet, our need for working capital may prove to be greater than we anticipate, and changes in the availability of
capital and credit may impair our ability to generate needed working capital, and thus to sustain development and testing efforts.

Our future capital needs are uncertain and we may need to raise additional funds in the future.
      Our capital investment is veiy limited at this time. We believe YSTP’s cash flow from operating activities will be sufficient to support
our financing needs for the next 1 2 months. Yet, we may require additional cash resources in the future due to many factors, including:
         *   changed business conditions or other future developments;
         •   the time and expenses required to obtain regulatory clearances and approvals;
         •   the resources we devote to developing, manufacturing, marketing and selling YSTP’s products;
         •   our ability to identify and YSTP’s desire or need to pursue acquisitions or other investments; and
         •   the extent to which YSTP’s products generate market demand.

     If we need to obtain external financing, we cannot assure you that financing will be available in the amounts or on the tenns
acceptable to us, if at all. Our future capital needs and other business reasons could require us to sell additional equity or debt securities or
obtain credit facilities. The sale of additional equity or equity-linked securities could result in additional dilution to our then existing
shareholders. Additional debt financing may include conditions that would restrict our freedom to operate our business, such as conditions
that:

         -   limit our ability to pay dividends or require us to seek consent for the payment of dividends;
         •   increase our vulnerability to general adverse economic and industry conditions;
         •   require us to dedicate a portion of our cash flow from operations to payments on our debt, thereby reducing the availability of our
             cash flow to fund capital expenditures, working capital and other general corporate puiposes; and
         •   limit our flexibility in planning for, or reacting to, changes in our business and our industry.
        We cannot guarantee that we will be able to obtain any additional financing on terms that are acceptable to us, or at all.

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We presently have a limited number of commercialized products, and are dependent on two products for the vast majority of our sales
revenue.
      At present, we have five products in commercial distribution. Two of these products account for the vast majority of our sales. YSTP’s
Gentiana product (for certain respiratory conditions) and its Mandrake product (for certain gynecological conditions) together accounted for
70% of our sales revenue in both 2009 and 2008. While YSTP is developing and working to better distribute other products, we expect
these products to continue to generate the majority of our sales in the near future. Should YSTP encounter problems in producing these
products, or should competition for these types of products intensify, our revenues and operating results could be adversely affected.

YSTP is dependent on access to raw materials, the availability and quality of which may vary.
      YSTP’s products are each comprised of multiple ingredients, many of which are plants and herbs grown principally, if not exclusively,
in the Tibetan highlands. While YSTP has relatively good access to the raw materials it uses, changes in weather, disease and insect
infestations, supplier business relations and other circumstances could disrupt or interrupt our access to ingredients it requires to
manufacture its products. To the extent YSTP does not have access to the raw materials necessary for the production of its products, our
operating results would suffer.

We may be unable to consistently purchase needed raw materials of high quality.
      YSTP requires high quality raw materials to manufacture its products, and as it purchase such raw materials from third parties, it may
not consistently have access to raw materials that meet its standards.

      YSTP purchases all medicinal raw materials used for production from third parties. Raw medicinal materials for traditional Tibetan
medicines are agricultural products difficult to standardize. During planting and processing, there is no uniform quality standard due to
differences in natural climate, soil conditions, picking, drying and processing methods. YSTP has established strict internal quality control
standards according to medicinal materials quality standards of Chinese Pharmacopoeia, and has set up strict operation procedures
according to GMP requirements. Its purchased medicinal materials are inspected by our Department of Quality before warehousing.
Nonetheless, circumstances may lead to shortages of supply of high-quality raw materials. If YSTP cannot obtain needed quantities of
quality ingredients, its ability to maintain production, satisfy customers, and obtain desired operational results will be adversely effected.

We depend on the skill and expertise of YSTP’s and our research and development and our executive personnel.
      We believe YSTP’s strong research and development capabilities contribute to our success and prospects for future growth. There is no
assurance, however, that we will be able to retain our personnel and add additional, sufficiently-skilled personnel in the future. If we fail to
do so, it may adversely affect our ability to develop, manufacture and market YSTP’s products, and thus adversely affect our financial
condition and results of operations. In addition, competition for these individuals could cause us to offer higher compensation and other
benefits in order to attract and retain them, which could also materially and adversely affect our financial condition and results of
operations. We also are highly dependent on our senior executives to manage our business and operations. In particular, w£ rely
substantially on YSTP’s founder and the chairman of our board of directors, Mr. Hong Yu, as well as on our Chief Executive Officer,
Mr. Taylor Guo. The loss of the services of these individuals could disrupt our operations and adversely affect our financial perfonnance. We
do not maintain key man insurance for any of our executive officers.

If we are unable to attract, train, retain and motivate our salespeople, sales of our products may be materially and adversely affected.
      We rely on our salespeople, who arc dispersed across China, to market YSTP’s products to distributors. We believe that our leading
position in the traditional Tibetan medicine market has resulted, to a significant extent, from the dedication, efforts and performance of our
salespeople. We believe that our future success will depend on those same factors. If we are unable to attract, train, retain and motivate
YSTP’s salespeople, sales of our products may be materially and adversely affected.

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YSTP operates in a highly competitive marketplace, which could adversely affect our sales and financial condition.
     YSTP competes on the basis of quality, price, product availability and security of supply, product development and customer service.
Some competitors are larger than YSTP in certain markets, including a fewTCM companies but also producers of conventional Western
medicines, and may have greater financial resources that allow them to be in a better position to withstand changes in the industry. Among
producers oftraditional Tibetan medicines, ourprincipal competitors are Qinghai Jinke Tibetan Medicine Co., Ltd. and Qinghai Crystal
Beads Tibetan Medicine High-tech Industry Co., Ltd., both of which sell products that compete with YSTP’s principal product, YSTP’s 25
Ingredient Mandrake Pill. We believe that both of these competitors, like YSTP, have GMP approval.

     YSTP’s competitors also may introduce new products based on more competitive alternative technologies that may cause them to lose
customers which would result in a decline in its sales volume and earnings. YSTP’s customers demand high quality and low cost products
and services. The costs of research and development and marketing expansion may continue to increase and thus adversely affect the
competitiveness of YSTP’s products. Competition could cause YSTP to lose market share and certain lines of business, or increase
expenditures or reduce pricing, each of which would have an adverse effect on our results of operations and cash flows.

      As Tibetan Medicine industry has good development prospects and large market potential, more enterprises will enter into Tibetan
Medicine industry in the future; current Tibetan Medicine enterprises will increase investment in research and development to become more
competitive. Biological medicine and chemical medicine, as an alternative to traditional Tibetan medicine, will continuously be produced
and could become threats to sales ofYSTP’s traditional Tibetan products. In addition, foreign pharmaceutical companies have accelerated
their speed of entering China market with their new innovative medicines and special treatment medicine. Through localization, they can
reduce the cost of production and gain more market share. All these competition will impact YSTP’s sales and profitability.

We may not be able to manage the expansion of our operations effectively.
      YSTP was incorporated in 2000, became profitable in 2006, and has grown significantly in recent years. Its sales increased 48% and
41% in 2009 and 2008, respectively. It anticipates that it will continue to grow through organic growth and potentially some strategic
acquisitions. To manage the potential growth ofYSTP’s operations, YSTP will be required to improve its operational and financial systems,
procedures and controls, to increase manufacturing capacity and output, and to expand, train and manage its growing employee base.
Furthermore, YSTP will need to maintain and expand its relationships with suppliers, distributors, hospitals, retail pharmacies and other
third parties. We believe our management has planned and organized our departments and personnel for anticipated growth and are not
presently aware of material structural or organizational impediments to our further growth. Nonetheless, ourcun-ent and planned operations,
personnel, systems, internal procedures and controls may prove not to be adequate to support our future growth, whether because of
unknown or unforeseen circumstances or deficiencies in planning. If we are unable to manage our growth effectively, we may not be able to
take advantage of market opportunities, execute our business strategies or respond to competitive pressures.

If we do not keep pace with rapid technological change, we will be unable to capture and sustain a strong market position.
      The pharmaceutical industry in China is characterized by rapid changes in technology, constant enhancement of industrial know-how
and the frequent emergence of new products. Future technological improvements and continued product developments in the
pharmaceutical market may render our existing products obsolete or affect their viability and competitiveness. Therefore, our future success
will largely depend on YSTP’s ability to improve itsexisting products, diversify its product range and develop new and competitively
priced products that can meet the requirements ofthe changing market. Should YSTP fail to respond to these frequent technological
advances by improving its existing products or developing new products in a timely manner, or should these products not achieve a
desirable level of market acceptance, this may adversely affect our business and profitability.

YSTP’s products may prove to have side effects. If side effects associated with its current or future products, or with traditional Tibetan
medicines generally, are significant, we may face regulatory, legal and commercial difficulties that could materially adversely affect
our revenues and operating results.
     Pharmaceutical products sometimes have side effects, which can be minor or life threatening. At present, we know of no material
adverse dmg reaction among any ofYSTP’s presently-commercialized products. The Chinese

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National Center for Adverse Drug Reaction Monitoring has not found any adverse reactions among YSTP’s products. Nonetheless, adverse
effects may be discovered over time, or be found in newly-developed products.

      If significant side effects of YSTP’s medicines are identified after they are marketed and sold,
       •   those medicines listed in the national and provincial medicine catalogs may be removed from the catalogs or downgraded to a
           lower tier;
       •   regulatory authorities may withdraw or modify their approvals of such medicines;
       •   YSTP may be required to reformulate these medicines, change the ways in which they are marketed, conduct additional clinical
           trials, change the labeling of these medicines or implement changes to obtain new approvals for YSTP’s manufacturing facilities;
       •   the products may be viewed as less attractive to hospitals, pharmacies and physicians, and as a result YSTP may have less success
           in marketing and selling those products.
       •   YSTP may have to recall these medicines from the market and may not be able to re-launch them;
       •   YSTP may experience a significant decline in sales of the affected products;
       •   our reputation may suffer; and
       •   we may become a target of lawsuits.

      The occurrence of any of these events would harm YSTP’s sales of these products and substantially increase the costs and expenses of
marketing these products, which in turn could cause our revenues and net income to decline. In addition, if any severe side effects are
discovered to be associated with another manufacturer’s traditional Tibetan medicine products used to treat medical conditions similar to
those that YSTP’s medicines are used to treat, the reputation and, consequently, sales ofYSTP’s medicines could be adversely affected.

The retail prices ofYSTP’s principal products could be subject to government price controls.
      The retail prices of some prescription and OTC medicines in China arc subject to price controls administered by the Price Control
Office under the National Development and Reform Commission, or the NDRC, and provincial price control authorities, either in the form of
fixed prices or price ceilings. From time to time, the NDRC publishes a list of medicines subject to price controls. The NDRC directly
regulates retail prices of certain medicines on the list and authorizes provincial price control authorities to regulate retail prices of the
remainder on that list. Price controls apply to retail prices, but where they apply, they necessarily also affect a producer’s and distributor’s
ability to freely set wholesale prices. At present, none ofYSTP’s products are subject to price controls. Yet, should NDRC or provincial
authorities decide to subject YSTP’s products to price controls, it would impair its ability to set and raise prices and it could adversely affect
our operating results.

YSTP may not be able to obtain manufacturing or marketing approval from SFDA for YSTP’s future products, and failure to obtain
approvals for YSTP’s future products could materially harm our business prospects.
      All medicines must be approved by the SFDA before they can be manufactured, marketed or sold in China. The SFDA requires a
pharmaceutical manufacturer to have successfully completed clinical trials of a new medicine and demonstrated its manufacturing
capability before approval to manufacture that new medicine is granted. Clinical trials are expensive and their results are uncertain. In
addition, the SFDA and other regulatory authorities may apply new standards for safety, manufacturing, labeling, marketing and distribution
of future products. Complying with these standards may be time-consuming and expensive. Furthermore, YSTP’s future products may not be
efficacious or may have undesirable or unintended side effects, toxicities or other characteristics that may preclude YSTP from obtaining
approval or may prevent or limit their commercial use. As a result, we may not be able to obtain SFDA or other governmental approvals for
YSTP’s future products on a timely basis or at all. Even if we do obtain approvals, such approvals may be subject to limitations on the
indicated uses for which we may market a product, which may limit the size of the market for such a product.

Adverse publicity associated with our company or YSTP’s products could have a material adverse effect on our results of operations.
     We are highly dependent upon consumer perceptions of our company, the “Yunnan Shangri-La Tibetan Pharmaceuticals” brand, the
“Xiangbala Jidan” trademark, our other trademarks and the safety and quality ofYSTP’s products. We could be adversely affected if the
“Yunnan Shangri-La Tibetan Pharmaceuticals” brand, the Shangri-La Tibetan Pharmaceutical, Inc. name and brand, the “Xiangbala Jidan”
trademark or any of our other trademarks is subject to negative publicity. We could also be adversely affected if any ofYSTP’s products or
any

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similar products distributed by other companies prove to be, or are asserted to be, harmful to consumers. Because of our dependence upon
consumer perceptions, any negative publicity associated with illness or other adverse effects resulting from consumers’ use or misuse of our
products, or any similar products distributed by other companies, could also have a material adverse impact on our results of operations.

We may not be able to sufficiently and promptly respond to rapid changes in government regulation, treatment of diseases and
customer preferences in the Chinese pharmaceutical industry, which may adversely affect our business, financial condition and results
of operations.
       The pharmaceutical industry in China is subject to extensive government regulation and supervision. In recent years, the Chinese
government has introduced and implemented certain regulatory measures, and announced plans to implement additional rules and
regulations with respect to the pharmaceutical industry, including those relating to: (i) changes in legislation or regulations governing the
distribution, manufacturing or pricing of pharmaceutical products; (ii) additional quality control, licensing and certification requirements;
(iii) changes in legislation or regulations governing the pricing, procurement, prescription and dispensing of essential and other medicines
by public hospitals and other healthcare institutions; and (iv) changes in governmental funding for individual healthcare and
pharmaceutical services. These measures may lead to significant changes in the Chinese pharmaceutical industry, and could result in
increased costs and lowered profit margins for pharmaceutical distributors. The measures could also lead to decreases in the amount of
YSTP’s products and services purchased by our customers or the price they are willing to pay for YSTP’s products and services. In addition,
we cannot assure you that the Chinese government will continue to adopt policies supporting the pharmaceutical industry. The Chinese
government may adopt laws and regulations that reduce support or the level of healthcare services and benefits provided in China. We
cannot assure you that we will be able to adapt to such changes, and further cannot assure you that our business, financial condition and
results of operations will not be adversely affected.

      The Chinese pharmaceutical industry is also characterized by rapid advances in science and technology and the emergence or
mutation of viruses and bacteria that together lead phannaceutical manufacturers to discover and develop innovative new medicines and
other pharmaceutical products and treatments. Our future success depends on our ability to improve and diversify YSTP’s product portfolio
by identifying such trends. We cannot assure you that we wilt be able to respond to emerging trends by improving YSTP’s product portfolio
and services or distributing new products in a timely fashion.

     In addition to regulatory and industry changes, the preferences and purchasing trends of our customers with regard to pharmaceutical
products can rapidly change. Our success depends on our ability to anticipate product lead-time and demand, identify customer preferences
and adapt YSTP’s product selection to these preferences. We must adjust YSTP’s product availability, selection and inventory levels based
on certain business requirements, sales trends and other market data. In addition, YSTP’s product selection may not accurately reflect
product life cycles, seasonality, backorders or customer preferences at any given time. We cannot assure you that we will be able to
accurately respond to such changes in customer preferences and purchasing trends, and such failure may have an adverse effect on our
business, financial condition, results of operations and profitability.

We may incur additional environmental protection costs.
      Even though YSTP has implemented effective control on pollutant discharge according to environmental protection regulations and
relative standards, with the increasing of people’s living standard and continuously enhancing of social and environmental protection
consciousness, the state and local government may issue new laws and regulations in the future and increase environmental protection
standards so as to make the Company pay higher environmental protection expenses. Additionally, as YSTP’s capacity increases, we may
incur more pollutant discharge expenses, which will lead to total increase of our environmental protection spending and impact our
profitability.

The Chinese government could cancel its preferential tax policy, and subject us to income tax.
       Pursuant to a tax preferential policy of the Yunnan Diqing Tibet Autonomous State (on March 1 7, 2008, the tax bureau of the Yunnan
Diqing Tibet Autonomous State agreed to exempt YSTP from national and provincial taxes through 2012. This measure implemented a
policy to exempt from income tax enterprises in national autonomous areas that are deemed worthy of encouragement. In 2007, the Fifth
Session of the Tenth National People’s Congress passed the Law of Enterprise Income Tax of the People’s Republic of China, which took
effect on January 1 , 2008 and provides further authority to autonomous area government agencies to decide to reduce or exempt local

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enterprises from income taxes. While YSTP presently benefits from an exemption, and believe there is reason to expect a renewal or
extension of some exemption, there is no assurance that YSTP’s exemption will be renewed after 2012. If we do not enjoy such an
exemption or reduction in the future, our operational results may be adversely affected.

The loss of any of YSTP’s significant customers could reduce our revenues and our profitability.
     Our key customers are principally pharmaceutical distributors in China. A few distributors account for a majority of its sales. YSTP has
not entered into long-term supply contracts with any of these major customers. Therefore, there can be no assurance that YSTP will maintain
or improve the relationships with these customers, or that it will be able to continue to supply these customers at current levels or at all.

      As of December 3 1 , 2009 and 2008, YSTP had two customers that accounted for a significant portion of its revenues:

                                                                            Percen tage of Revenu es      Percen tage of Reven u es
                                                                                in Year ended                 in Year ended
                                   Purchaser Name                             December 31, 2009             December 31, 2008
                 Kunming Shangri-La Medicine Co., Ltd.                                        23.0%                          27.7%
                 Hangzhou Hesheng Medicine Co., Ltd.                                          1 2.6%                         1 0.2%

     If YSTP cannot maintain long-term relationships with its major distributors, the loss of a significant portion of its sales to them could
have an adverse effect on our business, financial condition and results of operations.

YSTP’s products are not included in national and provincial medicine catalogs of the NMIP.
      The Ministry of Labor and Social Security, together with other government authorities, deteimines which medicines are to be included
in or removed from the national medicine catalog of the NMIP, thus entitling purchasers of those medicines to coverage and reimbursement
under the Chinese health insurance program. YSTP’s products are not covered by the NMIP catalog. YSTP has not sought to have any of
YSTP’s commercialized products in the NMIP program. We believe that YSTP’s medicines can and do compete successfully without NMIP
coverage because they are sold a modest prices and in large volume. Yet, if purchasers and end-users may perceive NMIP coverage for a
medicine to be a competitive advantage; the lack of NMIP coverage for YSTP’s products may be a competitive disadvantage.

Failure to obtain approval from the SFDA to convert a provisional national production standard of YSTP’s principal products to a
national final production standard would require YSTP to suspend or cease the production of these products.
      After the SFDA approves a new medicine, it normally directs the manufacturer to produce that medicine according to a provisional
national production standard, ora provisional standard. A provisional standard is valid for two years, during which the SFDA closely
monitors the production process and quality consistency of the medicine in order to develop a national final production standard, or a final
standard. Three months before a medicine’s provisional standard expires, the manufacturer of that medicine is required to apply to the SFDA
to convert the provisional standard to a final standard, hi practice, the SFDA’s approval process is time-consuming and could take a few
years. However, during the SFDA’s review period (including after the expiration of the two-year provisional standard period), the
manufacturer may continue to produce the medicine according to the provisional standard.

     YSTP has six products that have received SFDA approval (five of which have been commercialized), and other products in
development that YSTP hopes to submit for SFDA approval. YSTP has received final approval for YSTP’s production processes for the five
commercialized products that have received SFDA approval. It is now seeking approval fora seventh product. If YSTP’s manufacturing
processes do not received needed SFDA approval, its ability to grow and our operational results may be adversely affected.

We do not have business interruption, litigation, product liability or other insurance.
      The insurance industiy in China is still at an early state of development. In particular PRC insurance companies offer limited business
products. As a result, we do not have any business liability, product liability, commercial, disruption or key man insurance coverage for
WFOE’s and YSTP’s operations in China. Any business interruption, litigation or natural disaster may result in our business incurring
substantial costs and the diversion of resources. Furthermore, our business exposes us to the risk of product liability claims, which are
inherent in the manufacturing, testing and marketing of medicines. If a product liability lawsuit were to be brought against us, it is likely to
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the attention of our management from pursuing our business strategies and might be costly to defend. The successful assertion of product
liability claims against us could result in potentially significant monetary damages and require us to make significant payments or require
us to limit or forgo commercialization of those products. Should any natural catastrophes (such as earthquakes, fire, floods or any acts of
terrorism) occur where YSTP’s production facilities and YSTP’s primary sources of raw materials are concentrated, or elsewhere in China,
which constitutes YSTP’s current sole market, we might suffer not only significant property damages but also loss of revenues due to
interruptions in YSTP’s business operations.

We may not pay dividends.
       We do not anticipate paying any dividends on our common shares. Although we achieved net profitability in 2006, we cannot assure
you that YSTP’s operations will continue to result in sufficient revenues to enable us to operate at profitable levels or to generate positive
cash flows. Furthermore, there is no assurance our Board of Directors will declare dividends even if we are profitable. Dividend policy is
subject to the discretion of our Board of Directors and will depend on, among other things, our earnings, financial condition, capital
requirements and other factors. If we determine to pay dividends on any of our common shares in the future, we will be dependent, in large
part, on receipt of funds from YSTP. Investors requiring dividend should not rely on an investment in our company, and income from any
such investment may well come only from any rise in the market price of our stock. There can be no assurance that our stock will appreciate
in value over time. See “Dividend Policy.”

YSTP’s failure to protect its intellectual property rights may undermine its competitive position, and litigation to protect its intellectual
property rights or defend against third-party allegations of infringement may be costly and ineffective.
       YSTP relies primarily on trademarks, trade secrets, unpatented proprietary technologies, processes and know-how and other
contractual restrictions to protect its intellectual property. These afford only limited protection and the actions we take to protect our
intellectual property rights may not be adequate. YSTP’s trade secrets may otherwise become known or be independently discovered by its
competitors. Third parties may infringe upon or misappropriate its proprietary technologies or other intellectual property rights, which
could have a material adverse effect on our business, financial condition or operating results. Policing the unauthorized use of proprietary
technology can be difficult and expensive. Also, litigation may be necessary to enforce our intellectual property rights, protect YSTP’s trade
secrets or determine the validity and scope of the proprietary rights of others. The outcome of such potential litigation may not be in YSTP’s
favor and any success in litigation may not be able to adequately protect YSTP’s rights. Such litigation may be costly and divert
management attention away from YSTP’s business. An adverse determination in any such litigation would impair YSTP’s intellectual
property rights and may harm our business, prospects and reputation. Enforcement of judgments in China is uncertain and even if we are
successful in such litigation it may not provide us with an effective remedy. In addition, we and YSTP have no insurance coverage against
litigation costs and would have to bear all costs arising from such litigation to the extent we are unable to recover them from other parties.
The occurrence of any of the foregoing could have a material adverse effect on our business, financial condition and results of operations.

We may be exposed to infringement or misappropriation claims by third parties, which, if adversely determined against us, could
cause us to pay significant damage awards.
      Our success depends largely on our ability to use and develop our technology and know-how without infringing on the intellectual
property rights of third parties. The validity and scope of claims relating to patents, proprietary technologies or other intellectual property
rights in the pharmaceutical industry involve complex scientific, legal and factual questions and analysis, and therefore may be highly
uncertain. We may be subject to litigation involving claims of patent infringement or violation of intellectual property rights of third
parties. The defense and prosecution of intellectual property suits, patent opposition proceedings and related legal and administrative
proceedings can be both costly and time consuming and may significantly divert the attention and resources of our technical and
management personnel. An adverse determination in any such litigation or proceedings to which we may become a party could subject us to
significant liability to third parties, require us to seek licenses from third parties, to pay ongoing royalties or to redesign YSTP’s products, or
subject us to injunctions prohibiting the manufacture and sale of YSTP’s products or the use of YSTP’s technologies. Prolonged litigation
could also result in our customers or potential customers deferring or limiting their purchase or use of YSTP’s products until resolution of
such litigation.

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Customers may confuse YSTP’s products with products of other traditional Tibetan or Chinese medicine companies that use the
Chinese characters of “Tibet” or “Shangri-La” in their company names even where such use is not intended to infringe our
trademarks.
      YSTP markets and sells all of its products under a variety of trademarks. We believe that the public’s recognition of and familiarity
with our brand is important to our business and that the growth of the market share of YSTP’s products will depend to a significant extent
upon the goodwill associated with this brand. Under the existing Chinese legal regime for intellectual property rights, limited legal
remedies are available fora company to prevent the unauthorized use of its trademarks by other companies as part of their company names,
unless these trademarks have been legally recognized as “well-known trademarks.” An unauthorized use of a well-known trademark as part
of another company’s name can be restricted if this use is regarded as confusing consumers or misleading the public. Consumers may
confuse YSTP’s products with the traditional Chinese medicine products from other companies using “Tibet” and/or “Shangri-La” in or as
part of their company names, and those products may be of inferior quality. This confusion could harm the reputation of YSTP’s brand and
cause consumers to refrain from purchasing YSTP’s products, which in turn would adversely and materially affect our business, financial
condition and results of operations.

Our future success depends in part on our ability to make strategic acquisitions and investments. Our failure to consummate or handle
the risks associated with these acquisitions and investments could have a material adverse effect on our market penetration and
revenues growth.
     As part of our plan to expand YSTP’s manufacturing capacity and product offerings, we hope to make strategic acquisitions in the
highly-fragmented traditional Tibetan medicine sector. Strategic acquisitions could subject us to uncertainties and risks, including:
       •   high acquisition and financing costs;
       •   potential ongoing financial obligations and unforeseen or hidden liabilities;
       •   failure to achieve the intended objectives, benefits or revenue-enhancing opportunities; and
       ■   cost of and difficulties in integrating acquired businesses and managing a larger business.

     Our failure to address these risks successfully may have a material adverse effect on our financial condition and results of operations.

Since most of our officers reside outside the United States, shareholders may find it difficult to enforce their rights under U.S. federal
securities laws.
      A majority of our directors and officers are Chinese nationals and/or residents of countries other than the United States, and all ora
substantial portion of such persons’ assets are located outside the United States. As a result, it may be difficult for investors to affect service
of process upon these individuals and/or bring legal action against them under U.S. securities laws. Any judgment against these individuals
in a United States court would have to be enforced by a Chinese court, and there is no assurance that a Chinese court would recognize or
enforce the judgments of a U.S. Court. See “Enforceability of Civil Liabilities”.

Risks Relating to Our Organizational Structure
The PRC government may determine that the Control Agreements are notin compliance with applicable PRC laws, rules and
regulations.
     We manage and operate YSTP, our operational entity, through WFOE pursuant to the rights its holds under the Control Agreement. By
reason of the Control Agreements, YSTP is a variable interest entity (“VIE”). Almost all economic benefits and risks arising from YSTP’s
operations are transferred to WFOE under these agreements. Details of the Control Agreements are set out in “Our Corporate Structure        -


Control Agreements.”

      There are risks involved with the operation of our business in reliance on the Control Agreements, including the risk that the Control
Agreements may be determined by PRC regulators or courts to be unenforceable. Our PRC counsel, DeHeng Law Offices, has provided a
legal opinion that the Control Agreements are binding and enforceable under PRC law, but has further advised that if the Control
Agreements were for any reason determined to be in breach of any existing or future PRC laws or regulations, the relevant regulatory
authorities would have broad discretion in dealing with such breach, including:
       •   imposing economic penalties;

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       •   discontinuing or restricting the operations ofWFOE or YSTP;
       •   imposing conditions or requirements with respect to the Control Agreements with which WFOE or YSTP may not be able to
           comply;
       •   requiring our company to restructure the relevant ownership structure or operations;
       •   taking other regulatory or enforcement actions that could adversely affect our company’s business; and
       •   revoking the business licenses and/or the licenses or certificates ofWFOE, and/or voiding the Control Agreements.

     Any of these actions could adversely affect our ability to manage, operate and gain the financial benefits of YSTP, which would have a
material adverse impact on our business, financial condition and results of operations.

Our ability to manage and operate YSTP under the Control Agreements may not be as effective as direct ownership.
      We conduct our business in the PRC and generate virtually all of our revenues through the Control Agreements. Our plans for future
growth are based substantially on growing the operations of YSTP. However, the Control Agreements may not be as effective in providing us
with control over YSTP as direct ownership. Under the current Control Agreement, as a legal matter, if YSTP fails to perform its obligations
under these contractual arrangements, we may have to (i) incur substantial costs and resources to enforce such arrangements, and (ii) rely on
legal remedies under PRC law, which we cannot be sure would be effective. Therefore, if we are unable to effectively control YSTP, it may
have an adverse effect on our ability to achieve our business objectives and grow our revenues. We depend on YSTP to hold and maintain
contracts with our customers. YSTP also owns substantially all of our intellectual property, facilities and other assets relating to the
operation of our business, and employs the personnel for substantially all of our business. Neither our company nor WFOE has any
ownership interest in YSTP, nor do we have business assets or revenue streams other than through our Control Agreements with YSTP.
Although we have been advised by DeHeng Law Offices, our Chinese legal counsel, that each contract under WFOE’s contractual
arrangements with YSTP is valid, binding and enforceable under current Chinese laws and regulations, these contractual arrangements may
not be as effective in providing us with control over YSTP as direct ownership of YSTP would be.

Affiliates of our company and YSTP may be able to terminate the contractual relationships between WFOE and YSTP.
       Our company’s controlling shareholders, who collectively hold 93% of our common shares prior to commencement of this offering,
also hold 1 00% of the equity of YSTP. Upon completion of this offering, these shareholders will continue to approximately 80% of our
common shares and will be in a position to exert substantial control over our company. Because of this relationship, these shareholders
could be in a position to voluntarily terminate the contractual relationship between YSTP and WFOE pursuant to which we control YSTP by
virtue of our ownership of all of the equity of CTP and CTP’s ownership of all of the equity ofWFOE. If this were to occur, most non-
affiliated shareholders would have little to no recourse against the assets of YSTP, which are located in China.

As the Control Agreements are governed by PRC law, we would be required to rely on PRC law to enforce our rights and remedies
under them; PRC law may not provide us with the same rights and remedies as are available in contractual disputes governed by the
law of other jurisdictions.
      The Control Agreements are governed by the PRC law and provide for the resolution of disputes through arbitral proceedings pursuant
to PRC law. If YSTP or its shareholders fail to perform the obligations under the Control Agreements, we would be required to resort to legal
remedies available under PRC law, including seeking specific performance or injunctive relief, or claiming damages. We cannot be sure that
such remedies would provide us with effective means of causing YSTP to meet its obligations, or recovering any losses or damages as a
result of non-performance. Further, the legal environment in China is not as developed as in other jurisdictions. Uncertainties in the
application of various laws, mles, regulations or policies in PRC legal system could limit our ability to enforce the Control Agreements and
protect our interests.

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The payment arrangement under the Control Agreements may be challenged by the PRC tax authorities.
      We generate our revenues through the payments we receive pursuant to the Control Agreements. We could face adverse tax
consequences if the PRC tax authorities determine that the Control Agreements were not entered into based on arm’s length negotiations.
For example, PRC tax authorities may adjust WFOE’s and/or YSTP’s income and expenses for PRC tax puiposes which could result in their
being subject to higher tax liability, or cause other adverse financial consequences.

We rely on the approval certificates and business license held by WFOE and any deterioration of the relationship between WFOE and
YSTP could materially and adversely affect our business operations.
     We operate our business in China on the basis of the approval certificates, business license and other requisite licenses held by WFOE
and YSTP. There is no assurance that WFOE and YSTP will be able to renew their licenses or certificates when their terms expire with
substantially similar terms as the ones they currently hold.

      Further, our relationship with YSTP is governed by the Control Agreements that are intended to provide us with effective control over
the business operations of YSTP. Yet, the Control Agreements may not be effective in providing control over the application for and
maintenance of the licenses required for our business operations. YSTP could violate the Control Agreements, go bankrupt, suffer from
difficulties in its business or otherwise become unable to perform its obligations under the Control Agreements and, as a result, our
operations, reputations and business could be severely harmed.

Tf WFOE exercises the purchase option it holds over YSTP’s share capital pursuant to the Control Agreements, the payment of the
purchase price could materially and adversely affect our financial position.
       Under the Control Agreements, YSTP’s shareholders have granted WFOE an option for the maximum period of time allowed by law to
purchase all of the equity interest in YSTP at a price equal to the capital paid in by the transferors, adjusted pro rata for purchase of less than
all of the equity interest, unless applicable PRC laws and regulations require an appraisal of the equity interest or stipulate other restrictions
regarding the purchase price of the equity interest. As YSTP is already our contractually controlled affiliate, WFOE’s exercising of the
option would not bring immediate benefits to our company, and payment of the purchase prices could adversely affect our financial
position.

WFOE is also required to allocate a portion of its after-tax profits, as determined by its board of directors, to the general reserve, and
the staff welfare and bonus funds, which may not be distributed to equity owners.
       Pursuant to the “Wholly Foreign-Owned Enterprise Law of the P.R. China (2000 Revision)” and “Detailed Implementing Rules for the
Law of the People’s Republic of China on Wholly Foreign-Owned Enterprises (Revised at 2001)”, WFOE is required to allocate a portion of
its after-tax profits in accordance with its Articles of Association, to the general reserve, and the staff welfare and bonus funds. Not less than
10% of an enterprise’s after tax-profits should be allocated to the general reserve. When the general reserve account balance is equal to or
greater than 50% of WFOE’s registered capital, no further allocation to the general reserve account is required. The general reserve is used to
offset future extraordinary losses. The subsidiaries may, upon a resolution passed by the shareholders, convert the general reserve into
capital. According to the Articles of Association of WFOE, the amount contributed to the staff welfare and bonus funds is determined by
WFOE’s board of directors. The staff welfare and bonus fund is used for the collective welfare of the staff of the subsidiaries. These reserves
represent appropriations of retained earnings determined according to PRC law.

       As of the date of this prospectus, the amounts of these reserves have not yet been determined, and we have not committed to
establishing such amounts at this time. Under current PRC laws, WFOE is required to set aside reserve amounts, but has not yet done so.
WFOE has not done so because PRC authorities grant companies flexibility in making a determination. Chinese law requires such a
determination to be made in accordance with the companies’ organizational documents and WFOE’s organizational documents do not
require the determination to be made within a particular timeframe. Although we have not yet been required by PRC authorities to make
such determinations or set aside such reserves, PRC authorities may require WFOE to rectify its noncompliance and we may be fined if we
fail to do so after warning within the time period set in the warning.

     In addition, PRC law provides that a PRC company must allocate a portion of after-tax profits to the general reserve and the staff
welfare and bonus funds reserve prior to the retention of profits or the distribution of profits to foreign invested companies. Therefore, if for
any reason, the dividends from WFOE cannot be repatriated to us or not in time, then it may detrimentally affect our cash flow and even
cause us to become insolvent.

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The shareholders of YSTP and their proxy have potential conflicts of interest with us, which may adversely affect our business.
       Neither we nor WFOE owns any equity in YSTP. Instead, we rely on WFOE’s contractual obligations to enforce our interest in
receiving payments from YSTP. Conflicts of interests may arise between YSTP’s shareholders and our company if, for example, their interests
in receiving dividends from YSTP were to conflict with our interest requiring these companies to make contractually-obligated payments to
WFOE. The fact that affiliates of YSTP are also affiliates of our company may result in conflicting fiduciary duties. Because of these
potentially conflicting interests and fiduciary duties, WFOE required YSTP and its shareholders to execute a Shareholders’ Voting Proxy
Agreement granting WFOE the irrevocable power to appoint a designee to vote on their behalf on all matters requiring shareholder approval
by YSTP and to require YSTP’s compliance with the terms of its contractual obligations. WFOE has designated Mr. Tiangui Li as its
designee to vote YSTP shares pursuant to the Shareholders’ Voting Proxy Agreement. Mr, Li holds a 100% equity interest in LEM ANY
Invest. Corp., a BVT Corporation, which in turn owns 4.78% of TBET’s shares. Mr. Li does not have a direct equity interest in WFOE, which
is wholly owned by CTP, which is in turn wholly owned by TBET. Mr. Li has a contractual interest in 5.2% of YSTP. Mr. Li may have
different interests as a YSTP shareholder and representative of other YSTP shareholders from TBET and TBET’s other shareholders. We
cannot assure you, if conflicts of interest arise, that Mr. Li as proxy for YSTP shareholders will act completely in our interests or that
conflicts of interests will be resolved in our favor. While this could result in a conflict of fiduciary duties, these shareholders could violate
their agreements with us by diverting business opportunities from us to others. If we cannot resolve any conflicts of interest between us and
YSTP’s shareholders or their proxy, we would have to rely on legal proceedings, which could result in the disruption of our business.

Our shareholders and Chairman have potential conflicts of interestwith our company which may adversely affect our business.
       Hong Yu is the chairman of TBET’s board of directors and also a shareholder. Mr. Yu also was the founder of YSTP, a YSTP shareholder,
and the chainnan of its board of directors. There could be conflicts that arise from time to time between our interests and the interests of
Mr. Yu. While the owners of the shares of YSTP presently hold 93% of the issued common shares of TBET, there could also be conflicts that
arise between us and YSTP that could present conflicts in Mr. Yu’s ability to fulfill his fiduciary duties to both YSTP and TBET, and/or that
would require our shareholders and YSTP’s shareholders to vote on corporate actions necessary to resolve the conflict. There can be no
assurance in any such circumstances that Mr. Yu will vote his shares in our best interest or otherwise act in the best interests of our company.
If Mr. Yu fails to act in our best interests, our operating perfonnance and future growth could be adversely affected

We rely on dividends paid by WFOE for our cash needs.
      We rely primarily on dividends paid by WFOE for our cash needs, including the funds necessary to pay dividends and other cash
distributions, if any, to our shareholders, to service any debt we may incur and to pay our operating expenses. The payment of dividends by
entities organized in China is subject to limitations. Regulations in China currently permit payment of dividends only out of accumulated
profits as determined in accordance with accounting standards and regulations in China. Under British Virgin Islands law, we may only pay
dividends from surplus (the excess, ifany, at the time of the determination of the total assets ofour company over the sum of our liabilities,
as shown in our books of account, plus our capital), and we must be solvent before and after the dividend payment in the sense that we will
be able to satisfy our liabilities as they become due in the ordinary course of business; and the realizable value of assets ofour company will
not be less than the sum of our total liabilities, other than deferred taxes as shown on our books of account, and our capital. If we detennine
to pay dividends on any of our common shares in the future, as a holding company, we will be dependent on receipt of funds from WFOE.
See “Dividend Policy.”

      Pursuant to the Implementation Rules for the new Chinese enterprise income tax law, effective on January 1 , 2008, dividends payable
by a foreign investment entity to its foreign investors are subject to a withholding tax of up to 1 0 percent. Pursuant to Article 1 0 of the
Arrangement Between the Mainland of China and the Hong Kong Special Administrative Region for the Avoidance of Double Taxation and
the Prevention of Fiscal Evasion with respect to Taxes on Income effective on December 8, 2006, dividends payable by a foreign investment
entity to its Hong Kong investor who owns 25% or above equity are subject to a withholding tax of up to 5 percent.
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       The payment of dividends by entities organized in China is subject to limitations, procedures and formalities. Regulations in China
currently permit payment of dividends only out of accumulated profits as determined in accordance with accounting standards and
regulations in China. WFOE is also required to set aside at least 10% of its after-tax profit based on Chinese accounting standards each year
to its compulsory reserves fund until the accumulative amount of such reseiwes reaches 50% of its registered capital.

      The transfer to this reserve must be made before distribution of any dividend to shareholders. The surplus reserve fund is non-
distributable other than during liquidation and can be used to fund previous years’ losses, if any, and may be utilized for business expansion
or converted into share capital by issuing new shares to existing shareholders in proportion to their shareholding or by increasing the par
value of the shares currently held by them, provided that the remaining reserve balance after such issue is not less than 25% of the registered
capital. For the years ended December 3 1, 2009, we made reserves of RMB9, 532,480 ($1 ,395,579.64); in 2008, we made reserves of RMB
6,191,330 ($875,904.36).

If WFOE is required to make a payment under its agreement to bear the losses of YSTP, our liquidity may be adversely affected, which
could harm our financial condition and results of operations.
     On March 26, 2010, WFOE entered into an Entrusted Management Agreement with YSTR Pursuant to the Entrusted Management
Agreement, WFOE agreed to bear the losses of YSTP. If YSTP suffers losses and WFOE is required to absorb all or a portion of such losses,
WFOE will be required to seek reimbursement from YSTP. In such event, it is unlikely that YSTP will be able to make such reimbursement,
and WFOE may be unable to recoup the loss WFOE absorbed at such time, if ever. Further, under the Entrusted Management Agreement,
WFOE may absorb the losses at a time when WFOE does not have sufficient cash to make such payment and at a time when we or WFOE
may be unable to borrow such funds on terms that are acceptable, if at all. As a result, any losses absorbed under the Entrusted Management
Agreement may have an adverse effect on our liquidity, financial condition and results of operations.

WFOE’s contractual arrangements with YSTP may result in adverse tax consequences to us.
      We could face material and adverse tax consequences if the Chinese tax authorities detennine that WFOE’s contractual arrangements
with YSTP were not made on an aim’s length basis and adjust our income and expenses for Chinese tax puiposes in the form of a transfer
pricing adjustment. A transfer pricing adjustment could result in a reduction, for Chinese tax purposes, of adjustments recorded by YSTP,
which could adversely affect us by increasing YSTP’s tax liability without reducing WFOE’s tax liability, which could further result in late
payment fees and other penalties to YSTP for undeipaid taxes.

Risks Related to Our Industry
The Chinese healthcare industry is highly regulated, and the regulatory framework, requirements and enforcement trends may change
frequently.
      The healthcare industry in China is highly regulated. YSTP is governed by various local, regional and national regulatory regimes in
all aspects of our operations, including licensing and certification requirements and procedures for manufacturers of pharmaceuticals,
operating and security standards and environmental protection. We cannot assure you that the legal framework, licensing and certification
requirements and enforcement trends in the healthcare industry will not change, or that we will be successful in responding to any changes.
Such changes may result in increased costs of compliance, which would adversely affect our business, financial condition and results of
operations.

      All pharmaceutical manufacturing companies in China are required to obtain certain permits and licenses from various Chinese
governmental authorities, including Good Manufacturing Practice, or GMP, certifications for manufacturing operations. YSTP has obtained
permits, licenses and GMP certifications required for the manufacture of YSTP’s pharmaceutical products. These permits and licenses held
by YSTP are generally valid fora maximum period of five years and subject to periodic renewal and/or reassessment by the relevant Chinese
government authorities and the standards of such renewal or reassessment may change from time to time. We intend to cause YSTP to apply
for the renewal of these permits, licenses and certifications when required by applicable laws and regulations. Any failure by YSTP to obtain
and maintain all licenses, permits and certifications necessary to cany on

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its business at any time could have a material adverse effect on our business, financial condition and results of operations. In addition, any
inability to renew these permits, licenses and certifications could severely disrupt our business, and prevent us from continuing to carry on
our business. Any changes in the standards used by governmental authorities in considering whether to renew or reassess our business
licenses, permits and certifications, as well as any enactment of new regulations that may restrict the conduct of our business, may also
decrease our revenues and/or increase our costs, and materially reduce our profitability and prospects. Further, if changes occur in the
interpretation or implementation of existing laws and regulations or new regulations come into effect requiring us to obtain any additional
permits, licenses or certifications that were previously not required to operate our existing businesses, we cannot assure you that we may
successfully obtain such permits, licenses or certifications.

     YSTP is subject to regular inspections, examinations, inquiries or audits by the regulatory departments as part of the process of
maintaining or renewing the various permits, licenses and certificates required for the manufacture and distribution of pharmaceutical
products and the provision ofrelated logistics services. In the event that any ofYSTP’s products or YSTP’s facilities fails such inspections,
our business, profitability and reputation in the industry may be adversely affected.

We may be adversely affected by changes in environmental, employee health and safety and other laws and regulations.
     YSTP’s operations are subject to a number of national, provincial and local laws and regulations. These include industry laws and
regulations relating to environmental protection, employee health and safety, and tax.

      While wc believe that YSTP is and has been in compliance with applicable laws and regulations, we cannot guarantee that changes in
laws or regulations, including environmental, employee health and safety, and tax laws and regulations, will not cause us to incur
substantial additional expenditures to upgrade or supplement YSTP’s existing facilities or subject us to an increased rate oftaxation or fines
and penalties. Any such changes in laws and regulations could have a material adverse effect on our business, financial condition and
results of operations.

China’s WTO accession may intensify competition in our businesses within China.
      As a consequence of its joining the World Trade Organization (“WTO”), China has lowered tariffs on certain imported pharmaceutical
products and opened its pharmaceutical distribution market to foreign participation. As a result, an increasing number of foreign investors,
many of which have substantially greater financial and marketing resources than we do, may establish entities or ties with existing domestic
phannaceutical distributors in China to engage in the manufacture or distribution of pharmaceutical products in the domestic market. Such
new entities or alliances between foreign investors and our competitors may erode our competitiveness and weaken our financial
performance.

The existence of counterfeit pharmaceutical products in China’s pharmaceutical retail market may damage our brand and reputation
and have a material adverse effect on our business, financial condition, results of operations and prospects.
      Certain Tibetan medicine products distributed or sold in China’s pharmaceutical retail market, including those appearing to be YSTP’s
products, may be counterfeit. Counterfeit products are products sold under the same or very similar brand names and/or having a similar
appearance to genuine products. Counterfeit products, including counterfeit pharmaceutical products, are a significant problem in China.
Such products divert sales from genuine products, often are of lower cost, often are or lower quality (having different ingredients or
formulations, for example), and have the potential to damage the reputation for quality and effectiveness of the genuine product. The
counterfeit phaimaccutical product regulation control and enforcement system in China is not able to completely eliminate production and
sale of counterfeit pharmaceutical products. Any sale of counterfeit Tibetan products resulting in adverse side effects to consumers, may
subject us to negative publicity and other administrative headaches and expenses. It could have a material adverse effect on our business,
financial condition, results of operations and prospects.

YSTP’s competitors may develop or commercialize products ahead of them.
     The phannaceutical market in China is intensely competitive, rapidly evolving and highly fragmented. YSTP’s competitors may
develop products that are superior to or more affordable than YSTP’s or they may more effectively market products that compete with
YSTP’s. We face direct competition from manufacturers of other traditional

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Tibetan and Chinese medicines that are similar to our products. We also face competition from manufacturers of Western medicines,
including multinational companies, that manufacture Western medicines with similar curative effects and that can be used as substitutes for
YSTP’s products. Many of YSTP’s existing and potential competitors have substantially greater financial, technical, manufacturing and
other resources than we do. YSTP’s competitors’ greater size in some cases provides them with a competitive advantage with respect to
manufacturing costs because of their economies of scale and their ability to purchase raw materials at lower prices. Many of YSTP’s
competitors also have better brand name recognition, more established distribution networks and larger customer bases. In addition, many of
YSTP’s competitors have extensive knowledge of YSTP’s target markets. As a result, they may be able to devote greater resources to the
research, development, promotion and sale of their products or respond more quickly to evolving industry standards and changes in market
conditions than YSTP can. YSTP’s failure to adapt to changing market conditions and to compete successfully with existing or new
competitors may materially and adversely affect our financial condition and results of operations.

The ongoing anti-corruption campaign initiated by the Chinese government targeting state-owned hospitals could adversely affect our
sales designated for hospitals.
      The Chinese government has recently launched a nationwide campaign against corrupt practices that have been frequently engaged
by state-owned hospitals in China, including their acceptance of kickbacks or other illegal gains and benefits in connection with their
providing medical services and purchasing medical equipment and medicines. In mid-2006, the Chinese Ministry of Health ordered all
state-owned hospitals to review, among other things, their procurement policies and procedures and self-correct problems and deficiencies,
if any, by the end of 2006. As a result of this campaign, many state-owned hospitals have since diverted a significant portion of their
attention and resources to their self-inspection and self-correction activities and are reviewing their procurement policies. If the anti-
corruption campaign becomes more intensified, causing a significant change to the hospitals’ procurement policies and procedures or
otherwise resulting in a further delay for state-owned hospitals to resume their normal procurement of YSTP’s products, our sales designated
for hospitals, whether direct or through distributors, may be adversely affected.

YSTP may no longer enjoy the benefits of being in the “permitted” industry if its business in the future falls into the scope of the
definition of a restricted or prohibited industry.
      The principal regulation in China governing foreign investors’ entry possibility and mode of investment vehicle in the industries in
which they intend to invest is the Catalogue of Industrial Guidance for Foreign Investment, effective as of December 11, 2007 (the
“Catalogue”). The Catalogue classifies the various industries into four categories: encouraged, permitted, restricted and prohibited. Pursuant
to the Catalogue, YSTP is engaged in a “permitted” industry. Such a designation offers businesses distinct advantages. For example,
businesses engaged in encouraged industries:
       •   are not subject to restrictions on foreign investment, and, as such, foreigners can own a majority in Sino- foreign joint ventures or
           establish wholly-owned foreign entetprises in China; and
       •   if a company has total investment of less than $100 million, the company is subject to regional (not central) government
           examination and approval which are generally more efficient and less time-consuming.

      The National Development and Reform Commission and the Ministry of Commerce periodically jointly revise the Catalogue of
Industrial Guidance for Foreign Investment. As such, there is a possibility that YSTP’s business in the future may fall into the scope of the
definition of a restricted or prohibited industry. Should this occur, we would no longer benefit from the above designation.

Risks Related to Doing Business in China
Adverse changes in political and economic policies of the Chinese government could have a material adverse effect on the overall
economic growth of China, which could reduce the demand for YSTP’s products and materially adversely affect our competitive
position.
     We conduct substantially all of our operations and generate ail of our revenues in China. Accordingly, our business, financial
condition, results of operations and prospects are affected significantly by economic, political and legal developments in China. The
Chinese economy differs from the economies of most developed countries in many respects, including:
       •   the higher level of government involvement;

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       •   the early stage of development of the market-oriented sector of the economy;
       •   the rapid growth rate;
       •   the higher level of control over foreign exchange; and
       •   the allocation of resources.

     While the Chinese economy has grown significantly since the late 1 970s, the growth has been uneven, both geographically and
among various sectors of the economy. The Chinese government has implemented various measures to encourage economic growth and
guide the allocation of resources. Some of these measures benefit the overall Chinese economy, but may also have a negative effect on our
business. For example, our financial condition and results of operations may be adversely affected by government control over capital
investments or changes in tax regulations that apply to us.

     The Chinese economy has been transitioning from a planned economy to a more market-oriented economy. Although the Chinese
government has in recent years implemented measures emphasizing the utilization of market forces for economic reform, the Chinese
government continues to exercise significant control over economic growth in China through the allocation of resources, controlling
payment of foreign currency-denominated obligations, setting monetary policy and imposing policies that impact particular industries or
companies in different ways.

Changes in China’s political and economic policies could harm our business.
      China’s economy has historically been a planned economy subject to governmental plans and quotas and has, in certain aspects, been
transitioning to a more market-oriented economy. Although we believe that the economic reform and the macroeconomic measures adopted
by the Chinese government have had a positive effect on the economic development of China, we cannot predict the future direction of
these economic reforms or the effects these measures may have on our business, financial position or results of operations. In addition, the
Chinese economy differs from the economies of most countries belonging to the Organization for Economic Cooperation and Development,
or OECD. These differences include:
       •   economic structure;
       •   level of government involvement in the economy;
       •   level of development;
       •   level of capital reinvestment;
       •   control of foreign exchange;
       •   methods of allocating resources; and
       ■
           balance of payments position.

     As a result of these differences, our business may not develop in the same way or at the same rate as might be expected if the Chinese
economy were similar to those of the OECD member countries. See “Our Business”.

      Since 1979, the Chinese government has promulgated many new laws and regulations covering general economic matters. Despite
these efforts to develop a legal system, China’s system of laws is not yet complete. Even where adequate law exists in China, enforcement of
existing laws or contracts based on existing law may be uncertain or sporadic, and it may be difficult to obtain swift and equitable
enforcement or to obtain enforcement of a judgment by a court of another jurisdiction. The relative inexperience of China’s judiciary, in
many cases, creates additional uncertainty as to the outcome of any litigation. In addition, interpretation of statutes and regulations may be
subject to government policies ref ecting domestic political changes. Our activities in China will also be subject to administration review
and approval by various national and local agencies of China’s government. Because of the changes occurring in China’s legal and
regulatory structure, we may not be able to secure the requisite governmental approval for our activities. Although we and YSTP have
obtained all required governmental approval to operate our business as currently conducted, to the extent we are unable to obtain or
maintain required governmental approvals, the Chinese government may, in its sole discretion, prohibit us from conducting our business.
See “Our Business”

Uncertainties with respect to the Chinese legal system could limit the legal protections available to you and us.
      We conduct substantially all of our business through our operating subsidiary in China, WFOE, which is a wholly foreign owned
enterprise in China. WFOE is generally subject to laws and regulations applicable to foreign investment in China and, in particular, laws
applicable to foreign -invested enterprises. The Chinese legal system is based on written statutes, and prior court decisions may be cited for
reference but have limited precedential value. Since 1979, a series of new Chinese laws and regulations have significantly enhanced the
protections afforded to

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various forms of foreign investments in China. However, since these laws and regulations are relatively new and the Chinese legal system
continues to rapidly evolve, the interpretations of many laws, regulations and rules are not always uniform and enforcement of these laws,
regulations and rules involve uncertainties, which may limit legal protections available to you and us. In addition, any litigation in China
may be protracted and result in substantial costs and diversion of resources and management attention.

A slowdown in the Chinese economy may slow down our growth and profitability.
      The Chinese economy has grown at an approximately 9 percent rate for more than 25 years, making it the fastest growing major
economy in recorded history. We cannot assure you that growth of the Chinese economy will be steady or that any slowdown will not have a
negative effect on our business. Several years ago, the Chinese economy experienced deflation, which may recur in the foreseeable future.
More recently, the Chinese government announced its intention to use macroeconomic tools and regulations to slow the rate of growth of
the Chinese economy, the results of which are difficult to predict. Adverse changes in the Chinese economy could impact the financial
performance of the pharmaceutical industry in China. If such adverse changes were to occur in these industries, commercial shipping could
decrease, which could, in turn, reduce the demand for our shipping agency services. See “Our Business”

Restrictions on currency exchange may limit our ability to receive and use our revenues effectively.
      Most of our revenues and expenses are denominated in Renminbi. Under Chinese law, the Renminbi is currently convertible under the
“current account,” which includes dividends and trade and service-related foreign exchange transactions, but not under the “capital
account,” which includes foreign direct investment and loans. Currently, WFOE may purchase foreign currencies for settlement of current
account transactions, including payments of dividends to us, without the approval of the State Administration of Foreign Exchange, or
SAFE, by complying with certain procedural requirements. However, the relevant Chinese government authorities may limit or eliminate
our ability to purchase foreign currencies in the future. Since a significant amount of our future revenues will be denominated in Renminbi,
any existing and future restrictions on currency exchange may limit our ability to utilize revenues generated in Renminbi to fund our
business activities outside China that are denominated in foreign currencies.

      Foreign exchange transactions by WFOE under the capital account continue to be subject to significant foreign exchange controls and
require the approval of or need to register with Chinese government authorities, including SAFE. In particular, if WFOE borrows foreign
currency through loans from us or other foreign lenders, these loans must be registered with SAFE, and if we finance WFOE by means of
additional capital contributions, these capital contributions must be approved by certain government authorities, including the National
Development and Reform Commission, or the NDRC, the Ministry of Commerce, or MOFCOM, or their respective local counterparts. These
limitations could affect WFOE’s ability to obtain foreign exchange through debt or equity financing.

Recent Chinese regulations relating to the establishment of offshore special purpose vehicles by Chinese residents, if applied to us, may
subject the Chinese resident shareholders of us or our parent company to personal liability and limit our ability to acquire Chinese
companies or to inject capital into our Chinese subsidiary, limit our Chinese subsidiaries’ ability to distribute profits to us or otherwise
materially adversely affect us.
      In October 2005, SAFE issued a public notice, the Notice on Relevant Issues in the Foreign Exchange Control over Financing and
Return Investment Through Special Purpose Companies by Residents Inside China, or Notice 75, which requires Chinese residents,
including both legal persons and natural persons, to register with the competent local SAFE branch before establishing or controlling any
company outside of China, referred to as an “offshore special puipose company,” for the purpose of overseas equity financing involving
onshore assets or equity interests held by them. In addition, any Chinese resident that is the shareholder of an offshore special purpose
company is required to amend its SAFE registration with the local SAFE branch with respect to that offshore special purpose company in
connection with any increase or decrease of capital, transfer of shares, merger, division, equity investment or creation of any security interest
over any assets located in China. Moreover, if the offshore special purpose company was established and owned the onshore assets or equity
interests before the implementation date of Notice 75, a retroactive SAFE registration is required to have been completed before March 31,
2006. If any Chinese shareholder of any offshore special purpose company fails to make the required SAFE registration and amendment, the
Chinese subsidiaries of that offshore special puipose company may be prohibited from distributing

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their profits and the proceeds from any reduction in capital, share transfer or liquidation to the offshore special purpose company. Moreover,
failure to comply with the SAFE registration and amendment requirements described above could result in liability under Chinese laws for
evasion of applicable foreign exchange restrictions.

      Due to lack of official interpretation, some of the terms and provisions in Notice 75 remain unclear and implementation by central
SAFE and local SAFE branches of Notice 75 has been inconsistent since its adoption. Because of uncertainty over how Notice 75 will be
inteipreted and implemented, we cannot predict how it will affect our business operations or future strategies. For example, our present and
prospective Chinese subsidiaries’ ability to conduct foreign exchange activities, such as the remittance of dividends and foreign currency-
denominated borrowings, may be subject to compliance with Notice 75 by our or our parent company’s Chinese resident beneficial holders.
fn addition, such Chinese residents may not always be able to complete the necessary registration procedures required by Notice 75. We also
have little control over either our present or prospective direct or indirect shareholders or the outcome of such registration procedures. A
failure by our Chinese resident beneficial holders or future Chinese resident shareholders to comply with Notice 75, if SAFE requires it,
could subject us to fines or legal sanctions, restrict our overseas or cross-border investment activities, limit our subsidiary’s ability to make
distributions or pay dividends or affect our ownership structure, which could adversely affect our business and prospects.

The Chinese government could change its policies toward private enterprise or even nationalize or expropriate private enterprises,
which could result in the total loss of our investment in that country.
      Our business is subject to significant political and economic uncertainties and may be adversely affected by political, economic and
social developments in China. Over the past several years, the Chinese government has pursued economic refomi policies including the
encouragement of private economic activity and greater economic decentralization. The Chinese government may not continue to pursue
these policies or may significantly alter them to our detriment from time to time with little, if any, prior notice.

      Changes in policies, laws and regulations or in their inteipretation or the imposition of confiscatory taxation, restrictions on currency
conversion, restrictions or prohibitions on dividend payments to stockholders, devaluations of currency or the nationalization or other
expropriation of private enterprises could have a material adverse effect on our business. Nationalization or expropriation could even result
in the total loss of our investment in China and in the total loss of your investment in us.

We must remit the offering proceeds to China before they may be used to benefit our business in China, and this process may take
several of months to complete.
      The proceeds of this offering must be sent back to China, and the process for sending such proceeds back to China may take as long as
six months after the closing of this offering. In utilizing the proceeds of this offering in the manner described in “Use of Proceeds,” as an
offshore holding company of our PRC operating subsidiaries, we may make loans to our PRC subsidiaries, or we may make additional
capital contributions to our PRC subsidiaries. Any loans to our PRC subsidiaries are subject to PRC regulations. For example, loans by us to
our subsidiaries in China, which are foreign-invested enterprises, to finance their activities cannot exceed statutory limits and must be
registered with the SAFE.

      To remit the proceeds of the offering, we must take the following steps:
       •   First, we will open a special foreign exchange account for capital account transactions. To open this account, we must submit to
           SAFE certain application forms, identity documents, transaction documents, form of foreign exchange registration of overseas
           investments of the domestic residents, and foreign exchange registration certificate of the invested company.
       ■
           Second, we will remit the offering proceeds into this special foreign exchange account.
       ■
           Third, we will apply for settlement of the foreign exchange. In order to do so, we must submit to SAFE certain application forms,
           identity documents, payment order to a designated person, and a tax certificate.

      The timing of the process is difficult to estimate because the efficiencies of different SAFE branches can vary significantly. Ordinarily
the process takes several months but is required by law to be accomplished within 1 80 days of application.

      We may also decide to finance our subsidiaries by means of capital contributions. These capital contributions must be approved by the
PRC Ministry of Commerce or its local counterpart. We cannot assure you that we will be able to obtain these government approvals on a
timely basis, if at all, with respect to future capital contributions by us to our subsidiaries. Ifwe fail to receive such approvals, our ability to
use the proceeds of this offering and to

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capitalize our Chinese operations may be negatively affected, which could adversely affect our liquidity and our ability to fund and expand
our business. The timing of the process is difficult to estimate because the efficiencies of different SAFE branches can vary significantly.
Ordinarily the process takes several months but is required to be completed within six months of application by law. If we fail to receive
such approvals, our ability to use the proceeds of this offering and to capitalize our Chinese operations may be negatively affected, which
could adversely affect our liquidity and our ability to fund and expand our business.

We face risks related to health epidemics and other outbreaks.
      Adverse public health epidemics or pandemics could disrupt business and the economies of China and other countries where we do
business. From December 2002 to June 2003, China and other countries experienced an outbreak of a highly contagious form of atypical
pneumonia now known as severe acute respiratory syndrome, orSARS. On July 5,2003, the World Health Organization declared that the
SARS outbreak had been contained. However, a number of isolated new cases of SARS were subsequently reported, most recently in central
China in April 2004. During May and June of 2003, many businesses in China were closed by the Chinese government to prevent
transmission of SARS. Moreover, some Asian countries, including China, have recently encountered incidents of the H5N1 strain of avian
influenza. We are unable to predict the effect, if any, that avian influenza may have on our business. In particular, any future outbreak of
SARS, avian influenza or other similar adverse public developments may, among other things, significantly disrupt our business and force
us to temporarily close our offices. Furthermore, an outbreak may severely restrict the level of economic activity in affected areas, which
may in turn materially adversely affect our financial condition and results of operations. We have not adopted any written preventive
measures or contingency plans to combat any future outbreak of avian influenza, SARS or any other epidemic.

Fluctuation in the value of the Renminbi may have a material adverse effect on your investment.
       As of January 14, 201 1, the exchange rate between the Renminbi and U.S. dollar was 6.5895 to $1.00. Changes in the value of the
Renminbi against the U.S. dollar, Euro and other foreign currencies are affected by, among other things, changes in China’s political and
economic conditions. Any significant revaluation of the Renminbi may have a material adverse effect on our revenues and financial
condition, and the value of, and any dividends payable on our shares in U.S. dollar terms. For example, to the extent that we need to convert
U.S. dollars wc receive from our initial public offering into Renminbi for our operations, appreciation of the Renminbi against the U.S.
dollar would have an adverse effect on Renminbi amount wc would receive from the conversion. Conversely, if we decide to convert our
Renminbi into U.S. dollars for the puipose of paying dividends on our common shares or for other business puiposes, appreciation of the
U.S. dollar against the Renminbi would have a negative effect on the U.S. dollar amount available to us. In addition, fluctuations of the
Renminbi against other currencies may increase or decrease the cost of imports, and thus affect the price-competitiveness of YSTP’s
products against products of foreign manufacture or products relying on foreign inputs. To the extent YSTP continues to sell products solely
in China and to purchase materials solely in China, a change in the exchange rate would not directly affect our financial condition or results
of operation. It would, however, cause our company’s financial statements to appear stronger in U.S. dollars upon translation from Renminbi
to the extent the Renminbi strengthens against the U.S. dollar and weaker to the extent the Renminbi weakens. If YSTP begins to sell
YSTP’s products in U.S. dollars, then a stronger dollar will result in an improvement in our financial condition and results of operations to
the extent of the improvement in exchange rate, multiplied by the percentage of our sales that are conducted in U.S. dollars, less any impact
associated with purchasing materials in U.S. dollars. We reflect the impact of currency translation adjustments in our financial statements
under the heading “foreign currency translation adjustment.” For the years ended December 3 1 , 2008 and 2009, we recorded adjustments of
$651,895 and $42,693, respectively, for foreign currency translations. Similarly, such fluctuations may affect the price-competitiveness of
YSTP’s products in foreign markets as we work to develop an export market. We do not engage in any currency hedging transactions in an
effort to mitigate this risk.

Recent changes in the Chinese labor law restrict our ability to reduce YSTP’s workforce in China in the event of an economic downturn
and may increase YSTP’s production costs.
     In June 2007, the National People’s Congress of China enacted new labor law legislation called the Labor Contract Law, which
became effective on January 1,2008. To clarify certain details in connection with the implementation of the Labor Contract Law, the
Chinese State Council promulgated the Implementing Rules for the Labor Contract Law on September 18, 2008, which came into effect
immediately. The new legislation fonualized

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workers’ rights concerning overtime hours, pensions, layoffs, employment contracts and the role of trade unions. Considered one of the
strictest labor laws in the world, among other things, this new law provides for specific standards and procedures for the tennination of an
employment contract and places the burden of proof on the employer. In addition, the law requires the payment of a statutory severance pay
upon the termination of an employment contract in most cases, including the case of the expiration of a fixed-term employment contract.
Further, the law requires an employer to conclude an “employment contract without a fixed-term” with any employee who either has worked
for the same employer for 10 consecutive years or more or has had two consecutive fixed-term contracts with the same employer. An
“employment contract without a fixed term” can no longer be terminated on the ground of the expiration of the contract, although it can
still be tenninated pursuant to the standards and procedures set forth under the new law. Because of the lack of precedents for the
enforcement of such a law, the standards and procedures set forth under the law in relation to the termination of an employment contract
have raised concerns among foreign investment enterprises in China that such “employment contract without a fixed term” might in fact
become a “lifetime, permanent employment contract.” Finally, under the new law, downsizing of either more than 20 people or more than
10% of the workforce may occur only underspecified circumstances, such as a restructuring undertaken pursuant to China’s Enterprise
Bankruptcy Law, or where a company suffers serious difficulties in production and/or business operations, or where there has been a material
change in the objective economic circumstances relied upon by the parties at the time of the conclusion of the employment contract,
thereby making the perfonnance of such employment contract not possible. To date, there has been very little guidance and precedents as to
how such specified circumstances fordownsizing will be interpreted and enforced by the relevant Chinese authorities. All ofYSTP’s
employees working for it exclusively within China are covered by the new law and thus, our ability to adjust the size ofYSTP’s operations
when necessary in periods of recession or less severe economic downturns may be curtailed. Accordingly, ifwe face future periods of decline
in business activity generally or adverse economic periods specific to our business, this new law can be expected to exacerbate the adverse
effect of the economic environment on our results of operations and financial condition.

If any dividend is declared in the future and paid in a foreign currency, you may be taxed on a larger amount in U.S. dollars than the
U.S. dollar amount that you will actually ultimately receive.
      If you are a United States holder, you will be taxed on the U.S. dollar value of your dividends, if any, at the time you receive them,
even if you actually receive a smaller amount of U.S. dollars when the payment is in fact converted into U.S. dollars. Specifically, if a
dividend is declared and paid in a foreign currency, the amount of the dividend distribution that you must include in your income as a U.S.
holder will be the U.S. dollar value of the payments made in the foreign currency, determined at the spot rate ofthe foreign currency to the
U.S. dollar on the date the dividend distribution is includible in your income, regardless of whether the payment is in fact converted into
US. dollars. Thus, if the value ofthe foreign currency decreases before you actually convert the currency into U.S. dollars, you will be taxed
on a larger amount in U.S. dollars than the U.S. dollar amount that you will actually ultimately receive.

We may become a passive foreign investment company, which could result in adverse U.S. tax consequences to U.S. investors.
      Based upon the nature of our business activities, wc may be classified as a passive foreign investment company (“PFIC”), by the U.S.
Internal Revenue Service (“IRS”), for U.S. federal income tax purposes. Such characterization could result in adverse U.S. tax consequences
to you if you are a U.S. investor. For example, if we are a PFIC, a U.S. investor will become subject to burdensome reporting requirements.
The determination of whether or not we are a PFIC is made on an annual basis and will depend on the composition of our income and assets
from time to time. Specifically, we will be classified as a PFIC for U.S. tax puiposes if either:
       •   75% or more of our gross income in a taxable year is passive income; or
       •   the average percentage of our assets by value in a taxable year which produce or are held for the production of passive income
           (which includes cash) is at least 50%.

      The calculation of the value of our assets is based, in part, on the then market value of our common shares, which is subject to change.
In addition, the composition of our income and assets will be affected by how, and how quickly, we spend the cash we raise in this offering.
We cannot assure you that we will not be a PFIC for any taxable year. See “Taxation - United States Federal Income Tax Matter’s Applicable
to U.S. Ffolders of our Common Shares—Passive Foreign Investment Company.”

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If relations between the United States and China worsen, our share price may decrease and we may have difficulty accessing U.S.
capital markets.
     At various times during recent years, the United States and China have had disagreements over political and economic issues.
Controversies may arise in the future between these two countries. Any political or trade controversies between the United States and China
could adversely affect the market price of our common shares and our ability to access U.S. capital markets.

Because our operations are located in China, information about our operations are not readily available from independent third-party
sources.
      Because YSTP and WFOE are based in China, our shareholders may have greater difficulty in obtaining information about them on a
timely basis than would shareholders of a U.S.-based company. Their operations will continue to be conducted in China and shareholders
may have difficulty in obtaining information about them from sources other than the companies themselves. Information available from
newspapers, trade journals, or local, regional or national regulatory agencies such as issuance of construction permits and contract awards
for development projects will not be readily available to shareholders and, where available, will likely be available only in Chinese.
Shareholders will be dependent upon management for reports of their progress, development, activities and expenditure of proceeds.

Our failure to obtain prior approval of the China Securities Regulatory Commission (“CSRC”) of the listing and trading of our
common shares on a foreign stock exchange could significantly delay this offering or could have a material adverse effect upon our
business, operating results, reputation and trading price of our common shares.
      On August 8, 2006, six Chinese regulatory agencies, including the Ministry of Commerce, the State Assets Supervision and
Administration Commission, the State Administration of Taxation, the State Administration for Industry and Commerce, the CSRC and
SAFE, jointly issued the Regulations on Mergers and Acquisitions of Domestic Enterprises by Foreign Investors (the “New M&A Rule”).
The New M&A Rule became effective on September 8, 2006. This regulation contains provisions that purport to require that an offshore
special puipose vehicle (“SPV”) formed for listing purposes and controlled directly or indirectly by Chinese companies or individuals shall
obtain the approval of the CSRC prior to the listing and trading of such SPV’s securities on an overseas stock exchange. On September 21 ,
2006, the CSRC published procedures specifying documents and materials required to be submitted to it by SPVs seeking CSRC approval
of overseas listings.

     The application of the New M&A Rule remains unclear with no consensus currently existing among leading Chinese law firms
regarding the scope and applicability of the CSRC approval requirement. Our Chinese counsel, DeFleng Law Offices, has advised us that,
based upon their understanding of current Chinese laws and regulations:
       •   We currently control our Chinese affiliate, YSTP, by virtue of WFOE’s Control Agreements with YSTP, but not through equity
           interest or asset acquisition which are stipulated in the New M&A Rule; and
       •   In spite of the lack of clarity on this issue, the CSRC has not issued any definitive rule or interpretation regarding whether
           offerings like the one contemplated by this Prospectus are subject to the New M&A Rule.

      The CSRC has not issued any such definitive rule or interpretation, and we have not chosen to voluntarily request approval under the
New M&A Rule. If the CSRC requires that we obtain its approval prior to the completion of this offering, the offering will be delayed until
we obtain CSRC approval, which may take several months. There is also the possibility that we may not be able to obtain such approval. If
prior CSRC approval was required, we may face regulatory actions or other sanctions from the CSRC or other Chinese regulatory authorities.
These authorities may impose fines and penalties upon our operations in China, limit our operating privileges in China, delay or restrict the
repatriation of the proceeds from this offering into China, or take other actions that could have a material adverse effect upon our business,
financial condition, results of operations, reputation and prospects, as well as the trading price of our common shares. The CSRC or other
Chinese regulatory agencies may also take actions requiring us, or making it advisable for us, to terminate this offering prior to closing.

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Chinese regulation of loans and direct investment by offshore holding companies to Chinese entities may delay or prevent us from
using the proceeds of this offering to make loans or additional capital contributions to our Chinese operating subsidiaries.
     In utilizing the proceeds of this offering in the manner described in “Use of Proceeds,” as an offshore holding company of our Chinese
operating subsidiaries, we may make loans or additional capital contributions to our Chinese subsidiaries.

      Loans extended by foreign entities such as our company to either an FIE or a domestic Chinese company are subject to Chinese
regulatory approvals and registration with the SAFE. For an FIE, such as WFOE, the Chinese regulators approve particular amounts for the
FIE’s registered capital, which represents shareholders’ equity investments over a defined period of time, and the FIE’s total investment,
which represents the total of the company’s registered capital plus permitted loans. The excess of the total investment over the registered
capital represents the maximum amount of borrowings that an FIE is permitted to have under Chinese law. An FIE’s loans must be registered
with the SAFE. A domestic Chinese company may borrow medium- and long-term loans from a foreign lender, such as our company, but
must obtain NDRC approval for those loans. A domestic Chinese company may also bo now short-term foreign loans, subject, however, to a
quota set by the SAFE from time to time.

      In addition to loans, we may also decide to finance our subsidiaries by means of capital contributions. These capital contributions,
whether to an FIE ora domestic Chinese company, must be approved by the Ministry of Commerce or its local counterparts. We cannot
assure you that we will be able to obtain these government approvals on a timely basis, if at all, with respect to future capital contributions
by us to our subsidiaries. If we fail to receive such approvals, our ability to use the proceeds of this offering and to capitalize our Chinese
operations may be negatively affected, which could adversely affect our liquidity and our ability to fund and expand our business.

Risks Related to This Offering
There may not be an active, liquid trading market for our common shares.
     Prior to this offering, there has been no public market for our common shares. An active trading market for our common shares may not
develop or be sustained following this offering. You may not be able to sell your shares at the market price, if at all, if trading in our
common shares is not active. The initial public offering price was determined by negotiations between us and the Placement Agent based
upon a number of factors. The initial public offering price may not be indicative of prices that will prevail in the trading market.

Investors risk loss of use of funds subscribed, with no right of return, during the offering period.
      We cannot assure you that all or any shares will be sold. Anderson & Stmdwick, our Placement Agent, is offering our shares on a best
efforts minimum/maximum basis.” We have no firm commitment from anyone, including our subsidiaries, to purchase all or any of the
shares offered. If subscriptions for a minimum of 2,500,000 shares are not received on or before January 3 1 , 201 1 , escrow provisions require
that all funds received be promptly refunded. If refunded, investors will receive no interest on their funds. During the offering period,
investors will not have any use or right to return of the funds.

The market price for our common shares may be volatile, which could result in substantial losses to investors.
     The market price for our common shares is likely to be volatile and subject to wide fluctuations in response to factors including the
following:
       •   actual or anticipated fluctuations in our quarterly operating results;
       •   changes in the Chinese pharmaceutical industry;
       •   changes in the Chinese economy;
       •   announcements by our competitors of significant acquisitions, strategic partnerships, joint ventures or capital commitments;
       •   additions or departures of key personnel; or
       •   potential litigation.

      In addition, the securities markets have from time to time experienced significant price and volume fluctuations that are not related to
the operating performance of particular companies. As a result, to the extent shareholders sell our common shares in negative market
fluctuation, they may not receive a price per share that is based solely upon our business performance. Wc cannot guarantee that
shareholders will not lose some of their entire investment in our common shares.

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Our senior management lacks experience managing a public company and complying with laws applicable to operating as a U.S.
public company domiciled in the British Virgin Islands.
       Prior to the completion of this offering, YSTP operated as a private company located in China. In connection with this offering, the
senior management of YSTP formed TBET in the British Virgin Islands, CTP in Hong Kong and caused WFOE to become TBET’s subsidiary
in the PRC. They also caused YSTP and WFOE to enter into certain agreements that gave TBET effective control over the operations of
YSTP by virtue of its ownership of CTP and CTP’s ownership of WFOE. In the process of taking these steps to prepare o nr company for this
initial public offering, YSTP’s senior management became the senior management of TBET. TBET’s senior management has limited
experience managing a public company or managing a British Virgin Islands company.

      As a result of this offering, our company will become subject to laws, regulations and obligations that do not currently apply to it. Our
senior management currently has no experience in complying with such laws, regulations and obligations. For example, TBET will need to
comply with the British Virgin Islands laws applicable to companies that are domiciled in that country. By contrast, such senior
management is currently experienced in operating the business of YSTP in compliance with Chinese law. Similarly, by virtue of this
offering, TBET will be required to file quarterly and annual reports and to comply with U.S. securities and other laws, which may not have
applied to TBET prior to the offering. These obligations can be burdensome and complicated, and failure to comply with such obligations
could have a material adverse effect on TBET. In addition, we expect that the process of learning about such new obligations as a public
company in the United States will require senior management to devote time and resources to such efforts that might otherwise be spent on
the operation of the business of phannaceuticals.

      Further, because historically our operations have been in China, we have operated in accordance with China GAAP and have not
previously been required to comply with U.S. GAAP. Our current CFO has limited experience with U.S. GAAP, although our Senior
Accountant and one of our board members do have significant experience with U.S. GAAP. We are taking steps to increase our level of
experience with U.S. accounting and SEC requirements, as well as to improve our internal accounting controls. Our annual financial
statements are reviewed by our independent registered public accounting firm for compliance with U.S. GAAP standards. Yet, we cannot
assure that our management has identified or Hilly remedied all material weaknesses in our internal controls of financial reporting pursuant
to US GAAP. If deficiencies go undetected or unremedied, our financial statements may not accurately reflect our financial condition as
required by U.S. GAAP.

We may be exposed to potential risks relating to our internal controls over financial reporting and our ability to have those controls
attested to by our independent auditors.
      Upon the closing of this offering, we will become a public company in the United States that is or will be subject to, the Sarbanes-
Oxley Act of 2002. As directed by Section 404 of the Sarbanes-Oxley Act of 2002, the U.S. Securities and Exchange Commission adopted
rules requiring public companies to include a report of management on the company’s internal controls over financial reporting in their
annual reports. In addition, the independent registered public accounting firm auditing a company’s financial statements may also attest to
and report on management’s assessment of the effectiveness of the company’s internal controls over financial reporting as well as the
operating effectiveness of the company’s internal controls. Undercurrent SEC regulations, our public accounting firm is required to issue an
attestation report on our internal controls over financial reporting only if we are an accelerated filer or a large accredited filer. In addition,
under current law, we will be required to include a management report beginning with our annual report for the 2010 fiscal year. Our
management may conclude that our internal controls over our financial reporting are not effective.

      We can provide no assurance that we will be in compliance with all of the requirements imposed by Section 404. In the event we
identify significant deficiencies or material weaknesses in our internal controls that wc cannot remediate in a timely manner or we arc
unable to receive a positive attestation from our independent auditors with respect to our internal controls, investors and others may lose
confidence in the reliability of our financial statements. Any of these possible outcomes could result in an adverse reaction in the financial
marketplace due to a loss of investor confidence in the reliability of our reporting processes, which could adversely affect the trading price
of our stock.

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Our failure to obtain prior approval of the China Securities Regulatory Commission (“CSRC”) of the listing and trading of our
common shares on a foreign stock exchange could significantly delay this offering or could have a material adverse effect upon our
business, operating results, reputation and trading price of our common shares.
      On August 8, 2006, six Chinese regulatory agencies, including the Ministiy of Commerce, the State Assets Supervision and
Administration Commission, the State Administration of Taxation, the State Administration for Industry and Commerce, the CSRC and
SAFE, jointly issued the Regulations on Mergers and Acquisitions of Domestic Enterprises by Foreign Investors (the “New M&A Rule”).
The New M&A Rule became effective on September 8, 2006. This regulation contains provisions that purport to require that an offshore
special puipose vehicle (“SPV”) formed for listing purposes and controlled directly or indirectly by Chinese companies or individuals shall
obtain the approval of the CSRC prior to the listing and trading of such SPV’s securities on an overseas stock exchange. On September 21,
2006, the CSRC published procedures specifying documents and materials required to be submitted to it by SPVs seeking CSRC approval
of overseas listings.

      However, the application of the New M&A Rule remains unclear with no consensus currently existing among leading Chinese law
firms regarding the scope and applicability of the CSRC approval requirement. Our Chinese counsel, DeHeng Law Offices, has advised us
that, based upon their understanding of current Chinese laws and regulations:
       •   we currently control our Chinese affiliate, YSTP, by virtue ofWFOE’s VIE agreements with YSTP, but not through equity interest
           or asset acquisition which are stipulated in the New M&A Rule; and
      •    in spite of the lack of clarity on this issue, the CSRC has not issued any definitive rule or interpretation regarding whether
           offerings like the one contemplated by this Prospectus are subject to the New M&A Rule.

    The CSRC has not issued any such definitive rule or interpretation, and we have not chosen to voluntarily request approval under the
New M&A Rule. If the CSRC requires that we obtain its approval prior to the completion of this offering, the offering will be delayed until
we obtain CSRC approval, which may take several months. There is also the possibility that we may not be able to obtain such approval. If
prior CSRC approval was required, we may face regulatory actions or other sanctions from the CSRC or other Chinese regulatory authorities.
These authorities may impose fines and penalties upon our operations in China, limit our operating privileges in China, delay or restrict the
repatriation of the proceeds from this offering into China, or take other actions that could have a material adverse effect upon our business,
financial condition, results of operations, reputation and prospects, as well as the trading price of our common shares. The CSRC or other
Chinese regulatory agencies may also take actions requiring us, or making it advisable for us, to terminate this offering prior to closing.

If our financial condition deteriorates, we may not meet initial objective listing standards related to net income on the NASDAQ Global
Market (or, if we are listed at such time, continued listing standards) and our shareholders could find it difficult to sell our shares.
           We have applied to list our common shares for trading on the NASDAQ Global Market. We have not yet been infonned that our
     common shares will trade on the NASDAQ Global Market and can provide no assurance that our NASDAQ Global Market listing
     application will be approved. Additionally, we will not complete this offering unless our application to list on the NASDAQ Global
     Market is approved. In order to qualify for initial listing on the NASDAQ Global Market upon the completion of this offering, we must
     meet the following criteria:
      •    (i) Equity Standard: we must have been in operation for at least two years, must have shareholder equity of at least $30,000,000
           and must have a market value for ourpublicly held securities of at least $ 1 8,000,000; OR (ii) Market Value Standard: we must
           have a market value for our publicly held securities of at least $20,000,000 and must have a market value of our listed securities
           of at least $75,000,000; OR (iii) Income Standard: we must have net income from continuing operations in our last fiscal year (or
           two of the last three fiscal years) of at least $ 1 ,000,000, must have shareholder equity of at least S 1 5,000,000 and must have a
           market value for our publicly held securities of at least $8,000,000; OR (iv) Total Assets/Total Revenue Standard: we must have
           total assets and total revenues in our last fiscal year (or two of the last three fiscal years) of at least $75,000,000 each and we must
           have a market value for our publicly held securities of at least $20,000,000; and
      •    we must have at least 1.1 million publicly held shares;
      •    the minimum bid price for our shares must be at least $4.00 per share;
      •    we must have at least 400 round-lot shareholders;

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       •   we must have at least 3 (in the case of the Income Standard or Equity Standard) or 4 (in the case of the Market Value Standard or
           Total Assets/Total Revenue Standard) market makers; and
       •   we must have adopted NASDAQ-mandated corporate governance measures, including a Board of Directors comprised of a
           majority of independent directors, an Audit Committee comprised solely of independent directors and the adoption ofa code of
           ethics among other items.
      As to the first objective listing requirement, we have applied for listing on the NASDAQ Global Market in reliance on the third test
(“net income from continuing operations in our last fiscal year (or two of the last three fiscal years) of at least $ 1 ,000,000, must have
shareholder equity of at least SI 5,000,000 and must have a market value for our publicly held securities of at least $8,000,000”). While our
net income for 2009 and 2008 satisfied this objective requirement, a deterioration in our financial status combined with a protracted
registration and offering period could cause us to fail to meet this requirement.

      The NASDAQ Global Market also requires companies to fulfill specific requirements in order for their shares to continue to be listed.
In order to qualify for continued listing on the NASDAQ Global Market, we must meet the following criteria:
       •   (i) Equity Standard: our shareholders’ equity must be at least $10,000,000, we must have 750,000 publicly held shares and we
           must have a market value of publicly held shares of at least $5,000,000; OR (ii) Market Value Standard: the market value of our
           listed securities must be at least $50,000,000, we must have 1,100,000 publicly held shares, and we must have a market value of
           publicly held shares of at least $ 1 5,000,000; OR (ii i) Total Assets/Total Revenue Standard: our total assets and total revenue in
           our last fiscal year (or two of the last three fiscal years) must have been at least $50,000,000 each, we must have 1,100,000
           publicly held shares, and we must have a market value of publicly held shares of at least $15,000,000;
       •   the minimum bid price for our shares must be at least $1 .00 per share;
       •   we must have at least 400 round lot shareholders or at least 2,200 total shareholders;
       •   a market value of publicly held shares (excluding shares held by officers, directors and 1 0% or greater shareholders) of at least
           $70 million;
       •   we must have at least 2 (Equity Standard) or 4 (Market Value Standard or Total Assets/Total Revenue Standard) market makers;
           and
       •   we must have adopted NASDAQ-mandated corporate governance measures, including a Board of Directors comprised of a
           majority of independent directors, an Audit Committee comprised solely of independent directors and the adoption ofa code of
           ethics among other items.

      Although we have applied to have our common shares trade on the NASDAQ Global Market upon closing of this offering, investors
should be aware that they will be required to commit their investment funds prior to the approval or disapproval of our listing application
by the NASDAQ Global Market. We will not close this offering unless our listing application is approved. If our shares are delisted from the
NASDAQ Global Market at some later date, our shareholders could find it difficult to sell our shares.

      In addition, we have relied on an exemption to the blue sky registration requirements afforded to “covered securities”. Securities listed
on the NASDAQ Global Market are “covered securities.” If we were unable to meet the NASDAQ Global Market’s listing standards, then we
would be unable to rely on the covered securities exemption to blue sky registration requirements and we would need to register the offering
in each state in which we planned to sell shares. Consequently, we will not complete this offering unless we meet the NASDAQ Global
Market’s listing requirements.

      In addition, if our common shares arc delisted from the NASDAQ Global Market at some later date, we may apply to have our common
shares quoted on the Bulletin Board or in the “pink sheets” maintained by the National Quotation Bureau, Inc. The Bulletin Board and the
“pink sheets” are generally considered to be less efficient markets than the NASDAQ Global Market. In addition, if our common shares are
not so listed or is delisted at some later date, our common shares may be subject to the “penny stock” regulations. These rules impose
additional sales practice requirements on broker-dealers that sell low-priced securities to persons other than established customers and
institutional accredited investors and require the delivery ofa disclosure schedule explaining the nature and risks of the penny stock
market. As a result, the ability or willingness of broker-dealers to sell or make a market in our common shares might decline. If our common
shares are not so listed or are delisted from the NASDAQ Global Market at some later date or were to become subject to the penny stock
regulations, it is likely that the price of our shares would decline and that our shareholders would find it difficult to sell their shares.

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We will incur increased costs as a result of being a public company.
      As a public company, we will incur significant legal, accounting and other expenses that we did not incur as a private company. In
addition, the Sarbancs-Oxlcy Act, as well as new rules subsequently implemented by the SEC and NASDAQ changes in corporate
governance practices of public companies. We expect these new rules and regulations to significantly increase our legal, accounting and
financial compliance costs and to make certain corporate activities more time-consuming and costly. In addition, we will incur additional
costs associated with our public company reporting requirements. We estimate that our costs for SEC reporting and continued listing on the
NASDAQ Global Market to be between $500,000 and $ 1 ,000,000 per year that we did not experience prior to commencement of this
offering.

Our classified board structure may prevent a change in our control.
      Our board of directors is divided into three classes of directors. Directors of each class are chosen for staggered three-year terms upon
the expiration of their current terms, and each year one class of directors is elected by the shareholders. The staggered terms of our directors
may reduce the possibility of a tender offer or an attempt at a change in control, even though a tender offer or change in control might be in
the best interest of our shareholders. See “Management Board of Directors and Board Committees.”
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Future sales of our common shares may depress our share price.
      The market price of our common shares could decline as a result of sales of substantial amounts of our common shares in the public
market, or the perception that these sales could occur. In addition, these factors could make it more difficult for us to raise funds through
future offerings of common shares. There will be an aggregate of 1 1,812,500 common shares outstanding before the consummation of this
offering and 14,812,500 common shares outstanding immediately after this offering, if the maximum offering is raised. All of the common
shares sold in the offering will be freely transferable without restriction or further registration under the Securities Act, except for any shares
purchased by any “affiliates,” as defined in Rule 144 of the Securities Act. The remaining common shares will be “restricted securities” as
defined in Rule 144. These shares may be sold in the future without registration under the Securities Act to the extent permitted by Rule 144
or other exemptions under the Securities Act. See “Shares Eligible for Future Sale.”

You will experience immediate and substantial dilution.
      The initial public offering price of our common shares is expected to be substantially higher than the pro forma net tangible book
value per share of our common shares. Therefore, assuming the completion of the maximum offering, if you purchase common shares in this
offering, you will incur immediate dilution of approximately $3.20 or approximately 58% in the pro forma net tangible book value per
common share from the price per share that you pay for the common shares. Assuming the completion of the minimum offering, if you
purchase common shares in this offering, you will incur immediate dilution of approximately $3.30 or approximately 60% in the pro forma
net tangible book value per common share from the price per share that you pay for the common shares. Accordingly, if you purchase
common shares in this offering, you will incur immediate and substantial dilution of your investment. See “Dilution.”

Entities controlled by our employees, officers and/or directors will control a majority of our common shares, decreasing your
influence on shareholder decisions.
      Assuming the sale of the maximum offering, entities controlled by our employees, officers and/or directors will, in the aggregate,
beneficially own approximately 74% of our outstanding shares. Assuming the sale of the minimum offering, entities controlled by our
employees, officers and/or directors will, in the aggregate, beneficially own approximately 77% of our outstanding common shares. As a
result, our employees, officers and directors will possess substantial ability to impact our management and affairs and the outcome of matters
submitted to shareholders for approval. These shareholders, acting individually or as a group, could exert control and substantial influence
over matters such as electing directors and approving mergers or other business combination transactions. This concentration of ownership
and voting power may also discourage, delay or prevent a change in control of our company, which could deprive our shareholders of an
opportunity to receive a premium for their shares as part of a sale of our company and might reduce the price of our common shares. These
actions may be taken even if they are opposed by our other shareholders, including those who purchase shares in this offering. See
“Principal Shareholders.”
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We will have an ongoing relationship with our Placement Agent that may impact our shareholders’ ability to impact decisions related
to our operations.
     In connection with this offering, wc have agreed to allow our Placement Agent to designate two non-voting observers to our Board of
Directors until the earlier of the date that:

      (i) the investors that purchase shares in this offering beneficially own less than five percent (5%) of our outstanding shares; or

      (ii) the trading price per share is at least four (4) times the offering price for any consecutive 15 trading day period.

      Although our Placement Agent’s observers will not be able to vote, they may nevertheless significantly influence the outcome of
matters submitted to the Board of Directors for approval. We have agreed to reimburse the observers for their expenses for attending our
Board meetings, subject to a maximum reimbursement of $6,000 per meeting and $12,000 annually, which amount is not more than the
reimbursement payable to our directors. The observer will be required to certify that such travel expenses are not reimbursed by any other
party. We will also pay observers the same amount as our independent directors receive. As of the date of this prospectus, Mr. L. McCarthy
Downs III and Mr. Hayden Zou are serving as our Placement Agent’s observers to our Board of Directors. See “Management - Board of
Directors Observer.”

As the rights of shareholders under British Virgin Islands law differ from those under U.S. law, you may have fewer protections as a
shareholder.
      Our corporate affairs will be governed by our amended and restated memorandum and articles of association (as they may be amended
and modified from time to time), the British Virgin Islands Business Companies Act, 2004 (the “BVI Act”), and the ordinary law of the
British Virgin Islands. The rights of shareholders to take legal action against our directors, actions by minority shareholders and the
fiduciary responsibilities of our directors under British Virgin Islands law are to a large extent governed by the ordinary law of the British
Virgin Islands and by the BVI Act. The ordinary law of the British Virgin Islands is derived in part Ifom comparatively limited judicial
precedent in the British Virgin Islands as well as from English ordinary law, which has persuasive, but not binding, authority on a court in
the British Virgin Islands. The rights of our shareholders and the fiduciary responsibilities of our directors under British Virgin Islands law
therefore are not as clearly established as they would be under statutes or judicial precedents in some jurisdictions in the United States. In
particular, the British Virgin Islands has a less developed body of securities laws as compared to the United States, and some states (such as
Delaware) have more fully developed and judicially interpreted bodies of corporate law.

      As a result of all of the above, holders of our shares may have more difficulty in protecting their interests through actions against our
management, directors or major shareholders than they would as shareholders of a U.S. company. They may have greater difficulty securing
legal advice about the law of the British Virgin Islands than they would U.S. and state law, and the relatively less developed nature of that
country’s securities law may leave investors with less certainty about the validity and strength of any claims they believe they may have
against us. In addition, other differences between British Virgin Island and U.S. as well as the terms of our articles of association may result
in shareholders having different potential influence than they would under various U.S. state laws with respect to matters such as officer and
director actions, mergers and acquisitions, takeover efforts, and other corporate decision making. For a discussion of significant differences
between the provisions of the BVI Act and the laws applicable to companies incorporated in the United States and their shareholders, see
“Description of Share Capital - Differences in Corporate Law.”

British Virgin Islands companies may not be able to initiate shareholder derivative actions, thereby depriving shareholders of the
ability to protect their interests.
      British Virgin Islands companies may not have standing to initiate a shareholder derivative action in a federal court of the United
States. The circumstances in which any such action may be brought, and the procedures and defenses that may be available in respect to any
such action, may result in the rights of shareholders of a British Virgin Islands company being more limited than those of shareholders of a
company organized in the United States. Accordingly, shareholders may have fewer alternatives available to them if they believe that
corporate wrongdoing has occurred. The British Virgin Islands courts are also unlikely to recognize or enforce against us judgments of
courts in the United States based on certain liability provisions ofU.S. securities law; and to impose liabilities against us, in original actions
brought in the British Virgin Islands, based on certain liability provisions ofU.S. securities laws that are penal in nature. There is no
statutory recognition in the British Virgin Islands of judgments

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obtained in the United States, although the courts of the British Virgin Islands will generally recognize and enforce the non-penal judgment
of a foreign court of competent jurisdiction without retrial on the merits. This means that even if shareholders were to sue us successfully,
they may not be able to recover anything to make up for the losses suffered.

The laws of the British Virgin Islands provide little protection for minority shareholders, so minority shareholders will have little or no
recourse if the shareholders are dissatisfied with the conduct of our affairs.
      Under the law of the British Virgin Islands, there is little statutory law for the protection of minority shareholders other than the
provisions of the BVI Act dealing with shareholder remedies. The principal protection under statutory law is that shareholders may bring an
action to enforce the constituent documents of the corporation, our fourth amended and restated memorandum and articles of association.
Shareholders are entitled to have the affairs of the company conducted in accordance with the general law and the articles and
memorandum.

      There are ordinary law rights for the protection of shareholders that may be invoked, largely dependent on English company law, since
the ordinary law of the British Virgin Islands for business companies is limited. Under the general rule pursuant to English company law
known as the rule in Foss v. Harbottle, a court will generally refuse to interfere with the management of a company at the insistence of a
minority of its shareholders who express dissatisfaction with the conduct of the company’s affairs by the majority or the board of directors.
However, every shareholder is entitled to have the affairs of the company conducted properly according to law and the constituent
documents of the corporation. As such, if those who control the company have persistently disregarded the requirements of company law or
the provisions of the company’s memorandum and articles of association, then the courts will grant relief. Generally, the areas in which the
courts will intervene are the following: (1) an act complained of which is outside the scope of the authorized business oris illegal or not
capable of ratification by the majority; (2) acts that constitute fraud on the minority where the wrongdoers control the company; (3) acts that
infringe on the personal rights of the shareholders, such as the right to vote; and (4) where the company has not complied with provisions
requiring approval of a special or extraordinary majority of shareholders, which are more limited than the rights afforded minority
shareholders under the laws of many states in the United States.

We have not determined a specific use for a significant portion of the proceeds from this offering, and we may use the proceeds in ways
with which you may not agree.
      While we do have some plans for the use of proceeds from this offering, we have not finally or firmly allocated specific portions of the
net proceeds to us from this offering to particular puiposes and have not yet determined all of our anticipated uses. Our management will
have considerable discretion in the application of the net proceeds received by us. In addition, we have reserved the right to re-al locate
funds currently allocated to that purpose to our general working capital. If that were to happen, then our management would have
significant discretion over even more of the net proceeds to be received by our company in this offering. The proceeds we receive may be
used for corporate puiposes that do not improve our profitability or increase our share price. The proceeds we receive from this offering may
also be placed in investments that do not produce income or that may lose value. You will not have the opportunity, as part of your
investment decision, to assess whether the proceeds are being used appropriately. You must rely on the judgment of our management
regarding the application of the net proceeds of this offering. See “Use of Proceeds.”

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                                                   FORWARD LOOKING STATEMENTS

      We have made statements in this prospectus, including under “Prospectus Summary,” “Risk Factors,” “Management’s Discussion and
Analysis of Financial Condition and Results of Operations,” “Our Business” and elsewhere that constitute forward-looking statements.
Forward-looking statements involve risks and uncertainties, such as statements about our plans, objectives, expectations, assumptions or
future events. In some cases, you can identify forward-looking statements by terminology such as “anticipate,” “estimate,” “plan,” “project,”
“continuing,” “ongoing,” “expect,” “we believe,” “we intend,” “may,” “will,” “should,” “could” and similar expressions. These statements
involve estimates, assumptions, known and unknown risks, uncertainties and other factors that could cause actual results to differ materially
from any future results, performances or achievements expressed or implied by the forward-looking statements.

     Examples of forward-looking statements include:
       •   projections of revenue, earnings, capital structure and other financial items;
       •   statements of our plans and objectives;
       •   statements regarding the capabilities and capacities of our business operations;
       *   statements of expected future economic performance;
       *   our expectations regarding governmental support for the development of the traditional Chinese pharmaceutical industry;
       •   our expectations with respect to YSTP’s ability to secure high-quality raw materials in the future;
       •   competition from other manufacturers of pharmaceutical products, including manufacturers of traditional Chinese medicines;
       •   our ability to effectively protect our existing and future intellectual property and not to infringe on the intellectual property of
           others; and
       •   fluctuations in general economic and business conditions in China; and
       •   assumptions underlying statements regarding us or our business.

      The ultimate correctness of these forward-looking statements depends upon a number of known and unknown risks and events. We
discuss many of these risks under the heading “Risk Factors” above. Many factors could cause our actual results to differ materially from
those expressed or implied in our forward-looking statements. Consequently, you should not place undue reliance on these forward-looking
statements.

      The forward-looking statements speak only as of the date on which they are made, and, except as required by law, we undertake no
obligation to update any forward-looking statement to reflect events or circumstances after the date on which the statement is made or to
reflect the occurrence of unanticipated events.

     In addition, we cannot assess the impact of each factor on our business or the extent to which any factor, or combination of factors,
may cause actual results to differ materially from those contained in any forward-looking statements.
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                                                         OUR CORPORATE STRUCTURE

Overview
     TBET is a holding company incorporated in the British Virgin Islands. TBET owns all of the outstanding capital stock of Chinese
Tibetan Pharmaceuticals Limited, a Hong Kong company (“CTP”). CTP in turn owns all of the outstanding capital stock ofYibo
Information Consulting (Shenzhen) Company Ltd., a company of the People’s Republic of China (“WFOE”), our subsidiary based in
Shenzhen, Guangdong Province, China. WFOE has entered into control agreements with all of the owners of Yunnan Shangri-La Tibetan
Pharmaceutical Group Limited (“YSTP”), which agreements allow WFOE to control YSTP Through our ownership of CTP, CTP’s ownership
of WFOE and WFOE’s contractual agreements with the owners of YSTP, we control YSTP.

Our Corporate Structure
     Our coiporate structure is as follows:

             (7=
                      Tibet Pharmaceuticals, IIIC.
                               \/TRFTl
                                 1 Bt J •
                                                     —                  93%                   —        VQTP CltaMhAlilAm
                                                                                                        i LH f   kiiimriiuiiicKa
                                                                                                                                   -cv
                                  BVI


                                                                                                           /
                                            100%


                                                                                            /
                    China Tibetan Pharmaceuticals
                            Limited (CTP)                                                                                 niii'o
                              1 long Kong



                                            100%

                                                                /
                                                                                                  Yunnan Shangri-La Tibetan
                     Yibo Information Consulting
               (Shenzhen) Company Ltd. (WFOE)
                                                                                                 Pharmaceutical Gmup Limited
                                                                                                                 (YSTP)
                                 China
                                                                                                                  China


                           ►      Equity interest
                                  Contractual arrangements including Entrusted Management Agreement and Exclusive Option
                                  Agreement. For a description of these agreements, see “Corporate Structure Contractual Arrangements
                                  with YS TP and YSTP's Shareholders."

Corporate History - YSTP
     Yunnan Diqing Shangri-La Tibetan Medicine Co., Ltd was incorporated on April 19, 2000 as a domestic Chinese corporation. On
December 24, 2002, it changed its name to Yunnan Shangri-La Tibetan Pharmaceutical Group Limited (“YSTP”). As YSTP has continued to
grow, it has increased its registered capital, which presently stands at RMB 60,000,000 (approximately $8,801,267).

Corporate History - TBET, CTP and WFOE
      We fomied TBET, CTP and WFOE in 2009, 2010 and 2010, respectively, in anticipation of registering the common shares of TBET in
an initial public offering. In connection with the formation of TBET, CTP and WFOE, WFOE entered into certain control agreements with
YSTP and its shareholders, pursuant to which we, by virtue of our ownership of CTP and CTP’s ownership of WFOE, control YSTP.
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      TBET was incorporated in the British Virgin Islands on December 22, 2009 as a limited liability company, initially under the name
Shangri-La Tibetan Pharmaceuticals, Inc. In July 2010, it shortened the company’s name to Tibet Pharmaceuticals, Inc. TBET is engaged in
the research, development, manufacturing, marketing and selling of modernized traditional Tibetan medicines in China. Its wholly owned
subsidiary, CTP was incorporated in Hong Kong on January 6, 2010 as a limited liability company. Other than the equity interest in CTP, the
Company does not own any assets or conduct any operations.

     WFOE was incorporated on March 1 8, 2010 as a wholly foreign owned enterprise, 100% owned by CTP.

      On March 26, 2010, to protect its shareholders from possible future foreign ownership restrictions, YSTP and all of the shareholders of
YSTP entered into an entrusted management agreement with WFOE, which provides that WFOE will be entitled to the full guarantee for the
performance of such contracts, agreements or transactions entered into by YSTP. WFOE is also entitled to receive the residual return of
YSTP. As a result of the agreement, WFOE will absorb 1 00% of the expected losses and gains of YSTP, which results in WFOE being the
primary beneficiary of YSTP.

Control Agreements
      Our relationships with YSTP and each of its shareholders are governed by a series of contractual arrangements. Under Chinese laws,
each of WFOE and YSTP is an independent legal entity and neither of them is exposed to liabilities incurred by the other party. YSTP is a
variable interest entity. Other than pursuant to the contractual arrangements between WFOE and YSTP, YSTP does not transfer any other
funds generated from its operations to WFOE.

      On March 26, 2010, YSTP and each of the shareholders of YSTP entered into an Entrusted Management Agreement, Exclusive Option
Agreement, Shareholders’ Voting Proxy Agreement and Pledge of Equity Interest Agreement (collectively, the “Control Agreements”) with
WFOE in return for ownership interests in TBET. Through the organization of TBET as a holding company, 1 9 YSTP investors (or, in some
cases, entities they control) now own a total of 10,983,750 of the common shares of TBET. Of the remaining 898,750 TBET common shares,
30,000 are owned by early-stage investors who paid a total of $ 1 00,000 for their shares. The remainder of 798,750 common shares belong to
five other investors, as follows: 424,375 shares are held beneficially by two early-stage investors (Hayden and Philip Zou) and their
company (Fulcan Investments, LLC), and a total of 374,375 shares are held by two entities and one individual who provided services, as
follows: 20,000 shares owned by Richard Ng, who paid $300 and also provided services to us at the request of Fulcan Investments, LLC;
177,187 shares owned by RMCC Investments, LLC, which provided services to Fulcan Investments, LLC; and 177,188 shares owned by
Broadview-Rich field Holdings, LLC, an entity controlled by shareholders of our U.S. legal counsel, which provided services to Fulcan
Investments, LLC and our company. Mr. Zou transferred his right to receive these shares to Mr. Ng, RMCC Investments, LLC and
Broadview-Rich field Holdings, LLC. TBET indirectly controls YSTP through its 1 00% equity interests of WFOE.

     Through the Control Agreements, we can substantially influence YSTP’s daily operations and financial affairs, appoint its senior
executives and approve all matters requiring shareholder approval. As a result of these Control Agreements, which enable us to control
YSTP, we are considered the primary beneficiary of YSTP. Accordingly, we consolidate YSTP’s operating results, assets and liabilities in our
financial statements.

Contractual Arrangements with YSTP and Its Shareholders
     We conduct our business in China through our subsidiary, WFOE. WFOE, in turn, conducts it business through YSTP, which we
consolidate as a variable interest entity. WFOE manages and controls YSTP through a scries of contractual agreements, rather than through
an equity ownership relationship.

     The Control Agreements, by their tenns, arc governed under the taws of the PRC. The DcHeng Law Offices has provided us with an
opinion that the Control Agreements are valid and enforceable under PRC law.

      Chinese laws and regulations currently do not prohibit or restrict foreign ownership in phaimaceutical businesses. Yet, Chinese laws
and regulations do prevent direct foreign investment in certain industries. To protect the Company’s shareholders from possible future
foreign ownership restrictions, YSTP and all of the shareholders of YSTP entered into a series of contractual arrangements (“Control
Agreements”). Under PRC laws, each of WFOE and YSTP is an independent legal entity and neither is exposed to liabilities incurred by the
other. Other than

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pursuant to the contractual arrangements between WFOE and YSTP, YSTP does not transfer any other funds generated from its operations to
WFOE. Effective March 26, 2010, WFOE entered into a functionally identical set of Control Agreements with YSTP, which agreements
provide as follows.

     Entrusted Management Agreement. YSTP, WFOE, and the all of the shareholders of YSTP entered into an Entrusted Management
Agreement, dated March 26, 2010, that provides that WFOE will be fully and exclusively responsible for the management of YSTP. As
consideration for such services, YSTP has agreed to pay the entrusted management fee during the term of this agreement. The entrusted
management fee will be equal to YSTP’s earnings. Also, WFOE will assume all operational risks related to the entrusted management of
YSTP and bear all losses of YSTP. As a result, WFOE is the beneficiary of the earnings of YSTP, but it also bears the risk of losses by YSTP.
The term of this agreement will be from the effective date thereof to the earliest of the following: (1 ) the winding up of YSTP; (2) the
termination date of the Entrusted Management Agreement, as agreed by the parties thereto; or (3) the date on which WFOE completes the
acquisition of YSTP.

      Exclusive Option Agreement. YSTP and all of YSTP’s shareholders entered into an Exclusive Option Agreement with WFOE, dated
March 26, 2010, which option agreement provides that WFOE will be entitled to acquire such shares from the cunent shareholders in
accordance with the terms and procedures set forth therein. In addition, WFOE is entitled to an irrevocable exclusive purchase option to
purchase all or part of the assets and business of YSTP, if such a purchase is or becomes allowable under PRC laws and regulations and
WFOE so elects. The Exclusive Option Agreement also prohibits YSTP and its shareholders from transferring any portion of the equity
interests, business or assets of YSTP to anyone other than WFOE. WFOE has not yet taken any corporate action to exercise this right of
purchase, and there is no guarantee that it will do so or will be permitted to do so by applicable law at such times as it may wish to do so.

      Shareholders’ Voting Proxy Agreement. All of the shareholders of YSTP have executed a Shareholders’ Voting Proxy Agreement with
WFOE, effective March 26, 2010, to irrevocably appoint the persons designated by WFOE with the exclusive right to exercise, on their
behalf, all of their Voting Rights in accordance with applicable law and YSTP’s Articles of Association, including but not limited to the
rights to sell or transfer all or any of their equity interests in YSTP and to appoint and elect the directors and Chair as the authorized legal
representative of YSTP. This agreement will be only terminated prior to the completion of acquisition of all of the equity interests in, or all
assets or business of YSTP. Pursuant to the Shareholders’ Voting Proxy Agreement, WFOE has appointerMr. Tiangui Li as the designee
authorized to exercise the shareholders’ voting rights. Mr. Li holds a 100% equity interest in LEMANY Invest. Corp., a BVI Corporation,
which in turn owns 4.78% of TBET’s shares.

      Pledge of Equity Agreement. WFOE and all of the shareholders of YSTP have entered in Pledge of Equity Agreement, effective
March 26, 2010, pursuant to which all shareholder pledges all of their shares (100%) of YSTP, as appropriate, to WFOE. If YSTP or any of its
respective shareholders breaches its respective contractual obligations in “Entrusted Management Agreement”, “Exclusive Option
Agreement” and “Shareholders’ Voting Proxy Agreement”, WFOE as Pledgee, will be entitled to certain right to foreclose on the pledged
equity interests. Such YSTP shareholders cannot dispose of the pledged equity interests or take any actions that would prejudice WFOE’s
interest. This pledge has been recorded with applicable authorities in China to perfect WFOE’s security interest.

     As of August 13, 2010, YSTP investors own 93% of the issued common shares ofTBET.

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                                                             USE OF PROCEEDS

     After deducting the estimated placement discount and offering expenses payable by us, we expect to receive net proceeds of
approximately $12,050,000 from this offering ifthe minimum offering is sold and $14,580,000 ifthe maximum offering is sold.

      We do not have, at this time, a definitive plan to use the proceeds of the offering in particular ways. Generally, we intend to use the net
proceeds of this offering to support and expand YSTP’s operations, with particular priority to efforts to expand its production and marketing
capabilities as well as to strengthen and expand our distribution network. The precise amounts and percentage of proceeds we would devote
to particular categories of activity will depend not only on the total amount of proceeds we generate in the offering, but also on prevailing
market and business conditions as well as on the nature of particular opportunities that may arise from time to time. Similarly, the priority of
our prospective uses of proceeds will depend on business and market conditions are they develop. Accordingly, we reserve the right to
change the use of proceeds that we presently anticipate and describe herein.

      Nonetheless, based on our preliminary planning, we anticipate that the proceeds of a minimum and a maximum offering would be
allocated to major categories of expense in approximately the following amounts:

                                               Minimum Offering (2,500,000 Common shares)

                                                                                                                  Percen tage of
                 Use of Net Proceeds                                                           Amount             Net Proceeds
                 Build Distribution Channel                                                $ 4,338,000                     36%
                 Brand Awareness, Marketing and Advertising                                $ 1,687,000                     14%
                 Production Equipment Upgrade                                              $ 2,530,500                     21%
                 Working Capital, Advance to Distributors                                  $ 2,289,500                     19%
                 Sarbanes-Oxley Compliance-Related Professional Fees                       $ 1,205,000                     10%
                 Total                                                                     $12,050,000                    100%


                                              Maximum Offering (3,000,000 Common shares)

                                                                                                                  Percen tage of
                 Use of Net Proceeds                                                           Amount             Net Proceeds
                 Build Distribution Channel                                                $ 6,415,200                     44%
                 Brand Awareness, Marketing and Advertising                                $ 2,478,600                     17%
                 Production Equipment Upgrade                                              $ 2,478,600                     17%
                 Working Capital, Advance to Distributors                                  $ 2,187,000                     15%
                 Sarbanes-Oxley Compliance-Related Professional Fees                       $ 1,020,600                      7%
                 Total                                                                     $14,580,000                    100%

      Our present intent is to allocate relatively higher shares of offering proceeds, in the event the offering generates less the maximum
proceeds, to working capital, distributor advances, and production equipment upgrades. Regardless of the amount of proceeds generated,
however, the category of activity to which we presently plan to devote the largest single share of proceeds is to efforts to build our
distribution network.

      Our management will have considerable discretion in the application of the net proceeds received by us. We reserve the right to re¬
allocate funds tentatively allocated to that purpose to our general working capital. If that were to happen, then our management would have
significant discretion over even more of the net proceeds to be received by our company in this offering. You will not have the opportunity,
as part of your investment decision, to assess whether the proceeds are being used appropriately. You must rely on the judgment of our
management regarding the application of the net proceeds of this offering. The net proceeds may be used for corporate purposes that do not
improve our efforts to achieve profitability or increase our stock price. The net proceeds from this offering may be placed in investments that
do not produce income or that lose value.

      The proceeds of this offering must be sent back to the China, and the process for sending such proceeds back to the China may take
several months after the closing of this offering. In utilizing the proceeds of this offering in the manner described above, as an offshore
holding company of our PRC operating subsidiaries, we may make loans to our PRC subsidiaries, or we may make additional capital
contributions to our PRC subsidiaries. Any loans to our PRC subsidiaries are subject to PRC regulations. For example, loans by us to our
subsidiaries in China, which are foreign-invested enterprises, to finance their activities cannot exceed statutory limits and must be registered
with the SAFE.

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      We may also decide to finance our subsidiaries by means of capital contributions. These capital contributions must be approved by the
PRC Ministry of Commerce or its local counterpart. We cannot assure you that we will be able to obtain these government approvals on a
timely basis, if at all, with respect to future capital contributions by us to our subsidiaries. If we fail to receive such approvals, our ability to
use the proceeds of this offering and to capitalize our Chinese operations may be negatively affected, which could adversely affect our
liquidity and our ability to fund and expand our business.

      The remittance procedures could take as long as six months to complete. Pending use of the net proceeds, we intend to invest our net
proceeds in short-term, interest bearing, investment-grade obligations. These investments may have a material adverse effect on the U.S.
federal income tax consequences of an investment in our common shares. It is possible that we may become a passive foreign investment
company for U.S. federal income taxpayers, which could result in negative tax consequences to you. These consequences are described in
more detail in “Taxation.”


                                                               DIVIDEND POLICY

     We anticipate that we will retain any earnings to support operations and to finance the growth and development of our business.
Therefore, we do not expect to pay cash dividends in the foreseeable future. Any future determination relating to our dividend policy will be
made at the discretion of our Board of Directors and will depend on a number of factors, including future earnings, capital requirements,
financial conditions and future prospects and other factors the Board of Directors may deem relevant.

       If we detennine to pay dividends on any of our common shares in the future, as a holding company, we will be dependent on receipt of
funds from WFOE. Payments of dividends by WFOE to our company are subject to the requirement that foreign invested enterprises may
only buy, sell and/or remit foreign currencies at those banks authorized to conduct foreign exchange business. Further, such remittances
would require WFOE to provide an application for remittance that includes, in addition to the application form, a foreign registration
certificate, board resolution, capital verification report, audit report on profit and stock bonuses, and a tax certificate. There are no such
similar foreign exchange restrictions in the British Virgin Islands.


                                                      EXCHANGE RATE INFORMATION

       Our business is conducted in China, and the financial records of WFOE and YSTP are maintained in RMB, their functional currency.
However, we use the U.S. dollar as our reporting currency; therefore, periodic reports made to shareholders will include current period
amounts translated into U.S. dollars using the then-current exchange rates, for the convenience of the readers. Our financial statements have
been translated into U.S, dollars in accordance with Accounting Standards Codification (“ASC”) 830-1 0, “Foreign Currency Matters.” We
have translated our asset and liability accounts using the exchange rate in effect at the balance sheet date. We translated our statements of
operations using the average exchange rate for the period. We reported the resulting translation adjustments under other comprehensive
income. Unless otherwise noted, we have translated balance sheet amounts with the exception of equity at December 3 1 , 2009 at ¥6.8 172 to
$ 1 .00 as compared to ¥6.842 to $ 1 .00 at December 3 1 , 2008. The average translation rates applied to income statement accounts for the year
ended December 3 1 , 2009 and the year ended December 3 1 , 2008 were ¥6.8296 and ¥7.0685, respectively.

      We make no representation that any RMB or U.S. dollar amounts could have been, or could be, converted into U.S. dollars or RMB, as
the case may be, at any particular rate, or at all. The Chinese government imposes control over its foreign currency reserves in part through
direct regulation of the conversion of RMB into foreign exchange and through restrictions on foreign trade. On January 14, 201 1, the Forex
rate was RMB 6.5895 to $1.00. The Company does not currently engage in currency hedging transactions.

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     The following table sets forth information concerning exchange rates between the RMB and the U.S. dollar for the periods indicated.


                                                            Forex Exchange Rate

                                                                                                    (RMB per U.S. Dollar)
                                                                                                 Period End        Average
                2004                                                                               8.2765          8.2767
                2005                                                                               8.0702          8.1734
                2006                                                                               7.8041          7.9372
                2007                                                                               7.2950          7.5510
                2008                                                                               6.8420          7.0685
                2009                                                                               6.8172          6.8296
                2010
                       January                                                                     6.8268          6.8271
                       February                                                                    6.8260          6.8292
                       March                                                                       6.8259          6.8263
                       April                                                                       6.8252          6.8258
                       May                                                                         6.8279          6.8279
                       June                                                                        6.7811          6.8187
                       July                                                                        6.7750          6.7767
                       August                                                                      6.8074          6.7877
                       September                                                                   6.6912          6.7434
                       October                                                                     6.6708          6.6677
                       November                                                                    6.6670          6.6536
                       December                                                                    6.6023          6.6469
                2011
                       January (through January 14, 2011)                                          6.5895          6.6118
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                                                             CAPITALIZATION

      The following table sets forth our capitalization as of September 30, 2010 on a pro forma as adjusted basis giving effect to the sale of
the minimum and maximum offering at public offering price of $5.50 per share and to reflect the application of the proceeds after deducting
the estimated 7% placement fees, 1% accountable expense allowance and $600,000 in other offering expenses.

     You should read this table in conjunction with our financial statements and related notes appearing elsewhere in this prospectus and
“Use of Proceeds” and “Description of Share Capital.”


                                              Minimum Offering (2,500,000 Common shares)
                                                             U.S. Dollars
                                                         September 30, 2010

                                                                                                              Pro Fomia
                                                                                     As Ryporfcd(l)       Adjusted for IP()(2)
                 Common shares
                 Shares(3)                                                            11,812,500               14,312,500
                 Par Value Amount                                                   $     11,812          $        14,312
                 Additional Paid-In Capital                                         $ 8,495,765           $    20,545,765(4)
                 Statutory Reserves                                                 $ 3,100,359           $      3,100,359
                 Retained Earnings                                                  $ 7,474,268           $      7,474,268
                 Accumulated Other Comprehensive Income                             $ 1,062,501           $      1,062,501
                 Total                                                              $20,144,705           $    32,197,205


                                              Maximum Offering (3,000,000 Common shares)
                                                             U.S. Dollars
                                                         September 30, 2010

                                                                                                              Pro Forma
                                                                                     A* RepnrtiHUn        Adjusted for IP()(2)
                 Common shares
                 Shares(3)                                                            11,812,500               14,812,500
                 Par Value Amount                                                   $     11,812          $        14,812
                 Additional Paid-In Capital                                         $ 8,495,765           $    23,075,765(4)
                 Statutory Reserves                                                 $ 3,100,359           $     3,100,359
                 Retained Earnings                                                  $ 7,474,268           $     7,474,268
                 Accumulated Other Comprehensive Income                             $ 1,062,501           $     1,062,501
                 Total                                                              $20,144,705           $    34,727,705
(1)   This column gives effect to the reorganization of our company that was completed on March 1 8, 2010, upon WFOE incorporation
      approval by Shenzhen Industry and Commerce Bureau.
(2)   Gives effect to the sale ofthe minimum offering and the maximum offering, as applicable, a public offering price of $5.50 per share
      and to reflect the application of the proceeds after deducting a 7% underwriting discounts, 1 % accountable expense allowance and our
      estimated offering expenses of $600,000.
(3)   The number of shares shown in the first column is the number of shares as of September 30, 2010.
(4)   Pro forma adjusted for IPO additional paid in capital reflects the net proceeds we expect to receive, after deducting a 7% underwriting
      discount, a 1% accountable expense allowance and approximately $600,000 in expenses, less the par value ofthe shares offered. In a
      minimum offering, we expect to receive net proceeds of $12,050,000 ($13,750,000 offering, less underwriting discount of $962,500,
      accountable expense allowance of $137,500 and offering expenses of$600,000), ofwhich $12,047,500 would be attributable to
      additional paid in capital after deducting $2,500 in aggregate par value amount. In a maximum offering, we expect to receive net
      proceeds of $14,580,000 ($1 6,500,000 offering, less underwriting discount of $1,1 55,000, accountable expense allowance of
      $165,000 and offering expenses of $600,000), ofwhich $14,577,000 would be attributable to additional paid in capital after
      deducting $3,000 in aggregate par value amount.

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                                                                  DILUTION

      Ifyou invest in our common shares, your interest will be diluted to the extent of the difference between the initial public offering price
per common share and the pro forma net tangible book value per common share after the offering. Dilution results from the fact that the per
common share offering price is substantially in excess of the book value per common share attributable to the existing shareholders for our
presently outstanding common shares. Our net tangible book value attributable to shareholders at September 30, 20 1 0 was $ 1 9,506,1 86 or
approximately $1.65 per common share. Net tangible book value per common share as of September 30, 2010 represents the amount of total
tangible assets less goodwill, acquired intangible assets and total liabilities, divided by the number of common shares outstanding.

      If the minimum offering is sold, we will have 14,3 12,500 common shares outstanding upon completion of the offering. Our post
offering pro forma net tangible book value, which gives effect to receipt of the net proceeds from the offering and issuance of additional
shares in the offering, but does not take into consideration any other changes in our net tangible book value after September 30, 2010, will
be approximately $3 1,556,186 or $2.20 per common share. This would result in dilution to investors in this offering of approximately $3.30
per common share or approximately 60% from the offering price of $5.50 per common share. Net tangible book value per common share
would increase to the benefit of present stockholders by $0.55 per share attributable to the purchase of the common shares by investors in
this offering.

      If the maximum offering is sold, we will have 14,812,500 common shares outstanding upon completion of the offering. Our post
offering pro forma net tangible book value, which gives effect to receipt of the net proceeds from the offering and issuance of additional
shares in the offering, but does not take into consideration any other changes in our net tangible book value after September 30, 2010, will
be approximately $34,086,1 86 or $2.30 per common share. This would result in dilution to investors in this offering of approximately $3.20
per common share or approximately 58% from the offering price of $5.50 per common share. Net tangible book value per common share
would increase to the benefit of present shareholders by $0.65 per share attributable to the purchase of the common shares by investors in
this offering.

     The following table sets forth the estimated net tangible book value per common share after the offering and the dilution to persons
purchasing common shares based on the foregoing minimum and maximum offering assumptions.

                                                                                                   Minimum           Maximum
                                                                                                  OfTcriniUl)        OfIt*rinj»(2)
                 Offering price per common share                                                  $    5.50          $     5.50
                 Net tangible book value per common share before the offering                     $    1.65          $     1.65
                 Increase per common share attributable to payments by new investors              $    0.55          $     0.65
                 Pro forma net tangible book value per common share after the offering            $    2.20          $     2.30
                 Dilution per common share to new investors                                       $    3.30          $     3.20

(1)   Assumes net proceeds of $12,050,000 from offering of2,500,000 common shares, calculated as follows: $13,750,000 offering, less
      underwriting discount of $962,500, accountable expense allowance of $1 37,500 and offering expenses of $600,000.
(2)   Assumes net proceeds of $14,580,000 from offering of 3,000,000 common shares, calculated as follows: $16,500,000 offering, less
      underwriting discount of $1,155,000, accountable expense allowance of$165,000 and offering expenses of$600,000.

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Post-Offering Ownership
      The following charts illustrate our pro forma proportionate ownership, upon completion of the offering under alternative minimum
and maximum offering assumptions, by present shareholders and investors in this offering, compared to the relative amounts paid by each.
The charts reflect payment by present shareholders as of the date the consideration was received and by investors in this offering at the
offering price without deduction of commissions or expenses. The charts further assume no changes in net tangible book value other than
those resulting from the offering.

                                                                      Shares Purchased
                                                                 Amount (tf)
                                                                                      _ _
                                                                                   Percent (%)   Amount (S)
                                                                                                                       _
                                                                                                     Total Consideration
                                                                                                                   Percent (%)
                                                                                                                                 Average Price
                                                                                                                                 Per Share (S)
      MINIMUM OFFERING
Existing shareholders                                           11,812,500              82.5     10,807,416             44.0            0.91
New investors                                                    2,500,000              17.5     13,750,000             56.0            5.50
Total                                                           14,312,500               100     24,557,416              100            1.79

      MAXIMUM OFFERING
Existing shareholders                                           11,812,500              79.7     10,807,416             39.6            0.91
New investors                                                    3,000,000              20.3     16,500,000             60.4            5.50
Total                                                           14,812,500               100     27,307,416              100            1.84

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                                          MANAGEMENT’S DISCUSSION AND ANALYSIS OF
                                       FINANCIAL CONDITION AND RESULTS OF OPERATIONS

      You should read the following discussion and analysis of our financial condition and results of operations in conjunction with our
audited historical consolidated financial statements and the related notes included elsewhere in this prospectus. This discussion contains
forward-looking statements that involve risks and uncertainties. Our actual results and the timing of selected events could differ materially
from those anticipated in these forward-looking statements as a result of various factors, including those set forth under “Risk Factors” and
elsewhere in this prospectus.

Overview
      We focus on the research, development, manufacturing, marketing and selling of modernized traditional Tibetan medicines in China.
All of our current products are offered and derived from Tibetan based traditional medicines and are manufactured by YSTP using plant-
based natural materials, particularly the herbs and minerals found in the high-latitude, low-temperature, and pollution-free environment of
Qinghai-Tibet Plateau. As of September 30, 201 0, we sell 5 major prescription and over-the-counter Tibetan medicine products, each of
which has certain medicinal functions and has demonstrated safety and efficacy in accordance with the China SFDA requirements for the
treatment of at least one or more therapeutic indications.

      YSTP’s manufacturing facility in China is GMP certified, fully integrated with manufacturing support systems including quality
assurance, quality control and regulatory compliance. YSTP has developed its own independent quality control systems in accordance with
SFDA regulations. Its quality assurance team devotes significant attention to quality control for designing, manufacturing and testing our
products, and is also responsible for ensuring that YSTP is in compliance with all applicable national and local regulations and standards, as
well as our internal policies. YSTP’s senior management team is also actively involved in setting quality assurance policies and managing
internal and external quality performance. These support systems enable YSTP to maintain high standards of quality for our products and
deliver reliable products to our customers on a timely basis.

     In the last two years, YSTP’s business has grown rapidly as a result of China’s strengthening economy, its combining promotion of
Tibetan culture with educational physician conferences and seminars and the strong demand for its medicine products resulted from the
increase in the number of elderly people in China.

Critical Accounting Policies
      The discussion and analysis of our financial condition and results of operations are based upon our audited consolidated financial
statements, which have been prepared in accordance with accounting principles generally accepted in the United States. The preparation of
these audited consolidated financial statements requires us to make estimates and judgments that affect the reported amounts of assets,
liabilities, revenues and expenses. On an ongoing basis, we evaluate our estimates based on historical experience and on various other
assumptions that are believed to be reasonable under the circumstances, the results of which form the basis for making judgments about the
carrying values of assets and liabilities that are not readily apparent from other sources. Actual results may differ from these estimates under
different assumptions or conditions.

     A summary of significant accounting policies is included in this item are discussed in further detail in the notes to the audited
consolidated financial statements appearing elsewhere in this prospectus. Management believes that the application of these policies on a
consistent basis enables us to provide useful and reliable financial information about our operating results and financial condition.

Revenue Recognition
     We follow the guidance of ASC 605, “Revenue Recognition,” and the Securities and Exchange Commission’s Staff Accounting
Bulletin (“SAB”) No. 104 and SAB Topic 13 for revenue recognition. In general, revenue from the sale of pharmaceutical products is
recognized when the products are delivered to and received by the customers, collectability is reasonably assured and the prices are fixed
and determinable.

      YSTP has distributor arrangements with certain parties for sale of its pharmaceutical products. The distributor agreements do not
provide chargeback, price protection, or stock rotation rights. Accordingly, we record the revenue when products are delivered to and
received by the distributors.

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Estimates
      The preparation of financial statements in conformity with accounting principles generally accepted in the United States of America
requires management to make estimates and assumptions that affect the reported amounts of assets and liabilities and disclosure of
contingent assets and liabilities at the date of the financial statements, and the reported amounts of revenue and expenses during the
reporting period. Actual results when ultimately realized could differ from those estimates.

Comprehensive Income
      The Company has adopted the provisions of ASC 220 “Reporting Comprehensive Income” which establishes standards for the
reporting and display of comprehensive income, its components and accumulated balances in a full set of general purpose financial
statements.

     ASC 220 defines comprehensive income is comprised of net income and all changes to the statements of stockholders’ equity, except
those due to investments by stockholders, changes in paid-in capital and distributions to stockholders, including adjustments to minimum
pension liabilities, accumulated foreign currency translation, and unrealized gains or losses on marketable securities. The Company’s other
comprehensive income arose from the effect of foreign currency translation adjustments.

Foreign Currency Translation
      The Company’s functional currency is Chinese currency Renminbi (“RMB”) and its reporting cuirency is the U.S. dollar. Transactions
denominated in foreign currencies are translated into U.S. dollar at exchange rate in effect on the date of the transactions. Exchange gains or
losses on transaction are included in earnings.

     The financial statements of the Company are translated into United States dollars in accordance with the provisions of ASC 830
“Foreign Currency Matters”, using the year-end rates of exchange for assets and liabilities, and average rates of exchange for the period for
revenues, costs, and expenses and historical rates for the equity. Translation adjustments resulting from the process of translating the local
currency financial statements into U.S. dollars are included in determining comprehensive income. At September 30, 2010 and
December 3 1 , 2009, the cumulative translation adjustment of SI ,065,378 and $694,588 were classified as an item of accumulated other
comprehensive income in the shareholders’ equity section of the balance sheet respectively. For the nine months ended September 30, 20 1 0
and 2009, other comprehensive income was $370,790 and $17,146, respectively.

Impairment of Long-lived Assets
      In accordance with ASC 360-10 (SFAS 144), “Impairment or Disposal of Long-Lived Assets”, we periodically review our long-lived
assets for impairment whenever events or changes in circumstances indicate that the carrying amount of the assets may not be fully
recoverable. We recognize an impairment loss when the sum of expected undiscounted future cash flows is less than the carrying amount of
the asset. The amount of impairment is measured as the difference between the estimated fair value and the book value of the underlying
asset. We did not record any impairment charges during the nine months ended September 30, 2010 and 2009, respectively.

Principal Factors Affecting our Results of Operations
Revenues
     We generate revenue mainly from the sales of our products. Our product revenues represent our total revenues from the sales of our
products.

     Our principal products include 25 Ingredients Mandrake Pill and 15 Ingredients Gentiana Pill.

    25 Ingredients Mandrake Pill is a product approved for the treatment of various women’s health indications including irregular
menstruation, anemia, gynecological rheumatism, endometritis and pelvic inflammation.

     15 Ingredients Gentiana Pill, is a product indicated to regulate lung, alleviate coughing and remove phlegm, and for the treatment of
bronchus related coughing, asthma, and hoarseness.

Factors Affecting Revenues
     The following factors affect the revenues we derive from our operations. For other factors affecting our revenues, see “Risk Factors
Risks Related to Our Business.”
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      Industry-wide Factors. YSTP has benefited significantly from the overall economic development in China in recent years and the
increase in the number of elderly people in China, which together have resulted in increased expenditures on medicine in China, including
traditional Tibetan medicine. The Chinese have long perceived and accepted traditional Tibetan medicine as a safe and effective solution to
diseases, having the advantage of causing fewer side effects than western medicine, due to the natural ingredients used. With the
improvement of living standards in China, the health care industry has grown substantially in recent years, which also stimulated the
domestic demands for Tibetan medicine. As China’s elder population grows, as well as the increased awareness and perception of the safety
of traditional Tibetan medicine products, the market demand for traditional Tibetan medicine products will keep growing.

     Government accreditation in our industry. The market for Tibetan pharmaceutical products in China is only a very small portion of the
overall pharmaceutical market in China. The annual production of Tibetan medicine amounts to approximately 1,500 tons with 293
products marketed. However, the growth rate of the market for Tibetan pharmaceuticals is substantial, estimated at 50% a year by China
Medicine Source Net (CMSN). One factor spurring growth has been the willingness of Chinese regulators to accredit Tibetan medicine. As
of December 3 1 , 2009, 1 4 Tibetan medicine products have been listed on the Protected Chinese Traditional Medicine List; 24 Tibetan
medicine products have been included in the National Medicine Index; and 218 Tibetan medicine products have been certified by the
SFDA.

      Consolidation and expansion. In recent years, the Tibetan Medicine industry in China has made certain achievements in raw material
cultivation, extraction of active ingredients and productions of Tibetan Medicine. The modernized extraction technology is widely applied.
However, the equipments and production technology of most Tibetan medicine manufacturers are out dated and many of them are small on
scale. Consolidation in the Tibetan medicine industry is likely to increase as inefficient and smaller operators are likely to be acquired or
consolidated into larger manufacturer’s operations. As market demand grows stronger for our products, we believe that we must continue to
expand our production capacity to seize additional market share. If we fail to make acquisitions or expand our production capacity, our
revenue growth could slow.

      Competition. We operate in a highly competitive marketplace. We compete on the basis of brand recognition, quality, price, product
availability, and security of supply, product development and customer service. If any of our competitors come out with a product, not only
has strong marketing campaign and lowered price, but also has better perceived quality and effectiveness, it could put great pressure on our
products and result in a decline in our sales volume and earnings. Competition could cause us to lose market share and certain lines of
business, or increase expenditures or reduce pricing, each of which would have an adverse effect on our results of operations, cash flows and
financial condition.

     Negative Publicity. Adverse publicity associated with our company or our products could have a material adverse effect on our results
of operations. We are highly dependent upon consumer perceptions of our company and the safety and quality of our products. We could be
adversely affected if the “Shangri-La Tibetan Pharmaceuticals” brand, the “Xiangbala” trademark or any of our other trademarks is subject
to negative publicity. We could also be adversely affected if any of our products or any similar products distributed by other companies
prove to be, or are asserted to be, harmful to consumers. Because of our dependence upon consumer perceptions, any negative publicity
associated with illness or other adverse effects resulting from consumers’ use or misuse of our products, or any similar products distributed
by other companies, could also have a material adverse impact on our results of operations. In addition, the existence of counterfeit
pharmaceutical products in the PRC pharmaceutical retail market may damage our brand and reputation and subject us to negative publicity
and other administrative headaches and expenses. It could have a material adverse effect on our business, financial condition, results of
operations and prospects.

Costs and Expenses
     We primarily incur the following costs and expenses:

     Costs of goods sold. YSTP incurs a number of costs that factor in to costs of goods sold:
      •    raw materials, which are primarily comprised of costs of the necessary active ingredients and supporting ingredients of
           pharmaceuticals we manufacture;
      •    labor, including salaries and benefits for employees directly involved in manufacturing activities;
      •    packaging costs, including cost ofpackaging materials for our products;
      •    depreciation and amortization of manufacturing equipment and facilities. Due to our capacity expansion, depreciation and
           amortization expenses, measured in absolute terms, have increased significantly. We expect that depreciation and amortization
           expenses in absolute terms will continue to increase in the near future as we continue to grow; and

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       •   overhead, including utility, parts for and maintenance of production equipment, testing, and other expenses related to the
           manufacturing of our products.

      Selling , general and administrative expenses. Selling, general and administrative expenses consist primarily of compensation expense
for our coiporate staff and personnel supporting our corporate, professional fees (including consulting, audit and legal fees), travel and
entertainment expenses, contractual performance obligations and office administrative and related expenses.

Factors Affecting Cost and Expenses
      Supplies and commodity prices. The largest component of our cost is the price of raw materials. To the extent the prices of these
materials vary, our cost of goods will fluctuate. For this reason, we may be affected by droughts, floods, crop diseases and the like, which
tend to make raw material scarcer and thus expensive.

     Transition to public company. Once we complete this offering, we expect that our administrative costs will increase significantly, as we
need to comply with detailed reporting requirements.

      Number of customers. The more customers YSTP has, the greater we expect its selling expenses, travel expenses and the like will be. At
present, we are able to sell substantially all of our products to a relatively small number of customers. We believe this concentration of
customers has allowed us to focus our marketing and selling efforts in a relatively narrow area. As we expand and build YSTP’s national
distribution network, we expect to see a rise in the selling expense.

     Advertising expense. As we roll out YSTP’s advertising campaign to build more brand awareness and consumers recognition, we
expect to see increases in its advertising expenses related to its brand image promotion and recognition.

Nine Months Ended September 30, 2010 Compared to Nine Months Ended September 30, 2009

                                                                                          For the nine months ended September 30,
                                                                                          2010                              2009


                                                                                                       —
                                                                                                       %

                                                                                                                                    —%
                                                                                     Amount                           Amount
     Revenues                                                                     $ 23,876,375                    $15,897,911
     Cost of goods sold                                                           $(11,582,001)         49%       $ (7,900,616)      50%
     Gross profit                                                                 $ 12,294,374          51%       $ 7,997,295        50%
     Total operating expenses                                                     $ (2,104,774)          9%       $ (1,565,401)      10%
     Operating income                                                             $ 10,189,600          42%       $ 6,431,894        40%

      YSTP’s revenues increased from $1 5.9 million in the nine months ended September 30, 2009 to S23.9 million in the nine months
ended September 30, 2010, a 50.3% increase. This is primarily due to continuous growth in sales of our existing five principal products. Our
sales volume in the nine months ended September 30, 2010 increased 42.1% from 1 04,1 00 to 147,987 in the same period of 2009, and our
product prices in the nine months ended September 30, 20 1 0 increased an average of 5.6% from the same period 2009 prices, calculated
using a Weighted Average Method. As of September 30, 2010, YSTP’s biggest product revenue contributor, 25 Ingredients Mandrake Pill,
had increased sales 29.5% from $7.8 million in the nine months ended September 30, 2009 to $1 0,1 million in the same period of201 0.
Expanding YSTP’s existing distributor network also drove our revenue performance during the nine months ended September 30, 2010.

      YSTP’s gross profit margin has increased from 50% in the nine months ended September 30, 2009 to 51% in the same period of 20 10.
In the first nine months of 20 10, YSTP was able to expand its sales and controlled costs, and benefited from lower cost of raw material
purchase, thus successfully maintained the gross profit margins.

     Selling expenses increased by $270,718, or37.9%, from $71 3,521 in the nine months ended September30, 2009 to $984,239 in the
same period of 20 10. The increase in selling expenses resulted from an increase in promotional efforts and media advertisement in 2010 to
promote the products.

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     Research and development costs increased by $1,139, or 0.2%, from $460,208 in the nine months ended September 30, 2009, to
$461,347 in the same period of 20 10. The Company plans to spend about the same dollar amount on its research and development activities
generally.

     Other general and administrative expenses increased by $1 1 5,591, or 29.5%, from $391,672 in the nine months ended September 30,
2009 to $507,263 in the nine months ended September 30, 20 1 0, primarily as a result of business expansion and costs associated with going
public.

     Net interest expense was $139,428 in the nine months ended September 30, 2010, compared to net interest expense of $1 38,547 in the
same period of 2009.

      Our net income for the nine months ended September 30, 2010 and 2009 were $ 1 0,063,964 and $6,303,296, respectively. The increase
in net income is primarily a result of higher sales, efficient control, management of production costs and administrative expenses.

Liquidity and Capital Resources
Cash flows and working capital
     As of September 30, 201 0, we had working capital of $16,51 3,261, including cash of $8,365,585. Our cash includes cash-in-hand and
bank savings. The table below reflects our company’s cash situation:

                                                                                              Nine months ended September 30,
                                                                                                2010                  2009
                 Net cash provided by operating activities                                 $ 5,086,706          $ 6,974,598
                 Net cash used in investing activities                                        (141,830)                    0
                 Net cash used in financing activities                                        (823,718)           (4,922,390)
                 Exchange rate effect on cash                                                  162,675                 1,600
                 Net cash inflow                                                           $ 4,283,833          $ 2,053,808


Cash Provided by Operating Activities
      Net cash provided by operating activities in the nine months ended September 30, 2010 totaled $5,086,706. The activities were
mainly comprised of our net income of $10,063,964, an increase in accrued expenses and other payables of $456,690, and a decrease in
trade deposit paid of 98,900. These increases were partially offset by an increase in accounts receivable of $4,789,691 , a decrease in
accounts payable of $1,021,320, an increase in inventories of $506,105, and a decrease in prepaid expenses of $123,232. Non-cash
transactions comprised of the followings: (i) $532,172 in depreciation; and (ii) $338,722 in amortization.

Cash Used in Investing Activities
      Tn the nine months ended September 30, 2010, our cash used in investing activities totaled $141 ,830. The amount solely represents
our cash payment in connection with the acquisition of plant and equipment.

Cash Used in Financing Activities
     For the nine months ended September 30, 2010, net cash used in financing activities was $823,71 8. The activities were represented by
$2,493,985 dividends paid to the shareholders made by YSTP, offset by a collection in due from shareholder of $ 1 ,550,267, and a collection
of$ 120,000 common stock proceeds.

Off Balance Sheet Items
      Under SEC regulations, we are required to disclose our off-balance sheet arrangements that have or are reasonably likely to have a
current or future effect on our financial condition, such as changes in financial condition, revenues or expenses, results of operations,
liquidity, capital expenditures or capital resources that are material to investors. An off-balance sheet arrangement means a transaction,
agreement or contractual arrangement to which any entity that is not consolidated with us is a party, under which we have:
       •   any obligation under certain guarantee contracts,

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       •    any retained or contingent interest in assets transferred to an unconsolidated entity or similar arrangement that serves as credit,
            liquidity or market risk support to that entity for such assets,
       •    any obligation under a contract that would be accounted for as a derivative instalment, except that it is both indexed to our stock
            and classified in stockholder’s equity in our statement of financial position, and
       •    any obligation arising out of a material variable interest held by us in an unconsolidated entity that provides financing, liquidity,
            market risk or credit risk support to us, or engages in leasing, hedging or research and development services with us.

      We do not have any off-balance sheet arrangements that we are required to disclose pursuant to these regulations. In the ordinary
course of business, we enter into operating lease commitments, purchase commitments and other contractual obligations. These transactions
are recognized in our financial statements in accordance with generally accepted accounting principles in the United States.

Year Ended December 31, 2009 Compared to Year Ended December 31, 2008
Liquidity
     Liquidity is the ability of a company to generate funds to support its current and future operations, satisfy its obligations and
otherwise operate on an ongoing basis. At December 3 1 , 2009 our working capital was $6,362,557 as compared to $4,881,15 1 at
December 3 1 , 2008.

      Our cash balance at December 3 1, 2009 totaled $4,081 ,752, an increase of $1,370,200 over our balance at December 3 1 2008. During
the fiscal year of 2009, we received cash from operating activities of $10,330,239.

     YSTP has financed our operations over the two years ended December 3 1 , 2009 primarily through cash from operating activities. Net
cash provided by operating activities was approximately $10 million and 6 million in fiscal 2009 and 2008, respectively.

     Other than the continued strength of China economy and the increased demand of our medicine products from the increase in the
number of elderly people in China (all of which we believe may increase our liquidity if they continue), we arc not aware of any trends or
any demands, commitments, events or uncertainties that will result in or that arc reasonably likely to result in our liquidity increasing or
decreasing in any material way.

      For 201 0, we expect our main growth will be organic, from existing operations. The demand for YSTP’s products appears to be getting
stronger, which we expect to generate more positive cash flow.

      Assuming YSTP generates more positive cash flow from operations, and to the extent demand for YSTP’s product increases, we may
need to consider upgrading YSTP’s existing production facility and purchasing additional machinery to expand YSTP’s capacity. We
anticipate spending approximately $2.2 million to do the upgrade and purchase. If we were to make such upgrade and purchases prior to the
completion of this offering or if our cash flow were insufficient, such purchases could put pressure on our liquidity.

      We are also investigating a plan to build YSTP’s distributor network to a national presence. We expect that the total cost for building
and recruiting distributors would be approximately $5.8 million. If this were to happen before we receive proceeds from IPO or if our cash
flow were insufficient, we could face liquidity pressure.

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Capital Resources
     The following table provides certain selected balance sheets comparisons between years ended December 3 1, 2009 and 2008:

                                                                                           December 31                      Increase/
                                                                                    2009                  2008              (Decrease)
           Cash                                                                 $ 4,081,752        $ 2,711,552            $1,370,200
           Inventories                                                          $ 1,305,537        $ 1,419,099            $ (113,562)
           Accounts receivable                                                 $ 4,608,075         $ 2,980,698            $1,627,377
           Other receivables                                                   $ 101,948           $ 101,578              $      370
           Trade deposit paid in advance                                       $    98,888         $    11,939            $ 86,949
           Total current assets                                                $10,196,200         $ 7,224,866            $2,971,334
           Property, Plant and equipment                                       $ 6,553,113         $ 7,231,210            $ (678,097)
           Intangible assets                                                   $ 764,243           $ 942,707              $ (178,464)
           Prepaid expense                                                     $ 439,399           $ 583,741              $ (144,342)
           Total assets                                                        $17,952,955         $15,982,524            $1,970,431
           Accounts payable                                                    $ 2,830,032         $ 1,515,977            $1,314,055
           Other payables                                                      $ 1,003,611         $ 827,738              $ 175,873
           Total current liabilities                                           $ 3,833,643         $ 2,343,715            $1,489,928
      We maintain cash and cash equivalents in China, At December 3 1 , 2009 and 2008, cash and cash equivalents held by YSTP were as
follows:

                                                                                                          December 31,
                 Country                                                                           2009                  2008
                China                                                                          $4,081,752         $2,711,552

       All of YSTP’s cash in deposit balances at December 3 1 , 2009 are in the form of RMB held in bank accounts at financial institutions
located in the PRC. Cash held in banks in the PRC is not insured. The value of cash on deposit in China of approximately $4.08 million at
December 3 1 , 2009 has been converted based on the exchange rate as of December 3 1 , 2009. In 1 996, the Chinese government introduced
regulations, which relaxed restrictions on the conversion of the RMB; however restrictions still remain, including but not limited to
restrictions on foreign invested entities. Foreign invested entities may only buy, sell or remit foreign currencies after providing valid
commercial documents at only those banks authorized to conduct foreign exchanges. Furthermore, the conversion of RMB for capital
account items, including direct investments and loans, is subject to PRC government approval. Chinese entities are required to establish and
maintain separate foreign exchange accounts for capital account items. We cannot be certain Chinese regulatory authorities will not impose
more stringent restrictions on the convertibility of the RMB, especially with respect to foreign exchange transactions. Accordingly, cash on
deposit in banks in the PRC is not readily deployable by us for purposes outside of China.

     Current assets as of December 31, 2009 totaled $10,196,200, an increase of41% compared to December 31, 2008. Current liabilities as
of December 3 1, 2009 totaled $ 3,833,643, reflecting an increase of 64% from our December 3 1, 2008 balance.

     Inventories as of December 3 I, 2009 were $1,305,537, a decrease of$l 13,562 compared to December 31 , 2008. This decrease is due
primarily to the better control of inventories management.

      At December 3 1 , 2009, we have no commitments for capital expenditures. While we do not have any agreements, understandings or
commitments at this time for such activities, we may upgrade and purchase machinery for YSTP for approximately $2.2 million, and build or
recruit distributors for approximately $5.8 million. If we undertake any of these activities, we expect to do so without debt financing.
Instead, we plan either to use our cash flow resources or proceeds of this offering to make such purchase. As such, any such expenditure
would affect our available cash resources but would not affect any debt arrangements.

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Principal Factors Affecting our Results of Operations
Revenues
    We generate revenue mainly from the sales ofYSTP’s products. YSTP product revenues represent our total revenues from the sales of
YSTP’s products, less value-added taxes, or VAT.

     YSTP’s principal products include 25 Ingredients Mandrake Pill and 1 5 Ingredients Gentiana Pill.

    25 Ingredients Mandrake Pill is a product approved for the treatment ofvarious women’s health indications including irregular
menstruation, anemia, gynecological rheumatism, endometritis and pelvic inflammation.

     1 5 Ingredients Gentiana Pill, is a product indicated to regulate lung, alleviate coughing and remove phlegm, and for the treatment of
bronchus related coughing, asthma, and hoarseness.

     The following table sets out a breakdown ofYSTP’s revenues for the two products, with each item expressed as a percentage of its
product revenues, for the periods indicated:

                                                                                            For the year ended December 31,
                                                                                     2009                                     2008
                                                                                                % of                                    % ot
                                                                             Sales            product                Sales             product
                                                                            amount            reven u es            amount             revenues
     25 Ingredients Mandrake
     Pill                                                                 $11,185,718               49%         $ 7,789,246                50%
     1 5 Ingredients Gentiana Pill                                        $ 4,941,706               21%         $ 3,120,079                20%
                                                                          $16,127,424               70%         $10,909,325                70%

Factors Affecting Revenues

     The following factors affect the revenues we derive from YSTP’s operations. For other factors affecting our revenues, see “Risk Factors
—Risks Related to Our Business.”
      Industry-wide Factors. YSTP has benefited significantly from the overall economic development in China in recent years and the
increase in the number of elderly people in China, which together have resulted in increased expenditures on medicine in China, including
traditional Tibetan medicine. The Chinese have long perceived and accepted traditional Tibetan medicine as a safe and effective solution to
diseases, having the advantage of causing fewer side effects than western medicine, due to the natural ingredients used. With the
improvement of living standards in China, the health care industry has grown substantially in recent years, which also stimulated the
domestic demands for Tibetan medicine. As China’s elder population grows, as well as the increased awareness and perception of the safety
of traditional Tibetan medicine products, the market demand for traditional Tibetan medicine products will keep growing.

     Government accreditation in our industry. The market for Tibetan pharmaceutical products in China is only a very small portion of the
overall pharmaceutical market in China. The annual production of Tibetan medicine amounts to approximately 1 ,500 tons with 293
products marketed. However, the growth rate of the market for Tibetan pharmaceuticals is substantial, estimated at 50% a year by China
Medicine Source Net (CMSN). One factor spurring growth has been the willingness of Chinese regulators to accredit Tibetan medicine. As
of December 3 1, 2009, 14 Tibetan medicine products have been listed on the Protected Chinese Traditional Medicine List; 24 Tibetan
medicine products have been included in the National Medicine Index; and 218 Tibetan medicine products have been certified by the
SFDA.

      Consolidation and expansion. In recent years, the Tibetan Medicine industry in China has made certain achievements in raw material
cultivation, extraction of active ingredients and productions of Tibetan Medicine. The modernized extraction technology is widely applied.
However, the equipments and production technology of most Tibetan medicine manufacturers arc out dated and many of them are small on
scale. Consolidation in the Tibetan medicine industiy is likely to increase as inefficient and smaller operators are likely to be acquired or
consolidated into larger manufacturer’s operations. As market demand grows stronger for YSTP’s products, we believe that we must continue
to expand YSTP’s production capacity to seize additional market share. If we fail to make acquisitions or expand YSTP’s production
capacity, our revenue growth could slow.

     Competition. We operate in a highly competitive marketplace. We compete on the basis of brand recognition, quality, price, product
availability, and security of supply, product development and customer service. If any of our

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competitors come out with a product, not only has strong marketing campaign and lowered price, but also has better perceived quality and
effectiveness, it could put great pressure on YSTP’s products and result in a decline in YSTP’s sales volume and earnings. Competition
could cause us to lose market share and certain lines of business, or increase expenditures or reduce pricing, each of which would have an
adverse effect on our results of operations, cash flows and financial condition.

      Negative Publicity. Adverse publicity associated with our company or YSTP’s products could have a material adverse effect on our
results of operations. We are highly dependent upon consumer perceptions of our company and the safety and quality of YSTP’s products.
We could be adversely affected if the “Shangri-La Tibetan Pharmaceuticals” brand, the “Xiangbala” trademark or any of our other
trademarks is subject to negative publicity. We could also be adversely affected if any of YSTP’s products or any similar products
distributed by other companies prove to be, or are asserted to be, harmful to consumers. Because of our dependence upon consumer
perceptions, any negative publicity associated with illness or other adverse effects resulting from consumers’ use or misuse of YSTP’s
products, or any similar products distributed by other companies, could also have a material adverse impact on our results of operations. In
addition, the existence of counterfeit pharmaceutical products in the PRC pharmaceutical retail market may damage our brand and
reputation and subject us to negative publicity and other administrative headaches and expenses. It could have a material adverse effect on
our business, financial condition, results of operations and prospects.

Costs and Expenses
     We primarily incur the following costs and expenses:

     Costs of goods sold. YSTP incurs a number of costs that factor in to costs of goods sold:
       •   raw materials, which are primarily comprised of costs of the necessaty active ingredients and supporting ingredients of
           pharmaceuticals we manufacture;
       •   labor, including salaries and benefits for employees directly involved in manufacturing activities;
       ■
           packaging costs, including cost of packaging materials for YSTP’s products;
       •   depreciation and amortization of manufacturing equipment and facilities. Due to YSTP’s capacity expansion, depreciation and
           amortization expenses, measured in absolute terms, have increased significantly. We expect that depreciation and amortization
           expenses in absolute terms will continue to increase in the near future as we continue to grow; and
       •   overhead, including utility, parts for and maintenance of production equipment, testing, and other expenses related to the
           manufacturing of YSTP’s products.

      Selling, general and administrative expenses. Selling, general and administrative expenses consist primarily of compensation expense
for our corporate staff and personnel supporting our corporate, professional fees (including consulting, audit and legal fees), travel and
entertainment expenses, contractual performance obligations and office administrative and related expenses.

Factors Affecting Cost and Expenses
      Supplies and commodity prices. The largest component of our cost relates to the price of raw materials. To the extent the prices of these
materials vary, our cost of goods will fluctuate. For this reason, we may be affected by droughts, floods, crop diseases and the like, which
tend to make raw material scarcer and thus expensive.

     Transition to public company. Once we complete this offering, we expect that our administrative costs will increase significantly, as we
need to comply with detailed reporting requirements.

       Number of customers. The more customers YSTP has, the greater we expect its selling expenses, travel expenses and the like will be. At
present, we are able to sell substantially all of YSTP’s products to a relatively small number of customers. We believe this concentration of
customers has allowed us to focus our marketing and selling efforts in a relatively narrow area. As we expand and build YSTP’s national
distribution network, we expect to see a rise in the selling expense.

     Advertising expense. As we roll out YSTP’s advertising campaign to build more brand awareness and consumers recognition, we
expect to see increases in its advertising expenses related to its brand image promotion and recognition.

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Results of Operations

                                                                                                      For the year ended December 31,
                                                                                                     2009                      2008


                                                                                                               —                        —
                                                                                                Amount          %          Amount          %
      Revenues                                                                              $23,008,031                $15,580,269
      Cost of goods sold                                                                    $11,303,118         49     S 7,857,884         50
      Gross profit                                                                          $11,704,913         51     $ 7,722.385         50
      Total operating expenses                                                              $ 2,289,036         10     S 1.630,425         11
      Operating income                                                                      $ 9,415,877         41     $ 6,091,960         39

     YSTP’s revenues increased from $15.58 million in 2008 to $23.01 million in 2009, or 48% increase. This is primarily due to
continuous growth in sales of our existing five principal products. Our sales volume in 2009 increased 23.5% from 2008, and YSTP’s
product prices in 2009 increased an average of 19.6% from the 2008 prices, calculated using a Weighted Average Method. As of
December 3 1 , 2009, YSTP’s biggest product revenue contributor, 25 Ingredients Mandrake Pill, has increased sales 44% from $7.79 million
in 2008 to $1 1 .19 million in 2009. Expanding YSTP’s existing distributor network also drove its revenue performance during 2009.

    YSTP’s gross profit margins stayed relatively the same, from 50% in fiscal year 2008 to 51 % in the same period of 2009. In 2009,
YSTP was were able to expand its sales and controlled costs, and thus successfully maintained the gross profit margins.

     Selling expense increased by $206,026, or 26%, from $782,359 in 2008 to $ 988,385 in 2009. The increase in selling expense resulted
from an increase in promotional efforts and media advertisement in 2009 to promote the 25 Ingredients Mandrake Pill and 15 Ingredients
Gentian a Pill.

      Research and development costs increased by $1 1 5,736, or 23%, from $502,827 in 2008 to $61 8,562 in 2009. This reflected YSTP’s
increased spending on research and development of new products.

     The other general and administrative expenses increased by $336,850 in the year ended December 31 , 2009 compared to the year
ended December 3 1 , 2008 primarily as a result of business expansion. Payroll expenses accounted for a majority of the increase in general
and administrative expenses.

      Net interest expense was $170,900 in 2009, compared to net interest expense of$ 158,477 in 2008.

     Our net income for the years ended December 3 1 , 2009 and 2008 were $9,244,978 and $5,933,483, respectively. The increase in net
income is primarily a result of higher sales, efficient control, management of production costs and administrative expenses.

     We realized significant growth in YSTP’s business due to the strengthening of its marketing efforts. YSTP hosts in-person product
presentations as well as conferences and seminars for physicians, other healthcare professionals and research scholars to promote and
generate awareness of our pharmaceutical products. For YSTP’s OTC pharmaceutical products, we also cany out consumer advertising and
educational campaigns. As the phanuaceutical market in China continues to grow, we plan to hire additional personnel for the sale,
marketing and distribution of YSTP’s pharmaceutical products to increase the market recognition of YSTP’s products and awareness of
YSTP’s brand name.

Consolidated Statement of Cash Flows
      In the year ended December 31, 2009, our net increase in cash from operations totaled $1,370,200 and was comprised of $10,143,153
provided by operating activities, $8,785,288 used in financing activities, and the effect of prevailing exchange rates provided on our cash
position of $12,334.
     In the year ended December 31, 2008, our net increase in cash from operations totaled $ 1,295,797 and consisted of $6,049,836
provided by operating activities, $ 642,1 12 used in investing activities, $4,244,1 82 used in financing activities, and the effect of prevailing
exchange rates on our cash position of$ 132,254.

Cash Provided by Operating Activities
     Net cash provided by operating activities in the year ended December 3 1 , 2009 totaled $10,330,239. The activities were mainly
comprised of our net income of $9,244,978, an increase in accounts payable of $1,306,1 64, an increase in accrued expenses and other
payables of $208,525, a decrease in inventories of $ 1 1 8,509 and prepaid

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expenses of $ 146,200, These increases were partially offset by an increase in accounts receivable of $ 1 ,613,598. Non-cash transactions
comprised ofthe followings: (i) $703,124 in depreciation; and (ii) $181,563 in amortization, and (iii) $157,500 in stock-based
compensation.

      In the year ended December 3 l , 2008, net cash provided by operations totaled $6,1 87,674. The activities mainly consisted of our
net income of $ 5,933,483, an increase in accounts payable of $573,340, a decrease in advances to suppliers of $199,821 and prepaid
expenses of $14 1,25 9. These increases were partially offset by an increase in accounts receivable of $ 961,302, inventories of $
304,580, and a decrease in accrued expenses and other payables of $199,79 8. Non-cash transactions comprised of (i) $6 1 1,935 in
depreciation and (ii) $175,426 in amortization.

Cash Used in Investing Activities
      No cash used in investing activities for the year ended December 3 1 , 2009.

      In the year ended December 3 l , 2008, our cash used in investing activities totaled $642,1 12. The activities were solely represented our
cash payment in connection with the acquisition of plant and equipment.

Cash Used in Financing Activities
     For the year ended December 3 1, 2009, net cash used in financing activities was $8,972,373. The activities solely represented
dividends paid to the shareholders by YSTP.

     For the year ended December 3 1 , 2008, net cash used in financing activities was $4,382,02 1 . The activities include S4,244,1 82 of
dividends paid to the shareholders by YSTP, and an increase of $ 1 37,839 due from shareholders.

Off Balance Sheet Items
      Under SEC regulations, we are required to disclose our off-balance sheet arrangements that have or are reasonably likely to have a
current or future effect on our financial condition, such as changes in financial condition, revenues or expenses, results of operations,
liquidity, capital expenditures or capital resources that are material to investors. An off-balance sheet arrangement means a transaction,
agreement or contractual arrangement to which any entity that is not consolidated with us is a party, under which we have:
       •   any obligation under certain guarantee contracts,
       •   any retained or contingent interest in assets transferred to an unconsolidated entity or similar arrangement that serves as credit,
           liquidity or market risk support to that entity for such assets,
       •   any obligation under a contract that would be accounted for as a derivative instrument, except that it is both indexed to our stock
           and classified in stockholder’s equity in our statement of financial position, and
       ■
           any obligation arising out of a material variable interest held by us in an unconsolidated entity that provides financing, liquidity,
           market risk or credit risk support to us, or engages in leasing, hedging or research and development services with us.

      We do not have any off-balance sheet arrangements that we are required to disclose pursuant to these regulations. In the ordinary
course of business, we enter into operating lease commitments, purchase commitments and other contractual obligations. These transactions
are recognized in our financial statements in accordance with generally accepted accounting principles in the United States.

Critical Accounting Policies
      The discussion and analysis of our financial condition and results of operations are based upon our audited consolidated financial
statements, which have been prepared in accordance with accounting principles generally accepted in the United States. The preparation of
these audited consolidated financial statements requires us to make estimates and judgments that affect the reported amounts of assets,
liabilities, revenues and expenses. On an ongoing basis, we evaluate our estimates based on historical experience and on various other
assumptions that are believed to be reasonable under the circumstances, the results of which form the basis for making judgments about the
carrying values of assets and liabilities that are not readily apparent from other sources. Actual results may differ from these estimates under
different assumptions or conditions.

     A summary of significant accounting policies is included in this item are discussed in further detail in the notes to the audited
consolidated financial statements appearing elsewhere in this prospectus. Management believes that the application of these policies on a
consistent basis enables us to provide useful and reliable financial information about our operating results and financial condition.
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   Revenue Recognition
     We follow the guidance of ASC 605, “Revenue Recognition,” and the Securities and Exchange Commission’s Staff Accounting
Bulletin (“SAB”) No. 104 and SAB Topic 13 for revenue recognition, hi general, revenue from the sale of pharmaceutical products is
recognized when the products are delivered to and received by the customers, collectability is reasonably assured and the prices are fixed
and determinable.

      YSTP has distributor arrangements with certain parties for sale of its pharmaceutical products. The distributor agreements do not
provide chargeback, price protection, or stock rotation rights. Accordingly, we record the revenue when products are delivered to and
received by the distributors.

   Estimates
      The preparation of financial statements in conformity with accounting principles generally accepted in the United States of America
requires management to make estimates and assumptions that affect the reported amounts of assets and liabilities and disclosure of
contingent assets and liabilities at the date of the financial statements, and the reported amounts of revenue and expenses during the
reporting period. Actual results when ultimately realized could differ from those estimates. Significant estimates in the years ended
December 3 1 , 2009 and 2008 include the useful life of plant and equipment, intangible assets

   Fair Value of Financial Instruments
      We follow ASC 820, “Fair Value Measurements and Disclosures,” (SFAS 1 57), as amended by Financial Accounting Standards Board
(FASB) Financial Staff Position (FSP)No. 157-2, on the effective date ofFASB Statement No. 157. Those provisions relate to our financial
assets and liabilities carried at fair value and our fair value disclosures related to financial assets and liabilities. ASC 820 (SFAS 157) defines
fair value, expands related disclosure requirements and specifies a hierarchy of valuation techniques based on the nature of the inputs used
to develop the fair value measures. Fair value is defined as the price that would be received to sell an asset or paid to transfer a liability in an
orderly transaction between market participants at the measurement date. There are three levels of inputs to fair value measurements Level -
1 , meaning the use of quoted prices for identical instruments in active markets; Level 2, meaning the use of quoted prices for similar
instruments in active markets or quoted prices for identical or similar instruments in markets that are not active or are directly or indirectly
observable; and Level 3, meaning the use of unobservable inputs. Observable market data should be used when available. We did not have
financial instruments during the years ended December 3 1 , 2009 and 2008.

  Comprehensive Income
     We follow ASC 205, “Presentation of Financial Statements,” and ASC 220 (SFAS 130), “Reporting Comprehensive Income,” to
recognize the elements of comprehensive income. Comprehensive income is comprised of net income and all changes to the statements of
stockholders’ equity, except those due to investments by stockholders, changes in paid-in capital and distributions to stockholders.
Comprehensive income for 2009 and 2008 included net income.

   Impairment of Long-lived Assets
      In accordance with ASC 360-1 0 (SFAS 1 44), “Impairment or Disposal of Long-Lived Assets”, we periodically review our long-lived
assets for impairment whenever events or changes in circumstances indicate that the carrying amount of the assets may not be fully
recoverable. We recognize an impairment loss when the sum of expected undiscounted future cash flows is less than the carrying amount of
the asset. The amount of impairment is measured as the difference between the estimated fair value and the book value of the underlying
asset. We did not record any impairment charges during the years ended December 3 1 , 2009 and 2008, respectively.

   Newly Adopted Accounting Pronouncements
      Effective January 1, 2009, the Group adopted an authoritative guidance issued by the Financial Accounting Standards Board
(“FASB”) on business combinations. The guidance retains the fundamental requirements that the acquisition method of accounting
(previously referred to as the purchase method of accounting) be used for all business combinations, but requires a number of changes,
including changes in the way assets and liabilities are recognized and measured as a result of business combinations. It also requires the
capitalization of in-process research and development at fair value and requires the expensing of acquisition -related costs as incurred. The
Group has applied this guidance to business combinations completed since January 1, 2009.

      Effective January 1, 2009, the Group adopted an authoritative pronouncement issued by the FASB regarding interim disclosures about
fair value of financial instruments. The pronouncement requires disclosures about fair value of financial instruments for interim reporting
periods as well as in annual financial statements of publicly

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traded companies. The pronouncement also requires those disclosures in summarized financial information at interim reporting periods. The
adoption of this pronouncement did not have any significant impact on the Group’s financial condition or results of operations.

      Effective January 1 , 2009, the Group adopted an authoritative pronouncement issued by the FASB regarding recognition and
presentation of other-than-temporary impairments. The pronouncement amends the other- than-temporary impairment pronouncement in
US GAAP for debt securities to make the pronouncement more operational, and improves the presentation and disclosure of other-than-
temporary impairments on debt and equity securities in financial statements. The adoption of this pronouncement did not have any
significant impact on the Group’s financial condition or results of operations. Effective April 1, 2009, the Company adopted an
authoritative pronouncement issued by the FASB regarding determining fair value when the volume and level of activity for the asset or
liability have significantly decreased and identifying transactions that are not orderly. The pronouncement provides clarification on
estimating fair value when the volume and level of activity for the asset or liability have significantly decreased and on identifying
circumstances that indicate a transaction that is not orderly. The pronouncement emphasizes that even if there has been a significant
decrease in the volume and level of activity for the asset or liability and regardless of the valuation technique(s) used, the objective of a fair
value measurement remains the same. Fair value is the price that would be received to sell an asset or paid to transfer a liability in an orderly
transaction (that is, not a forced liquidation or distressed sale) between market participants at the measurement date under the then current
market conditions. The adoption of this pronouncement did not have any significant impact on the Group’s financial condition or results of
operations.

      Effective July 1 , 2009, the Group adopted a new Accounting Standards Codification (the “ASC”) as issued by the FASB. The ASC has
become the source of the authoritative US GAAP recognized by the FASB to be applied by nongovernmental entities and provides that all
such pronouncements carries an equal level of authority. The ASC is not intended to change or alter existing GAAP. The ASC is effective for
interim and annual periods ending after September 15, 2009. The adoption of the ASC did not have any significant impact on the
Company’s financial condition or results of operations.

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                                                               OUR BUSINESS

Our Company
      Our company is a specialty pharmaceutical company focusing on the research, development, manufacturing and marketing of
modernized traditional Tibetan medicines. Our operational entity, YSTP, develops products in China for promoting health in human
respiratory, digestive, urinary and reproductive systems. Our five SFDA-approved modernized traditional Tibetan medicines in distribution
are designed to address large market opportunities. YSTP’s product development pipeline includes potential expanded uses of our existing
products for additional medical indications and a number of new product candidates that are intended to address significant medical health
needs in China.

       We currently sell both prescription and over-the-counter products. We presently sell five products. YSTP also has developed one
additional pharmaceutical product that has received Chinese-govemment approval but that has not yet been introduced into the market.
Still other products are in various stages of development, clinical trials, and review for government approval. YSTP sells its products
principally to distributors in China, who in turn resell the products principally to hospitals, hospital pharmacies, and retail pharmacies.




     YSTP’s products are sold throughout China. A majority of sales are concentrated in southern provinces (most notably Yunnan
Province, Guangdong Province, and Zhejiang Province. To date, we have not sold YSTP’s products outside of China.

China’s Economic Development
      China’s economy continues the rapid growth it has shown over recent decades. According to a report by the U.S.-China Business
Council, China’s gross domestic product grew from RMB992 1 .5 billion in 2000 to RMB33535.3 billion in 2009. Real GDP annual growth
rates during that period ranged between 8.3 percent and 13 percent. While China suffered some consequences of the recent worldwide
economic downturn, it has suffered less and recovered more quickly than most countries. Real GDP growth fell from an annual rate of 1 3
percent in 2007 to 9.0 percent in 2008 and 8.7 percent in 2009.
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      Reuters reports that the China Information Center estimated in late 2009 that the country’s GDP will grow by 8.7 percent in 2010, and
that the World Bank has more recently forecast a GDP growth rate of 9.5 percent for 2010. According to the National Bureau of Statistics
(NBS), China’s GDP grew 1 1 .9 percent year over year in the first quarter of 201 0 to RMB 8.06 trillion ($1.19 trillion). According to
Economy Watch, China has already surpassed Japan as the world’s second largest economy, behind only the United States.

      The rapid and sustained growth of the Chinese economy has resulted in steady growth in consumer wealth and spending. Consumer
wealth is also broadening throughout the population: a recent Credit Suisse survey found that, between 2004 to 2009, the average
household income of the 40-60 percent income group grew by 98 percent, and the income of the bottom 20 percent households also rose by
50 percent (the latter being attributed in part to the indirect benefits of improved farm profitability). The report anticipates that China’s
share of global consumption will grow from 5.2 percent (US$1 .72 trillion) in 2009 to 23.1 percent (US$1 5.94 trillion) in 2020, overtaking
the US as the largest consumer market in the world.

China’s Healthcare Industry - Generally
      From 1940 through the 1950s, China’s government developed a healthcare system that would address the main health considerations
of the day — improved sanitation, improved diet and disease prevention. The healthcare system provided universal access to all Chinese
citizens. In China’s rural areas local governments generally financed the healthcare system. The results of the government’s focus upon
healthcare resulted in a dramatic long-term improvement of the health of China’s citizens. For example, in 1949, the life expectancy of a
Chinese citizen was 35 years; by 2009, the life expectancy of a Chinese citizen had risen to over 73 years, more than six years greater than
the worldwide average life expectancy.

      In the 1980s, the Chinese government, led by Deng Xiaoping, introduced socialist market reforms designed to increase China’s
presence in the international community while increasing the standard of living in China. However, these reforms also pushed an ever-
increasing portion of healthcare costs upon individual citizens. Consequently, an ever-widening gap arose between the provision of
healthcare services to citizens in wealthy, urban areas and those in poor, rural areas. In 1975, over 85% of the rural population was covered
by government-provided healthcare; in 1 997, that proportion had decreased to 1 0% of the rural population.

      In April 2009, the Chinese government implemented large-scale healthcare reform. The State Council allocated $123 billion as part of
its New Medical Refoim Plan In addition, the plan includes significant improvements to health care facilities and expansion of China’s
health related infrastructure. A recent OECD study indicates that spending hikes and regulatory changes in China have contributed to
significant growth in health-care spending in the country, and that such spending in 201 0 is likely to increase another 8.7 percent, with
about 4.5 percent of gross domestic product (GDP) allocated to healthcare, half of which comes from the private sector. The consulting firm
Scientia Advisor projects that healthcare spending in China will reach $600B by 201 5, a threefold increase over 2000 expenditures.

     The Chinese government aims to improve the urban healthcare system by rebuilding and restmeturing approximately 3,700 existing
urban community health centers and 1 1,000 community health clinics. The plan will also accommodate the development of approximately
2,400 new urban health centers. In effect, the plan deemphasizes the prevalence of large, magnet facilities in favor of smaller, more
accessible clinics.

      In addition, the plan is designed to improve dramatically medical services available for the 800 million rural poor in China. Through
the plan, the Chinese government contemplates the development of clinics in every village and a hospital in every county in China by the
end of 201 1 . If successfully implemented, the plan would result in at least 2,000 new county hospitals and 29,000 village clinics.

     The rapid increase in the per capita disposable income of Chinese urban residents and the increase in the number of elderly people in
China in recent years have resulted in increasing spending on prescription and OTC medicines, including traditional Chinese medicine.
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China’s Market for Pharmaceutical Products
      The pharmaceutical market in China has grown rapidly in recent years. According to Business Monitor International, the total sales of
medicines in China, including prescription and over-the-counter medicines, was US$33.9 billion (approximately RMB257 billion) in 2007,
representing an increase of 25.6% from 2006 and a 2003-2007 CAGR of 1 7.8%. Business Monitor International estimates that the Chinese
market became the eighth largest pharmaceutical market in the world in 2007 from ninth in 2006. The following chart sets forth the trend of
PRC expenditures for prescription and over-the-counter medicines in the periods indicated;

      Sales of prescription medicines are the principal component of pharmaceutical expenditures in China and are mostly made in
hospitals. According to Business Monitor International, sales of prescription medicines grew from US$1 4.1 billion in 2003 to US$26.4
billion in 2007, representing a CAGR of 17.0%. In 2007, total sales of prescription medicines represented 77.9% of China’s total
expenditures on medicine sales. The remaining expenditures were spent on over-the-counter medicines. In 2007, sales of over-the-counter
medicines amounted to US$7.5 billion, representing a CAGR of 21 .0% from 2003 to 2007. In addition to the primary growth drivers of
healthcare spending in China described above, another factor expected to increase the amount of healthcare spending in China is the
growing trend of PRC consumers to purchase non-prescription, over-the-counter medicines in non-hospital retail pharmacies.

          Expenditures (USS m tuitions)




                         2003                   2004                  2005                  2006                   2007

                                          O Prescription Medicines ■ Over-tne-Counter Medicines

Data source: Business Monitor International
      The Chinese pharmaceuticals market is fragmented but rapidly growing. According to Business Monitor International, the total sales
of medicine in China grew at a CAGR of approximately 17.8% from 2003 to 2007, which we believe was driven by favorable socio¬
economic factors and strong government support. Furthermore, the Chinese government has recently announced a reform plan to spend
RMB850 billion on health care, which is in addition to the regular healthcare budget, from 2009 to 20 11 in order to increase the
availability of healthcare, basic medicines and health insurance coverage in China. As a comparison, in 2007, the total healthcare
expenditure in China was approximately RMB1 .1 trillion, of which approximately RMB230 billion was government spending, according
to the Ministry of Health. The healthcare reform plan is expected to accelerate growth in the Chinese pharmaceutical industry.

     Pharmaceutical sales and usage play a larger role in the Chinese health-care market than in the health-care sectors of many other
countries. With a small share of the population presently enjoying insurance coverage, a still-developing state health-care system, and a
massive rural and relatively poor population, individuals (who generally must pay for care out of pocket) and health-care providers rely
heavily on medicines, both traditional and modem. One report states that the share of health-care spending devoted to pharmaceuticals in
China is three times that of the average for countries in the developed word.

      In addition to the country’s general economic growth and the government’s emphasis on improving health care, we believe that
China’s aging population is a key contributor to the increased expenditures on medicines because elderly people on average spend more on
healthcare than younger people. In China, each urban resident over age 60 on average spent approximately RMB984.0 (US$126.y on
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medicines in 2000, five times the average spending by an urban resident below age 60 in the same year, according to the China Industry
Development Report for the

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Pharmaceutical Industry 2004 published by the China National Information Center. The portion of the Chinese population aged 60 and
above has increased in both absolute numbers and as a percentage of the total population, and this trend is likely to continue in the next few
decades. According to two surveys conducted by the National Bureau of Statistics in 2000 and 2005, the number of people in China aged
60 and above was approximately 130.0 million in 2000, or 10.5% of China’s entire population, and this number increased to approximately
144.1 million by 2005, representing 1 1.0% of the population.

       The significant growth of China’s population aged 60 or above is expected to drive demand for healthcare in China. According to the
PRC National Bureau of Statistics, the proportion of the population aged 60 or above in China has increased from 1 1.9% in 2003, or
approximately 150.0 million people to 13.6%, or approximately 162.2 million people in 2007. Rising life expectancy is also expected to
contribute to the growth of China’s aging population, both as an absolute number and as a percentage of the total population. We believe
that the aging population in China, which historically spends the most on healthcare, will drive the growth of the PRC healthcare industry.
The prevalence of chronic health problems, such as arthritis, cardiovascular diseases and cancer, is expected to increase with the growth of
China’s population aged 60 or above. In addition, as living standards continue to improve and health consciousness grows in China, many
lifestyle-related diseases are also increasing and becoming more widespread. For example, Business Monitor International estimates that
sales of prescription cardiovascular medicines increased by 87% from US$2,765 million in 2003 to US$5,177 million in 2007, primarily as
a result of the rising prevalence of heart disease in an aging population and increasingly unhealthy lifestyles in the population at large.

National Medical Insurance Program
     The National Medical Insurance Program (“NMIP”), introduced in 1999, is the largest medical insurance program in China. As of the
end of 2006, the number of participants enrolled in this program was 157.4 million, according to a statement made by China’s Ministry of
Labor and Social Security (“MLSS”) on January 1 8, 2007. According to a February 21, 2006 statement by the MLSS, the Chinese
government intends to expand the program enrollment to 300 million of China’s urban population by the end of 2010. We believe that only
a small percentage of the Chinese population can afford commercial insurance plans and that a majority of the Chinese population has no
medical insurance coverage.

      The national medicine catalog of the NMIP provides guidance on which prescription and OTC medicines are included in the program
and to what extent the purchases of these medicines are reimbursable. At present, none of our commercialized products is eligible for NMIP
reimbursement, and we do not anticipate seeking inclusion in the NMIP program for our medicines. We believe our medicines are better
suited to sale at modest prices and in large volume, and that an ample market exists for them among both the insured and uninsured.

      In September 2008, the State Council published a draft plan to ease the difficulties and minimize the costs for PRC citizens to obtain
proper healthcare treatment. On 1 7 March 2009, the PRC Government issued the Opinion on Deepening the Healthcare System Reform (the
“Opinion”). The State Council subsequently released the Notice on Important Implementing Plans for the Healthcare System Reform 2009-
201 1 (the “Implementing Plan”). The goal of the healthcare reform plan is to establish a basic, universal healthcare framework to provide
Chinese citizens with safe, efficient, convenient and affordable healthcare. The Opinion calls for healthcare refonn to be carried out in two
steps:
         •   Step One, which will be completed by 2011, aims to increase the accessibility while reducing the cost of healthcare. During this
             phase, the PRC Government will build up a network of basic healthcare facilities, expand the coverage of the public medical
             insurance system to cover 90% or more the population, as well as reform the dmg supply and public hospital system, and;
         •   Step Two, which will take place between 201 1 and 2020, envisions the establishment of a universal healthcare system. The entire
             population should be covered by public medical insurance; drugs and medical services should be accessible and affordable to
             citizens in all public healthcare facilities.

      While the PRC Government has neitherprovided a concrete timetable norsteps to implement certain tasks, such as the public hospital
refonn, it has released execution guidance for other tasks. Most notably, the PRC Government has announced it will spend an additional
RMB850 billion from 2009 to 2011 on the healthcare industry. A significant portion will be expended to establish a basic healthcare
medical insurance regime, which aims to cover over 90% of the national population by 201 1, mainly through the Urban Worker Program,
Urban Resident Program and the New Rural Insurance Scheme. The PRC Government further announced that the annual subsidy for each
participant will be increased from RMB40 to RMB120 for Urban Resident Program participants, and from RMB80

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to RMB120 for New Rural Insurance Scheme participants, starting from 2010. The reform plan will also raise the cap on claim payments
from four times the local average annual income to six times such income. Another significant part of the spending plan focuses on
healthcare facilities. The PRC Government plans to build 29,000 rural clinics in 2009. In the next three years, it plans to build an additional
5,000 mral clinics, 2,000 county-level hospitals and 2,400 urban community clinics in under-developed areas. This substantial increase in
healthcare spending is expected to expedite the growth of the healthcare industry in China.

      In addition, the PRC Government has actively promoted the implementation of the New Rural Cooperative Medical Insurance Scheme
(“New Rural Insurance Scheme”), which seeks to provide healthcare services to the vast rural areas of China. The program extends to cover
approximately 2,729 counties in the PRC, which account for 95.4% of the total number of counties in the PRC. In addition, the program
covers approximately 814 million mral residents, which accounts for approximately 91 .5% of the total population engaged in the
agricultural industry in China as of December 31 , 2008.

Prescription Medicines and Hospitals
      Most people in China seek both in-patient and out-patient medical treatments at state-owned hospitals, where doctors may only
prescribe medicines that are listed on the hospital’s formulary. Hospital administrators generally decide whether to include a particular
medicine on their formulary based upon a number of factors, including doctors’ interest in prescribing the medicine, the cost of the
medicine, the perceived efficacy of the medicine and the hospital’s budget. Unlike in the United States, where patients typically fill their
prescriptions at pharmacies un affiliated with hospitals, out-patients in China typically fill their prescriptions at hospital pharmacies.

     Substantially all hospitals in China are owned and operated by the government. State-owned hospitals generally have effective
monopolies in their respective geographic areas, enabling them to use their market power to obtain prescription medicines from
pharmaceutical companies at lower prices.

OTC Medicines and Retail Pharmacies
     While outpatients in China generally fill their prescriptions at hospital pharmacies, they primarily purchase OTC medicines from retail
pharmacies. To the extent that a medical condition can be treated with an OTC medicine, many Chinese people choose to purchase an OTC
medicine instead of seeing a doctor in a hospital for a prescription medicine.

      The retail pharmacy sector in China is highly fragmented. Retail pharmacies in China include pharmacy chain stores, individual
stores, retail chain stores with OTC counters, and OTC counters in supermarkets. While they are expanding quickly, neither pharmacy chain
stores nor retail chain stores with OTC counters have developed a nationwide presence in China. As a result, retail phannacies tend to have
less bargaining power than hospitals in procuring medicines from pharmaceutical companies.

      A small portion of retail pharmacies in China is authorized for participation in the NMIP. A program participant may be reimbursed for
the cost of a medicine included in the provincial medicine catalog only if he or she purchases that medicine from an authorized retail
pharmacy. We refer to these pharmacies as authorized pharmacies.

     In 2004, the Chinese government authorities began to enforce the regulation prohibiting advertisement of prescription medicines
through mass media. However, OTC medicine can be advertised in the mass media.

      We believe that Chinese consumers purchase OTC medicines based upon brand name recognition and price. Consumers gain
familiarity with an OTC medicine through advertising, word-of-mouth and recommendations by pharmacy salespeople.

Traditional Chinese Medicine
       We believe that TCM is and will remain mainstream medicine in China. We also believe that a majority of Chinese consumers gives
equal consideration to Western medicine and traditional Chinese medicine in choosing a medicine. According to the China Statistical
Yearbook 2006-2008, traditional Chinese medicine accounted for approximately 21 % of all medicines sold in China, based upon the sales
revenues for each year between 2005 and 2007. Similarly, the consulting firm Helmut Kaiser estimated that, in 2005, the output value of
TCM amounted to RMB1 10.3 billion, accounting fora quarter of the overall output value in China’s medical industry. It also stated that the
net yield and profits of TCM production is much higher than the average for the country’s medical industry. The total TCM market in China
will rise to about RMB 188.5 billion in 2015.

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      Traditional Chinese medicine has been widely used in China for thousands of years and is therefore deeply ingrained in Chinese
culture. The theoiy underlying traditional Chinese medicine is that the human body is a dynamic energy system, or Qi, that needs to
harmonize and balance the different energies within it. Under this theory, a person becomes ill because his or her body experiences
dishannony or an imbalance of energy. Traditional Chinese medicine seeks to restore harmony and the balance of energy within the
patient’s body, thereby preventing, mitigating or curing diseases.

      Historically, traditional Chinese medicine consisted primarily of mixtures of dried herbs and, in some cases, animal parts and minerals.
In recent decades, pharmaceutical companies in China have applied modern production technologies to extract active ingredients out of the
mixtures and formulate the extracts into a variety of dosage forms such as tablets, capsules and granules, which we refer to as modernized
traditional Chinese medicines. These modernized formulations offer patients convenient forms of traditional Chinese medicine and also
substantially improve their quality, consistency and dosage precision.

      In general, traditional Chinese medicine has long been perceived by many Chinese to be safe and efficacious, while causing fewer side
effects than Western medicine. Regulations regarding the safety and efficacy of traditional Chinese medicine in China are administered by
the SFDA, the same regulatory agency responsible for oversight of Western medicine.

     In 2008, 2,688 out of a total of 19,712 Chinese hospitals were designated as traditional Chinese medicine hospitals, according to the
Chinese Ministry of Health Statistical Yearbook 2009. In addition to these traditional Chinese medicine hospitals, a significant majority of
hospitals in China, including Western medicine hospitals, has a department dedicated to traditional Chinese medicine, and doctors with
Western medical training in other departments of the hospital can also prescribe traditional Chinese medicine to their patients. By the end of
2008, China had 23 government medical schools specializing in traditional Chinese medicine education and practice. Western medical
schools in China also offer traditional Chinese medicine curricula to their students.

      The Chinese government is committed to supporting and promoting the development of traditional Chinese medicine. In the Chinese
pharmaceutical industry five-year plan released in June 2006 by the National Development and Reform Commission, or the NDRC, the
NDRC identified traditional Chinese medicine, particularly traditional Chinese medicines used for the treatment of diseases prevalent
among middle-aged and elderly people, as a priority area that will receive governmental support. The State Administration of Traditional
Chinese Medicine, a national government agency, formulates traditional Chinese medicine industiy policies for the development of
traditional Chinese medicine and provides research grants for traditional Chinese medicine research and development.

Traditional Tibetan Medicine
      Tibetan medicine is classified as one type of Chinese traditional medicine. The Chinese have long perceived and accepted traditional
Tibetan medicine as a safe and effective solution to diseases, having the advantage of causing fewer side effects than Western medicine, due
to the natural ingredients used,

      Tibetan medicine is a centuries-old medical system that employs a complex approach to diagnosis, incorporating techniques such as
pulse analysis and urinalysis, and utilizes behavior and dietary modification, medicines composed of natural materials (e.g., herbs and
minerals) and physical therapies (e.g. Tibetan acupuncture, moxabustion, etc.) to treat illness.

      Traditional Tibetan medicine has a long histoiy. It is a body of medicine that has developed over thousands years, founded on theoiy.
Tibetan medicine is rooted in the traditional Tibetan culture, and is closely bounded with the local religion, philosophy, astronomy, climate,
folk-custom, etc. Its theory, thinking mode (way of thinking), technical means, and medical ethic reflects Tibetan traditional culture. Tibetan
Medicine is fonned through years of clinical practice and summarization on the basis of assimilating medicine of other nationalities around.
It bases on the “theory of three categories of disease cause” and forms versatile diagnosis and treatment systems with especially rich clinical
experience of treating ordinary and frequent occurring illness. The main documentations of Tibetan medicine are “Four Volume Medicine
Tantra”, “King Moon Diagnosis”, “Crystal Beads Herbs”, etc. The knowledge system of Tibetan Medicine and the splendid traditional
culture of the Tibetan are the principal resources of the exploitation of Tibetan medicine and afford the theoretical base and cultural support
for the development of Tibetan medicine.

     The vast Qinghai-Tibet Plateau area and the complicated and varied nature conditions make it possible for versatile plant, animal
resources and the unique resource advantage for cultivation and development of Tibetan Medicine.
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      According to public reports by Tibet Cheezheng Tibetan Medicine Co., another producer of traditional Tibetan medicines, the market
for Tibetan pharmaceuticals in China is a small portion of the overall medical market in China. The annual production of Tibetan medicine
amounts to approximately 1 ,500 tons with more than 293 products marketed.

     One factor spurring growth has been the willingness of Chinese regulators to accredit products based on Tibetan medicine. At the
present time, this accreditation includes:
      •    14 products that have been listed on the Protected Chinese Traditional Medicine List;
      •    24 products that have been included in the National Medicine Index;
      •    218 products that have been certified by the SFDA; and
       •   20+ products that have registered trademarks in China.

       There are over one hundred producers of traditional Tibetan medicine in China. Many are quite small, employ only traditional
manufacturing techniques, and engage in little or no research and development. Roughly 40 companies have received some level ofGMP
certification. According to China Medicine Source Net (“CMSN”), in 2006, the 1 7 GMP-certified Tibetan medicine manufacturers in Tibet
Autonomous Region had a combined annual industrial output ofRMB623 million or about $91,018,871. Overall, China’s Tibetan
medicine industry was about RMB1 billion in size in 2006, about 0.5% of China’s total pharmaceutical industry at that time. The Tibetan
medicine industry as a whole is growing rapidly, CMSN projected that the Tibetan medicine industiy is growing at an annual rate of 50
percent.

     Owing to a unique environment featuring large temperature difference between day and night, and alpine-cold and low pressure, we
believe the active ingredients and bioactivity of the medicinal plants found in the Qinghai-Tibet Plateau, which lies in part in the area
where we reside, are particularly well suited to use in medicine. Tibetan medicinal material growing here are widely accepted and perceived
in China to have special non-substitutability and higher pharmaceutical value and curative effects.

OTC Tibetan Medicines
      Since the implementation of Drug Classified Management, the OTC medicine market developed rapidly in China. According to
Business Monitor International, in 1 990 the sale of OTC medicines in China was only RMB 1 .9 billion. In 2007, the total was about RMB5 1
billion (about $7.5 billion), reflecting a compound annual growth rate of 21%. The OTC pharmaceutical market is expected to increase at a
rate of about 15% per year in the future. (“China’s Pharmaceutical Market Growing 15% Annually,” www.medicalnewstoday.com) TCM and
Tibetan medicines comprise the principal part of the OTC phanuaceutical market. The rapid development of OTC market therefore promises
substantial opportunities for future growth for TCM and Tibetan medicine suppliers. According to public report by Cheezheng Tibetan
Medicine Co., currently, the OTC species have reached 4,488, ofwhich 3,5 1 1 or about 78% are traditional Chinese or Tibetan products.

Government Support of Tibetan Medicine
     The Chinese government gives strong support to the pharmaceutical industry, especially support to the traditional Chinese and
Tibetan medicine industry. China has set the goal to change from a large medicine producing countiy to a stronger, world first class
medicine producing country. China plans to build this solid foundation during its Eleventh Five-year Plan period (2006-2010) by
promoting the modernization of traditional Chinese and Tibetan medicine, developing modem biotechnology and creating more effective
Chinese and Tibetan drugs made from herbs and other natural ingredients

     The Eleventh Five-year Plan, Mid-Term and Long-Term Science and Technology Development Program, Healthcare Industry and
Traditional Chinese Medicine Industry Development Plan all have listed the development of folk medicines of ethnic minorities as
important issue.

     The Yunnan Province government has enacted a series of preferential policies targeting Tibetan medicine for the puipose of enabling
Yunnan province to become a “Biological Resources Power Province”. These efforts comprise part of an effort by the Province to build a
brand awareness for the province as the principal source of resources for biological resources, such as plants and herbs used in medical
production These measures include providing funds to scientific research and technology improvement, to simplify the medicine applying
procedures, and to relax the requirements to get listed in the medical insurance program.

     We believe the Chinese government is committed to supporting and promoting the development of modernized TCM and Tibetan
medicine, as evidenced by the government formulating an industry development plan for the

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modernized TCM and Tibetan medicine sector. In addition, in the Chinese pharmaceutical industry five-year plan released in June 2006, the
NDRC identified TCM and Tibetan medicines (particularly TCM and Tibetan medicines used for the treatment of diseases prevalent among
middle-aged and elderly people) as apriority area for receiving governmental support.

     We believe that TCM and Tibetan medicine will remain mainstream medicines in China and will continue to grow as a result of:
       •   China’s longstanding preference for TCM and Tibetan medicine remedies;
      •    the growing economy;
      *    the aging population;
       •   the increasing participation in the State Basic Medical Insurance System;
      •    Increase in government spending on public health care;
       •   government support for modernized TCM and Tibetan medicine as a key component of increasing quality of healthcare;
       •   existence of well-recognized brands supported by a long history;
       •   the rapidly growing over-the-counter market, in which TCM and Tibetan medicine makes up more than half; and
       •   the relatively low price compared to Western medicine.

Our Strengths
      We believe that our operational entity, YSTP, has developed a strong position in the traditional Tibetan medicine market as a result of
access to raw materials, research and development efforts, a focus on quality control, modem production techniques and effective marketing.
We believe these assets position us to take advantage of the growth of the Chinese pharmaceutical market generally and the expansion of
the traditional Tibetan medicine market in particular. More specifically:
      •    YSTP has an established portfolio of SFDA-approved pharmaceuticals. YSTP presently markets five products, both prescription
           and OTC, and wc believe these products to be the market leaders among modernized traditional Tibetan medicines for the
           treatment of diseases of the human respiratory system, digestive system, urinary system and gynecological inflammation. We
           believe YSTP’s products are unique in their formulas and composition, and we believe they are well perceived by YSTP’s product
           users to have high efficacy and low cost compared to YSTP’s competitors.
       •   We have diversity in YSTP’s product offerings. YSTP has developed four major categories of products with the treatment of
           respiratory, digestive and urinary systems, and reproductive diseases.
      •    YSTP has developed promising additional products. YSTP has received government approval for our Wupeng Pill, a traditional
           Tibetan medicines that we plan to introduce in the market for treating insect bite, pestilence, diphtheria, anthrax, echinococcosis
           and leprosy. It is also applying for government approval on Xuezang Guben Pill, a product for boosting energy and immune
           system, treating neurasthenia, insomnia and women’s menopausal symptoms. YSTP also has a number of other formulations in
           development, some of which are the currently in clinical trials.
      •    We have strong research and development capabilities. YSTP has employed a large number of senior scientists in Tibetan
           Medicine. It has established a close cooperation with the China Academy of Medical Sciences and the Second Military Medical
           University of China People’s Liberation Army (PLA) to ensure research and innovation capacity strength in traditional Tibetan
           medicines.
      •    YSTP employs modem, sophisticated formulation and manufacturing techniques. Our medicine products are processed with
           modem equipment and advanced technology, unlike many traditional Tibetan p h aim aceu deal products. At the same time,
           YSTP’s production system consistently adheres to traditional Tibetan medicine principles and concepts, that is, of employing
           combinations of authentic herbs and traditional processing methods.
      •    YSTP employs rigorous quality control procedures throughout our operations. We devote substantial effort and attention to
           quality control, not only in manufacturing, but also in sourcing and selecting raw materials, testing and verifying raw material
           quality and purity, inspection of product in manufacture and after manufacture, management, and distribution and sales. All of
           our r commercialized products have GMP certification, and YSTP’s production equipment and facilities also are GMP certified.
      •    We have an experienced management team. Our management team has extensive experience in the traditional Tibetan medicine
           sector, including spending the last 10 years exclusively in the Tibetan medicine industry. They have a proven track record of
           identifying, acquiring and developing modernized

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          traditional Tibetan medicinal products with good sales potential as well as successfully manufacturing, marketing and
          distributing modernized traditional Tibetan medicine. Both our management team and YSTP’s staff are experienced in operating
          in the highly-regulated and rapidly-developing Tibetan pharmaceutical sector.
      •   YSTP has access to abundant raw materials used in traditional Tibetan medicine, but not generally available outside its region.
          Traditional Tibetan medicines are formulated from a variety of herbs and other ingredients that are available primarily or
          exclusively in Qinghai-Tibet Plateau.
      •   YSTP has an established distribution network throughout China. YSTP currently contracts with 19 distributors in China and plan
          to add to these relationships to target new markets.

Our Strategies
     Our objectives are to maintain and strengthen the market leadership of YSTP’s products in Tibetan medicine segment in China, to
develop additional products and to increase the sales of YSTP’s other products. We will continue to integrate our marketing, sales,
management, technology, research and development and capital resources, to continue build YSTP’s brand awareness, and to become the
market leader for the development, manufacture and commercialization of Tibetan pharmaceutical products. We intend to achieve these
objectives by taking a variety of steps:
      •   We plan to further promote YSTP’s existing brands to achieve greater market penetration. We intend to support and grow the
          existing recognition and reputation ofYSTP’s brands and to maintain YSTP’s branded pricing strategy through continued sales
          and marketing efforts. To achieve this goal, we plan to detail the efficacy and highlight the quality and benefits ofYSTP’s fast
          growing Tibetan pharmaceutical products to physicians at hospitals and clinics in all provinces in China, through combining
          promotion of Tibetan culture with educational physician conferences and seminars.
      ■   We are pursuing a vigorous research and development program to maintain a pipeline of products in development, and to
          introduce additional products to diversity YSTP’s product offerings. We plan to focus YSTP’s research and development
          capabilities towards expanding our existing portfolio of approved products. YSTP has five prescription and over-the-counter
          pharmaceutical products in its portfolio that have been successfully commercialized, a sixth that has received SFDA approval
          and that we hope to commercialize in the future, and a seventh product that currently is under SFDA review for approval. In
          addition, we intend to conduct clinical trials for new modernized products and product line extensions for our existing products.
          YSTP plans to introduce new modernized products to leverage YSTP’s branded market leadership position, particularly in the
          therapeutic areas we already have expertise and an established reputation to develop product line extensions for its existing
          products.
      •   We are expanding our distribution network to diversify and broaden our market penetration. We intend to expand our reach by
          building oracquiring national orregional distribution points to drive additional growth of our existing and future products. We
          plan to build and improve our information system to better respond market demand, improve business process reorganization and
          optimization, enhance the collaboration among production, supply and sales, achieve good business cooperation on supply
          chain system, efficiently meet and exceed customer satisfaction, and better promote YSTP’s products.
      •   We will work to further develop procedures and systems to support our plans for expansion in research and development,
          manufacturing and marketing. Our research and development efforts are focused on new and innovative products with substantial
          market potential, as well as enhancement on existing products. YSTP has forged research and development collaboration
          partnerships with some of the most prestigious research and development institutions in China, including China Academy of
          Medical Sciences and the Second Military Medical University of China PLA. In addition, we have plans to expand YSTP’s
          manufacturing capacity and strengthen its distribution network, both from the proceeds of this offering and from revenues from
          our operations.
      •   We will work to build brand awareness. Our ultimate goal is to have our company name “Shangri-La Tibetan Pharmaceuticals”
          and our brands and trademarks recognized and trusted by our target consumers. In addition, we plan to continue to broaden our
          marketing efforts outside of major cities in China and increase our market penetration in cities and rural areas where we already
          have a presence.
      •   We hope to expand beyond the Chinese market. We also hope to expand YSTP’s presence beyond China to international markets.
          We plan to work with other international pharmaceutical companies in cross selling of our products.

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       •   We will pursue strategic acquisition and licensing opportunities. We intend to selectively pursue strategic acquisition
           opportunities that we believe would grow our customer base, expand YSTP’s product lines and distribution network, enhance our
           manufacturing and technical expertise or otherwise complement our business or further our strategic goals. Pursuing additional
           acquisitions is a significant component of our growth strategy. Our acquisition targets would be Tibetan pharmaceutical
           companies who have very competitive products, with strong efficacy.

YSTP’s Products
     The five Tibetan medicines that YSTP currently produces are among those Tibetan medicines made with modem drug manufacturing
techniques. The manufacturing equipments and techniques are certified under China’s national standards of Good Manufacturing Practice
(GMP), and are in compliance with applicable regulations of the SFDA, which regulates both the pharmaceutical and the nutraceutical
industries in China. The automatic production and testing processes facilitate the accurate execution of the formulae and the quality and
quantity of the products. Moreover, the strict quality control and inspection procedures similarly enhance the consistent quality of YSTP’s
products.

Approved and Commercialized Products
      The following table identifies the five products YSTP has commercialized to date, and summarizes the manner in which they are
distributed (whether by prescription or over the counter), and the indications or conditions forwhich the SFDA has authorized theiruse:

No.
1
      _             Product Name
      25 Ingredients Mandrake Pill              RX
                                                  Form of
                                                Distribution                   Indication
                                                                                                                    Function, Usage
                                                                                                            (Translation of SFDA Approvals)
                                                               Gynecology Disease                     Dispel pathogenic wind dampness,
                                                                                                      relieve pain, and regulate menses.
                                                                                                      Treat women anemia, gynecological
                                                                                                      rheumatism, uterus echinococoosis,
                                                                                                      lower limb joint pain, stomach, liver,
                                                                                                      gallbladder and upper body pain,
                                                                                                      depression, deficiency of blood, and
                                                                                                      irregular menstruation.
2     28 Ingredients Pinang Pill                RX             Urinary Tract                          Warm kidney, relieve strangury. Treat
                                                                                                      cold waist hip pain, treat pus
                                                                                                      hemuturia and testis swelling.
3     1 8 Ingredients Chebulic (Myrobalan)      RX             Diabetes, Nephropathy                  Invigorate kidney, guard sperm, help
      Fmsemide Pill                                                                                   urinary. Treat kidney problems,
                                                                                                      lumbar and kidney pain, frequent
                                                                                                      urination, turbid urine, diabetes and
                                                                                                      spermatorrhea.
4     1 5 Ingredients Gentiana Pill             OTC            Respiratoiy System                     Clear heat, regulate lunch, stop cough
                                                                                                      and remove phlegm. Treat bronchitis,
                                                                                                      emphysema, asthma, and hoarseness
5     Pomegranate Nichirin Pill                 OTC            Digestive System                       Warmly invigorate stomach and
                                                                                                      kidney. Treat indigestion, back and
                                                                                                      leg pain, frequent urination, foot
                                                                                                      edema, impotence and nocturnal
                                                                                                      emission

     A sixth product, YSTP’s Wupeng Pill, has received SFDA approval but has not yet been commercialized. The translation of the uses
and functions to which the Wupeng Pill has been approved by the SFDA is as follows: “heat clearing and detoxification, relieve swelling
and pain, dispel wind dampness, insecticide and stop pandora disease. Treat echimococosis, pandora tingling disease, diphtheria, anthrax,
yellow water disease and leprosy.”

     The translations of SFDA approvals presented above are literal, word-for-word translations and therefore the most accurate possible
description of the range of uses authorized by the SFDA. Yet, the translated language is

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somewhat awkward. It is generally accurate to state, more colloquially, that: the 25 Ingredients Mandrake Pill is authorized for use in
regulating menses, treating endometritis, and treating pelvic inflammation and women’s anemia; the 28 Ingredient Pinang Pill is approved
for use in relieve waist and hip pain as well as in treating pus hematuria and testis swelling; the 1 8 Tntegdients Chebulic Fmsenide Pill is
used for relieving kidney-related back pain, Sequent urination, and nocturnal sperm emission; the 15 Ingredients Gentiana Pill is authorized
for use in relieving symptoms of respiratory diseases; and the Pomegranate Nichirin Pill is used to improve kidney and digestive system
function, to relieve back and foot pain, foot edema, frequent urination and impotence.

     Two of YSTP’s products account for the vast majority of our sales. The Gentiana pill (comprised of 1 5 ingredients) and YSTP’s
Mandrake pill (comprised of 25 ingredients) together accounted for 70 percent of our sales in both 2009 and 2008. YSTP’s other cun'ent
products combine fora much smaller share of our sales, namely our Pinang Pill (28 ingredients), Chebulic (Myrobalan)Frusemide Pill (1 8
ingredients) and YSTP’s Pomegranate Nichirin Pill.

      YSTP’s Mandrake pill is sold both as a prescription and as an OTC medicine. While there is no substantive difference between the two
versions, as a prescription medicine, the Mandrake Pill is approved by the SFDA for the treatment of anemia in women, gynecological
rheumatism and endometritis and pelvic inflammations. As an OTC medicine, it is approved for the treatment of irregular menstruation. The
Mandrake pill is a formulation comprised of extracts of 25 different plants, including mandrake. It was developed based on a traditional
recipe from the Tibet medicine mantra. In 2008 and 2009, sales of the Mandrake pill totaled RMB55.1 million and RMB76.4 million
(US$1 1 .2 million), representing 50% and 48% of our net revenues, respectively.

     YSTP’s Gentiana pill is an OTC medicine used to treat coughing, asthma and improve the function of the lung. The Gentiana pill is a
formulation comprised of 1 5 plant extracts and that contains active ingredients in traditional Tibetan medicine literature as having phlegm
removal and coughing relieving properties. In 2008 and 2009, sales of our Gentiana pill were RMB22.1 million and RMB33.8 million
(US$4.9 million), representing 1 9% and 22 % of our net revenues, respectively.

Product Pipeline
      YSTP has its own research, development and laboratory facilities and retains its own professional research and development team. We
are actively developing a number of new medicines and formulations that were primarily acquired from third parties, as well as through joint
research and development with universities and research institutions. As of March 3 l, 2010, we were at different stages of developing over
60 product candidates.

      YSTP has many formulations in different stages of development. YSTP’s Xuezang Guben Pill, a product for boosting energy and
immune system, treating neurasthenia, insomnia and women’s menopausal symptoms, is now under review for SFDA approval, and we hope
to receive approval sometime in 201 1 . A few other products are currently in clinical trials and are, we believe, particularly promising. The
table below identifies what we believe to be the most promising products in development as well as the functions we believe they perform
and the indications or uses to which we believe they can be put, based on market potential, market demand and our test results to date. The
authorized uses of these formulations in all cases will be subject to the successful completion of clinical trials and securing SFDA approval:

Medicines                          Function                                  Indication                                  Status
Xuezang          Improve kidney function, blood balance,      Treatment of neurasthenia, insomnia, Applying for certificate of
  Guben pill     sexual function; regulate endocrine          frequent urination, nocturnal emission manufacturing and marketing
                 disorder                                     and women’s menopausal symptoms
Shengke I        Improve kidney function, guard speims,       Treatment of Type II diabetes            Phase III clinical testing
                 help urine, improve secretion function is
                 islet cell. Increase the volume of blood
                 flow in heart and brain
Shengke II       Reduction of sexual dysfunction,             Treatment of impotence and premature Phase II clinical testing
                 impotence; regulation of endocrine           ejaculation, prostrate disease, memory
                 disorders.                                   loss

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Medicines                       Function                                      Indication                                  Status
Jiuzun        Relief from stomach ailments                 Treatment of chronic gastroenteritis and    Phase II clinical testing
   pill                                                    peptic ulcers
Antai pill Improves liver function                         Treatment of hepatitis B                    Pre -clinical

Research and Development
     Unlike many producers of traditional Tibetan medicines, YSTP devotes considerable effort to product research and development,
which efforts we believe contribute greatly to our success and opportunities for growth. YSTP’s research and development department is
responsible for new medicine initiation and approval, research and development, new medicine trial production, technology project
application, and communication with universities and research institutes. Its R&D department is also responsible for analyzing potential
drug projects, starting the establishment, intermediate evaluation, consultation, acceptance and other works of research and development
projects.

      As of October 3 1, 201 0, YSTP’s research and development team consisted of 1 1 experienced researchers, engineers and developers. Of
these, one holds a doctorate, two have masters degrees, four have bachelor degrees and four have associate degrees. In addition, some of its
support employees regularly participate in its research and development efforts. YSTP has developed R&D cooperative relationships with
universities and medical institutes, including with China Academy ofMedical Science Institute, and the Second Military Medical
University of China PLA. In addition, it receives outside help from recognized industry experts. For example, Dr. Kcji Chen, who’s China’s
only fellow in the prestigious Institute of China Academy of Science coming from pharmaceutical industry, worked as a consultant to YSTP.
Dr. Chen was a pioneer in the treatment of joint disease and cardiovascular disease through a combination of Western and traditional
Chinese medicine. He is also widely recognized for his work in the treatment of coronary, spleen, and kidney conditions, as well as anti¬
aging.

     YSTP’s research and development expenditures were $5 1 2,475 and $614,880 in 2008 and 2009, respectively, representing 3.2% and
2.7% of its net revenues, respectively. YSTP’s research and development expenditures were primarily directed to the acquisition of product
candidates and our research partnerships and, to a lesser degree, to compensation for our research and development personnel.

      Among the five most promising products in YSTP’s development pipeline, based on market potential, market demand, and product
effectiveness, we believe three are particularly promising. While the course ofpharmaceutical research and develop always is uncertain, and
while there can be no assurance that a formulation will be certified for use on any anticipated time frame, the history and anticipated future
course of development for each of these three products is summarized below:
          •   YSTP is beginning the process of submitting Xuezang Guben Pill for SFDA approval and certification. To date, it has incurred
              $329,000 in research and development expense in connection with this product (about $102,000 in 2008 and $88,000 in 2009).
              YSTP expects to spend another $37,000 before commercializing the product, assuming SFDA approval, for expenses relating to
              the SFDA application fee, certification, documentation fee, and related travel expenses, etc. It hopes to complete all the necessary
              certification work in January 2011, and, assuming certification, to generate revenue from the sale of the product beginning in
              June 2011.
          •   YSTP’s Shengke I formulation is in Phase II clinical testing. It has incurred about $202,000 R&D expense developing this
              product (roughly $67,000 in 2008 and $90,000 in 2009), and expects to spend another roughly $164,000 in future development
              costs associated with further testing, development and certification. Assuming the successful completion of clinical trials, we
              hope to complete all the necessary certification work in June 2011, and to generate revenues from sales in December 201 1 .
          •   YSTP’s Antai Pill is in a pre-clinical testing period. It has incurred $50,000 in research and development expense to date (none of
              which occulted in the past two years), and estimates that we may need to allocate another $300,000 in future research and
              development expense through the certification process. We hope to complete all the necessary certification work in September
              2012, and, assuming certification, to receive cash flow from sales beginning roughly in June 2013.

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      Two other products in development have, in our view, less certain market potential and clinical effectiveness, but nonetheless seem
sufficiently promising to us to warrant significant investments in research and development. The development status of these two
formulations is summarized below:
       •   YSTP’s Shengke II is in Phase II clinical testing. YSTP has inclined $ 1 84,000 in research and development expense in
           connection with this product (about $63,000 in 2008 and roughly $92,000 in 2009), and expects to spend another $ 1 60,000 to
           complete development and obtain certification. We hope to complete all the necessary certification work in June 2011, and to
           generate revenues from sales beginning in December 2011.
       •   YSTP’s Jiuzun Pill also is in phase II clinical testing. YSTP has incurred $ 1 78,000 R&D expense to date in developing this
           product (of which about $63,000 was spent in 2008 and $92,000 in 2009), and anticipates investing another $ 1 90,000 in the
           future to complete testing and secure certification. We hope to complete all the necessary certification work in September 2011,
           and, assuming certification, to generate sales revenue beginning in March 2012.

      We believe that our long-term success depends in part on YSTP’s ability to develop and market successful new products, and for this
reason we have made a significant commitment to research and development efforts. Should one or more of these products prove to be
commercially successful, not only would we generate additional revenue, but also we would have a more diverse and competitively-strong
portfolio of products as well as a broader platform for product extensions.

      Yet, the development ofpharmaceuticals is a long and uncertain process, and there can be no assurance that any product will prove to
be clinically or commercially effective. Our experience, and we believe that of the pharmaceutical industry as a whole, is that most
formulations prove not to be sufficiently viable to warrant full development, and that some that prove to be clinically safe and effective
prove not to have sufficient market potential to warrant commercialization.

      Recognizing the inherent uncertainties of pharmaceutical research and development, we investigate a variety of different formulations
and attempt to make prudent R&D investment decisions based on test results and market potential. We do not believe that our prospects for
future growth are dependent on the commercial success of any of the formulations listed above, although our long-term prospects will vaiy
with our ability to develop successfully some new products.

Manufacturing
      YSTP’s production facilities are located in Shangri-La County, Yunnan Province, a top region in China in tenns of production of raw
materials used in the manufacturing of traditional Tibetan medicines. Its unique location allows YSTP to maintain close relationships with
suppliers of medicinal herbs, to have lower transportation costs and to give us the option of farming our own medicinal herbs, which we
believe is a competitive advantage. We have a policy of maintaining an inventory that allows us to have at least a three-month supply of raw
materials. The company owns the facility.

      Most of YSTP’s products are manufactured from an array of ingredients. Compared to most other producers of traditional Tibetan
medicines, we employ relatively sophisticated techniques to formulate and produce our products, as well as to maintain quality control of
our products and production processes. The ingredients used in our products have passed the drug standard issued by the PRC Ministiy of
Health, and are included in the “Chinese Pharmacopoeia”. We also have a clear inspection standard in place.

      The production process YSTP employs involves several different stages, and the process may vary somewhat depending on the
product and its ingredients. YSTP’s average pill production time is 1 1 days, and the finished products are good for 3 years. The various
stages of production in YSTP’s manufacturing process, generally speaking, include: formulation of the product; acquiring, coarsely
breaking, crushing, filtering and mixing ingredients; testing of the formulation as mixed; conversion of the mixed fonnulation to pill form;
polishing; drying and sterilizing at different points in the process; and multiple stages of packaging and printing. A key feature of YSTP’s
production process, we believe, is that we inspect and test the product at multiple stages of the production process, beginning with YSTP’s
acquisition of unprocessed raw ingredients, to ensure quality control. We test ingredients and pills for a variety of attributes, such as
ingredient purity, pill weight, pill moisture content, dissolving time, uniformity and manufacturing defects, and sterilization. We also track
the quality of ingredients as received from multiple sources, so as to be able to maximize YSTP’s ability to source ingredients from reliable
suppliers. YSTP developed this production process internally over the course of its history, and it works to continue to improve it.

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      YSTP’s production process features a variety of modem manufacturing and testing equipment, and YSTP has made significant
investments in the acquisition of modem pharmaceutical production equipment. Illustrations of the types of equipment YSTP employs are
as follows: a boiler; a de-ionized water system, dust collecting fine ctushing sets; a dryer and sterilizer; an automated pill making machine; a
two-state reverse osmosis water treatment device; a blister packaging machine as well as an automatic packaging machine; several different
types of grinders as well as cutting and slicing equipment; air blast ovens; ozone sterilization equipment; compressors; YSTP’s annual
manufacturing capacity is 360 million pills. YSTP has the capacity to increase production with its existing facilities and equipments, we
believe that our continuing growth may soon necessitate additional equipment purchases and upgrades to plant facilities. We anticipate
using portions of the proceeds to upgrade YSTP’s production capacity, so it can reach full production limit as we grow our business. Our
goal is to eventually increase the annual manufacturing capacity to 500 million pills, or 38% increase over existing manufacturing capacity.
This utilization rate is calculated on the basis of one shift per day. YSTP’s facilities can be operated using two shifts per day.

Quality Control
      We believe that our close attention to quality control, in all aspects of our operations, is an important contributor to our success and
potential for growth. While many producers of traditional Tibetan medicines are small and may have fewer resources to devote to quality
control and modem production techniques, ensuring quality is a major focus of our business.

      We implement quality control procedures in compliance with the GMP standards and other SFDA regulations to ensure consistent
quality in YSTP’s products. The ingredients used in YSTP’s products have passed the drug standard issued by the PRC Ministry of Health,
and are included in the “Chinese Pharmacopoeia”. We trace the source of raw materials and employ implement quality control procedures
that include the inspection of all incoming raw materials. We inspect and test incoming ingredients, products in the course of production,
and after production. All of YSTP’s products meet or exceed GMP and relevant national drug quality standards. YSTP’s production
equipment and facilities also are GMP-certified.

      YSTP has set up a dedicated quality control department, which is responsible for product quality and raw materials management,
internal quality control standards and the development of operating procedures and modifications, improving the quality standards of the
test methods, and implementing tests of raw materials and finished products. It has implemented a series of corresponding quality control
responsibilities among its personnel governing purchasing, production process control, product sales and after-sales service. In addition,
YSTP has have set up a drag safety warning rapid response team that is directed by our CEO.

Distributors and Customers
      YSTP sells its products to independent distributors who resell these products to hospitals, clinics, retail pharmacies and other
healthcare institutions throughout China. These distributors also handle distribution logistics, warehousing and transportation. We do not
sell YSTP’s products directly to hospitals or retail pharmacies.

       We have appointed nineteen regional distributors across China, most of which are large pharmaceutical distribution companies
affiliated with provincial or municipal governments in the provinces or cities in which they operate. Wc select our distributors based on
their reputation, market coverage and sales experience, as well as financial and economic capabilities. We typically enter into annual supply
contracts with YSTP’s regional distributors, renewable for one year or more upon their expiration. These supply contracts set forth the target
sales revenues and product prices and contain guidelines for the sale, order, delivery and payment arrangement of YSTP’s products,
including restrictions on the territories in which the products may be sold.

     In 2009 and 2008, the following two distributors each accounted for more than 10% of our revenues: (from

                                                                         Percentage of Revenues in              Percentage of Revenues in
     Purchaser Name                                                     Year ended December 31, 2009           Year ended December 31, 200K
     Kunming Shangri-La Medicine Co., Ltd.                                                    23.0%                                   27.7%
     Hangzhou Hesh eng Medicine Co., Ltd.                                                     12.6%                                   10.2%
     In 2008 and 2009, sales to our top five distributors collectively accounted for 69% and 62% of our net revenues, respectively.

     Our agreements with our distributors at present operate on annual terms but generally have been renewed. Distributors have been
granted exclusive sales territories, but are not required to sell YSTP’s products exclusively. Distributors are not subject to minimum or
annual sales requirements, but we believe our ability to monitory distributor performance closely and tenninate or not renew agreements
provides us with the ability to incentivize and control distributors. Our terms of sale with distributors call for payment within 60 days.

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      In the future, we plan to expand significantly the number of distributors with which we work, both to lessen our dependence on
existing distributors and to increase our market penetration. We presently plan to expend approximately $5.8 million over a two-year period
to recmit additional distributors, achieve broader geographic coverage throughout China, and generally to strengthen our distribution
network.

    The ultimate customers of YSTP’s prescription products are principally hospitals and hospital pharmacies. The ultimate customers of
YSTP’s OTC products are primarily retail pharmacies

Suppliers
     Our operational entity YSTP purchases raw materials from local farmers who either locally grow the plants or harvest them. It also
purchases raw materials from local open markets where there exist many pharmaceutical stores who are specialized in supplying raw
materials for production of Tibetan medicine.

     YSTP’s supplies consist primarily of raw materials for drag production. We believe the materials provided by YSTP’s suppliers are
widely available and do not anticipate that we will be unable to obtain these materials from other suppliers in the event ourprincipal
suppliers are unable orunwilling to supply us. One supplier, Chun Sheng, accounted for 1 8.7 percent of our purchases of ingredients in
2009 and 15.9 percent of our purchases of ingredients in 2009. Kunming Momingstar Pringing Company accounted for 1 8.3 percent of our
purchases ofpackaging material in 2009 and 1 7.6% of such purchases in 2008.

Marketing and Sales
      YSTP markets and sells YSTP’s products principally through YSTP’s distribution network. YSTP does not finance distributor
advertising and promotion directly, but it does provide information and support to its distributors. We do expect distributor promotion of
YSTP’s products, and look for evidence of this as we monitor YSTP’s distributor network. In addition to promoting YSTP’s products to
distributors and others, as we work to expand our distribution network, YSTP also directly promotes its products to end users through
advertising on radio and a variety of print media. YSTP’s efforts to strengthen our distribution network and to market directly to end users
are both parts of our general effort to build brand awareness and name recognition.

Intellectual Property
     We rely primarily on a combination of trademark and trade secret protections, as well as employee and third-party confidentiality
agreements to safeguard YSTP’s intellectual property.

Trademarks
     The Chinese have domestic laws for the protection of rights in copyrights, patents, trademarks and trade secrets. The Chinese are also a
signatory to all of the world’s major intellectual property conventions, including:
       •    Convention establishing the World Intellectual Property Organization (WIPO Convention) (June 4, 1980);
       •    Paris Convention for the Protection of Industrial Property (March 19, 1985);
       •    Patent Cooperation Treaty (January 1, 1994); and
       •    The Agreement on Trade-Related Aspects of Intellectual Property Rights (TRIPs) (November 1 1 , 2001).

      The Chinese Trademark Law, adopted in 1982 and revised in 2001 , with its implementation rales adopted in 2002, protects registered
trademarks. The Trademark Office of the State Administration of Industry and Commerce (“SAIC”), handles trademark registrations and
grants trademark registrations for a term of ten years.

      YSTP markets Xiangbala Jidan under a trademark that combines graphic designs and Tibetan characters of “Shangri-La.” YSTP owns
and maintains eight registrations of our trademarks in the PRC, including registrations of combinations of the Chinese characters and
graphic designs for “Zangyu”, “Shengke” and “Xiangbala Jidan”, and “Baofiiwan.” A listing of YSTP’s trademarks registered in China
follows:

No                    Trademark Name                    Registration Number    Valid Through                        Category
l     Zangyu                                                      3273849       5/20/2014        Approved Use, Product Category 5
2     Shengke                                                     3273850        1/6/2014        Approved Use, Product Category 5
3     (Design)                                                    1573695       5/20/2011        Approved Use, Product Category 5
4     Xiangbala Jidan                                             1785280       6/13/2012        Approved Use, Product Category 5
5     (Design)                                                    1974689       12/6/2012        Approved Use, Product Category 5

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No                    Trademark Name                    Registration Number     Valid Through                        Category
6     (Design)                                                    2013260        1/20/2013        Approved Use, Product Category 30
7     Baofuwan                                                    3545820        9/13/2015        Approved Use, Product Category 5
8     (Design)                                                    3545841        4/13/2015        Approved Use, Product Category 5

      We believe that YSTP’s trademarks Xiangbala Jidan and Zangyu in particular are well recognized in China among physicians and
hospital administrators, pharmacists and osteoporosis patients. We are working to strengthen, expand, and enforce our rights associated with
these trademarks and brand names, the protection of which is important to our reputation and branding.

Trade Secrets
       Many elements of YSTP’ pharmaceutical formulation, manufacturing and delivery methods and processes involve proprietary
technologies, processes, know-how or data that are non-patentable. Other methods and formulations may be patentable, but we have
determined that our business interests are better served by trying to protect them as trade secrets or confidential information. We rely heavily
on trade secret protection and confidentiality agreements rather than patent laws to protect our rights in these proprietary technologies,
processes, know-how and data. YSTP has taken security measures to protect its trade secret rights in this regard. For example, all research
and development personnel have entered into confidentiality, non-competition and proprietary information agreements. Tn addition, YSTP
maintains a segregation of duties among personnel involved in different stages of its production process. This segregation reduces the risk
that a breach of these protections by any single staff member would result in a leakage of the entire production process of YSTP’s products.
It also implements other precautions, such as internal document controls and network assurance procedures and the use of a separate
dedicated computer server, for its proprietary information and technical data.

Competition
      The traditional Chinese medicine and Tibetan medicine sector in China is highly fragmented and intensely competitive. According to
the 2006 China Pharmaceutical Market Research Report prepared by Compass International, a Beijing-based research company, in 2005
there were over 1,200 traditional Chinese medicine manufacturers in China (not including manufacturers of traditional sliced herbs). Of
these manufacturers, in 2005, large-sized manufacturers contributed to 27.4% of the total sales of this sector, compared to 30.3% and 42.3%
of sales by small- and medium-sized manufacturers, respectively, according to the same research report. According to the company size
classification standards used by Compass International in the research report and which are set by the National Bureau of Statistics, a
company with a headcount of over 2,000, sales ofoverRMB300 million and assets of over RMB400 million is classified as a large-sized
company. On the other hand, for companies that do not meet all three criteria of a large-sized company, if the company has an employee
headcount of at least 300, sales of at least RMB30 million and assets of at least RMB40 million, it is designated as a medium-sized
company.
Otherwise, it is considered to be a small-sized company. Under these standards, we believe that we would be designated as a medium-sized
company within the Chinese pharmaceutical industiy as a whole, although we are one of the larger companies among producers of
traditional Tibetan medicines.

Different categories of traditional Tibetan medicine companies.
     The Tibetan medicine industry is only a segment of the TCM sector. It is now in a transition stage, evolving from a sector dominated
by small, backyard enterprises to one increasingly characterized by larger-scale, industrial operations. Our competitors can be divided into
two categories:
       •   State-run pharmaceutical companies, such as Jingqiu Tibetan Medicine, Jinhe Tibetan Medicine and Tibetan Pharmaceutical
           Factory; and
       •   Private or joint-venture enterprises, such as the Cheezheng Tibetan Medical Group and Niemula Tibet Medicine.

     The state-owned enterprises have access to state financial and political support. They also entered into the market earlier than we did,
and thus have accumulated management experiences and personnel in the Tibetan medicine business. Meanwhile, the joint-venture
enterprises, like us, entered into market later, but, at least in our case, have grown quickly.

     Currently the Tibetan drug manufacturers can be divided into two other categories. One category is comprised of many traditional
Tibetan medicine companies that produce a variety of different products relies principally on medicinal formulations that have been
“inherited” and used for many, many years. The other category, comprised of

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far fewer companies, employs more modem manufacturing techniques and research and development capabilities to fonnulate new products.
Typically companies in this second category, in which we count ourselves as a member, focus on fewer products but higher quality and
modem techniques. Other examples include such as Tibet Medicine Industry Company and Cheezheng Tibetan Medicine Company. The
                                                          —                               —
former one has developed emergency life saving medicine rh-BNP for acute heart failure which has helped to persuade people that
Tibetan dmg manufacturers do not only rely on the sale ofselling biological resources; the latter’s leading product, Cheezheng Pain
Relieving Plaster, generated annual sales in 2009 of $59.7 million, demonstrating the commercial potential for Tibetan medicine.

Growth and increasing approval of traditional Tibetan medicine producers
      According to China Medicine Source Net (CMSN), there exist more than 100 Tibetan medicine enterprises throughout China, of which
about 40 have secured GMP authentication. In 2006, 17 GMP-certified Tibetan medicine manufacturers in Tibet Autonomous Region have
total annual industrial output ofRMB 623 million. China’s Tibetan medicine industiy was about RMB1 billion in size in 2006, about 0.5%
of China’s total pharmaceutical industry. The Tibetan medicine industry is believed to be growing rapidly: CMSN projected the Tibetan
medicine industry as a whole to be growing at an average annual rate of about 50%.

Principal Bases of Competition
     We believe that traditional Chinese medicine manufacturers primarily compete on the basis of:
       •   brand name and reputation;
       •   price;
       •   perceived efficacy;
      •    side effects;
      •    marketing ability;
      •    economies of scale;
      •    customer service and customer support capabilities; and
       ■
           customer base and customer loyalty.

     We believe that our experience, relatively large size, attention to R&D and quality control, product quality and modem manufacturing
and marketing techniques all position us to compete effectively in the areas listed above.

Principal competitors in the traditional Tibetan medicine sector
      We face direct competition from other China-based manufacturers of traditional Tibetan medicines. We believe that the primary
traditional Tibetan medicines manufacturers competing with our 25 Ingredients Mandrake Pill are Qinghai Jinke Tibetan Medicine Co., Ltd.
and Qinghai Crystal Beads Tibetan Medicine High-tech Industiy Co., Ltd. Both companies arc PRC domestic pharmaceutical companies.

     The following chart sets forth the primary competitors that compete with YSTP’s other principal products:

                                YSTP’s Product                                                   Primary Competitors
28 Ingredients Pinang Pill                                                Donggeer Pharmaceuticals Co., Ltd.
                                                                          Xiongbalaqu Shenshui Tibetan Medicine Factory
1 8 Ingredients Chebulic (Myrobalan) Fmsemide Pill                        Tibet Shenhou Pharmaceutical Co., Ltd.
                                                                          Qinghai Caidamu High-tech Medicine Co., Ltd.
15 Ingredients Gentiana Pill                                              Ningxia Duowei Pharmaceutical Co., Ltd.
                                                                          Qinghai Dimaer Tibetan Pharmaceutical Co., Ltd.
Pomegranate Nichirin Pill                                                 Linzhiyutuo Tibetan Phannaceutical Co., Ltd.,
                                                                          Qinghai Tongtianhe Tibetan Medicine Co., Ltd.

Environmental Matters
      Medicine manufacturers in China must comply with environmental laws and regulations stipulated by the state, provincial and local
environment protection authorities. Relevant laws and regulations include provisions relating to the treatment of sewage and exhaust fumes
and the limitation of industrial pollution. Pharmaceutical companies are required to carry out an environmental impact assessment before
commencing construction of their main production facilities as well as to construct accompanying pollution treatment facilities.
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     The major waste products ofYSTP’s manufacturing processes include:
       •     organic waste from the extraction process - we have set aside a specific area within YSTP’s facility to gather this organic waste
             for local fanners to remove and use as fertilizer;
       •     waste water — YSTP has its own waste water treatment facilities to treat the waste water from its production processes; and
       •     alcohol - YSTP has its own facilities for recycling alcohol.

      We believe YSTP complies with the Environmental Protection Law of China as well as the applicable local regulations. In addition to
statutory and regulatory compliance, YSTP works to actively ensure the environmental sustainability of its operations. Penalties would be
levied upon YSTP if it fails to adhere to and maintain certain standards. Such failure has not occurred in the past, and we generally do not
anticipate that it will occur in the future, but no assurance can be given in this regard.

Employees
    As of October 31,2010, YSTP had 1 90 full-time employees and 36 part-time employees. We anticipate that the number ofYSTP’s
employees will remain about the same in the near future.

Insurance
     YSTP does not carry any building, commercial, liability, product liability or key man insurance. This is not unusual in China, where
the business insurance market is relatively undeveloped.

Facilities
       YSTP’s manufacturing and office facilities are located in Shangri-La County ofYunnan Province, China. The office facility is located
in a single building having 17,014 square feet; the manufacturing facility is in a single building of 52,374 square feet. We recently
established a small new headquarters office in Hong Kong.

       Assuming that we generate positive cash flow from operations and continued growth in demand, we may expand YSTP’s production
facility and purchase additional machines to expand its production capacity. We tentatively plan to expend approximately $2.2 million to
upgrade production capabilities.

Legal and Administrative Proceedings
     Neither we nor YSTP is currently a party to any material legal or administrative proceedings, and we are not aware of any threatened
material legal or administrative proceedings against us. We and YSTP may from time to time become a party to various legal or
administrative proceedings arising in the ordinary course of our business.

Recent Developments
       On October 12, 2010, we entered into a Letter of Engagement and associated Stock Issuance Agreement with Trilogy Capital Partners,
Inc. (“Trilogy”) by which we engaged Trilogy to provide investor relations and public relations services. Under these agreements, as
amended, in exchange for Trilogy’s commitment to provide these services, we agreed to pay it a monthly fee of $7,500. As additional
consideration for its services, we agreed to issue to Trilogy 33,334 shares of our common stock, with one-half (or 16,667 shares) to be issued
two business days after this offering, and the remaining one-half (another 1 6,667 shares) to be issued 90 days thereafter.

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                                                                REGULATIONS

Restriction on Foreign Ownership
      The principal regulation in China governing foreign investors’ entry possibility and mode of investment vehicle in the industries in
which they intend to invest is the Catalogue of Industrial Guidance for Foreign Investment, effective as of December 11, 2007 (the
“Catalogue”). The Catalogue classifies the various industries into four categories: encouraged, permitted, restricted and prohibited. Pursuant
to the Catalogue, YSTP is engaged in a “permitted” industry. Such a designation offers businesses distinct advantages. For example,
businesses engaged in encouraged industries:
       •   are not subject to restrictions on foreign investment, and, as such, foreigners can own a majority in Sino-foreign joint ventures or
           establish wholly-owned foreign enterprises in China; and
       •   if a company has total investment of less than $100 million, the company is subject to regional (not central) government
           examination and approval which are generally more efficient and less time-consuming.

      The National Development and Reform Commission and the Ministry of Commerce periodically jointly revise the Catalogue of
Industrial Guidance for Foreign Investment. As such, there is a possibility that our company’s business in the future may fall into the scope
of the definition of a restricted or prohibited industry. Should this occur, we would no longer benefit from the above designation.

Regulation of Foreign Currency Exchange and Dividend Distribution
      Foreign Currency Exchange. The principal regulations governing foreign currency exchange in China are the Foreign Exchange
Administration Regulations (1 996), as amended, and the Administration Rules of the Settlement, Sale and Payment of Foreign Exchange
(1996). Under these regulations, Renminbi are freely convertible for current account items, including the distribution of dividends, interest
payments, trade and service-related foreign exchange transactions, but not for most capital account items, such as direct investment, loan,
repatriation of investment and investment in securities outside China, unless the prior approval of SAFE or its local counterparts is obtained.
In addition, any loans to an operating subsidiary in China that is a foreign invested enterprise, cannot, in the aggregate, exceed the
difference between its respective approved total investment amount and its respective approved registered capital amount. Furthermore, any
foreign loan must be registered with SAFE or its local counterparts for the loan to be effective. Any increase in the amount of the total
investment and registered capital must be approved by the Chinese Ministry of Commerce or its local counterpart. We may not be able to
obtain these government approvals or registrations on a timely basis, if at all, which could result in a delay in the process of making these
loans.

      The dividends paid by the subsidiary to its shareholder are deemed shareholder income and arc taxable in China. Pursuant to the
Administration Rules of the Settlement, Sale and Payment of Foreign Exchange (1 996), foreign-invested enterprises in China may purchase
or remit foreign exchange, subject to a cap approved by SAFE, for settlement of current account transactions without the approval of SAFE.
Foreign exchange transactions under the capital account are still subject to limitations and require approvals from, or registration with,
SAFE and other relevant Chinese governmental authorities.

      Dividend Distribution. The principal regulations governing the distribution of dividends by foreign holding companies include the
Foreign Investment Enterprise Law (1 986), as amended, and the Administrative Rules under the Foreign Investment Enterprise Law (2001).

      Under these regulations, foreign investment enterprises in China may pay dividends only out of their retained profits, if any,
determined in accordance with Chinese accounting standards and regulations, hi addition, foreign investment enterprises in China are
required to allocate at least 10% of their respective retained profits each year, if any, to fund certain reserve funds unless these reserves have
reached 50% of the registered capital of the enterprises. These reserves are not distributable as cash dividends.

      Notice 75. On October 21, 2005, SAFE issued Notice 75, which became effective as ofNovember 1, 2005. According to Notice 75,
prior registration with the local SAFE branch is required for Chinese residents to establish or to control an offshore company for the
purposes of financing that offshore company with assets or equity interests in an onshore enterprise located in China. An amendment to
registration or filing with the local SAFE branch by such Chinese resident is also required for the injection of equity interests or assets of an
onshore enterprise in the offshore company or overseas funds raised by such offshore company, or any other material change involving a
change in the capital of the offshore company.
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      Moreover, Notice 75 applies retroactively. As a result, Chinese residents who have established or acquired control of offshore
companies that have made onshore investments in China in the past are required to complete the relevant registration procedures with the
local SAFE branch. Under the relevant rules, failure to comply with the registration procedures set forth in Notice 75 may result in
restrictions being imposed on the foreign exchange activities of the relevant onshore company, including the increase of its registered
capital, the payment of dividends and other distributions to its offshore parent or affiliate and capital inflow from the offshore entity, and
may also subject relevant Chinese residents to penalties under Chinese foreign exchange administration regulations.

     Chinese residents who control our company are required to register with SAFE in connection with their investments in us. Such
individuals began this registration process on July 19, 2010. If we use our equity interest to purchase the assets or equity interest of a
Chinese company owned by Chinese residents in the future, such Chinese residents will be subject to the registration procedures described
in Notice 75.

New M& A Regulations and Overseas Listings
      On August 8, 2006, six Chinese regulatory agencies, including the Ministry of Commerce, the State Assets Supervision and
Administration Commission, the State Administration forTaxation, the State Administration for Industry and Commerce, CSRC and SAFE,
jointly issued the Regulations on Mergers and Acquisitions of Domestic Entciprises by Foreign Investors, or the NcwM&A Rule, which
became effective on September 8, 2006. This New M&A Rule, among other things, includes provisions that purport to require that an
offshore special purpose vehicle formed for purposes of overseas listing of equity interests in Chinese companies and controlled directly or
indirectly by Chinese companies or individuals obtain the approval of CSRC prior to the listing and trading of such special puipose
vehicle’s securities on an overseas stock exchange.

      On September 2 1 , 2006, CSRC published on its official website procedures regarding its approval of overseas listings by special
puipose  vehicles. The CSRC approval procedures require the filing of a number of documents with the CSRC and it would take several
months to complete the approval process. The application of this new Chinese regulation remains unclear with no consensus currently
existing among leading Chinese law firms regarding the scope of the applicability of the CSRC approval requirement.

     Our Chinese counsel, DeHeng Law Offices, has advised us that, based on their understanding of the current Chinese laws and
regulations:
       •   We cumently control our Chinese affiliate, YSTP, by virtue of WFOE’s Control Agreements with YSTP but not through equity
           interest acquisition nor asset acquisition which are stipulated in the New M&A Rule; and
       •   In spite of the above, CSRC currently has not issued any definitive rule or inteipretation concerning whether offerings like ours
           under this prospectus are subject to this new procedure.

Registration and Approval of Medicine
      The pharmaceutical industry in China, including the traditional Chinese medicine sector, is highly regulated. The primary regulatoiy
authority is the SFDA, including its provincial and local branches. As a developer, producer and distributor of medicinal products, YSTP is
subject to regulation and oversight by the SFDA and its provincial and local branches. The Law of China on the Administration of
Pharmaceuticals provides the basic legal framework for the administration of the production and sale of pharmaceuticals in China and
covers the manufacturing, distributing, packaging, pricing and advertising of pharmaceutical products. Its implementing regulations set
forth detailed rules with respect to the administration of pharmaceuticals in China. YSTP is also subject to other Chinese laws and
regulations that are applicable to business operators, manufacturers and distributors in general.

      A medicine must be registered and approved by the SFDA before it can be manufactured. The registration and approval process
requires the manufacturer to submit to the SFDA a registration application containing detailed information concerning the efficacy and
quality of the medicine and the manufacturing process and the production facilities the manufacturer expects to use. This process generally
takes at least a few months and sometimes longer, depending on the nature of the medicine under review, the quality of the data provided
and the workload of the SFDA. To obtain the SFDA registration and approval necessary for commencing production, the manufacturer is
also required to conduct pre-ciinical trials, apply to the SFDA for permission to conduct clinical trials, and, after clinical trials are
completed, file clinical data with the SFDA for approval.

       New Medicine. If a medicine is approved by the SFDA as a new medicine, the SFDA will issue a new medicine certificate to the
manufacturer and impose a monitoring period of as long as five years. The length of the monitoring period is specified in the new medicine
certificate. During the monitoring period, the SFDA will monitor the safety

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of the new medicine, and will neither accept new medicine certificate applications for an identical medicine by another pharmaceutical
company, nor approve the production or import of an identical medicine by other phamiaceutical companies. For new medicines approved
prior to 2002, the monitoring period could be longer than five years. As a result of these regulations, the holder of a new medicine certificate
effectively has the exclusive right to manufacture the new medicine during the monitoring period.

      Provisional National Production Standard. In connection with the SFDA’s approval of a new medicine, the SFDA will normally direct
the manufacturer to produce the medicine according to a provisional national production standard, ora provisional standard. A provisional
standard is valid for two years, during which the SFDA closely monitors the production process and quality consistency of the medicine to
develop a national final production standard for the medicine, or a final standard. Three months before the expiration of the two-year period,
the manufacturer is required to apply to the SFDA to convert the provisional standard to a final standard. Upon approval, the SFDA will
publish the final standard for the production of this medicine. There is no statutory timeline for the SFDA to complete its review and grant
approval for the conversion. In practice, the approval for conversion to a final standard is time-consuming and could take a fewyears.
However, during the SFDA’s review period, the manufacturer may continue to produce the medicine according to the provisional standard.

      Transitional Period. Prior to the latter of (1) the expiration of a new medicine’s monitoring period or (2) the date when the SFDA
grants a final standard for a new medicine after the expiration of the provisional standard, the SFDA will not accept applications for an
identical medicine nor will it approve the production of an identical medicine by other phamiaceutical companies. Accordingly, the
manufacturer will continue to have an exclusive production right for the new medicine during this transitional period.

Continuing SFDA Regulation
     Pharmaceutical manufacturers in China are subject to continuing regulation by the SFDA. If an approved medicine, its labeling or its
manufacturing process is significantly modified, a new pre-market approval or pre-market approval supplement will be required by the
SFDA. A pharmaceutical manufacturer is subject to periodic inspection and safety monitoring by the SFDA to determine compliance with
regulatory requirements. The SFDA has a variety of enforcement actions available to enforce its regulations and rules, including fines and
injunctions, recall or seizure of products, the imposition of operating restrictions, partial suspension or complete shutdown of production
and criminal prosecution.

Pharmaceutical Product Manufacturing
     Permits and Licenses for Pharmaceutical Manufacturers. A phamiaceutical manufacturer must obtain a pharmaceutical manufacturing
permit from the SFDA’s relevant provincial branch. This permit is valid for five years and is renewable upon its expiration.

      Good Manufacturing Practice. A pharmaceutical manufacturer must meet the Good Manufacturing Practice standards, or GMP
standards, for each of its production facilities in China in respect of each form of pharmaceutical products it produces. GMP standards
include staff qualifications, production premises and facilities, equipment, raw materials, environmental hygiene, production management,
quality control and customer complaint administration. If a manufacturer meets the GMP standards, the SFDA will issue to the manufacturer
a Good Manufacturing Practice certificate, or a GMP certificate, with a five-year validity period. However, for a newly established
pharmaceutical manufacturer that meets the GMP standards, the SFDA will issue a GMP certificate with only a one-year validity period.

Pharmaceutical Distribution
      A distributor of pharmaceutical products in China must obtain a pharmaceutical distribution permit from the relevant provincial or
local SFDA branches. The distribution permit is granted if the relevant SFDA provincial branch receives satisfactory inspection results of the
distributor’s facilities, warehouse, hygiene environment, quality control systems, personnel and equipment. A pharmaceutical distribution
pemiit is valid for five years.

      Restrictions on Foreign Ownership of Pharmaceutical Wholesale and Retail Businesses in China. Chinese regulations on foreign
investment currently permit foreign companies to establish or invest in wholly fo reign-owned companies or joint ventures that engage in
wholesale or retail sales of pharmaceuticals in China. For retail sales, these regulations restrict the number and size of retail pharmacy outlets
that a foreign investor may establish. Retail pharmacy chains with more than 30 outlets that sell a variety of branded pharmaceutical
products sourced from different suppliers are limited to 49.0% foreign ownership unless the outlets are owned by a third party and operated
under a foreign franchise.

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      Good Supply Practice Standards. The SFDA applies Good Supply Practice standards, (“GSP” standards, to all pharmaceutical
wholesale and retail distributors to ensure the quality of distribution in China. The currently applicable GSP standards require
pharmaceutical distributors to implement controls on the distribution of medicine, including standards regarding staff qualifications,
distribution premises, warehouses, inspection equipment and facilities, management and quality control. A certificate for GSP standards, or
GSP certificate, is valid for five years, except fora newly established pharmaceutical distribution company, for which the GSP certificate is
valid for only one year.

Price Controls
      The retail prices of prescription and OTC medicines that are included in the national medicine catalog are subject to price controls
administered by the Price Control Office under the National Development and Reform Commission, or the NDRC, and provincial price
control authorities, either in the form of fixed prices or price ceilings. The controls over the retail price of a medicine effectively set the
limits for the wholesale price of that medicine. From time to time, the NDRC publishes and updates a national list of medicines that are
subject to price control. Fixed prices and price ceilings on medicines are determined based on profit margins that the NDRC deems
reasonable, the type and quality ofthe medicine, its production costs, the prices of substitute medicines and the extent of the manufacturer’s
compliance with the applicable GMP standards. The NDRC directly regulates the price of some of the medicines on the list, and delegates
the power to provincial price control authorities to regulate the remainder on the list. For those medicines under the authority of provincial
price control authorities, each provincial price control authority regulates medicines manufactured by manufacturers registered in that
province. Provincial price control authorities have the discretion to authorize price adjustments based on the local conditions and the level
of local economic development.

       Only the manufacturer of a medicine may apply for an increase in the retail price of the medicine and it must apply either to the
NDRC, if the price ofthe medicine is nationally regulated, or to the provincial price control authorities in the province where it is registered,
if the price of the medicine is provincially regulated. For a provincially regulated medicine, when provincial price control authorities
approve an application, they will file the new approved price with the NDRC for confirmation and thereafter the newly approved price will
become binding and enforceable across China.

      At present, none of YSTP’s products are subject to price controls.

Tendering Requirement for Hospital Purchases of Medicines
      Provincial and municipal government agencies such as provincial or municipal health departments also operate a mandatory
tendering process for purchases by state-owned hospitals of a medicine included in provincial medicine catalogs. These government
agencies organize a tendering process once eveiy year in their province or city and typically invite manufacturers ofprovincial catalog
medicines that are on the hospitals’ formularies and are in demand by these hospitals to participate in the tendering process. A government-
approved committee consisting of physicians, experts and officials is delegated by these government agencies the power to review bids and
select one or more medicines for the treatment of a particular medical condition. The selection is based on a number of factors, including bid
price, quality and manufacturer’s reputation and service. The bidding price of a wining medicine will become the price required for
purchases of that medicine by all state-owned hospitals in that province or city. This price, however, is effective for only one year before the
following year’s tendering process, where the manufacturer of the winning medicine must submit a new bid.

     The tendering requirement was first introduced in 2004 and has since been implemented across China. We understand that the level of
present implementation ofthe tendering requirement varies among different provinces in China.

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                                                                MANAGEMENT

Directors and Executive Officers
       The following table sets forth our executive officers and directors, their ages and the positions held by them:

Name                                                              Age                               Position                        Appointed
Mr. Hong Yu(l)                                                    50         Chairman of the Board and Director                        2010
Mr. Taylor Z. Guo(l)                                              38         Chief Executive Officer, Director                         2010
Ms. Sabrina Y. Ren(l )                                            38         Chief Financial Officer                                   2010
Dr. Wenbo Chen(l)                                                 74         Independent Director                                      2010
Mr. Youhang Peng( 1)                                              48         Independent Director                                      2010
Mr. Solomon Chen( 1)                                              33         Independent Director                                      2010
(1)    The business address for each of Mr. Yu, Mr. Guo, Ms. Ren, Dr. Chen, Mr. Peng and Mr. Chen is: 53 Niwang Road, Shangri-La County,
       Yunnan Province, China

     Mr. Hong Yu. Mr. Yu has served as the chair of our board of directors since April 2010. Mr. Yu is the founder ofYSTP, and has also
serves as the chairman of its board of directors and previously serves as its General Manager (roughly equivalent to Chief Executive Officer)
from 2000 until mid-2009. Mr. Yu holds a MBA from Yunnan Finance and Trade Institute. Mr. Yu was nominated as a director for his
knowledge with Tibetan culture and medicine and his leadership of our company.

     Mr. Taylor Z. Guo. Mr. Guo has served as a director and our CEO since 201 0; he also has served as the General Manager (or CEO) of
YSTP since mid-2009. From 2004 to 2009, Mr. Guo was director of Bao-Wei Electronics Limited. Mr. Guo holds a bachelor degree from
Dalian University of Technology and a MBA from University of Minnesota. Mr. Guo was nominated as a director because ofhis operating
and management experience.

     Ms. Sabrina Y. Ren. Ms. Ren has served as our Chief Financial Officer since 2010; she serves in the same position for YSTP. From 2000
through 2009, she worked for Yunnan Kangle Pharmaceuticals Co., Ltd. Ms. Ren holds a bachelor degree of Accounting from Henan
Financial Institute. Ms. Ren has been retained because of her significant finance and accounting experience, especially in pharmaceutical
companies.

       Dr. Wenbo Chen. Dr. Chen has served as an independent Director since April 2010. Dr. Chen has been chairman and chief physician of
Beijing Medical Center of Famous Physicians since 1993, professor of Beijing University of Chinese Medicine since 1990. Dr. Chen also
serves as director of China Geriatric Association and director of Beijing Association of Chinese Medicine. From 1 98 1 through 1 998,
Dr. Chen was dean and president of Beijing Gulou (Drum Tower) Hospital of Chinese Medicine. Dr. Chen is recognized as a national level
expert in traditional Chinese medicine. He was awarded “China’s 1 00 Top Doctors in Traditional Chinese Medicine”, and enjoys
government special allowance issued to him by China Department of State. Dr. Chen has published many books, research papers, and
articles. He was the editor for the Journal of Traditional Chinese Medicine. Dr. Chen was nominated as a director because ofhis outstanding
industry knowledge and reputation.

      Mr. Youhang Peng. Mr. Peng has served as an independent Director since April 2010. From 2004 through 2010, Mr. Peng was the
Senior Managing Director of Caybridge International, Inc., an investment advisory firm based in Dallas, Texas. Mr. Peng has more than 1 8
years of experience in and extensive knowledge of financial markets, having worked as a Quantitative Analyst and Derivatives Trader wi th
Bankers Trust New York, Sakura Global Capital and HypoVereinsbank in the 1990s. Mr. Peng also worked as a treasury manager with Nokia.
Mr. Peng holds a bachelor degree in electronics from Tsinghua University and a master degree in electrical engineering from University of
California at Davis. Mr. Peng was nominated as an independent director because ofhis experience in capital markets.

     Mr. Solomon Chen. Mr. Chen has served as an independent Director since April 201 0. Since 2004, Mr. Chen has been audit manager of
Deloitte Touche Tohmatsu CPA (Shenzhen). Mr. Chen holds a bachelor degree from Xiamen University. Mr. Chen is a Certified Public
Accountant (China) and a Certified Tax Accountant (China). Mr. Chen serves as our Audit Committee financial expert. Mr. Chen was
nominated as an independent director because ofhis experience in audit, accounting, internal control review, and transactional advisory
experience in merger and acquisitions.
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Summary Compensation Table
     The following table shows the annual compensation paid by us for the years ended December 3 1 , 2008 and 2009 to our principal
executive officers.

                                                                                                           Stock          All Other         Total
Name and principal position                                                 Year     Salary    Bonus      Awards      Compensation         Paid (3)
Mr. Taylor Z. Guo, General Manager(l)                                       2009   $30,749     $   0    $157,500      $               0   $188,249
Mr. Hong Yu, General Manager(2)                                             2009   $96,638     $   0    $      0      $               0   $ 96,638
Mr. Hong Yu, General Manager(2)                                             2008   $93,372     $   0    $      0      $               0   $ 96,372
(1)   Mr. Guo did not become CEO ofTBET until 2010. In July 2009, he became General Manager (the equivalent of CEO) ofYSTP, and he
      continues to hold that position. Underhis employment agreement with TBET effective April 30, 2010, going forward he will receive
      annual compensation of $6 1,500. His employment does not provide for bonuses, options or other compensation. For his services as
      General Manager ofYSTP for one-half of 2009, and for those services he was paid a salary of $30,749.00. In addition, Mr. Guo
      received non-cash compensation for seivices rendered in 2009 in the form of a non-plan stock award of 150,000 shares ofTBET, the
      compensation value of which has been valued by the company at $157,500. This valuation was based on the total shareholders’ equity
      as of December 3 1 , 2009 divided by the number of shares outstanding immediately before the issuance of shares to Mr. Guo, yielding a
      per share price of $1.05. As a result, Mr. Guo’s total compensation for 2009 was $188,249.
(2)   Mr. Yu served as General Manager ofYSTP prior to Mr. Guo’s arrival in 2009. The salary number reported reflects his total
      compensation by YSTP, including compensation for his services as General Manager.
(3)   No other executive officer of either YSTP or TBET received compensation in excess of $1 00,000 in either 2009 or 2008.

Employment Agreements
Generally
      Under Chinese law, we may only terminate employment agreements without cause and without penalty by providing notice of non¬
renewal one month prior to the date on which the employment agreement is scheduled to expire. If we fail to provide this notice or if we
wish to terminate an employment agreement in the absence of cause, then we are obligated to pay the employee one month’s salary for each
year we have employed the employee. We are, however, pennitted to terminate an employee for cause without penalty to our company,
where the employee has committed a crime or the employee’s actions or inactions have resulted in a material adverse effect to us.

      Our employment agreements with our executive officers generally provide for a term of three years, extendable for an additional two
years, and a salary to be paid monthly. The agreements also provide that executive officers are to work an average of forty hours per week
and are entitled to all legal holidays as well as other paid leave in accordance with Chinese laws and regulations and our internal work
policies. Under such agreements, our executive officers can be terminated for cause without further compensation. The employment
agreements also provide that we will pay for all mandatory social security programs for our executive officers in accordance with Chinese
regulations. During the agreement and for three (3) years afterward, our executive officers are subject to keep trade secrets confidential. In
addition, our employment agreements with our executive officers prevent them from rendering services for our competitors for a period of
two (2) years after termination of employment.

      To date, YSTP has entered into “retainer agreements” with our officers and the chairman of our board of directors. These agreements
went into effect on April 30, 2010; prior to April 30, 2010, YSTP’s officers served without formal, written agreements. The written
agreements presently in place require full-time service for us, and provide for the payment of annual salaries plus the reimbursement of
reasonably-incurred expenses. They do not provide for bonuses or other forms of compensation. Generally, our written retainer agreements
have terns of three years, and automatic renewal terms of two years. They require that the individuals work exclusively for the company,
and further provide that during the terms of the agreements and for twenty-four months thereafter the individuals may not render services for
our direct or indirect competitors. The agreements further bind the individuals to confidentiality obligations throughout the terms of the
agreements and for thirty-six months thereafter.

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Hong Yu
      Mr. Yu entered into a retainer agreement with YSTP, effective April 30, 2010, providing for Mr. Yu to serve as our chairman of the
board of directors. The agreement operates, unless sooner terminated as provided for in the agreement, for a term of the agreement is three
years, and it is renewable for an additional two-year term. The agreement provides for payment to Mr. Yu of an annual salary of $9 6 ,6 50,
payable in equal monthly installments, as well as reimbursement of expenses she reasonably incurs.

Taylor Z. Guo
      Mr. Guo entered into a retainer agreement with YSTP effective April 30,201 0. It provides for Mr. Guo to serve as our CEO. The
agreement operates for a tenn of three years, which term is renewable for a subsequent temi of two years. The retainer agreements provides
for an annual salary payable to Mr. Guo of $61,500, payable in equal monthly installments, as well as for the reimbursement of reasonable
expenses incurred by Mr. Guo. The retainer agreement is terminable by either party upon sixty days prior written notice.

Sabrina Y. Ren
      Ms. Ren entered into a retainer agreement with YSTP, effective April 30, 2010, providing for Ms Ren to serve as our CFO. The
agreement operates, unless sooner terminated as provided for in the agreement, fora tenn of the agreement is three years, and it is renewable
for an additional two-year term. The agreement provides for payment to Ms. Ren of an annual salary of $44,000, payable in equal monthly
installments, as well as reimbursement of expenses she reasonably incurs.

Outstanding Equity Awards
     As of the end of fiscal year 2009, we had no outstanding equity awards to our executive officers of unvested common stock,
unexercised options, or equity incentive plan awards.

Duties ofDirectors
      Under British Virgin Islands law, our directors have a duty to act honestly, in good faith and with a view to our best interests. Our
directors also have a duty to exercise the care, diligence and skills that a reasonably prudent person would exercise in comparable
circumstances. See “Description of Share Capital — Differences in Corporate Law” for additional information on our directors’ fiduciary
duties under British Virgin Islands law. In fulfilling their duty of care to us, our directors must ensure compliance with our fourth amended
and restated memorandum and articles of association. We have the right to seek damages if a duty owed by our directors is breached.

      The functions and powers of our board of directors include, among others:
       •   appointing officers and detennining the tenn of office of the officers;
       •   authorizing the payment of donations to religious, charitable, public or other bodies, clubs, funds or associations as deemed
           advisable;
       •   exercising the borrowing powers of the company and mortgaging the property of the company;
       •   executing checks, promissory notes and other negotiable instruments on behalf of the company; and
       •   maintaining or registering a register of mortgages, charges or other encumbrances of the company.

Board ofDirectors
      Our board of directors currently consists of five (5) directors, including the chairman of the board. We expect that all current directors
will continue to serve after this offering. There are no family relationships between any of our executive officers and directors.

      The directors will be divided into three classes, as nearly equal in number as the then total number of directors permits. Class I
directors shall face re-election at our annual general meeting of shareholders in 20 1 0 and every three years thereafter. Class II directors shall
face re-election at our annual general meeting of shareholders in 201 1 and every three years thereafter. Class III directors shall face re-
election at our annual general meeting of shareholders in 2012 and every three years thereafter.
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      Mr. Hong Yu, the founder of YSTP and its former General Manager, serves as the chairman of TBET’s board of directors. Mr. Taylor
Guo serves as the Chief Executive Officer of TBET and also as the current General Manager of YSTP. The remaining three directors are
independent. We have appointed different individuals in the positions of CEO and Chairman because we believe this arrangement is in the
best interests of our company. Mr. Hong Yu, as the founder of the company, possesses the vision of the overall development of the industry
within China and is therefore, we believe, the right person to serve as the Chairman of the board of directors, which exercises oversight over
our company’s general direction and puipose. On the other hand, Mr. Taylor Z. Guo, having been trained in an MBA program in the U.S., is
well equipped to execute and implement company decisions on a daily basis, particularly after the offering when our company will be
expected to operate, from an investor perspective, in a far more international business context.

      Our Board of Directors plays a key role in our risk oversight. The Board of Directors makes all relevant TBET decisions. As such, it is
important for us to have both our Chief Executive Officer serve on the Board as he plays a key roles (please change “roles” to “role”) in the
risk oversight or the Company. As a smaller reporting company with a small board of directors, we believe it is appropriate to have the
involvement and input of all of our directors in risk oversight matters.

      If the number of directors changes, any increase or decrease will be apportioned among the classes so as to maintain the number of
directors in each class as nearly as possible. Any additional directors of a class elected to fill a vacancy resulting from an increase in such
class will hold office fora term that coincides with the remaining teim of that class. Decreases in the number of directors will not shorten the
term of any incumbent director. These board provisions could make it more difficult for third parties to gain control of our company by
making it difficult to replace members of the Board of Directors.

      A director may vote in respect of any contract or transaction in which he is interested, provided, however that the nature of the interest
of any director in any such contract or transaction shall be disclosed by him at or prior to its consideration and any vote on that matter. A
general notice or disclosure to the directors or otherwise contained in the minutes of a meeting or a written resolution of the directors or any
committee thereofofthe nature of a director’s interest shall be sufficient disclosure and after such general notice it shall not be necessary to
give special notice relating to any particular transaction. A director may be counted for a quorum upon a motion in respect of any contract
or arrangement which he shall make with our company, or in which he is so interested and may vote on such motion.

     There arc no membership qualifications for directors. Further, there are no share ownership qualifications for directors unless so fixed
by us in a general meeting.

      The Board of Directors maintains a majority of independent directors who are deemed to be independent under the definition of
independence provided by NASDAQ Listing Rule 5605(a)(15). Solomon Chen, Dr. Wenbo Chen and Youhang Peng are our independent
directors.

      Mr. Hong Yu serves as the chairman of the board of directors. He has entered into a retainer agreement for his services as chairman of
the board of directors, which agreement carries an initial term of 36 months and a renewal term of 24 months. The agreement provides for an
annual salary of $96,650, payable in monthly installments, as well as reimbursement of his reasonably-incurred expenses, for his services as
chainnan. Mr. Taylor Guo serves as a director, and is also our CEO. He has a retainer agreement compensating him for his services as CEO,
but he receives no additional compensation for serving as a director.

      Our Board of Directors plays a key role in our risk oversight. The Board of Directors makes all relevant Company decisions. As such, it
is important for us to have both our Chief Executive Officer and Chief Financial Officer serve on the Board as they play key roles in the risk
oversight or the Company. As a smaller reporting company with a small board ofdi rectors, we believe it is appropriate to have the
involvement and input of all of our directors in risk oversight matters.

     There are no other arrangements or understandings pursuant to which our directors are selected or nominated.

Committees of the Board of Directors
     The board of directors may determine by resolution the existence, powers and composition of committees. Board committees that have
been established, and their respective compositions, are as follows: an Audit Committee, presently chaired by Solomon Chen and also
comprised ofWenbo Chen and Youhang Peng; a Compensation Committee, presently chaired by Youhang Peng and also composed of
Solomon Chen and Wenbo Chen; and a Nominating Committee, now chaired by Solomon Chen and with both Wenbo Chen and Youhang
Peng

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serving as members. The Audit Committee is responsible for overseeing the accounting and financial reporting processes of our company
and audits of the financial statements of our company, including the appointment, compensation and oversight of the work of our
independent auditors. The Compensation Committee of the board of directors reviews and makes recommendations to the board regarding
our compensation policies for our officers and all forms of compensation, and also will administer our incentive compensation plans and
equity-based plans (but our board retains the authority to interpret those plans). The Nominating Committee of the board of directors is
responsible for the assessment of the performance of the board, considering and making recommendations to the board with respect to the
nominations or elections of directors and other governance issues. The nominating committee considers diversity of opinion and experience
when nominating directors.

Director Compensation
       All directors hold office until the next annual meeting of shareholders at which their respective class of directors is re-elected and until
their successors have been duly elected and qualified. There arc no family relationships among our directors or executive officers. Officers
are elected by and serve at the discretion of the Board of Directors. Employee directors do not receive any compensation for their services.
Non-employee directors will be entitled to receive SI 0,000 per year for serving as directors and may receive option grants from our
company. In addition, non-employee directors are entitled to receive compensation for their actual travel expenses for each Board of
Directors meeting attended.

Summary Compensation Table FY 2009 - Directors

                  Name                                                       Director Fees earned or paid in cash        Total(l)
                 Hong Yu (2) (3)                                             S                                 0         $     0
                 Taylor Z. Guo(2)                                            $                                 0         $     0
                 Dr. Wenbo Chen (2)                                          $                                 0         $     0
                 Mr. Youhang Peng(2)                                         $                                 0         $     0
                 Mr. Solomon Chen(2)                                         $                                 0         $     0
(1)   None of the directors received any common share awards, option awards, nonqualified deferred compensation earnings or non-equity
      incentive plan compensation in fiscal year 2009.
(2)   As TBET was not formed until 201 0, none of the directors received any compensation in fiscal year 2009.
(3)   Mr. Yu has entered into a retainer agreement effective April 30, 2010 that contemplates payment to him of an annual salary of $96,650
      for his services as chairman of the board, as well as for reimbursement of his reasonably incurred expenses. The agreement does not
      provide for separate compensation for his service on the board. He also serves as the chairman ofYSTP’s board and, until mid-2009,
      served as its General Manager In 1 999, he received total compensation of $96,638 for his services as General Manager.

Contractual Arrangements with YSTP and its Shareholders
      We operate our business in China through a series of contractual arrangements with the Domestic Companies and their shareholders.
For a description of these contractual arrangements, see “Our Corporate Structure - Contractual Arrangements with YSTP and its
Shareholders.”

Relationship with our Placement Agent
     In connection with this offering, we have agreed to allow our Placement Agent to designate two non-voting observers to our Board of
Directors until the earl ier of the date that:
       •   the investors that purchase shares in this offering beneficially own less than 5% of our outstanding shares; or
       •   the trading price per share is at least $24 per share for any consecutive 15 trading day period.

     It is anticipated that Mr. Downs, our Placement Agent’s Senior Vice President, and Mr. Hayden Zou will serve as the Placement Agent’s
observers to our Board of Directors.
      Although our placement agent’s observers will not be able to vote, they may nevertheless influence the outcome of matters submitted
to the Board of Directors for approval. Wc have agreed to reimburse the observers for their expenses for attending our Board meetings,
subject to a maximum reimbursement of $6,000 per meeting and $ 12,000 annually, which amount is not more than the reimbursement
payable to our directors. The observer will be required to certify that such travel expenses are not reimbursed by any other party. We will
also pay observers the same amount as our independent directors receive.
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Future Related Party Transactions
      The Corporate Governance Committee of our Board of Directors must approve all related patty transactions. All material related party
transactions will be made or entered into on terms that are no less favorable to us than can be obtained from unaffiliated third parties.
Related party transactions that we have previously entered into were not approved by independent directors, as we had no independent
directors at that time.

Interested Transactions
      A director may vote, attend a board meeting or sign a document on our behalf with respect to any contract or transaction in which he
or she is interested. A director must promptly disclose the interest to all other directors after becoming aware of the fact that he or she is
interested in a transaction we have entered into or are to enter into. A general notice or disclosure to the board or otherwise contained in the
minutes of a meeting or a written resolution of the board or any committee of the board that a director is a shareholder, director, officer or
trustee of any specified firm or company and is to be regarded as interested in any transaction with such film or company will be sufficient
disclosure, and, after such general notice, it will not be necessary to give special notice relating to any particular transaction.

Remuneration and Borrowing
      The directors may receive such remuneration as our board of directors may determine from time to time. Each director is entitled to be
repaid or prepaid all traveling, hotel and incidental expenses reasonably incurred or expected to be incumcd in attending meetings of our
board of directors or committees of our board of directors or shareholder meetings or otherwise in connection with the discharge of his or her
duties as a director. The compensation committee will assist the directors in reviewing and approving the compensation structure for the
directors. Our board of directors may exercise all the powers of the company to borrow money and to mortgage or charge our undertakings
and property or any part thereof, to issue debentures, debenture stock and other securities whenever money is borrawed or as security for any
debt, liability or obligation of the company or of any third party.

Qualification
      A director is not required to hold shares as a qualification to office.

Share Incentive Plan
      We intend to establish a pool forshare options for our employees following the completion of this offering. This pool will contain
options to purchase our common shares equal to up to five percent (5%) of the number of common shares outstanding at the conclusion of
this offering.

     This pool will contain options to purchase up to 740,625 of our common shares subject to outstanding share options or reserved for
issuance under our share incentive plan, assuming a maximum offering. The options will vest at a rate of 20% per year for five years. Options
granted to employees will have a per share exercise price equal to the market price of the common shares on the date of the option grant,
except that options granted to employees on the date of the offering will have an exercise price equal to the offering price.

Limitation of Director and Officer Liability
      Under British Virgin Islands law, each of our directors and officers, in performing his or her functions, is required to act honestly and in
good faith with a view to our best interests and exercise the care, diligence and skill that a reasonably prudent person would exercise in
comparable circumstances. Our memorandum and articles of association provide that, to the fullest extent permitted by British Virgin
Islands law or any other applicable laws, our directors will not be personally liable to us or our shareholders for any acts or omissions in the
performance of their duties. Such limitation of liability does not affect the availability of equitable remedies such as injunctive relief or
rescission. These provisions will not limit the liability of directors under United States federal securities laws.
      Our articles of association provide that the Company shall, subject to certain limitations, indemnify against all expenses, including
legal fees, and against all judgments, fines and amounts paid in settlement and reasonably incurred in connection with legal, administrative
or investigative proceedings any person, among others, is or was, at
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the request of the Company, serving as a director of, or in any other capacity or is acting for the Company. We may only indemnity a director
if he or she acted honestly and in good faith with the view to our best interests and, in the case of criminal proceedings, the director had no
reasonable cause to believe that his or her conduct was unlawful. The decision of our board of directors as to whether the director acted
honestly and in good faith with a view to our best interests and as to whether the director had no reasonable cause to believe that his or her
conduct was unlawful, is in the absence of fraud sufficient for the purposes of indemnification, unless a question of law is involved. The
termination of any proceedings by any judgment, order, settlement, conviction or the entry of no plea does not, by itself, create a
presumption that a director did not act honestly and in good faith and with a view to our best interests or that the director had reasonable
cause to believe that his or her conduct was unlawful. If a director to be indemnified has been successful in defense of any proceedings
referred to above, the director is entitled to be indemnified against all expenses, including legal fees, and against all judgments, fines and
amounts paid in settlement and reasonably incurred by the director or officer in connection with the proceedings.

      We may purchase and maintain insurance in relation to any of our directors or officers against any liability asserted against the
directors or officers and incurred by the directors or officers in that capacity, whether or not we have or would have had the power to
indemnify the directors or officers against the liability as provided in our fourth amended and restated memorandum and articles of
association.

     Insofar as indemnification for liabilities arising under the Securities Act may be permitted for our directors, officers or persons
controlling our company under the foregoing provisions, we have been infonned that in the opinion of the SEC, such indemnification is
against public policy as expressed in the Securities Act and is therefore unenforceable.

Code of Ethics
     We have put in place a code of ethics, entitled the “Code of Business Conduct and Ethics,” that applies to all of our employees,
including but not limited to our chief executive officer and chief financial officer.


                                                    RELATED PARTY TRANSACTIONS

Transactions among Subsidiaries
      We operate our business in China through a series of contractual arrangements between WFOE and YSTP and its shareholders, who are
related parties. For a description of these contractual arrangements, see “Our Coiporate Structure Contractual Arrangements with YSTP and
                                                                                                   -


its Shareholders.”

Contractual Arrangements with YSTP and its Shareholders
    We operate our business in China through a series of contractual arrangements with YSTP and its shareholders, who are related parties.
Summaries of the provisions of the contractual agreements follow:

     Entrusted Management Agreement. YSTP, WFOE, and the all of the shareholders of YSTP entered into an Entrusted Management
Agreement, dated March 26, 2010, that provides that WFOE will be fully and exclusively responsible for the management of YSTP. As
consideration for such services, YSTP has agreed to pay the entrusted management fee during the term of this agreement. The entrusted
management fee will be equal to YSTP’s earnings. Also, WFOE will assume all operational risks related to the entrusted management of
YSTP and bear all losses ofYSTP. As a result, WFOE is the beneficiary ofthe earnings ofYSTP, but it also bears the risk of losses by YSTP.
The term of this agreement will be from the effective date thereof to the earliest ofthe following: (1) the winding up ofYSTP; (2) the
termination date ofthe Entrusted Management Agreement, as agreed by the parties thereto; or (3) the date on which WFOE completes the
acquisition ofYSTP.

      Exclusive Option Agreement. YSTP and all ofYSTP’s shareholders entered into an Exclusive Option Agreement with WFOE, dated
March 26, 2010, which option agreement provides that WFOE will be entitled to acquire such shares from the current shareholders in
accordance with the terms and procedures set forth therein. In addition, WFOE is entitled to an irrevocable exclusive purchase option to
purchase all or part ofthe assets and business ofYSTP, if such a purchase is or becomes allowable under PRC laws and regulations and
WFOE so elects. The Exclusive Option Agreement also prohibits YSTP and its shareholders from transferring any portion of the equity
interests, business or assets ofYSTP to anyone other than WFOE. WFOE has not yet taken any corporate action to exercise this right of
purchase, and there is no guarantee that it will do so or will be permitted to do so by applicable law at such times as it may wish to do so.

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      Shareholders' Voting Proxy Agreement. All of the shareholders ofYSTP have executed a Shareholders’ Voting Proxy Agreement with
WFOE, effective March 26, 2010, to irrevocably appoint the persons designated by WFOE with the exclusive right to exercise, on their
behalf, all of their Voting Rights in accordance with applicable law and YSTP’s Articles of Association, including but not limited to the
lights to sell or transfer all or any of their equity interests in YSTP and to appoint and elect the directors and Chair as the authorized legal
representative ofYSTP. This agreement will be only terminated prior to the completion of acquisition of all of the equity interests in, or all
assets or business ofYSTP. Pursuant to the Shareholders’ Voting Proxy Agreement, WFOE has appointer Mr. Tiangui Li as the designee
authorized to exercise the shareholders’ voting rights. Mr. Li holds a 100% equity interest in LEMANY Invest. Corp., a BVT Corporation,
which in turn owns 4.78% of TBET’s shares.

      Pledge of Equity Agreement. WFOE and all of the shareholders ofYSTP have entered in Pledge of Equity Agreement, effective
March 26, 2010, pursuant to which all shareholder pledges all of their shares (1 00%) ofYSTP, as appropriate, to WFOE. If YSTP or any of its
respective shareholders breaches its respective contractual obligations in “Entrusted Management Agreement”, “Exclusive Option
Agreement” and “Shareholders’ Voting Proxy Agreement”, WFOE as Pledgee, will be entitled to certain right to foreclose on the pledged
equity interests. Such YSTP shareholders cannot dispose of the pledged equity interests or take any actions that would prejudice WFOE’s
interest. This pledge has been recorded with applicable authorities in China to perfect WFOE’s security interest.

     WFOE is a wholly-owned subsidiary ofTBET, through its subsidiary CTP. The shareholders beneficially owning 100% of the shares of
YSTP entering into these agreements are Hong Yu (who beneficially owns 79.5% of the shares); Luo Ga (who owns 20% of the shares); and
Xiaobei Yang (who owns 0.5% of the shares). Mr. Yu is the founder and chairman ofYSTP and also the chairman ofTBET.

      None of the agreements involves a specific dollar amount. Yet, since the Entrusted Management Agreement provides for the payment
to WFOE of all of the earnings before tax ofYSTP, and as such the value of that agreement to the parties at any particular time wi ll vary with
the earnings ofYSTP, and in the case of the shareholders in proportion to their holdings. If earnings before taxes are substantial, they may
involve amounts of over $ 1 20,000. If YSTP sustains losses, which WFOE must bear under the agreement, then the effect on the parties will
vary in relation to the amount of losses, and in the case of the shareholders in relation to their respective share of ownership. For example, in
2009 YSTP’s net earnings before taxes was $9,244,978. Had these Control Agreements been in place in 2009, WFOE would have received a
fee of $9,244,978. The value lost of the agreements to the shareholders, assuming the value of net earning was distributed to shareholders,
would be as follows: Mr. Yu, $7,349,757; Mr. Ga, $1,848,995; and Mr. Yang, $462,248. Similarly, the Pledge of Equity Agreement does not
entail any payment or any future payment at any fixed price, but in the event the shareholders become obligated to sell shares to WFOE, the
value of the shares sold may exceed $ 1 20,000 depending on the value of the shares at the time.

Transactions among Certain Directors, Shareholders and Affiliates
     Kunming Shangri-La Medicine Co., Ltd. is a distributor ofYSTP. Our chairman, Mr. Yu, owns 31% of it. At December 3 1 , 2009 and
2008, YSTP had account receivables from Kunming Shangri-La Medicine of approximately $342,000 and $1,277,550, respectively. Such
amounts were noimal business transactions, payable in 60 days.

     At December 3 1 , 2009, YSTP had account receivables to related parties of approximately $1,550,085. Such amounts were payable
pursuant to a loan to Mr. Hong Yu, our founder and chairman. As of May 1,2010, Mr. Hong Yu has paid off such loan balance in full.

     Neither TBET nor YSTP has any affiliates.

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                                                    DESCRIPTION OF SHARE CAPITAL

      Our authorized capital stock consists of 50,000,000 common shares, par value $0,001 per share. As of the date of this prospectus,
1 1,812,500 common shares are issued and outstanding. Up to an additional 740,625 shares of common shares will be reserved for issuance
upon exercise of employee options. The following summary description relating to our capital stock does not purport to be complete and is
qualified in its entirety by our Memorandum and Articles of Association.

Common Shares
      Holders of common shares are entitled to cast one vote for each share on all matters submitted to a vote of shareholders, including the
election of directors. The holders of common shares are entitled to receive ratably such dividends, if any, as may be declared by the Board of
Directors out of funds legally available therefor and subject to any preference of any then authorized and issued preferred stock. See
“Dividend Policy.” Such holders do not have any preemptive or other rights to subscribe for additional shares. All holders of common shares
are entitled to share ratably in any assets for distribution to shareholders upon the liquidation, dissolution or winding up of the Company,
subject to any preference of any then authorized and issued preferred stock. The Memorandum of Association authorizes the Board of
Directors may by resolution authorize the redemption, purchase or other acquisition of the common shares, and in our Articles of
Association the Board did authorize the redemption or purchase, subject to limitations and conditions stated therein. All outstanding
common shares are fully paid and nonassessable.

Limitations on the Right to Own Shares
     There are no limitations on the right to own our common shares.

Limitations on Transfer of Shares
     Our Articles of Association gives our directors, at their discretion, the right to decline to register any transfer of shares.

Disclosure of Shareholder Ownership
     There are no provisions in our Memorandum of Association or Articles of Association governing the ownership threshold above which
shareholder ownership must be disclosed.

Changes in Capital
      We may from time to time by ordinary resolution increase the share capital by such sum, to be divided into shares of such amount, as
the resolution shall prescribe. The new shares shall be subject to the same provisions with reference to the payment of calls, lien, transfer,
transmission, forfeiture and otherwise as the shares in the original share capital. We may by ordinary resolution:
       •   consolidate and divide all or any of our share capital into shares of larger amount than our existing shares;
       •   convert all or any of our paid up shares into stock and reconvert that stock into paid up shares of any denomination;
       •   in many circumstances, sub-divide our existing shares, or any of them, into shares of smaller amount provided that in the
           subdivision the proportion between the amount paid and the amount, if any, unpaid on each reduced share shall be the same as it
           was in the case of the share form which the reduced share is derived; and
       •   cancel any shares which, at the date of the passing of the resolution, have not been taken or agreed to be taken by any person and
           diminish the amount of its share capital by the amount of the shares so cancelled.

     We may by special resolution reduce our share capital and any capital redemption reserve fund in any manner authorized by law.

Differences in Corporate Law
      The BV1 Act and the laws of the British Virgin Islands affecting British Virgin Islands companies like us and our shareholders differ
from laws applicable to U.S. corporations and their shareholders. Set forth below is a summary of the significant differences between the
provisions ofthe laws ofthe British Virgin Islands applicable to us and the laws applicable to companies incorporated in the United States
and their shareholders.

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Mergers and Similar Arrangements
     Under the laws of the British Virgin Islands, two or more companies may merge or consolidate in accordance with Section 1 70 of the
BVT Act. A merger means the merging of two or more constituent companies into one of the constituent companies and a consolidation
means the uniting of two or more constituent companies into a new company. In order to merge or consolidate, the directors of each
constituent company must approve a written plan of merger or consolidation, which must be authorized by a resolution of shareholders.

      While a director may vote on the plan of merger or consolidation even if he has a financial interest in the plan, the interested director
must disclose the interest to all other directors of the company promptly upon becoming aware of the fact that he is interested in a
transaction entered into or to be entered into by the company.

      A transaction entered into by our company in respect of which a director is interested (including a merger or consolidation) is voidable
by us unless the director’s interest was (a) disclosed to the board prior to the transaction or (b) the transaction is (i) between the director and
the company and (ii) the transaction is in the ordinary course of the company’s business and on usual terms and conditions.

      Notwithstanding the above, a transaction entered into by the company is not voidable if the material facts of the interest are known to
the shareholders and they approve or ratify it or the company received fair value for the transaction.

      Shareholders not otherwise entitled to vote on the merger or consolidation may still acquire the right to vote if the plan of merger or
consolidation contains any provision which, if proposed as an amendment to the memorandum or articles of association, would entitle them
to vote as a class or series on the proposed amendment. In any event, all shareholders must be given a copy of the plan of merger or
consolidation irrespective of whether they are entitled to vote at the meeting to approve the plan of merger or consolidation.

       The shareholders of the constituent companies are not required to receive shares of the surviving or consolidated company but may
receive debt obligations or other securities of the surviving or consolidated company, other assets, or a combination thereof. Further, some
or all of the shares of a class or series may be converted into a kind of asset while the other shares of the same class or series may receive a
different kind of asset. As such, not all the shares of a class or series must receive the same kind of consideration.

      After the plan of merger or consolidation has been approved by the directors and authorized by a resolution of the shareholders,
articles of merger or consolidation are executed by each company and filed with the Registrar of Corporate Affairs in the British Virgin
Islands.

      A shareholder may dissent from a mandatory redemption of his shares, an arrangement (if permitted by the court), a merger (unless the
shareholder was a shareholder of the surviving company prior to the merger and continues to hold the same or similar shares after the
merger) ora consolidation. A shareholder properly exercising his dissent rights is entitled to a cash payment equal to the fair value of his
shares.

     A shareholder dissenting from a merger or consolidation must object in writing to the merger or consolidation before the vote by the
shareholders on the merger or consolidation, unless notice of the meeting was not given to the shareholder. If the merger or consolidation is
approved by the shareholders, the company must give notice of this fact to each shareholder within 20 days who gave written objection.
These shareholders then have 20 days to give to the company their written election in the form specified by the BVI Act to dissent from the
merger or consolidation, provided that in the case of a merger, the 20 days starts when the plan of merger is delivered to the shareholder.

     Upon giving notice of his election to dissent, a shareholder ceases to have any shareholder rights except the right to be paid the fail-
value of his shares. As such, the merger or consolidation may proceed in the ordinary course notwithstanding his dissent.

      Within seven days of the later of the delivery of the notice of election to dissent and the effective date of the merger or consolidation,
the company must make a written offer to each dissenting shareholder to purchase his shares at a specified price per share that the company
determines to be the fair value of the shares. The company and the shareholder then have 30 days to agree upon the price. If the company
and a shareholder fail to agree on the price within the 30 days, then the company and the shareholder shall, within 20 days immediately
following the expiration ofthe 30-day period, each designate an appraiser and these two appraisers shall designate a third appraiser. These
three appraisers shall fix the fair value ofthe shares as ofthe close of business on the day prior to the shareholders’ approval of the
transaction without taking into account any change in value as a result of the transaction.

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Shareholders’ suits
    There are both statutory and ordinary law remedies available to our shareholders as a matter of British Virgin Islands law. These are
summarized below:

   Prejudiced members
     A shareholder who considers that the affairs of the company have been, are being, or are likely to be, conducted in a manner that is, or
any act or acts of the company have been, or are, likely to be oppressive, unfairly discriminatory or unfairly prejudicial to him in that
capacity, can apply to the court under Section 1 841 of the BVI Act, among other things, for an order that his shares be acquired, that he be
provided compensation, that the Court regulate the future conduct of the company, or that any decision of the company which contravenes
the BVI Act or our memorandum and articles of association be set aside.

   Derivative actions
      Section 184C of the BVI Act provides that a shareholder of a company may, with the leave of the Court, bring an action in the name of
the company to redress any wrong done to it.

   Just and equitable winding up
       In addition to the statutory remedies outlined above, shareholders can also petition for the winding up of a company on the grounds
that it is just and equitable for the court to so order. Save in exceptional circumstances, this remedy is only available where the company has
been operated as a quasi partnership and trust and confidence between the partners has broken down.

   Indemnification of directors and executive officers and limitation of liability
      British Virgin Islands law does not limit the extent to which a company’s articles of association may provide for indemnification of
officers and directors, except to the extent any provision providing indemnification may be held by the British Virgin Islands courts to be
contrary to public policy, such as to provide indemnification against civil fraud or the consequences of committing a crime.

      Under our memorandum and articles of association, we indemnify against all expenses, including legal fees, and against all judgments,
fines and amounts paid in settlement and reasonably incurred in connection with legal, administrative or investigative proceedings for any
person who:
       •   is or was a party or is threatened to be made a party to any threatened, pending or completed proceedings, whether civil, criminal,
           administrative or investigative, by reason of the fact that the person is or was our director; or
       •   is or was, at our request, serving as a director or officer of, or in any other capacity is or was acting for, another body corporate or a
           partnership, joint venture, trust or other enterprise.

     These indemnities only apply if the person acted honestly and in good faith with a view to our best interests and, in the case of
criminal proceedings, the person had no reasonable cause to believe that his conduct was unlawful.

     This standard of conduct is generally the same as pennitted under the Delaware General Corporation Law fora Delaware coiporation.

     Insofar as indemnification for liabilities arising under the Securities Act may be permitted to our directors, officers or persons
controlling us under the foregoing provisions, we have been advised that in the opinion of the SEC, such indemnification is against public
policy as expressed in the Securities Act and is therefore unenforceable.

  Anti-takeover provisions in our memorandum and articles of association
       Some provisions of our memorandum and articles of association may discourage, delay or prevent a change in control of our company
or management that shareholders may consider favorable. In particular, our memorandum and articles of association, as amended, provide
for a staggered board of directors and prevent shareholders from taking an action by written consent in lieu of a meeting. In addition, we
have entered into employment agreements

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with our senior management for fixed terms. As a result of these measures, an acquirer of a controlling interest in TBET would not be able to
immediately exercise effective control over the company. Prospective acquirors therefore my view TBET as a less attractive takeover target.
Yet, under British Virgin Islands law, our directors may only exercise the rights and powers granted to them under our memorandum and
articles of association, as amended and restated from time to time, as they believe in good faith to be in the best interests of our company.

   Directors’ fiduciary duties
      Under Delaware corporate law, a director of a Delaware corporation has a fiduciary duty to the corporation and its shareholders. This
duty has two components: the duty of care and the duty of loyalty. The duty of care requires that a director act in good faith, with the care
that an ordinarily prudent person would exercise under similar circumstances. Under this duty, a director must inform himself of, and
disclose to shareholders, all material infonnation reasonably available regarding a significant transaction. The duty of loyalty requires that a
director act in a manner he reasonably believes to be in the best interests of the corporation. He must not use his corporate position for
personal gain or advantage. This duty prohibits self-dealing by a director and mandates that the best interest of the corporation and its
shareholders take precedence over any interest possessed by a director, officer or controlling shareholder and not shared by the shareholders
generally. In general, actions of a director are presumed to have been made on an informed basis, in good faith and in the honest belief that
the action taken was in the best interests of the corporation. However, this presumption may be rebutted by evidence of a breach of one of
the fiduciary duties. Should such evidence be presented concerning a transaction by a director, a director must prove the procedural fairness
of the transaction and that the transaction was of fair value to the corporation.

      Under British Virgin Islands law, our directors owe the company certain statutory and fiduciary duties including, among others, a duty
to act honestly, in good faith, for a proper purpose and with a view to what the directors believe to be in the best interests of the company.
Our directors are also required, when exercising powers orperfonuing duties as a director, to exercise the care, diligence and skill that a
reasonable director would exercise in comparable circumstances, taking into account without limitation, the nature of the company, the
nature of the decision and the position of the director and the nature of the responsibilities undertaken. In the exercise of their powers, our
directors must ensure neither they nor the company acts in a manner which contravenes the BVT Act or our memorandum and articles of
association, as amended and re-stated from time to time. A shareholder has the right to seek damages for breaches of duties owed to us by our
directors.

  Shareholder action by written consent
      Under the Delaware General Corporation Law, a corporation may eliminate the right of shareholders to act by written consent by
amendment to its certificate of incorporation. British Virgin Islands law provides that shareholders may approve corporate matters by way of
a written resolution without a meeting signed by or on behalf of shareholders sufficient to constitute the requisite majority of shareholders
who would have been entitled to vote on such matter at a general meeting; provided that if the consent is less than unanimous, notice must
be given to all non-consenting shareholders. However, our memorandum and articles of association do not pemiit shareholders to act by
written consent.

  Shareholder proposals
      Under the Delaware General Corporation Law, a shareholder has the right to put any proposal before the annual meeting of
shareholders, provided it complies with the notice provisions in the governing documents. A special meeting may be called by the board of
directors or any other person authorized to do so in the governing documents, but shareholders may be precluded from calling special
meetings. British Virgin Islands law and our memorandum and articles of association allow our shareholders holding not less than 30% of
the votes of the outstanding voting shares to requisition a shareholders’ meeting. We are not obliged by law to call shareholders’ annual
general meetings, but our memorandum and articles of association do pemiit the directors to call such a meeting. The location of any
shareholders’ meeting can be determined by the board of directors and can be held anywhere in the world.

  Cumulative voting
       Under the Delaware General Corporation Law, cumulative voting forelections of directors is not pennitted unless the coiporation’s
certificate of incoiporation specifically provides for it. Cumulative voting potentially facilitates the representation of minority shareholders
on a board of directors since it permits the minority

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shareholder to cast all the votes to which the shareholder is entitled on a single director, which increases the shareholder’s voting power
with respect to electing such director. As permitted under British Virgin Islands law, our memorandum and articles of association do not
provide for cumulative voting. As a result, our shareholders are not afforded any less protections or rights on this issue than shareholders of a
Delaware corporation.

   Removal of directors
      Under the Delaware General Corporation Law, a director of a corporation with a classified board may be removed only for cause with
the approval of a majority of the outstanding shares entitled to vote, unless the certificate of incorporation provides otherwise. Under our
memorandum and articles of association, directors can be removed from office, with cause, by a resolution of shareholders or by a resolution
of directors passed at a meeting of directors called for the purpose of removing the director or for purposes including the removal of the
director.

   Transactions with interested shareholders
     The Delaware General Corporation Law contains a business combination statute applicable to Delaware public corporations whereby,
unless the coiporation has specifically elected not to be governed by such statute by amendment to its certificate of incorporation, it is
prohibited from engaging in certain business combinations with an “interested shareholder” for three years following the date that such
person becomes an interested shareholder. An interested shareholder generally is a person or group who or which owns or owned 15% or
more of the target’s outstanding voting shares within the past three years. This has the effect of limiting the ability of a potential acquirer to
make a two-tiered bid for the target in which all shareholders would not be treated equally. The statute does not apply if, among other
things, prior to the date on which such shareholder becomes an interested shareholder, the board of directors approves either the business
combination or the transaction which resulted in the person becoming an interested shareholder. This encourages any potential acquirer of a
Delaware public coiporation to negotiate the terms of any acquisition transaction with the target’s board of directors. British Virgin Islands
law has no comparable statute. However, our memorandum and articles of association expressly provide for the same protection afforded by
the Delaware business combination statute.

   Dissolution; Winding Up
      Under the Delaware General Corporation Law, unless the board of directors approves the proposal to dissolve, dissolution must be
approved by shareholders holding 100% of the total voting power of the corporation. Only if the dissolution is initiated by the board of
directors may it be approved by a simple majority of the corporation’s outstanding shares. Delaware law allows a Delaware corporation to
include in its certificate of incorporation a supermajority voting requirement in connection with dissolutions initiated by the board. Under
the BVI Act and our memorandum and articles of association, we may appoint a voluntary liquidator by a resolution of the shareholders or
by resolution of directors.

  Variation of rights of shares
      Under the Delaware General Corporation Law, a coiporation may vary the rights of a class of shares with the approval of a majority of
the outstanding shares of such class, unless the certificate of incorporation provides otherwise. Under our memorandum and articles of
association, if at any time our shares are divided into different classes of shares, the rights attached to any class may only be varied, whether
or not our company is in liquidation, by a resolution passed at a meeting by a majority of the votes cast by those entitled to vote at a
meeting of the holders of the issued shares in that class.

   Amendment of governing documents
      Under the Delaware General Corporation Law, a coiporation’s governing documents may be amended with the approval of a majority
of the outstanding shares entitled to vote, unless the certificate of incorporation provides otherwise. As permitted by British Virgin Islands
law, our memorandum and articles of association may be amended by a resolution ofshareholders and, subject to certain exceptions, by a
resolution of directors. Any amendment is effective from the date it is registered at the Registry of Corporate Affairs in the British Virgin
Islands.

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                                                       PRINCIPAL SHAREHOLDERS

       The following table sets forth information with respect to beneficial ownership of our common shares as of January 14,2011 by:
        •   Each person who is known by us to beneficially own more than 5% of our outstanding common shares;
        •   Each of our directors and named executive officers; and
        •   All directors and named executive officers as a group.

       The number and percentage of common shares beneficially owned before the offering are based on 1 1,812,500 common shares
outstanding as of January 14, 201 1 . Information with respect to beneficial ownership has been furnished by each director, officer or
beneficial owner of more than 5% of our common shares. Beneficial ownership is detennined in accordance with the rules of the SEC and
generally requires that such person have voting or investment power with respect to securities. In computing the number of common shares
beneficially owned by a person listed below and the percentage ownership of such person, common shares underlying options, warrants or
convertible securities held by each such person that are exercisable or convertible within 60 days of January 14, 201 1 are deemed
outstanding, but are not deemed outstanding for computing the percentage ownership of any other person. Except as otherwise indicated in
the footnotes to this table, or as required by applicable community property laws, all persons listed have sole voting and investment power
for all common shares shown as beneficially owned by them. Unless otherwise indicated in the footnotes, the address for each principal
shareholder is in the care of: Tibet Pharmaceuticals, Inc., Room 1701, 17/F, 90 Jaffe Rd., Wanchai, Hong Kong. As of the date of the
Prospectus, we had 27 shareholders of record.

                  Named Executive                                                        Amount of                 Percentage
                  Officers and Directors                                          Beneficial Ownership(l)        Ownershipÿ
                  Hong Yu, Chairman of the Board                                            3,280,000                    27.8%
                  Taylor Z. Guo, CEO and Director(3)                                        4,484,500                    38.0%
                  Sabrina Y. Ren, CFO                                                                  0                    0%
                  Dr. Wen bo Chen, Director                                                            0                    0%
                  Mr. Youhang Peng, Director                                                           0                    0%
                  Mr. Solomon Chen, Director                                                           0                    0%
(1)    Beneficial ownership is detennined in accordance with the rules of the SEC and includes voting or investment power with respect to
       the common shares.
(2)    The number of our common shares outstanding used in calculating the percentage for each listed person excludes the common shares
       underlying options held by such person.
(3)    Mr. Guo owns 1 50,000 shares directly and is the beneficial owner of another 4,334,500 shares, owned in fact by others, by reason of a
       Tiust and Indemnity Agreement giving him the right to vote those shares.


                                                 SHARES ELIGIBLE FOR FUTURE SALE

     Prior to this offering, there has been no market for our common shares, and a liquid trading market for our common shares may not
develop or be sustained after this offering. Future sales of substantial amounts of common shares, including common shares issued upon
exercise of outstanding options in the public market after this offering or the anticipation of those sales could adversely affect market prices
prevailing from time to time and could impair our ability to raise capital through sales of our equity securities.

      Upon the completion of the offering, we will have outstanding 14,812,500 common shares, assuming the closing of the maximum
offering. Of these common shares, the 3,000,000 common shares sold in this offering will be freely tradable without restriction under the
Securities Act, except that any shares purchased by our “affiliates,” as that term is defined in Rule 144 of the Securities Act, may generally
only be sold in compliance with the limitations of Rule 144 described below. The remaining approximately 1 1,812,500 common shares
outstanding will be restricted shares held by existing shareholders that could be sold pursuant to Rule 144. We have not agreed to register
these restricted shares. We have not issued any warrants to purchase our common shares or other securities convertible into our common
shares.

Rule 144
     In general, under Rule 144 as currently in effect, beginning 90 days after the effective date of the registration statement of which this
prospectus is a part, a person (or persons whose shares are aggregated) who is deemed to be

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an affiliate of our company at the time of sale, or at any time during the preceding three months, and who has beneficially owned restricted
shares for at least six months, would be entitled to sell within any three-month period a number of our common shares that does not exceed
the greater of 1% of the then outstanding common shares or the average weekly trading volume of common shares during the four calendar
weeks preceding such sale. Sales under Rule 144 are subject to certain manner of sale provisions, notice requirements and the availability of
current public information about our company. In addition, sales by our affiliates may be subject to the terms of lock-up agreements. See
“Shares Eligible for Future Sale - Lock-Up Agreements A person who has not been our affiliate at any time during the three months
preceding a sale, and who has beneficially owned his or her common shares for at least six months, would be entitled under Rule 144 to sell
such shares without regard to any manner of sale, notice provisions or volume limitations described above. Any such sales must comply
with the public information provision of Rule 144 until our common shares have been held for one year.

Rule 701
     Securities issued in reliance on Rule 701 are also restricted and may be sold by shareholders other than affiliates of our company
subject only to manner of sale provisions of Rule 144 and by affiliates under Rule 144 without compliance with its six-month holding
period requirement.

Registration on Form S-8
       We intend to file a registration statement on Foim S-8 under the Securities Act as soon as practicable after the closing of this offering to
register up to 740,625 of our common shares subject to outstanding stock options or reserved for issuance under our stock incentive plan,
such amount being equal to five percent (5%) of the number of common shares issued and outstanding after the closing of the offering,
assuming a maximum offering. This registration will permit the resale of these common shares by nonaffiliates in the public market without
restriction under the Securities Act, upon the completion of the lock-up period described below. Common shares registered pursuant to the
Form S-8 held by affiliates will be subject to Rule 144 volume limitations. As of the date of this Prospectus, we have not issued any options
to purchase our common shares.

Lock-Up Agreements
       Each of our executive officers, directors and individuals who on the effective date of the registration statement of which this
prospectus is a part are the beneficial owners of more than 4% of our common shares, has agreed not to register, offer, sell, contract to sell or
grant any of our common shares or any securities convertible into or exercisable or exchangeable for our common shares or any warrants to
purchase our common shares (including, without limitation, securities of our company which may be deemed to be beneficially owned by
such individuals in accordance with the rules and regulations of the Securities and Exchange Commission and securities which may be
issued upon the exercise of a stock option or warrant) for a period of (a) as to one-half (1/2) of the common shares now or in the future
beneficially owned by such individual, ninety (90) days after the date of effectiveness or commencement of sales of this public offering and
(b) as to the other one-half of such common shares now or in the future beneficially owned by such individual, one hundred ninety
(1 90) days after the date of effectiveness or commencement of sales of this public offering. Upon the expiration of these lock-up agreements,
additional common shares will be available for sale in the public market.

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                                              Summary of Shares Available for Future Sale

      The following table summarizes the total shares potentially available for future sale. To the extent we sell a number of common shares
between the minimum and maximum offering, the below tables will be adjusted proportionately as to numbers of shares available for sale (as
to option pool and Placement Agent shares) and dates on which such shares may be sold (as to currently outstanding shares).

Minimum Offering

                                 Shares                                                           Date Available for Sale
Currently Outstanding Shares: 11,812,500
  9,058,125                                                               After 90 days from the date of effectiveness or commencement of
                                                                          sales of the public offering
  4,254,375                                                               After 1 90 days from the date of effectiveness or commencement
                                                                          of sales of the public offering
Common Shares in Option Pool: Up to 740,625                               From vesting dates through expiration of grants
Shares Offered in this Offering: 2,500,000                                After the date of this prospectus, these shares will be freely
                                                                          tradable.

Maximum Offering

                                 Shares                                                           Date Available for Sale
Currently Outstanding Shares: 1 1,812,500
  9,058,125                                                               After 90 days from the date of effectiveness or commencement of
                                                                          sales of the public offering
  4,254,375                                                               After 190 days from the date of effectiveness or commencement
                                                                          of sales of the public offering
Common Shares in Option Pool: Up to 740,625                               From vesting dates through expiration of grants
Shares Offered in this Offering: 3,000,000                                After the date of this prospectus, these shares will be freely
                                                                          tradable.

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                             TAX MATTERS APPLICABLE TO U.S. HOLDERS OF OUR COMMON SHARES

      The following sets forth the material British Virgin Islands, Chinese and U.S. federal income tax matters related to an investment in our
common shares. It is directed to U.S. Holders (as defined below) of our common shares and is based upon laws and relevant inteipretations
thereof in effect as of the date of this prospectus, all of which are subject to change. This description does not deal with all possible tax
consequences relating to an investment in our common shares, such as the tax consequences understate, local and other tax laws.

     The following brief description applies only to U.S. Holders (defined below) that hold common shares as capital assets and that have
the U.S. dollar as their functional currency. This brief description is based on the tax laws of the United States in effect as of the date of this
prospectus and on U.S. Treasury regulations in effect or, in some cases, proposed, as of the date of this prospectus, as well as judicial and
administrative interpretations thereof available on or before such date. All of the foregoing authorities are subject to change, which change
could apply retroactively and could affect the tax consequences described below.

    The brief description below of the U.S. federal income tax consequences to “U.S. Holders” will apply to you if you are a beneficial
owner of shares and you are, for U.S. federal income tax purposes,
       •   an individual who is a citizen or resident of the United States;
       •   a corporation (or other entity taxable as a corporation for U.S. federal income tax purposes) organized under the laws of the
           United States, any state thereof or the District of Columbia;
       •   an estate whose income is subject to U.S. federal income taxation regardless of its source; or
       •   a trust that (1) is subject to the primary supervision of a court within the United States and the control of one or more U.S. persons
           for all substantial decisions or (2) has a valid election in effect under applicable U.S. Treasury regulations to be treated as a U.S.
           person.


                      WE URGE POTENTIAL PURCHASERS OF OUR SHARES TO CONSULT THEIR OWN TAX
                        ADVISORS CONCERNING THE U.S. FEDERAL, STATE, LOCAL AND NON-U.S. TAX
                        CONSEQUENCES OF PURCHASING, OWNING AND DISPOSING OF OUR SHARES.

People’s Republic of China Enterprise Taxation
      The following brief description of Chinese enterprise laws is designed to highlight the enterprise-level taxation on our earnings, which
will affect the amount of dividends, if any, we are ultimately able to pay to our shareholders. See “Dividend Policy.” Our company is not
subject to any enterprise income tax. Our exemption from enterprise income tax derives from the Implementation Rules for the Law on
Enterprise Income Tax, which exempts from enterprise income tax for enterprises located in minority ethnic autonomous areas and engaged
in encouraged orpennitted industries. If this exemption was to be tenninated or we were to fail to qualify to receive these exemptions, we
would be subject to taxation at the standard 25% for enterprise income taxes, unless we were otherwise to qualify for a decreased tax rate.

British Virgin Islands Taxation
      Under the BVT Act as currently in effect, a holder of common shares who is not a resident of the British Virgin Islands is exempt from
British Virgin Islands income tax on dividends paid with respect to the common shares and all holders of common shares are not liable to
the British Virgin Islands for income tax on gains realized during that year on sale or disposal of such shares. The British Virgin Islands does
not impose a withholding tax on dividends paid by a company incorporated or re-registered under the BVI Act.

     There are no capital gains, gift or inheritance taxes levied by the British Virgin Islands on companies incorporated or re-registered
under the BVI Act. In addition, shares of companies in corp orated or re-registered under the BVI Act are not subject to transfer taxes, stamp
duties or similar charges.

     There is no income tax treaty or convention currently in effect between the United States and the British Virgin Islands or between
China and the British Virgin Islands.

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United States Federal Income Taxation
     The following does not address the tax consequences to any particular investor or to persons in special tax situations such as:
       •   banks;
       •   financial institutions;
       •   insurance companies;
       •   regulated investment companies;
       •   real estate investment tmsts;
       •   broker-dealers;
       •   traders that elect to mark-to-market;
       •   U.S. expatriates;
       •   tax-exempt entities;
       -   persons liable for alternative minimum tax;
       •   persons holding our common shares as part of a straddle, hedging, conversion or integrated transaction;
       •   persons that actually or constructively own 10% or more of our voting shares;
       •   persons who acquired our common shares pursuant to the exercise of any employee share option or otherwise as consideration; or
       •   persons holding our common shares through partnerships or other pass-through entities.

     Prospective purchasers are urged to consult their tax advisors about the application of the U.S. Federal tax rules to their particular
circumstances as well as the state, local, foreign and other tax consequences to them of the purchase, ownership and disposition of our
common shares.

Taxation of dividends and other distributions on our common shares

     Subject to the passive foreign investment company rules discussed below, the gross amount of distributions made by us to you with
respect to the common shares (including the amount of any taxes withheld therefrom) will generally be includable in your gross income as
dividend income on the date of receipt by you, but only to the extent that the distribution is paid out of our current or accumulated earnings
and profits (as determined under U.S. federal income tax principles). The dividends will not be eligible for the dividends-received deduction
allowed to corporations in respect of dividends received from other U.S. corporations.

      With respect to non-corporate U.S. Holders, including individual U.S. Holders, for taxable years beginning before January 1 , 201 1 ,
dividends will be taxed at the lower capital gains rate applicable to qualified dividend income, provided that (1) the common shares are
readily tradable on an established securities market in the United States, or we are eligible for the benefits of an approved qualifying income
tax treaty with the United States that includes an exchange of information program, (2) we are not a passive foreign investment company (as
discussed below) for either our taxable year in which the dividend is paid or the preceding taxable year, and (3) certain holding period
requirements are met. Under U.S. Internal Revenue Service authority, common shares are considered forpuipose of clause (1) above to be
readily tradable on an established securities market in the United States if they arc listed on the NASDAQ Global Market. You are urged to
consult your tax advisors regarding the availability of the lower rate for dividends paid with respect to our common shares, including the
effects of any change in law after the date of this prospectus.

      Dividends will constitute foreign source income for foreign tax credit limitation purposes. If the dividends are taxed as qualified
dividend income (as discussed above), the amount of the dividend taken into account for purposes of calculating the foreign tax credit
limitation will be limited to the gross amount of the dividend, multiplied by the reduced rate divided by the highest rate of tax normally
applicable to dividends. The limitation on foreign taxes eligible for credit is calculated separately with respect to specific classes of income.
For this purpose, dividends distributed by us with respect to our common shares will constitute ‘‘passive category income” but could, in the
case of certain U.S. Holders, constitute “general category income.”

       To the extent that the amount of the distribution exceeds our current and accumulated earnings and profits (as determined under U.S.
federal income tax principles), it will be treated first as a tax-free return of your tax basis in your common shares, and to the extent the
amount of the distribution exceeds your tax basis, the excess will be taxed as capital gain. We do not intend to calculate our earnings and
profits under U.S. federal income tax principles. Therefore, a U.S. Holder should expect that a distribution will be treated as a dividend even
if that distribution would otheiwise be treated as a non-taxable return of capital or as capital gain under the rules described above.

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Taxation of Dispositions of Common Shares
      Subject to the passive foreign investment company rules discussed below, you will recognize taxable gain or loss on any sale,
exchange or other taxable disposition of a share equal to the difference between the amount realized (in U.S. dollars) for the share and your
tax basis (in U.S. dollars) in the common shares. The gain or loss will be capital gain or loss. If you are a non-corporate U.S. Holder,
including an individual U.S. Holder, who has held the common shares for more than one year, you will be eligible for reduced tax rates of
0% (for individuals in the 10% or 15% tax brackets) or 15% for all other individuals, assuming the renewal of current capital gains rates
prior to their scheduled expiration at the end of 201 0. If capital gains preferential rates are not renewed, such gains would be taxable at the
personal income rates then in place. The deductibility of capital losses is subject to limitations. Any such gain or loss that you recognize
will generally be treated as United States source income or loss for foreign tax credit limitation puiposes.

Passive Foreign Investment Company
      Based on our current and anticipated operations and the composition of our assets, we do not expect to be a passive foreign
investment company, or PFIC, for U.S. federal income tax purposes for our current taxable year ending December 31,2010. Our actual PFIC
status for the current taxable year ending December 3 1, 2010 will not be determinable until the close of such taxable year and, accordingly,
there is no guarantee that we will not be a PFIC for the current taxable year. Because PFIC status is a factual determination for each taxable
year which cannot be made until the close of the taxable year. Anon-U.S. corporation is considered a PFIC for any taxable year if either:
       •   at least 75% of its gross income is passive income; or
       •   at least 50% of the value of its assets (based on an average of the quarterly values of the assets during a taxable year) is
           attributable to assets that produce or are held for the production of passive income (the “asset test”).

     We will be treated as owning our proportionate share of the assets and earning our proportionate share of the income of any other
corporation in which we own, directly or indirectly, at least 25% (by value) of the stock.

      We must make a separate determination each year as to whether we are a PFIC. As a result, our PFIC status may change. In particular,
because the value of our assets for puiposes of the asset test will generally be determined based on the market price of our common shares,
our PFIC status will depend in large part on the market price of our common shares. Accordingly, fluctuations in the market price of the
common shares may cause us to become a PFIC. In addition, the application of the PFIC rules is subject to uncertainty in several respects
and the composition of our income and assets will be affected by how, and how quickly, we spend the cash we raise in this offering. If we are
a PFIC for any year during which you hold common shares, we will continue to be treated as a PFIC for all succeeding years during which
you hold common shares. However, if we cease to be a PFIC, you may avoid some of the adverse effects of the PFIC regime by making a
“deemed sale” election with respect to the common shares.

      If we are a PFIC for any taxable year during which you hold common shares, you will be subject to special tax rules with respect to any
“excess distribution” that you receive and any gain you realize from a sale or other disposition (including a pledge) of the common shares,
unless you make a “mark-to-market” election as discussed below. Distributions you receive in a taxable year that are greater than 125% of
the average annual distributions you received during the shorter of the three preceding taxable years or your holding period for the common
shares will be treated as an excess distribution. Under these special tax mles:
       •   the excess distribution or gain will be allocated ratably over your holding period for the common shares;
       •   the amount allocated to the current taxable year, and any taxable year prior to the first taxable year in which we were a PFIC, will
           be treated as ordinary income, and
       •   the amount allocated to each other year will be subject to the highest tax rate in effect for that year and the interest charge
           generally applicable to underpayments of tax will be imposed on the resulting tax attributable to each such year.

     The tax liability for amounts allocated to years prior to the year of disposition or “excess distribution” cannot be offset by any net
operating tosses for such years, and gains (but not losses) realized on the sale of the common shares cannot be treated as capital, even if you
hold the common shares as capital assets.

      A U.S. Holder of “marketable stock” (as defined below) in a PFIC may make a mark-to-market election for such stock to elect out of the
tax treatment discussed above. If you make a mark-to-market election for the common shares, you will include in income each year an
amount equal to the excess, if any, of the fair market value of the

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common shares as of the close of your taxable year over your adjusted basis in such common shares. You are allowed a deduction for the
excess, if any, of the adjusted basis of the common shares over their fair market value as of the close of the taxable year. However, deductions
are allowable only to the extent of any net mark-to-market gains on the common shares included in your income for prior taxable years.
Amounts included in your income under a mark-to-market election, as well as gain on the actual sale or other disposition of the common
shares, are treated as ordinary income. Ordinary loss treatment also applies to the deductible portion of any mark-to-market loss on the
common shares, as well as to any loss realized on the actual sale or disposition of the common shares, to the extent that the amount of such
loss does not exceed the net mark-to-market gains previously included for such common shares. Your basis in the common shares will be
adjusted to reflect any such income or loss amounts. If you make a valid mark-to-market election, the tax rules that apply to distributions by
corporations which are not PFICs would apply to distributions by us, except that the lower applicable capital gains rate for qualified
dividend income discussed above under “ — Taxation of Dividends and Other Distributions on our Common shares” generally would not
apply.

      The mark-to-market election is available only for “marketable stock”, which is stock that is traded in other than de minimis quantities
on at least 1 5 days during each calendar quarter (“regularly traded”) on a qualified exchange or other market (as defined in applicable U.S.
Treasury regulations), including the NASDAQ Global Market. If the common shares are regularly traded on the NASDAQ Global Market and
if you are a holder of common shares, the mark-to-market election would be available to you were we to be or become a PFIC.

      Alternatively, a U.S. Holder of stock in a PFIC may make a “qualified electing fund” election with respect to such PFIC to elect out of
the tax treatment discussed above. A U.S. Holder who makes a valid qualified electing fund election with respect to a PFIC will generally
include in gross income for a taxable year such holder’s pro rata share of the corporation’s earnings and profits for the taxable year. However,
the qualified electing fund election is available only if such PFIC provides such U.S. Holder with certain information regarding its earnings
and profits as required under applicable U.S. Treasury regulations. We do not currently intend to prepare or provide the information that
would enable you to make a qualified electing fund election. If you hold common shares in any year in which we are a PFIC, you will be
required to file U.S. Internal Revenue Service Fonn 8621 regarding distributions received on the common shares and any gain realized on
the disposition of the common shares.

      You are urged to consult your tax advisors regarding the application of the PFIC rules to your investment in our common shares and
the elections discussed above.

Information Reporting and Backup Withholding
      Dividend payments with respect to our common shares and proceeds from the sale, exchange or redemption of our common shares may
be subject to information reporting to the U.S. Internal Revenue Service and possible U.S. backup withholding at a current rate of 28%.
Backup withholding will not apply, however, to a U.S. Holder who furnishes a correct taxpayer identification number and makes any other
required certification on U.S. Internal Revenue Service Foim W-9 or who is otherwise exempt from backup withholding. U.S. Holders who
are required to establish their exempt status generally must provide such ceitifi cation on U.S. Internal Revenue Service Form W-9. U.S.
Holders are urged to consult their tax advisors regarding the application of the U.S. information reporting and backup withholding rules.

     Backup withholding is not an additional tax. Amounts withheld as backup withholding may be credited against your U.S. federal
income tax liability, and you may obtain a refund of any excess amounts withheld under the backup withholding rules by filing the
appropriate claim for refund with the U.S. Internal Revenue Service and furnishing any required information.

                                               ENFORCEABILITY OF CIVIL LIABILITIES
      We are incoiporated under the laws of the British Virgin Islands with limited liability. We are incorporated in the British Virgin Islands
because of certain benefits associated with being a British Virgin Islands corporation, such as political and economic stability, an effective
judicial system, a favorable tax system, the absence of exchange control or currency restrictions and the availability of professional and
support services. However, the British Virgin Islands has a less developed body of securities laws as compared to the United States and
provides protections for investors to a significantly lesser extent. In addition, British Virgin Islands companies may not have standing to sue
before the federal courts of the United States.

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     Substantially all of our assets are located outside the United States. In addition, a majority of our directors and officers are nationals
and/or residents of countries other than the United States, and all or a substantial portion of such persons’ assets are located outside the
United States. As a result, it may be difficult for investors to affect service of process within the United States upon us or such persons or to
enforce against them or against us, judgments obtained in United States courts, including judgments predicated upon the civil liability
provisions of the securities laws of the United States or any state thereof.

     We have appointed CT Corporation System as our agent to receive service of process with respect to any action brought against us in
the United States District Court for the Southern District of New York under the federal securities laws of the United States or of any State of
the United States or any action brought against us in the Supreme Court of the State of New York in the County of New York under the
securities laws of the State of New York.

      DeHeng Law Offices, our counsel as to Chinese law, has advised us that there is uncertainty as to whether the courts of China would
(1) recognize or enforce judgments of United States courts obtained against us or such persons predicated upon the civil liability provisions
of the securities laws of the United States or any state thereof, or (2) be competent to hear original actions brought in each respective
jurisdiction, against us or such persons predicated upon the securities laws of the United States or any state thereof.

      DeHeng Law Offices has advised us that the recognition and enforcement of foreign judgments are provided for under the Chinese
Civil Procedure Law. Chinese courts may recognize and enforce foreign judgments in accordance with the requirements of the Chinese Civil
Procedure Law based either on treaties between China and the country where the judgment is made or in reciprocity between jurisdictions.
China does not have any treaties or other agreements with the British Virgin Islands or the United States that provide for the reciprocal
recognition and enforcement of foreign judgments. As a result, it is uncertain whether a Chinese court would enforce a judgment rendered
by a court in either of these two jurisdictions.

      We have been advised by Kaufman & Canoles, our counsel as to British Virgin Islands law, that the United States and the British
Virgin Islands do not have a treaty providing for reciprocal recognition and enforcement of judgments of courts of the United States in civil
and commercial matters and that a final judgment for the payment of money rendered by any general or state court in the United States
based on civil liability, whether or not predicated solely upon the U.S. federal securities laws, is unlikely to be enforceable in the British
Virgin Islands. We have also been advised by Kaufman & Canoles that a final and conclusive judgment obtained in U.S. federal or state
courts under which a sum of money is payable as compensatory damages (i.e., not being a sum claimed by a revenue authority for taxes or
other charges of a similar nature by a governmental authority, or in respect of a fine or penalty or multiple or punitive damages) may be the
subject of an action on a debt in the court of the British Virgin Islands under the ordinary law doctrine of obligation.


                                                                 PLACEMENT
      We have engaged Anderson & Strudwick, Incorporated to conduct this offering on a “best efforts, mini mum/max imum” basis. The
offering is being made without a firm commitment by the Placement Agent, which has no obligation or commitment to purchase any of our
shares. None of our officers, directors or affiliates may purchase shares in this offering.

      Unless sooner withdrawn or canceled by either us or the Placement Agent, the offering will continue until the earlier of (i) a date
mutually acceptable to us and our Placement Agent after which the minimum offering is sold or (ii) January 3 1, 20 1 1 (the “Offering
Termination Date”). The Placement Agent has agreed in accordance with the provisions of SEC Rule 1 5c2-4 to cause all funds received by
the Placement Agent for the sale of the common shares to be promptly deposited in an escrow account maintained by SunTrust Bank, N. A.
(the “Escrow Agent”) as escrow agent for the investors in the offering. The Escrow Agent will exercise signature control on the escrow
account and will act based on joint instructions from our company and the Placement Agent. On the closing date for the offering, net
proceeds in the escrow account maintained by the Escrow Agent will be delivered to our company. We will not be able to use such proceeds
in China, however, until we complete certain remittance procedures in China, which may take as long as six months in the ordinary course.
If we do not complete this offering before the Offering Termination Date, all amounts will be promptly returned as described below. In the
event of any dispute between our company and the Placement Agent, including about whether the minimum offering has been sold and
whether and how funds are to be reimbursed, the escrow agent is entitled to petition a court of competent jurisdiction to resolve any such
dispute.

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      Investors must pay in full for all common shares at the time of investment. Payment for the units may be made (i) by check, bank draft
or money order made payable to “SunTrust Bank” and delivered to the Placement Agent no less than four business days before the date of
closing, or (ii) by authorization of withdrawal from securities accounts maintained with the Placement Agent. If payment is made by
authorization of withdrawal from securities accounts, the funds authorized to be withdrawn from a securities account will continue to accrue
interest, if any interest is to accrue on such amounts, at the contractual rates until closing or termination of the offering, but a hold will be
placed on such funds, thereby making them unavailable to the purchaser until closing or termination of the offering. If a purchaser
authorizes the Placement Agent to withdraw the amount of the purchase price from a securities account, such Placement Agent will do so as
of the date of closing. The Placement Agents will inform prospective purchasers of the anticipated date of closing. If payment is made by
check, investors should make all checks payable to the Escrow Agent.

      Proceeds deposited in escrow with the Escrow Agent may not be withdrawn by investors prior to the earlier of the closing of the
offering or the Offering Termination Date. If the offering is withdrawn or canceled or if the 2,500,000 share minimum offering is not reached
and proceeds therefrom are not received by us on or prior to the Offering Termination Date, all proceeds will be promptly returned by the
Escrow Agent without interest or deduction to the persons from which they are received (within one business day) in accordance with
applicable securities laws. All such proceeds will be placed in a non-interest bearing account pending such time.

      Pursuant to that certain placement agreement by and between the Placement Agent and us, the obligations of the Placement Agent to
solicit offers to purchase the shares and of investors solicited by the Placement Agent to purchase our common shares are subject to approval
of certain legal matters by counsel to the Placement Agent. The Placement Agent’s ability to complete this “best efforts
minimum/maximum” transaction is dependent upon the existence of stable U.S. trading markets. As such, the Placement Agent’s obligations
under the placement agreement are also subject to various conditions which are customary in transactions of this type, including that, as of
the closing of the offering, there shall not have occurred (i) a suspension or material limitation in trading in securities generally on the New
York Stock Exchange or the publication of quotations on the NASDAQ Global Market; (ii) a general moratorium on commercial banking
activities in the State of New York or China; (iii) the engagement by the United States or China in hostilities which have resulted in the
declaration of a national emergency or war if any such event would have a material adverse effect, in the Placement Agent’s reasonable
judgment, as to make it impracticable or inadvisable to proceed with the solicitation of offers to consummate the offering with respect to
investors solicited by the Placement Agent on the terms and conditions contemplated herein.

      We have agreed to indemnify the Placement Agent against certain liabilities, including liabilities under the Securities Act of 1 933, or
to contribute to payments the Placement Agent may be required to make in respect of those liabilities.

      The Placement Agent is offering the common shares, subject to prior sale, when, as and if issued to and accepted by it, subject to
conditions contained in the placement agreement, such as the receipt by the Placement Agent of officers’ certificates and legal opinions.
The Placement Agent reserves the right to withdraw, cancel or modify offers to the public and to reject orders in whole or in part in the event
(i) our representations or warranties arc incorrect or misleading or we fail to fulfill our agreements with the Placement Agent; (ii) a material
adverse change occurs affecting our business, management, property, assets, results of operations, condition or prospects; (iii) trading is
suspended on any national securities exchange; (iv) war is declared; (v) a banking moratorium is declared in Virginia, New York or the U.S.;
or (vi) any laws, regulations, court or administrative order or other governmental or agency act causes the Placement Agent to believe that
our business or the U.S. securities markets will be materially adversely affected. The Placement Agent’s discretion in this regard is broad.

      The Placement Agent intends to offer our common shares to its retail customers only in states in which we are permitted to offer our
common shares. We have relied on an exemption to the blue sky registration requirements afforded to “covered securities”. Securities listed
on the NASDAQ Global Market are “covered securities.” If we were unable to meet the NASDAQ Global Market’s listing standards, then we
would be unable to rely on the covered securities exemption to blue sky registration requirements and we would need to register the offering
in each state in which we planned to sell shares. Consequently, we will not complete this offering unless we meet the NASDAQ Global
Market’s listing requirements.

     In connection with this offering, the Placement Agent or certain of the securities dealers may distribute prospectuses electronically. No
forms of prospectus other than printed prospectuses and electronically distributed prospectuses that are printable in Adobe PDF format will
be used in connection with this offering.

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Foreign Regulatory Restrictions on Purchase of our Shares
      We have not taken any action to permit a public offering of our shares outside the United States or to permit the possession or
distribution of this prospectus outside the United States. People outside the United States who come into possession of this prospectus must
inform themselves about and observe any restrictions relating to this offering of our shares and the distribution of this prospectus outside the
United States.

Commissions and Discounts
     The Placement Agent has advised us that it proposes to offer the common shares to the public at the initial public offering price on the
cover page of this prospectus. The following table shows the public offering price, Placement Agent fee to be paid by us to the Placement
Agent and the proceeds, before expenses, to us.

                                                                   Per Common Share          Minimum OfTctinn         Maximum Offering
            Public offering price                                  $           5.50          $   13,750,000           S 16,500,000
            Placement discount                                     $          0.385          $      962,500           $     1,155,000
            Proceeds to us, before expenses                        $          5.115          $   12,787,500           $    15,345,000

      We expect our total cash expenses for this offering to be approximately $600,000, exclusive of the above commissions. In addi tion, we
will pay the Placement Agent an accountable expense allowance of 1% of the amount of the offering, or $165,000 (maximum offering,
exclusive of shares registered under Rule 462(b)) or $137,500 (minimum offering). The Placement Agent must sell the minimum number of
securities offered (2,500,000 common shares) if any are sold. The Placement Agent is required to use only its best efforts to sell the securities
offered. The offering will terminate upon the earlier of: (i) a date mutually acceptable to us and our Placement Agent after which the
minimum offering is .sold or (ii) January 31 , 201 1 . Until we sell at least 2,500,000 shares, all investor funds will be held in an escrow account
at SunTrust Bank, Richmond, Virginia. If we do not sell at least 2,500,000 shares by January 3 1 , 20 11 , all funds will be promptly returned to
investors (within one business day) without interest or deduction. If we complete this offering, net proceeds will be delivered to our
company on the closing date. We will not be able to use such proceeds in China, however, until we complete certain remittance procedures
in China. If we complete this offering, then on the closing date, we will issue common shares to investors in the offering.

Market and Pricing Considerations
      There is not an established market for our common shares. We negotiated with our Placement Agent to determine the offering price of
our common shares in this offering based on current market conditions as well as other considerations.

      In addition to prevailing market conditions, the factors considered in detennining the applicable multiples were:
       •   the history of, and the prospects for, our company and the industry in which we compete;
       •   an assessment of our management, its past and present operation, and the prospects for, and timing of, our future revenues; and
       •   the present state of our development.

      An active trading market for our common shares may not develop. It is possible that after this offering the common shares will not
trade in the public market at or above the initial offering price.

Discretionary Shares
      The Placement Agent will not sell any shares in this offering to accounts over which it exercises discretionary authority, without first
receiving written consent from those accounts.

Application for Listing on the NASDAQ Global Market
      We have applied to list our common shares on the NASDAQ Global Market under the symbol “TBET.” As this offering is a best-efforts
offering, the NASDAQ Global Market has indicated that it is unable to admit our common shares for listing until the completion of the
offering and, consequently, the satisfaction ofNASDAQ Global Market listing standards. If so admitted, we expect our common shares to
begin trading on the NASDAQ Global Market on the day following the closing of this offering. If our common shares are eventually listed
on the NASDAQ Global Market, we will be subject to continued listing requirements and corporate governance standards. We expect these
new rules and regulations to significantly increase our legal, accounting and financial compliance costs.

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   Price Stabilization, Short Positions and Penalty Bids
     In order to facilitate the offering of the common shares, the Placement Agent may engage in transactions that stabilize, maintain or
otherwise affect the price of the common shares. In order to facilitate the offering, the Placement Agent may, but is not required to, bid for,
and purchase, common shares in the open market to stabilize the price of the common shares. These activities may raise or maintain the
market price of the common shares above independent market levels or prevent or retard a decline in the market price of the common shares.
The Placement Agent is not required to engage in these activities, and may end any of these activities at any time. We and the Placement
Agent have agreed to indemnify each other against certain liabilities, including liabilities under the Securities Act.

       We and the Placement Agent have agreed to indemnify each other against certain liabilities, including liabilities under the Securities
Act.


                                                             LEGAL MATTERS

      Certain matters as to Virginia law and U.S. federal law in connection with this offering will be passed upon for us by Kaufman &
Canoles, P.C. The validity of the shares and certain legal matters relating to the offering as to British Virgin Islands law will be passed upon
for us by Kaufman & Canoles, P.C. Certain legal matters relating to the offering as to Chinese law will be passed upon for us by DeHeng Law
Offices, People’s Republic of China. Kaufman & Canoles, P.C. may rely upon DeHeng Law Offices with respect to matters governed by
Chinese law. Anslow & Jaclin LLP has acted as counsel for the Placement Agent with respect to this offer.


                                                                  EXPERTS

      Financial statements as of December 3 1 , 2009 and 2008, and for the years then ended appearing in this prospectus, have been included
herein and in the registration statement in reliance upon the report of Acquavella, Chiarelli, Shuster, Berkower & Co., LLP, an independent
registered public accounting firm, appearing elsewhere herein, and upon the authority of that firm as experts in accounting and auditing.


                                                INTERESTS OF EXPERTS AND COUNSEL

     Attorneys with Kaufman and Canoles, P.C., representing our company with respect to this offering beneficially own 1 77,1 87 common
shares of our company as of the date of this prospectus.

                                             WHERE YOU CAN FIND MORE INFORMATION

      We have filed with the SEC under the Securities Act a registration statement on Form S~1 relating to the common shares we are offering
by this prospectus. This prospectus, which constitutes part of the registration statement filed with the SEC, does not contain all the
information included in the registration statement and the exhibits and schedules thereto. For further information with respect to us and our
common shares, you should refer to the registration statement and its exhibits. Statements contained in this prospectus as to the contents of
any contract, agreement or other document are not necessarily complete, and, where the contract, agreement or other document is an exhibit
to the registration statement, any statement with respect to such contract, agreement or document is qualified by the provisions of such
exhibit. You may examine and copy the registration statement, including the exhibits, at the SEC’s public reference room at 100 F Street,
N.E., Room 1580, Washington, D.C. 20549. You can obtain a copy of all or a portion of the registration statement by mail from the Public
Reference Section of the SEC at the same address, upon payment of prescribed fees. You may obtain information on the operation of the
public reference room by calling the SEC at 1 -800-SEC-0330. The SEC maintains a website that contains periodic reports, proxy and
information statements and other information regarding registrants that file electronically with the SEC. The address of the website is
http://www.sec.gov.

     As a result of this offering, we will become subject to the information and periodic reporting requirements of the Exchange Act and, in
accordance therewith, will file periodic reports, proxy statements and other information with the SEC.

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                                                        TIBET PHARMACEUTICALS, INC.
                            (FORMERLY KNOWN AS SHANGRI-LA TIBETAN PHARMACEUTICALS, INC.)
                                                CONSOLIDATED FINANCIAL STATEMENTS
                                                        SEPTEMBER 30, 2010

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                                                 TIBET PHARMACEUTICALS, INC.
                                                CONSOLIDATED BALANCE SHEETS

                                                                                                               9/30/2010        12/31/2009
                                                                                                              (unaudited)       (audited)
ASSETS
Current Assets
Cash and cash equivalents                                                                                    $ 8,365,585      $ 4,081,752
Accounts receivable- related party                                                                             1,785,123          342,000
Accounts receivable- non-related party                                                                         7,779,173        4,266,075
Other receivables                                                                                                103,761          101,948
Trade deposits                                                                                                        -0-          98,888
Inventories                                                                                                    1,843,795        1,305,537
Total current assets                                                                                          19,877,437       10,196,200
Property, plant and equipment, net                                                                             6,271,974        6,553,113
Intangible assets                                                                                                638,987          764,243
Prepaid expenses                                                                                                 366,761          439,399
Total Assets                                                                                                 $27,155,159      $17,952,955
LIABILITIES AND STOCKHOLDERS’ EQUITY
Current Liabilities
Accounts payable                                                                                             $ 1,840,995      $ 2,830,032
Accrued expenses and other payables                                                                            1,417,239          933,099
Value-added tax payable                                                                                          105,942           70,512
Total current liabilities                                                                                      3,364,176        3,833,643
Long-term Liabilities
Long-term loan                                                                                                 3,645,810        3,582,116
Total liabilities                                                                                              7,009,986        7,415,759
Stockholders’ Equity:
Common stock, $0,001 par value, 50,000,000 shares authorized, 11,812,500 and 11,782,500 issued and
   outstanding as of September 30, 2010 and December 3 1, 2009 respectively                                       11,812           11,782
Additional paid in capital                                                                                     8,495,765        8,375,795
Retained earnings                                                                                              7,474,268           193,793
Accumulated Other Comprehensive Income                                                                         1,062,501           694,588
Statutory reserve                                                                                              3,100,827         2,811,323
Total                                                                                                         20,145,173       12,087,281
Due from shareholder                                                                                                   -0-      (1,550,085)
Total stockholders5 equity                                                                                    20,145,173       10,537,196
Total Liabilities and Stockholders’ Equity                                                                   $27,155,159      $17,952,955

                                The accompanying notes are an integral part of these financial statements.

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                                                 TIBET PHARMACEUTICALS, INC.
                                              CONSOLIDATED STATEMENTS OF INCOME
                                                         (UNAUDITED)

                                                                                                               Nine months ended Sep 30,
                                                                                                               2010                 2009
Sales, net                                                                                               $ 23,876,375         $ 15,897,911
Cost of sales                                                                                             (11,582,001)          (7,900,616)
Gross profit                                                                                               12,294,374            7,997,295
Selling, general and administrative expense                                                                (2,104,774)          (1,565,401)
Income from operations                                                                                     10,189,600            6,431,894
Interest income                                                                                                13,792                9,949
Interest expenses and bank charges                                                                           (139,428)            (138,547)
Total Other Income (Expense)                                                                                 (125,636)            (128,598)
Net income                                                                                               $ 10,063,964         $ 6,303,296
Other comprehensive income (loss)                                                                               367,913              17,146
Comprehensive income                                                                                         10,431,877           6,320,442
Tax holiday effect (25%)                                                                                      2,515,991           1,575,824
Weighted average shares basic and diluted                                                                    11,802,830         11,632,500
Tax holiday effect per share                                                                                       0.21                    0.14
Basic and diluted                                                                                                  0.85                    0.54

                                The accompanying notes are an integral part of these financial statements.

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                                                  TIBET PHARMACEUTICALS, INC
                                         CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                      (UNAUDITED)

                                                                                                                 For the period ended September 30
                                                                                                                     2010                  2009
CASH FLOWS FROM OPERATING ACTIVITIES:
Net income                                                                                                       10,063,964         $ 6,303,296
Adjustments to reconcile net income to net cash provided by Operating activities:
Depreciation                                                                                                        532,172               527,343
Amortization                                                                                                        338,722               331,479
Changes in assets and liabilities provided/(used) cash:
Accounts receivable                                                                                              (4,789,691)            (1,112,905)
Trade deposit paid                                                                                                   98,900               (22,961)
Inventories                                                                                                        (506,105)             (640,797)
Prepaid expenses                                                                                                   (123,232)             (113,993)
Accounts payable                                                                                                 (1,021,320)            1,404,482
Accrued expenses and other payables                                                                                 456,690               336,296
Value-added tax payable                                                                                              36,605               (37,642)
Net cash provided by operating activities                                                                         5,086,706             6,974,598
CASH FLOWS FROM INVESTING ACTIVITIES:
Purchase of property & equipment                                                                                   (141,830)                   _
Net cash used in investing activities                                                                              (141,830)                         0
CASH FLOWS FROM FINANCING ACTIVITIES:
Dividend Paid                                                                                                    (2,493,985)


                                                                                                                                               —
Due from shareholder                                                                                              1,550,267             (4,922,390)
Proceeds from sale of common stock                                                                                  120,000
Net cash provided by financing activities                                                                          (823,718)            (4,922,390)
Effect of exchange rate changes on cash and cash equivalents                                                        162,675                  1,600
NET CHANGE IN CASH AND CASH EQUIVALENTS                                                                        4,283,833              2,053,808
CASH AND CASH EQUIVALENTS, BEGINNING OF PERIOD                                                                 4,081,752              2,711,552
CASH AND CASH EQUIVALENTS, END OF PERIOD                                                                     $ 8,365,585            $ 4,765,360
CASH AND CASH EQUIVALENTS                                                                                      8,365,585                4,765,360
SUPPLEMENTAL DISCLOSURES: Interest paid                                                                      S      135,689         $     135,171

                                The accompanying notes are an integral part of these financial statements.

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                                                     TIBET PHARMACEUTICALS, INC.
                                  CONSOLIDATED STATEMENT OF STOCKHOLDERS’ EQUITY
                                                    (UNAUDITED)

                 Shares of                                                                   Accumulated
                 Common                 Additional                                              Other                                               Total
                    Stock     Common     Paid-in           Accu mu la ted     Statutory     Comprehensive                      Due from         Shareholders’
                Outstanding    Stock     Capital             Retained          Reserve         In come            Total       shareholder          Equity
Balance,
   January 1,
   2010         11,782,500 $11,782 $8,375,795          $       193,793 $2,811,323 $            694,588      $12,087,281 $(1,550,084) 10,537,196
Stock sold          30,000      30    119,970                                                                   120,000                 120,000
                                                                                                                                              0
Net income                                                 10,063,965                                        10,063,965              10,063,965
Distribution                                               (2,493,985)                                       (2,493,985)             (2,493,985)
Transfer to
   statutory
   reserve                                                    (289,504)           289,504                                 0                                 0
Foreign
  currency
  translation                                                                                   367,913           367,913                           367,913
Change in due
  from
  shareholder                                                                                                                 1,550,084          1,550,085
Balance, Sept
  30,2010     11,812,500 $11,812        8,495,765           7,474,269 $3,100,827              1,062,501     ,   20,145,174                  0   20,145,173

                                The accompanying notes are an integral part of these financial statements

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                                                    TIBET PHARMACEUTICALS, INC.
                                        NOTES TO CONSOLIDATED FINANCIAL STATEMENTS
                                                     SEPTEMBER 30, 2010
                                                        (UNAUDITED)
Note 1 - ORGANIZATION
       Tibet Pharmaceuticals Inc. (the “Company”), (formerly known as Shangri-La Tibetan Pharmaceuticals, Inc.), was incorporated on
December 22, 2009 under the laws of British Virgin Islands. In July 2010, the Company changed its name to Tibet Pharmaceuticals, Inc.
China Tibetan Pharmaceuticals Limited (“CTP”), the Company’s 100% owned subsidiary, was established in Hong Kong on January 6, 2010
as a limited liability company. Other than the equity interest in CTP, the Company does not own any assets or conduct any operations. CTP
holds all of the outstanding equity interest in Yibo Information Consulting (Shenzhen) Company Ltd., a company established on March 1 8,
20 1 0 in the PRC as a wholly foreign owned enterprise (“WFOE”). Other than the equity interest in WFOE, CTP does not own any assets or
conduct any operations. Yunnan Diqing Shangri-La Tibetan Medicine Co., Ltd was incorporated on April 1 9, 2000 as a domestic Chinese
corporation. On December 24, 2002, it changed its name to Yunnan Shangri-La Tibetan Pharmaceutical Group Limited (“YSTP”). YSTP is
engaged in manufacturing, marketing, selling, researching and developing modernized traditional Tibetan medicines in China.

     WFOE conducts its business through YSTP via a series of contractual arrangements. YSTP is consolidated as a variable interest entity
(“VIE”). The Company does not conduct any substantive operations of its own, but conducts its primary business operations through
WFOE’s VIE. The Company holds its interest in the VIE through WFOE.
      Effective control over the VTE was transferred to the Company through the series of contractual arrangements without transferring
legal ownership in the VIE (“reorganization”). As a result of these contractual arrangements, the Company maintained the ability to approve
decisions made by the VIE and was entitled to substantially all of the economic benefits of the VIE, and therefore the Company consolidates
the VIE. Immediately before and after the reorganization, the ultimate shareholder controlled the VIE; therefore, the reorganization is
accounted for as a transaction between entities under common control. Accordingly, the accompanying consolidated financial statements
have been prepared as if the current corporate structure had been in existence throughout the periods presented.

      Chinese laws and regulations currently do not prohibit or restrict foreign ownership in pharmaceutical manufacturing businesses.
However, Chinese laws and regulations do prevent direct foreign investment in certain industries. On March 26, 2010, to protect the
Company’s shareholders from possible future foreign ownership restrictions, YSTP and all of the shareholders of YSTP entered into an
entrusted management agreement with WFOE, which provides that WFOE will be entitled to the full guarantee for the performance of such
contracts, agreements or transactions entered into by YSTP. WFOE is also entitled to receive the residual return of YSTP. As a result of the
agreement, WFOE will absorb 1 00% of the expected losses and gains of YSTP, which results in WFOE being the primary beneficiary of
YSTP.

      WFOE also entered into a pledge of equity agreement with the principal shareholders, who pledged all their equity interest in these
entities to WFOE. The pledge of equity agreement, which were entered into by each principal shareholder, pledged each of the principal
shareholders’ equity interest in WFOE as a guarantee for the entiustment payment under the Entrusted Management Agreement. The
provincial Administration for Industry and Commerce approved and registered such pledge of equity by which WFOE owns the right of
pledge legally.

      In addition, WFOE entered into an option agreement to acquire the principal shareholders’ equity interest in these entities at such
times as it may wish to do so.

     The followings are brief description of contracts entered between WFOE and YSTP

      (! ) Entrusted Management Agreement. The domestic companies, YSTP and WFOE, have entered into an Entrusted Management
Agreement, which provides that WFOE will be fully and exclusively responsible for the management of YSTP. As consideration for such
services, YSTP has agreed to pay WFOE the management fee during the term of this agreement and the management fee shall equal to
YSTP’s estimated earnings before tax. Also, WFOE will assume all operating risks related to this entrusted management service to YSTP and
bear all losses of YSTP. The term of this agreement will be from the effective date thereof to the earlier of the following: (1) the winding up
of YSTP, or (2) the termination date of this Agreement to be detennined by the parties hereto, or (3) the date on which WFOE completes the
acquisition of YSTP.
      (2) Exclusive Option Agreement, All the shareholders of YSTP as well as YSTP has entered into an Exclusive Option Agreement with
WFOE, which provides that WFOE will be entitled to acquire such shares form the current shareholders upon certain terms and conditions,
meanwhile WFOE will be entitled an irrevocable exclusive purchase option to purchase all or part of the assets and business of YSTP, if such
a purchase is or becomes allowable under PRC laws and regulations. The Exclusive Option Agreement also prohibits the current
shareholders
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of YSTP as well as YSTP from transferring any portion of their equity interests, business or assets to anyone other than WFOE. WFOE has
not yet taken any corporate action to exercise this right of purchase, and there is no guarantee that it will do so or will be permitted to do so
by applicable law at such times as it may wish to do so.

      (3) Shareholders ' Voting Proxy Agreement. All the shareholders of YSTP has executed a Shareholders’ Voting Proxy Agreement to
irrevocably appoint the persons designated by WFOE with the exclusive right to exercise, on their behalf, all of their Voting Rights in
accordance with the laws and YSTP’s Articles of Association, including but not limited to the rights to sell or transfer all or any of their
equity interests of YSTP, and to appoint and elect the directors and Chairman as the authorized legal representative of YSTP. This agreement
will be only terminated prior to the completion of acquisition of all of the equity interests in, or all assets or business of YSTP.

     (4) Pled ue of Equity Agreement. WFOE and the shareholders of YSTP have entered into a Pledge of Equity Agreement, pursuant to
which all shareholder pledges all of their shares (1 00%) of YSTP, as appropriate, to WFOE. IfYSTPorany of its respective shareholders
breaches its respective contractual obligations in the “Entrusted Management Agreement”, “Exclusive Option Agreement” and
“Shareholders’ Voting Proxy Agreement”, WFOE as Pledge, will be entitled to certain rights to foreclose on the pledged equity interests.
Such YSTP shareholders cannot dispose of the pledged equity interests or take any actions that would prejudice WFOE’s interest.

      Except for the disclosed above, there are no arrangements that could require the Company to provide financial support to the variable
interest entities, including events or circumstances that could expose the Company to a loss. As stated in the disclosure of various
agreements between the Company and its VIE, the Company has rights to acquire any portion of the equity interests of the VIE. Also the
Company may allocate its available funds to its VIE for business purpose. There are no fixed terms of such arrangements.

Note 2 - SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES
   Basis of Presentation
      The accompanying consolidated financial statements have been prepared in conformity with accounting principles generally accepted
in the United States of America (“US GAAP”). The Company’s functional currency is the Chinese Renminbi; however the accompanying
consolidated financial statements have been translated and presented in United States Dollars. These financial statements are prepared on a
historical pro forma basis. The consolidated financial statements include the accounts of the Company, its subsidiary and variable interest
entity (“VIE”) for which the Company is the primary beneficiary. All inter-company accounts and transactions have been eliminated in the
consolidation. Please also refer to Note 1 for the discussion on accounting for the reorganization and acquisition.

   Principles of Consolidation
     Pursuant to US GAAP, YSTP is the VIE of the TBET and the TBET is the primary beneficiary of the VIE. Accordingly, the VIE has been
consolidated in the TBET’s financial statements.

      TBET, CTP and WFOE were formed in 2009, 2010 and 2010, respectively, by YSTP and its shareholders as part of a plan by YSTP’s
shareholders to reorganize YSTP’s coiporate structure in preparation for listing in the U.S. In connection with the formation of TBET, CTP
and WFOE, WFOE entered into several VIE agreements, or Control Agreements, with YSTP and its shareholders. These companies were
formed, and the Control Agreements were executed, for the express puipose of restructuring YSTP as the controlled affiliate of a BVI
company* so that the resulting entity could become a publicly-traded company in the U.S. The shareholders having 100% of the voting
rights in YSTP shares entered into a resolution dated December 1 0, 2009 that authorized this restructuring and the specific steps of forming
a BVI company, a Hong Kong subsidiary of that company, the formation of Chinese who lly-foreign owned enterprise owned by the Hong
Kong company, and entry into the Control Agreements. These resolutions require TBET to consolidate YSTP’s financial statements with
TBET’s from its inception.

      Through the VIE agreements, TBET effectively has complete management and ownership control over YSTP, the VIE, and is able to
dictate its operations. The equity holders of YSTP became the controlling owners of TBET. By reason of the VIE agreements, TBET is also
able to obtain the financial interests such as obtaining periodic income of the VIE through technical and consulting seivice arrangements
and obtaining the net assets of VIE through purchase of their equities at essentially no cost basis (by virtue of TBET’s ownership of CTP and
CTP’s ownership of WFOE). TBET therefore concluded that its interest in the VIE is not a noncontrolling interest and therefore it is not
classified as such. The amount of noncontrolling interest of the original shareholders ofYSTP

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holding shares of the VIE for the TBET is zero. They exercise no controls over the VTE and no financial interests of ownership are due to
them either for periodic income or the net assets. Indeed, they have ceded all such rights to WFOE (and, as a result, TBET) though the
Control Agreements. Accordingly, the accompanying financial statements show the operations of TBET and its subsidiaries as well as YSTP
as being operated under the common control of TBET.
      Prior to these transactions, TBET, CTP, and WFOE were holding companies. Pursuant to ASC 805, the above transactions were
accounted for as reorganization under common control. TBET presents the operation of YSTP since inception on a historical pro forma basis
in the accompanying financial statements.

   Translation Adjustment
      As of September 30, 2010 and December 3 1, 2009, the accounts of the Company were maintained, and its financial statements were
expressed, in Chinese Yuan Renminbi (“CNY”). Such financial statements were translated into U.S. Dollars (“USD”) in accordance with the
Foreign Currency Matters Topic of the FASB Accounting Standards Codification (“ASC 830”), with the CNY as the functional currency.
According to ASC 830, all assets and liabilities were translated at the current exchange rate for the period. The resulting translation
adjustments are reported under other comprehensive income in accordance with the stockholders’ equity is translated at the historical rates
and income statement items are translated at the average exchange rate Comprehensive Income Topic of the FASB Accounting Standards
Codification (“ASC 220”), as a component of shareholders’ equity. Transaction gains and losses are reflected in the income statement.

   Use of Estimates
      The preparation of financial statements in conformity with generally accepted accounting principles requires management to make
estimates and assumptions that affect the reported amounts of assets and liabilities and disclosure of contingent assets and liabilities at the
date of the financial statements and the reported amounts of revenues and expenses during the reporting period. Actual results could differ
from those estimates.

   Comprehensive Income
      The Company follows the Comprehensive Income Topic of the FASB Accounting Standards Codification (“ASC 220”).
Comprehensive income is a more inclusive financial reporting methodology that includes disclosure of certain financial infonnation that
historically has not been recognized in the calculation of net income.

   Risks and Uncertainties
     The Company’s operations are carried out in the PRC. Accordingly, the Company’s business, financial condition and results of
operations may be influenced by the political, economic and legal environments in the PRC, by the general state of the PRC’s economy.
The Company’s business may be influenced by change in governmental policies with respect to laws and regulations, anti-inflationaiy
measures, currency conversion and remittance abroad, and rates and methods of taxation, among other things.

      The Company is subject to substantial risks from, among other things, intense competition associated with the industiy in general,
other risks associated with financing, liquidity requirements, rapidly changing customer requirements, limited operating history, foreign
currency exchange rates and the volatility of public markets,

   Contingencies
      Certain conditions may exist as of the date the financial statements are issued, which may result in a loss to the Company but which
will only be resolved when one or more future events occur or fail to occur. The Company’s management and legal counsel assess such
contingent liabilities, and such assessment inherently involves an exercise of judgment. In assessing loss contingencies related to legal
proceedings that are pending against the Company or unasserted claims that may result in such proceedings, the Company’s legal counsel
evaluates the perceived merits of any legal proceedings or unasserted claims as well as the perceived merits of the amount of relief sought or
expected to be sought.

      If the assessment of a contingency indicates that it is probable that a material loss has been incurred and the amount of the liability can
be estimated, then the estimated liability would be accrued in the Company’s financial statements. If the assessment indicates that a
potential material loss contingency is not probable but is reasonably possible, or is probable but cannot be estimated, then the nature of the
contingent liability, together with an estimate of the range of possible loss if determinable and material would be disclosed.
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     Loss contingencies considered to be remote by management are generally not disclosed unless they involve guarantees, in which case
the guarantee would be disclosed.

  Cash and Cash Equivalents
      Cash and cash equivalents include cash in hand and cash in time deposits, certificates of deposit and all highly liquid debt
instruments with original maturities of three months or less.

  Accounts Receivable
      The Company maintains reserves for potential credit losses on accounts receivable. Management reviews the composition of accounts
receivable and analyzes historical bad debts, customer concentrations, customer credit worthiness, current economic trends and changes in
customer payment patterns to evaluate the adequacy of these reserves. Reserves are recorded primarily on a specific identification basis.
There are no allowances for doubtful accounts as of September 30, 2010 and December 31,2009.

   Inventories
    Inventories are valued at the lower of cost (determined on a weighted average basis) or market. As of September 30, 2010 and
December 3 1 , 2009, inventories consist of the following:

                                                                                                 9/30/2010        12/31/2009
                 Raw materials                                                                 $1,245,998        $ 579,118
                 Package materials                                                                231,178           137,902
                 Finished goods                                                                $ 366,619         $ 588,517
                 Total                                                                         $1,843,795        $1,305,537

  Property, Plant & Equipment
     Property and equipment are stated at cost. Expenditures for maintenance and repairs are charged to earnings as incurred; additions,
renewals and betterments are capitalized. When property and equipment are retired or otherwise disposed of, the related cost and
accumulated depreciation are removed from the respective accounts, and any gain or loss is included in operations. Depreciation of property
and equipment is provided using the straight-line method for substantially all assets with estimated lives of:

                      Buildings                                                                              20 years
                      Machineiy and equipments                                                               10 years
                      Motor vehicles and others                                                                5 years

     As of September 30, 20 1 0 and December 3 1 , 2009, Property, Plant & Equipment consist of the following:

                                                                                               9/30/2010         12/31/2009
                 Buildings                                                                  $ 5,501,650        $ 5,405,533
                 Machineiy and equipments                                                   $ 3,510,237        S 3,306,859
                 Motor vehicles and others                                                  $ 715,062          S 702,570
                 Sub-total                                                                  $ 9,726,949        S 9,414,962
                 Less: Accumulated depreciation                                             $(3,454,975)       $(2,861,847)
                 Property, plant and equipment, net                                         $ 6,271,974        S 6,553,113

     Depreciation expenses totaled $532,1 72 and $527,343 for the          months ended September 30, 2010 and 2009, respectively.

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   Intangible Assets
      Intangible assets are amortized using the straight-line method over their estimated period of benefit, ranging from ten to fifty years.
Management evaluate the recoverability of intangible assets periodically and take into account events or circumstances that warrant revised
estimates of useful lives or that indicate that impairment exists. No impainnents of intangible assets have been identified during any of the
periods presented. The land use right will expire in 2050. All of the Company’s intangible assets are subject to amortization with estimated
lives of:

                       Land use right                                                                         50 years
                       Proprietary technologies                                                               10 years

     As of September 30, 2010 and December 3 1 , 2009, the components of finite-lived intangible assets are as follows:

                                                                                              9/30/2010          12/31/2009
                 Proprietary technologies                                                   $ 1,791,553        S 1,760,253
                 Land use right                                                                 298,592            293,376
                                                                                              2,090,145          2,053,629
                 Less: Accumulated amortization:                                             (1,451,158)        (1,289,386)
                                                                                            $ 638,987          S 764,243

     Amortization expense for the nine months ended September 30, 2010 and 2009 were $338,722 and $33 1,479 respectively.

     The estimated future amortization expenses related to intangible asset as of September 30, 2010 are as follows:

                       Years ended September 30,
                       201 1                                                                                  181,914
                       2012                                                                                   181,914
                       2013                                                                                     5,868
                       2014                                                                                     5,868
                       2015                                                                                     5,868
                       Thereafter                                                                             257,554

  Long-Lived Assets
      The Company adopted the Property, Plant and Equipment in accordance with FASB Accounting Standard Codification (“ASC 360”),
which addresses financial accounting and reporting forthe impairment or disposal oflong-lived assets and supersedes SFASNo. 121,
“Accounting forthe Impairment of Long-Lived Assets and for Long-Lived Assets to be Disposed Of,” and the accounting and reporting
provisions of Accounting Principles Board Opinion No. 30, “Reporting the Results of Operations for a Disposal of a Segment of a Business.”
The Company periodically evaluates the carrying value oflong-lived assets to be held and used in accordance with ASC 360, which
requires impairment losses to be recorded on long-lived assets used in operations when indicators of impairment are present and the
undiscounted cash flows estimated to be generated by those assets are less than the assets carrying amounts. In that event, a loss is
recognized based on the amount by which the carrying amount exceeds the fair market value of the long-lived assets. Loss on long-lived
assets to be disposed of is determined in a similar manner, except that fair market values are reduced for the cost of disposal. Based on its
review, the Company believes that, as of September 30, 2010 and December 3 1, 2009, there were no impairments of its long-lived assets.

  Revenue Recognition
      The Company’s revenue recognition policies are in compliance with the Revenue Recognition Topic of the FASB Accounting
Standards Codification (“ASC 605”). Sales revenue is recognized at the date of shipment to customers when a formal arrangement exists, the
price is fixed or determinable, the delivery is completed, no other significant obligations of the Company exist and collectibility is
reasonably assured.

     Payments received before all of the relevant criteria for revenue recognition are satisfied are recorded as unearned revenue.

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      The Company has distributor arrangements with certain parties for sale of its pharmaceutical products. The distributor agreements do
not provide chargeback, price protection, or stock rotation rights. Accordingly, revenue is recognized when products are delivered to and
received by the distributors.

      If the products sold have quality issues, the Company is responsible because of the product warranty included in each sale. However,
the customers cannot return merchandise without permission of the Company. The return is recorded on the date the return is authorized. A
quality warranty reserve provision has been made for the anticipated cost to replace items. The quality reserve accruals in amount of
$989,776 and $705,681 as of September 30, 2010 and December 31, 2009, respectively, were included in the Accrued expenses and other
payables on the consolidated balance sheets.

     Revenues are recorded net of value-added taxes.

   Prepaid Expenses
      Advertising expenses consist primarily of costs of promotion for corporate image and product marketing and costs of direct
advertising. The Company records payments made to advertising companies for the purpose of reserving prime-time advertising space as
prepaid expenses in the consolidated balance sheet. The Company expenses the prepaid advertising amount when the advertisement is
published or aired. All other advertising costs are expensed as incurred.

     Also, included in prepaid expenses is GMP authentication, which is being amortized during the period of the certificate of
authentication.

   Research and development costs
     Research and development costs are incurred in the development of the new products and processes, including significant
improvements and refinements to existing products. All research and development costs are expensed as incurred.

   Income Taxes
      The Company utilizes SFAS No. 1 09, “Accounting for Income Taxes,” which requires the recognition of deferred tax assets and
liabilities for the expected future tax consequences of events that have been included in the financial statements or tax returns. Under this
method, deferred income taxes are recognized for the tax consequences in future years of differences between the tax bases of assets and
liabilities and their financial reporting amounts at each period end based on enacted tax laws and statutoiy tax rates applicable to the
periods in which the differences are expected to affect taxable income. Valuation allowances are established, when necessary, to reduce
deferred tax assets to the amount expected to be realized.

      There are no differences between'the Company’s tax bases of assets and liabilities and their financial reporting amounts, and therefore,
there are no deferred tax assets or deferred tax liabilities.

     The Company is entitled to exemption from PRC income tax between 2008 and 2012. According to tax preferential policy of Yunnan
Diqing Tibet Autonomous State and approval of governmental tax agency, after approval of document by the tax bureau of the People’s
Government Office of Yunnan Diqing Autonomous State, the tax bureau of the Yunnan Diqing Tibet Autonomous State agreed to exempt
the Company from income tax for 5 years between 2008 and 2012. The dollar effect of this tax holiday is $255,991 and $1,575,824 for the
nine months ended September 30, 2010 and 2009, respectively. The per share effect is $0.21 per share for the first nine months of 201 0 and
$0.14 per share for the same period of 2009.

      In July 2006, the FASB issued Interpretation No. 48 (FIN 48), “Accounting for uncertainty in Income Taxes.” FIN 48 clarifies the
accounting for Income Taxes by prescribing the minimum recognition threshold a tax position is required to meet before being recognized
in the financial statements. It also provides guidance on de-recognition, measurement, classification, interest and penalties, accounting in
interim periods, disclosure and transition and clearly scopes income taxes out of SFAS 5, “Accounting for Contingencies.” FEN 48 is
effective for fiscal years beginning after December 1 5, 2006. As a result of implementing FIN 48, there have been no adjustments to the
Company’s financial statements. SFAS No. 1 09 and FIN 48 were superseded by the Income Taxes Topic of the FASB Accounting Standards
Codification (“ASC 740”) in September 2009. However, this portion of the codification has no application to the Company as stated above.

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   Statement of Cash Flows
      In accordance with the Statement of Cash Flows Topic of the FASB Accounting Standards Codification (“ASC 230”), cash flows from
the Company’s operations are based upon the local currencies. As a result, amounts related to assets and liabilities reported on the statement
of cash flows will not necessarily agree with changes in the corresponding balances on the balance sheet.

   Concentration of Credit Risk
      Financial instruments that potentially subject the Company to concentrations of credit risk are cash, accounts receivable and other
receivables arising from its nonnal business activities. The Company places its cash in what it believes to be credit-worthy financial
institutions. The Company has a diversified customer base, most of which are in China. The Company controls credit risk related to
accounts receivable through credit approvals, credit limits and monitoring procedures. The Company routinely assesses the financial
strength of its customers and, based upon factors surrounding the credit risk, establishes an allowance, if required, for uncollectible accounts
and, as a consequence, believes that its accounts receivable credit risk exposure beyond such allowance is limited. As of September 30,
2010, and December 3 1 , 2009, there was no allowance for uncollectible accounts as previously discussed.

   Segment Reporting
    The Company operates and manages its business as a single segment that includes primarily the development, manufacture and sale of
modernized traditional Chinese medicine. The Company’s chief operating decision maker has been identified as Mr. Guo, the Chief
Executive Officer, who reviews the consolidated results when making decisions about allocating resources and assessing performance of the
Company.

   Recent Accounting Pronouncements
      There were no recent accounting pronouncements that will have a material impact on the Company’s consolidated financial
statements.

Note 3 - INDEBTEDNESS
      Long-term debts were as follows:

                                                                                                    September 3(1,     December 31,
                                                                                                        2010               2009
                  Secured long-term loans                                                          $3,645,810         $3,582,116

      The interest expense was $135,689 and $135,171 for the nine months ended September 30, 2010 and 2009, respectively.

     The secured long-term bank loans are secured by a pledge of certain of the Company’s machineiy equipment and buildings. As of
September 30, 2010 and December 3 1, 2009, the secured long-tenn loans consisted of two bank loans. Both are due in November 201 1 with
annual interest rate of 5.05%

Note 4 - COMPENSATED ABSENCES
      Regulation 45 of the local labor law of the People’s Republic of China (“PRC”) entitles employees to annual vacation leave after one
year of service. In general, all leave must be utilized annually, with proper notification. Any unutilized leave is cancelled.

Note 5 - TRADE DEPOSITS
     The Company advances to certain vendors for the purchase of materials. As of September 30, 2010 and December 31, 2009, the
advances to suppliers amounted to $0 and $98,888, respectively.

Note 6 - RELATED PARTY TRANSACTIONS
      Parties are considered to be related if one party has the ability, directly or indirectly, to control the other party or exercise significant
influence over the other party in making financial and operational decisions. Parties are also considered to be related if they are subject to
common control or common significant influence. The Revenue derived from related party transactions for the nine months ended
September 30, 2010 and 2009 were $4,048,695
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and $3,655,783, respectively. As of September 30, 2010 and December 3 1 , 2009, the balance of accounts receivable from related party were
$ 1 ,785,123 and $342,000. As of September 30, 2010 and December 31, 2009, the balance of due from shareholders was $0 and $1 ,550,085,
respectively. Such amount is non-interest bearing and due upon demand.

Note 7 - STATUTORY RESERVE
     Tn accordance with the laws and regulations of the PRC, a wholly-owned Foreign Invested Enterprises income, after the payment of the
PRC income taxes, shall be allocated to the statutory surplus reserves and statutory public welfare fund. Prior to January 1 , 2006 the
proportion of allocation for reserve was 10 percent of the profit aftertax to the surplus reserve fund and additional 5 to 10 percent to the
public affair fund. The public welfare fund reserve was limited to 50 percent of the registered capital. Effective January 1,2006, there is now
only one fund requirement. The reserve is 10 percent of income after tax, not to exceed 50 percent of registered capital.

      Statutory Reserve funds are restricted for set off against losses, expansion of production and operation or increase in register capital of
the respective company. Statutory public welfare fund is restricted to the capital expenditures for the collective welfare of employees. These
reserves are not transferable to the Company in the form of cash dividends, loans or advances. These reserves are therefore not available for
distribution except in liquidation. As of September 30, 2010 and December 31, 2009, the Company had allocated $3,100,827 and
$2,81 1,323, respectively, to these non-distributable reserve funds

Note 8 - OTHER COMPREHENSIVE INCOME
     Balances of related after-tax components comprising accumulated other comprehensive income, included in stockholders’ equity, as
of September 30, 2010 and December 3 1, 2009, are as follows:

                                                                             Foreign Currency
                                                                               Translation               Accumulated Other
                                                                                Adjustment              Comprehensive Income
                       Balance at December 3 1 , 2009                        $     694,588              $          694,588
                       Change for nine months ended
                         September 30,2010                                         367,913                         367,913
                       Balance at September 30, 20 1 0                       $   1,062,501              $        1,062,501

Note 9 - MAJOR CUSTOMERS AND CREDIT RISK
     Details of customers accounting for 10% or more of total net sales of the Company are as follows:

                                                                                                              September 30,
                                                                                                      2010                     2009
     Kunming Shangri-La Medicine Co., Ltd ( related party)                                      $4,048,695    17%      $3,655,783     23%
     Hangzhou Hesheng Medicine Co., Ltd                                                          2,261,740     9%       2,012,608     12%
     Total                                                                                      $6,310,435    26%      $5,668,391     35%

Note 10 -EQUITY
      On December 30, 2009, the Company issued 150,000 shares of Company stock, valued at $1 57,500, to the CEO, for services rendered
to the Company.

      In March 2010, a total of 30,000 shares of Company stock were subscribed by three investors. Two investors paid their subscriptions in
April 2010, and the third investor paid in June 2010, fora total of$ 120,000.

  IPO A rrangement
     On May 14, 2010, the Company filed its registration to offer a minimum of 1,500,000 and a maximum of 1,875,000 of our ordinary
shares. Correspondingly, total 50,000,000 ordinaiy shares have been authorized, with a par value of $0.001 . On September 21 , 2010, the
Company filed an amendment to offer a minimum of 2,500,000 and a maximum of 3,000,000 of its ordinaiy shares. As of November 23,
2010, 1 1,812,500 out of the authorized ordinaiy shares have been issued.

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      As of October 15, 2010, we have agreed to issue 33,334 shares of company stocks to Trilogy Capital Partners, Inc., our investor
relation consultancy.

      Our Board of Directors and shareholders have approved a stock option plan to our employees and directors to be implemented
following the completion of this offering. This plan authorizes the issuance of up to 5% of the number of ordinary shares outstanding after
this offering. The options will have exercise prices equal to the fair market value of our ordinary shares on the date of grant. In addition, the
options will vest over five years (20% per year) and have terms often years.

Note 11 - EARNINGS PER SHARE
     The following table sets forth the computation of basic and diluted earnings per share of common stock:

                                                                                                          September 30,
                                                                                                   2010                   2009
                 Basic and diluted earnings per share:
                 Numerator:
                 Net income used in computing basic earnings per share                        $10,063,964          $ 6,303,296
                 Net income applicable to common shareholders                                 $10,063,964          $ 6,303,296
                 Denominator:
                 Weighted average common shares outstanding                                     11,802,830           11,632,500
                 Basic and diluted earnings per share                                         $       0.85         $       0.54

Note 12 - SUBSEQUENT EVENTS
     In July 2010, the Company changed its name to Tibet Pharmaceuticals, Inc.

     In accordance with ASC 855, “Subsequent Events”, the Company has evaluated subsequent events after the balance sheet date of
September 30, 2010 through filing of this report, and has determined all material subsequent events have been disclosed.

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                                               TIBET PHARMACEUTICALS, INC.
                                          CONSOLIDATED FINANCIAL STATEMENTS
                                                  DECEMBER31, 2009

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ACSB Acquavella, Chiarelli, Shuster, Berkower & Co., LLP
517 Route one                                                                  1 Penn Plaza
Iselin, New Jersey, 08830                                                      36th Floor
732.855.9600                                                                   New York, NY 10119

Report of Independent Registered Public Accounting Firm
Board of Directors and Stockholders of
Tibet Pharmaceuticals, Inc.

     We have audited the accompanying consolidated balance sheet of Tibet Pharmaceuticals, Inc. as of December 3 1, 2009 and
December 3 1, 2008, and the related consolidated statement of income, stockholders’ equity and comprehensive income, and cash flow for
each of the two years ended December 3 1 , 2009. Tibet Pharmaceuticals, Inc.’s management is responsible for these financial statements. Our
responsibility is to express an opinion on these financial statements based on our audits.

      We conducted our audits in accordance with the standards of the Public Company Accounting Oversight Board (United States). Those
standards require that we plan and perform the audit to obtain reasonable assurance about whether the financial statements are free of
material misstatement. The company is not required to have, nor were we engaged to perform, an audit of its internal control over financial
reporting. Our audit included consideration of internal control over financial reporting as a basis for designing audit procedures that are
appropriate in the circumstances, but not for the purpose of expressing an opinion on the effectiveness of the company’s internal control
over financial reporting. Accordingly, we express no such opinion. An audit also includes examining, on a test basis, evidence supporting
the amounts and disclosures in the financial statements, assessing the accounting principles used and significant estimates made by
management, as well as evaluating the overall financial statement presentation. We believe that out audits provide a reasonable basis for our
opinion.

      In our opinion, the financial statements referred to above present fairly, in all material respects, the consolidated financial position of
Tibet Pharmaceuticals, Inc. as of December 3 1 , 2009 and December 3 1 , 2008, and the consolidated results of its operation and its cash flow
for each of the two years ended December 3 1 , 2009 in conformity with accounting principles general ly accepted in the United States of
America.

Isl Acquavella, Chiarelli, Shuster, Berkower & Co., LLP
Certified Public Accountants
New York, N.Y.
July 19,2010

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                                                 TIBET PHARMACEUTICALS, INC.
                                               CONSOLIDATED BALANCE SHEETS
                                               AS OF DECEMBER 31, 2009 AND 2008
                                                                                                                2009             2008
ASSETS
Current Assets
Cash and cash equivalents                                                                                    $ 4,081,752    $ 2,711,552
Accounts receivable- related party                                                                               342,000      1,277,550
Accounts receivable- non-related party                                                                         4,266,075      1,703,148
Other receivables                                                                                                101,948        101,578
Trade deposits paid in advance                                                                                    98,888         11,939
Inventories                                                                                                    1,305,537      1,419,099
Total current assets                                                                                          10,196,200      7,224,866
Property, plant and equipment, net                                                                             6,553,113      7,231,210
Intangible assets                                                                                                764,243        942,707
Prepaid expenses                                                                                                 439,399        583,741
Total Assets                                                                                                 $17,952,955    $15,982,524
LIABILITIES AND STOCKHOLDERS’ EQUITY
Current Liabilities
Accounts payable                                                                                             $ 2,830,032    $ 1,515,977
Accrued expenses and other payables                                                                              933,099        721,570
Value-added tax payable                                                                                           70,512        106,168
Total current liabilities                                                                                      3,833,643      2,343,715
Long-term Liabilities
Long-term loan                                                                                                 3,582,116      3,569,132
Total liabilities                                                                                              7,415,759      5,912,847
Stockholders’ Equity:
Common stock, $0,001 par value, 50,000,000 shares authorized, 1 1 ,782,500 and 11,632,500 issued and
   outstanding as of 1 2/3 1 /09 and 12/3 1/08                                                                    11,782          11,632
Additional paid in capital                                                                                     8,375,795       8,218,445
Retained earnings                                                                                                193,793       1,129,863
Accumulated other comprehensive income                                                                           694,588         651,895
Statutory reserve                                                                                              2,811,323       1,415,563
Total                                                                                                         12,087,281     11,427,398
Due from shareholder                                                                                          (1,550,085)     (1,357,721)
Total stockholders’ equity                                                                                    10,537,196     10,069,677
Total Liabilities and Stockholders’ Equity                                                                   $17,952,955    $15,982,524

                                The accompanying notes are an integral part of these financial statements.
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                                              TIBET PHARMACEUTICALS, INC.
                                       CONSOLIDATED STATEMENTS OF INCOME
                                  FOR THE YEARS ENDED DECEMBER 31,2009 AND 2008
                                                                                                              2009                   2008
Sales, net                                                                                                $ 23,008,031        $15,580,269
Cost of sales                                                                                              (11,303,118)        (7,857,884)
Gross profit                                                                                                11,704,913          7,722,385
Selling, general and administrative expense                                                                 (2,289,036)        (1,630,425)
Income from operations                                                                                      9,415,877           6,091,960
Interest income                                                                                                14,062              19,172
Interest expenses and bank charges                                                                           (184,961)            (177,649)
Total Other Income (Expense)                                                                                 (170,899)            (158,477)
Net income                                                                                                $ 9,244,978          $ 5,933,483
Net income per common share
Basic and diluted                                                                                                    0.79                   0.51
Weighted average common shares outstanding
Basic and diluted                                                                                          11,633,322           11,632,500
Consolidated Statements of Comprehensive Income
Net income                                                                                                S 9,244,978          $ 5,933,483
Other comprehensive income (loss)                                                                              42,693              651,895
Comprehensive income (loss)                                                                               $ 9,287,671          $ 6,585,378

                             The accompanying notes are an integral part of these financial statements.

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                                                  TIBET PHARMACEUTICALS, INC.
                                        CONSOLIDATED STATEMENTS OF CASH FLOWS
                                      FOR THE YEARS ENDED DECEMBER 31, 2009 AND 2008
                                                                                                                   Years Ended December 31,
                                                                                                                   2009               2008
CASH FLOWS FROM OPERATING ACTIVITIES:
Net income                                                                                                   $ 9,244,978          $ 5,933,483
Adjustments to reconcile net income to net cash provided by Operating activities:
Depreciation                                                                                                       703,124             611,935
Amortization
Stock based compensation
Changes in assets and liabilities provided/(used) cash:
Accounts receivable
                                                                                                                   181,563
                                                                                                                   157,500

                                                                                                                 (1,613,598)
                                                                                                                                       175,426
                                                                                                                                              —
                                                                                                                                       (961,302)
Other receivables                                                                                                         0             (24,758)
Trade deposit paid                                                                                                  (86,749)            199,821


                                                                                                                                              —
Inventories                                                                                                        118,509             (304,580)
Intangible assets                                                                                                         0
Prepaid expenses                                                                                                    146,200             141,259
Accounts payable                                                                                                  1,306,164             573,340
Accrued expenses and other payables                                                                                 208,525            (199,798)
Value-added tax payable                                                                                             (35,977)             42,848
Net cash provided by operating activities                                                                        10,330,239           6,187,674

                                                                                                                        —
CASH FLOWS FROM INVESTING ACTIVITIES:


                                                                                                                        —                     —
Purchase of property & equipment                                                                                                       (642,112)
Purchase of Intangible assets
Net cash used in investing activities                                                                                     0            (642,112)
CASH FLOWS FROM FINANCING ACTIVITIES:
Dividend Paid                                                                                                    (8,785,288)       (4,244,182)
Due from shareholder                                                                                               (187,085)         (137,839)
Net cash used in financing activities                                                                            (8,972,373)       (4,382,021)
Effect of exchange rate changes on cash and cash equivalents                                                         12,334           132,253
NET CHANGE IN CASH AND CASH EQUIVALENTS                                                                           1,370,200         1,295,796
CASH AND CASH EQUIVALENTS, BEGINNING OF YEAR                                                                   2,711,552            1,415,756
CASH AND CASH EQUIVALENTS, END OF YEAR                                                                       $ 4,081,752          $ 2,711,552
SUPPLEMENTAL DISCLOSURES:
Interest paid                                                                                                S     180,568        S    174,466

                                The accompanying notes are an integral part of these financial statements.

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                                                    TIBET PHARMACEUTICALS, INC.
                                    CONSOLIDATED STATEMENT OF STOCKHOLDERS’ EQUITY
                                      FOR THE YEARS ENDED DECEMBER 31,2009 AND 2008

                     Shares of                                                          Accumulated
                     Common                  Additional                                    Other                                        Total
                       Stock      Common      Paid-in     Accumulated      Statutory   Comprehensive                   Due from     Shareholders’
                    Outstanding    Stock      Capital      Retained         Reserve       Income          Total       shareholder      Equity
Balance, January 1 1,632,500 $11,632 $8,218,445 $ 316,466 $ 539,659 $                             0    $ 9,086,202 $(1,139,851) S 7,946,352
  1,2008
Net                                               5,933,483                                              5,933,483                    5,933,483
  income/(loss)
Distribution-Net                                 (4,244,182)                                            (4,244,182)                  (4,244,182)
   income
Transfer to                                                 (875,904)       875,904                               0                             0
   statutory
   reserve
Foreign currency                                                                           651,895        651,895                       651,895
   translation
  adjustments
Change in Due                                                                                             (217,870)     (217,870)
   from
  shareholders’
  equity
Balance,         11,632,500 $11,632 $8,218,445 $ 1,129,863 $1,415,563 $                    651,895 $11,427,398 $(1,357,721) $10,069,677
  December 3 1,
  2008
Balance, January 11,632,500 $11,632 $8,218,445 $ 1,129,863 $1,415,563 $                    651,895 $11,427,398 $(1,357,721) $10,069,677
   1,2009
Stock based           150,000        150       157,350                                                    157,500                       157,500
   compensation
Net (income)                                               9,244,978                                     9,244,978                   9,244,978
   loss
Distribution-Net
   income                                                 (8,785,288                                    (8,785,288                   (8,785,288)
Transfer to                                               (1,395,760    1,395,760                                0                            0
  statutory
  reserve
Foreign cunency                                                                             42,693         42,693                        42,693
  translation
  adjustments
Change in Due                                                                                             (192,364)     (192,364)
  from
  shareholders’
  equity
Balance,        11,782,500 $11,782 $8,375,795 $              193,793 $2,811,323 $         694,588 $12,087,281 $(1,550,085) $10,537,196
  December 3 1,
  2009

                                  The accompanying notes are an integral part of these financial statements.

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                                                    TIBET PHARMACEUTICALS, INC.
                                        NOTES TO CONSOLIDATED FINANCIAL STATEMENTS
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Note 1 - ORGANIZATION
      Shangri-La Tibetan Pharmaceuticals, Inc. was incorporated on December 22, 2009 under the laws of British Virgin Islands. In July
2010, it changed its name to Tibet Pharmaceuticals, Inc. (“the Company”). China Tibetan Pharmaceuticals Limited (“CTP”), the Company’s
100% owned subsidiary, was established in Hong Kong on January 6, 201 0 as a limited liability company. Other than the equity interest in
CTP, the Company does not own any assets or conduct any operations. CTP holds all of the outstanding equity interest in Yibo Information
Consulting (Shenzhen) Company Ltd., a company established on March 1 8, 201 0 in the PRC as a wholly foreign owned enterprise
(“WFOE”). Other than the equity interest in WFOE, CTP does not own any assets or conduct any operations. Yunnan Diqing Shangri-La
Tibetan Medicine Co., Ltd was incorporated on April 1 9, 2000 as a domestic Chinese corporation. On December 24, 2002, it changed its
name to Yunnan Shangri-La Tibetan Pharmaceutical Group Limited (“YSTP”). YSTP is engaged in manufacturing, marketing, selling,
researching and developing modernized traditional Tibetan medicines in China

     WFOE conducts its business through YSTP via a series of contractual arrangements. YSTP is consolidated as a variable interest entity
(“VIE”). The Company does not conduct any substantive operations of its own, but conducts its primary business operations through
WFOE’s VIE. The Company holds its interest in the VIE through WFOE.

      Effective control over the VIE was transferred to the Company through the series of contractual arrangements without transferring
legal ownership in the VTE (“reorganization”). As a result of these contractual arrangements, the Company maintained the ability to approve
decisions made by the VIE and was entitled to substantially all of the economic benefits of the VIE, and therefore the Company consolidates
the VIE. Immediately before and after the reorganization, the ultimate shareholder controlled the VIE; therefore, the reorganization is
accounted for as a transaction between entities under common control. Accordingly, the accompanying consolidated financial statements
have been prepared as if the current corporate structure had been in existence throughout the periods presented.

      Chinese laws and regulations currently do not prohibit or restrict foreign ownership in pharmaceutical manufacturing businesses.
However, Chinese laws and regulations do prevent direct foreign investment in certain industries. On March 26, 2010, to protect the
Company’s shareholders from possible future foreign ownership restrictions, YSTP and all of the shareholders of YSTP entered into an
entrusted management agreement with WFOE, which provides that WFOE will be entitled to the full guarantee for the performance of such
contracts, agreements or transactions entered into by YSTP. WFOE is also entitled to receive the residual return of YSTP. As a result of the
agreement, WFOE will absorb 100% of the expected losses and gains of YSTP, which results in WFOE being the primary beneficiary of
YSTP.

      WFOE also entered into a pledge of equity agreement with the principal shareholders, who pledged all their equity interest in these
entities to WFOE. The pledge of equity agreement, which were entered into by each principal shareholder, pledged each of the principal
shareholders’ equity interest in WFOE as a guarantee for the entmstment payment under the Entrusted Management Agreement. The
provincial Administration for Industry and Commerce approved and registered such pledge of equity by which WFOE owns the right of
pledge legally.

     In addition, WEOE entered into an option agreement to acquire the principal shareholders’ equity interest in these entities at such
times as it may wish to do so.

     The followings are brief description of contracts entered between WFOE and YSTP:

      (I ) Entrusted Management Agreement. The domestic companies, YSTP and WFOE, have entered into an Entrusted Management
Agreement, which provides that WFOE will be fully and exclusively responsible for the management of YSTP. As consideration for such
services, YSTP has agreed to pay WFOE the management fee during the term of this agreement and the management fee shall equal to
YSTP’s estimated earnings before tax. Also, WFOE will assume all operating risks related to this entrusted management service to YSTP and
bear all losses of YSTP. The term of this agreement will be from the effective date thereof to the earlier of the following; (1) the winding up
of YSTP, or (2) the termination date of this Agreement to be determined by the parties hereto, or (3) the date on which WFOE completes the
acquisition of YSTP.

     (2) Exclusive Option Agreement. All the shareholders of YSTP as well as YSTP has entered into an Exclusive Option Agreement with
WFOE, which provides that WFOE will be entitled to acquire such shares form the current shareholders upon certain terms and conditions,
meanwhile WFOE will be entitled an irrevocable exclusive purchase option to purchase all or part of the assets and business of YSTP, if such
a purchase is or becomes allowable under PRC laws and regulations. The Exclusive Option Agreement also prohibits the current
shareholders

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of YSTP as well as YSTP from transferring any portion of their equity interests, business or assets to anyone other than WFOE. WFOE has
not yet taken any corporate action to exercise this right of purchase, and there is no guarantee that it will do so or will be permitted to do so
by applicable law at such times as it may wish to do so.

      (3) Shareholders ' Valine Proxy Agreement. Each of the shareholders of YSTP has executed a Shareholders’ Voting Proxy Agreement to
irrevocably appoint the persons designated by WFOE with the exclusive right to exercise, on their behalf, all of their Voting Rights in
accordance with the laws and YSTP’s Articles of Association, including but not limited to the rights to sell or transfer all or any of their
equity interests ofYSTP, and to appoint and elect the directors and Chairman as the authorized legal representative ofYSTP. This agreement
will be only terminated prior to the completion of acquisition of all of the equity interests in, or all assets or business ofYSTP.

     (4) Pledge of Equity Agreement. WFOE and the shareholders ofYSTP have entered into a Pledge of Equity Agreement, pursuant to
which all shareholder pledges all of their shares (100%) ofYSTP, as appropriate, to WFOE. If YSTP or any of its respective shareholders
breaches its respective contractual obligations in the “Entrusted Management Agreement”, “Exclusive Option Agreement” and
“Shareholders’ Voting Proxy Agreement”, WFOE as Pledge, will be entitled to certain rights to foreclose on the pledged equity interests.
Such YSTP shareholders cannot dispose of the pledged equity interests or take any actions that would prejudice WFOE’s interest

      Except for the disclosed above, there are no arrangements that could require the Company to provide financial support to the variable
interest entities, including events or circumstances that could expose the Company to a loss. As stated in the disclosure ofvarious
agreements between the Company and its VTE, the Company has rights to acquire any portion of the equity interests of the VIE. Also the
Company may allocate its available funds to its VIE for business puipose. There are no fixed temis of such arrangements. No one individual
owns, directly or beneficially, 50% or more of the issued and outstanding shares ofTBET; there are no immediate family members who own
shares in TBET that together hold, directly or beneficially, 50% or more of the share ofTBET; and there are no agreements or arrangements
in place that gives any individual or any group of individuals the right to vote a majority of TBET’s shares. TBET owns 100% of the shares
ofCTP. CTP owns 1 00% of the shares of WFOE. Mr. Hong Yu holds the right to vote more than 50% of the issued and outstanding shares of
YSTP. By reason of the Shareholder’s Voting Proxy Agreement described above, however, WFOE’s designee has the contractual right to vote
1 00% of the shares ofYSTP. Specifically, in the Shareholders Voting Proxy Agreement, all of the shareholders ofYSTP, including Mr. Yu,
granted to WFOE, through its designee, the exclusive and irrevocable right to vote their shares in YSTP. WFOE has named Mr. Tiangui Li as
the designee authorized to exercise the shareholders’ voting rights. Mr. Li holds a 100% equity interest in LEM ANY Invest. Corp., aBVI
Corporation, which in turn owns 4.78% of TBET’s shares. Neither Mr. Li norLEMANY Invest. Corp. is a shareholder ofYSTP.

Note 2 - SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES
   Basis of Presentation
      The accompanying consolidated financial statements have been prepared in confonnity with accounting principles generally accepted
in the United States of America (“US GAAP”). The Company’s functional currency is the Chinese Renminbi; however the accompanying
consolidated financial statements have been translated and presented in United States Dollars. These financial statements are prepared on a
historical pro forma basis. The consolidated financial statements include the accounts of the Company, its subsidiaiy and variable interest
entity (“VIE”) for which the Company is the primary beneficiary. All inter-company accounts and transactions have been eliminated in the
consolidation. Please also refer to Note 1 for the discussion on accounting for the reorganization and acquisition.

  Principles of Consolidation
     Pursuant to US GAAP, YSTP is the VIE of the Company and the Company is the primary beneficiary of the VIE. Accordingly, the VIE
has been consolidated in the Company’s financial statements.

     TBET, CTP and WFOE were formed in 2009, 2010 and 2010, respectively, by YSTP and its shareholders. In connection with the
formation ofTBET, CTP and WFOE, WFOE entered into several VIE agreements, or Control Agreements, with YSTP and its shareholders.

      Through the VIE agreements, the Company effectively has complete management and ownership control over YSTP, the VIE, and is
able to dictate its operations. The equity holders ofYSTP became the controlling owners ofTBET. Looking to TBET, CTP, WFOE and YSTP
together, there was no material change in ownership, as YSTP’s Mr. Yu and other YSTP founders, who had controlling interest in YSTP at all
periods presented, became controlling shareholders ofTBET. By reason of the VIE agreements, TBET is also able to obtain the financial
interests such as

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obtaining periodic income of the VIE through technical and consulting service arrangements and obtaining the net assets ofVIE through
purchase of their equities at essentially no cost basis. The Company therefore concluded that its interest in the VIE is not a noncontrolling
interest and therefore it is not classified as such. The amount of noncontrolling interest of the original shareholders ofYSTP holding shares
of the VIE for the Company is zero. They exercise no controls over the VTE and no financial interests of ownership are due to them either for
periodic income or the net assets. Accordingly, the accompanying financial statements show the operations of TBET and its subsidiaries as
well as YSTP as being operated under the common control of TBET.

     Prior to these transactions, TBET, CTP, and WFOE were holding companies. Pursuant to ASC 805, the above transactions were
accounted for as reorganization under common control. The Company presents the operation ofYSTP since inception on a historical pro
forma basis in the accompanying financial statements.

   Translation Adjustment
      As of December 3 1 , 2009 and 2008, the accounts of the Company were maintained, and its financial statements were expressed, in
Chinese Yuan Renminbi (“CNY”). Such financial statements were translated into U.S. Dollars (“USD”) in accordance with the Foreign
Currency Matters Topic of the FASB Accounting Standards Codification (“ASC 830”), with the CNY as the functional currency. According
to ASC 830, all assets and liabilities were translated at the current exchange rate, stockholders’ equity is translated at the historical rates and
income statement items are translated at the average exchange rate for the period. The resulting translation adjustments are reported under
other comprehensive income in accordance with the Comprehensive Income Topic of the FASB Accounting Standards Codification (“ASC
220”), as a component of shareholders’ equity. Transaction gains and losses are reflected in the income statement.

   Use of Estimates
      The preparation of financial statements in conformity with generally accepted accounting principles requires management to make
estimates and assumptions that affect the reported amounts of assets and liabilities and disclosure of contingent assets and liabilities at the
date of the financial statements and the reported amounts of revenues and expenses during the reporting period. Actual results could differ
from those estimates.

   Comprehensive Income
      The Company follows the Comprehensive Income Topic of the FASB Accounting Standards Codification (“ASC 220”).
Comprehensive income is a more inclusive financial reporting methodology that includes disclosure of certain financial information that
historically has not been recognized in the calculation of net income.

   Risks and Uncertainties
     The Company’s operations are carried out in the PRC. Accordingly, the Company’s business, financial condition and results of
operations may be influenced by the political, economic and legal environments in the PRC, by the general state of the PRC’s economy.
The Company’s business may be influenced by change in governmental policies with respect to laws and regulations, anti-inflationary
measures, currency conversion and remittance abroad, and rates and methods of taxation, among other things.

      The Company is subject to substantial risks from, among other things, intense competition associated with the industry in general,
other risks associated with financing, liquidity requirements, rapidly changing customer requirements, limited operating history, foreign
currency exchange rates and the volatility of public markets.

  Contingencies
      Certain conditions may exist as of the date the financial statements are issued, which may result in a loss to the Company but which
will only be resolved when one or more future events occur or fail to occur. The Company’s management and legal counsel assess such
contingent liabilities, and such assessment inherently involves an exercise of judgment. In assessing loss contingencies related to legal
proceedings that are pending against the Company or unasserted claims that may result in such proceedings, the Company’s legal counsel
evaluates the perceived merits of any legal proceedings or unasserted claims as well as the perceived merits of the amount of relief sought or
expected to be sought.




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      If the assessment of a contingency indicates that it is probable that a material loss has been incurred and the amount of the liability can
be estimated, then the estimated liability would be accrued in the Company’s financial statements. If the assessment indicates that a
potential material loss contingency is not probable but is reasonably possible, oris probable but cannot be estimated, then the nature of the
contingent liability, together with an estimate of the range of possible loss if determinable and material would be disclosed.

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      Loss contingencies considered to be remote by management are generally not disclosed unless they involve guarantees, in which case
the guarantee would be disclosed.

  Cash and Cash Equivalents
      Cash and cash equivalents include cash in hand and cash in time deposits, certificates of deposit and all highly liquid debt
instruments with original maturities of three months or less.

  Accounts Receivable
      The Company maintains reserves for potential credit losses on accounts receivable. Management reviews the composition of accounts
receivable and analyzes historical bad debts, customer concentrations, customer credit worthiness, current economic trends and changes in
customer payment patterns to evaluate the adequacy of these reserves. Reserves are recorded primarily on a specific identification basis.
These are no allowances for doubtful accounts as of December 31 , 2009 and 2008.

  Inventories
     Inventories are valued at the lower of cost (determined on a weighted average basis) or market. As of December 3 1 , 2009 and 2008,
inventories consist of the following:

                                                                                                          December 31,
                                                                                                   2009                  2008
                 Raw materials                                                                 $ 579,118          $ 748,648
                 Package materials                                                                137,902                137,136
                 Finished goods                                                                $ 588,517          $ 533,315
                 Total                                                                         $1,305,537         $1,419,099

  Property, Plant & Equipment
     Property and equipment are stated at cost. Expenditures for maintenance and repairs are charged to earnings as incurred; additions,
renewals and betterments are capitalized. When property and equipment are retired or otherwise disposed of, the related cost and
accumulated depreciation are removed from the respective accounts, and any gain or loss is included in operations. Depreciation of property
and equipment is provided using the straight-line method for substantially all assets with estimated lives of:

                      Buildings                                                                                 20 years
                      Machinery and equipment                                                                   1 0 years
                      Motor vehicles and other                                                                   5 years
     As of December 3 1, 2009 and 2008, Property, Plant & Equipment consist of the following:

                                                                                                        December 31,
                                                                                                 2009                    2008
                 Buildings                                                                   $ 5,405,533         S 5,385,940
                 Plant and machinery                                                         $ 3,306,859         S 3,294,873
                 Motor vehicles and other                                                    $ 702,570           S 700,023
                 Sub-total                                                                   $ 9,414,962         $ 9,380,836
                 Less: Accumulated depreciation                                             $(2,861,848)         $(2,149,626)
                 Property, plant and equipment, net                                         $ 6,553,113          $ 7,231,210

     Depreciation expenses totaled $703,124 and $61 1 ,935 for the years ended December 3 1, 2009 and 2008, respectively.

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   Intangible Asset
      Intangible assets are amortized using the straight-line method over their estimated period of benefit, ranging from ten to fifty years.
Management evaluate the recoverability of intangible assets periodically and take into account events or circumstances that warrant revised
estimates of useful lives or that indicate that impairment exists. No impainnents of intangible assets have been identified during any of the
periods presented. The land use right will expire in 2050. All of the Company’s intangible assets are subject to amortization with estimated
lives of:

                       Land use right                                                                           50 years
                       Proprietary technologies                                                                 1 0 years

     The components of finite-lived intangible assets are as follows:
                                                                                                        December 31,
                                                                                                 2009                  2008
                 Proprietary technologies                                                    $ 1,760,253         S 1,753,873
                 Land use right                                                                  293,376             292,312
                                                                                               2,053,629           2,046,185
                 Less: Accumulated amortization:                                              (1,289,386)            (1,103,479)
                                                                                             $ 764,243           S      942,707




     Amortization expense for the years ended December 31, 2009 and 2008 were $181,563, and $175,426 respectively.

     The estimated future amortization expenses related to intangible asset as of December 3 1 , 2009 are as follows:

                       2010                                                                                   $181,563
                       2011                                                                                    181,563
                       2012                                                                                    181,563
                       2013                                                                                      5,857
                       2014                                                                                      5,857
                       Thereafter                                                                             $207,840

  Long-Lived Assets
       Effective January 1 , 2002, the Company adopted the Property, Plant and Equipment Topic of the FASB Accounting Standard
Codification (“ASC 360”), which addresses financial accounting and reporting for the impairment or disposal of long-lived assets and
supersedes SFAS No. 121, “Accounting for the Impainnent of Long-Lived Assets and for Long-Lived Assets to be Disposed Of,” and the
accounting and reporting provisions of Accounting Principles Board Opinion No. 30, “Reporting the Results of Operations fora Disposal of
a Segment of a Business.” The Company periodically evaluates the canying value of long-lived assets to be held and used in accordance
with ASC 360, which requires impairment losses to be recorded on long-lived assets used in operations when indicators of impainnent are
present and the undiscounted cash flows estimated to be generated by those assets are less than the assets canying amounts. In that event, a
loss is recognized based on the amount by which the carrying amount exceeds the fair market value of the long-lived assets. Loss on long-
lived assets to be disposed of is determined in a similar manner, except that fair market values are reduced for the cost of disposal. Based on
its review, the Company believes that, as of December 3 1 , 2009 and 2008, there were no impainnents of its long-lived assets.

  Revenue Recognition
      The Company’s revenue recognition policies are in compliance with the Revenue Recognition Topic of the FASB Accounting
Standards Codification (“ASC 605”). Sales revenue is recognized at the date of shipment to customers when a formal arrangement exists, the
price is fixed or determinable, the delivery is completed, no other significant obligations of the Company exist and collectibility is
reasonably assured.

     Payments received before all of the relevant criteria for revenue recognition are satisfied are recorded as unearned revenue.

     The Company has distributor arrangements with certain parties for sale of its pharmaceutical products. The distributor agreements do
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not provide chargeback, price protection, or stock rotation rights. Accordingly, revenue is recognized when products are delivered to and
received by the distributors.
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      If the products sold have quality issues, the Company is responsible because of the product warranty included in each sale. However,
the customers cannot return merchandise without permission of the Company. The return is recorded on the date the return is authorized. A
quality warranty reserve provision has been made for the anticipated cost to replace items. The quality reserve accruals in amount of
$705,681 and $ 289,729 as of December 3 1, 2009 and 2008, respectively, were included in the Accrued expenses and other payables on the
consolidated balance sheets.

     Revenues are recorded net of value-added taxes.

   Prepaid Expenses
     Advertising expenses consist primarily of costs of promotion for corporate image and product marketing and costs of direct
advertising. The Company records payments made to advertising companies for the purpose of reserving prime-time advertising space as
prepaid expenses in the consolidated balance sheet. The Company expenses the prepaid advertising amount when the advertisement is
published or aired. All other advertising costs are expensed as incurred.

     Also, included in prepaid expenses is GMP authentication, which is being amortized during the period of the certificate of
authen tication.

   Research and development costs
     Research and development costs arc incurred in the development of the new products and processes, including significant
improvements and refinements to existing products. All research and development costs are expensed as incurred.

   Income Taxes
      The Company utilizes SFAS No. 1 09, “Accounting for Income Taxes,” which requires the recognition of deferred tax assets and
liabilities for the expected future tax consequences of events that have been included in the financial statements or tax returns. Under this
method, deferred income taxes are recognized for the tax consequences in future years of differences between the tax bases of assets and
liabilities and their financial reporting amounts at each period end based on enacted tax laws and statutory tax rates applicable to the
periods in which the differences are expected to affect taxable income. Valuation allowances are established, when necessary, to reduce
deferred tax assets to the amount expected to be realized. There are no differences between the Company’s tax bases of assets and liabilities
and their financial reporting amounts, and therefore, there are no deferred tax assets or deferred tax liabilities.

      The Company is entitled to exemption from PRC income tax between 2008 and 20 1 2. According to tax preferential policy of Yunnan
Diqing Tibet Autonomous State and approval of governmental tax agency, after approval of document by the tax bureau of the People’s
Government Office of Yunnan Diqing Autonomous State, the tax bureau of the Yunnan Diqing Tibet Autonomous State agreed to exempt
the Company from income tax for 5 years between 2008 and 2012. The dollar effect of this tax holiday is $2,311,245 and $1,483,371 forthe
year 2009 and 2008, respectively. The per share effect is $0.20 per share for 2009 and $0,1 3 per share for 2008.

      In July 2006, the FASB issued Interpretation No. 48 (FIN 48), “Accounting for uncertainty in Income Taxes.” FIN 48 clarifies the
accounting for Income Taxes by prescribing the minimum recognition threshold a tax position is required to meet before being recognized
in the financial statements. It also provides guidance on de-recognition, measurement, classification, interest and penalties, accounting in
interim periods, disclosure and transition and clearly scopes income taxes out of SFAS 5, “Accounting for Contingencies.” FIN 48 is
effective for fiscal years beginning after December 15, 2006. As a result of implementing FIN 48, there have been no adjustments to the
Company’s financial statements. SFAS No. 109 and FIN 48 were superseded by the Income Taxes Topic of the FASB Accounting Standards
Codification (“ ASC 740”) in September 2009. However, this portion of the codification has no application to the Company until 2010 as
stated above.

  Statement of Cash Flows
      In accordance with the Statement of Cash Flows Topic of the FASB Accounting Standards Codification (“ASC 230”), cash flows from
the Company’s operations are based upon the local currencies. As a result, amounts related to assets and liabilities reported on the statement
of cash flows will not necessarily agree with changes in the corresponding balances on the balance sheet.

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   Concentration of Credit Risk
      Financial instruments that potentially subject the Company to concentrations of credit risk are cash, accounts receivable and other
receivables arising from its normal business activities. The Company places its cash in what it believes to be credit-worthy financial
institutions. The Company has a diversified customer base, most of which are in China. The Company controls credit risk related to
accounts receivable through credit approvals, credit limits and monitoring procedures. The Company routinely assesses the financial
strength of its customers and, based upon factors surrounding the credit risk, establishes an allowance, if required, foruncollectible accounts
and, as a consequence, believes that its accounts receivable credit risk exposure beyond such allowance is limited. As of December 3 1 ,
2009, there was no allowance foruncollectible accounts as previously discussed.

   Recent Accounting Pronouncements
      In April 2009, the Financial Accounting Standards Board (“FASB”) issued the following new accounting standards:
       •   FASB Staff Position FAS No. 1 57-4, Determining Whether a Market Is Not Active and a Transaction Is Not Distressed, (“FSP FAS
           No. 157-4”) provides guidelines for making fair value measurements more consistent with the principles presented in SFAS
           No. 157. FSP FAS No. 1 57-4 provides additional authoritative guidance in determining whether a market is active or inactive and
           whether a transaction is distressed. It is applicable to all assets and liabilities (i.c., financial and non -financial) and will require
           enhanced disclosures. FSP FAS No. 157-4 was superseded by the Fair Value Measurements and Disclosures Topic of the FASB
           Accounting Standards Codification (“ASC 820”).

      In May 2009, the FASB issued SFAS No. 1 65, “Subsequent Events”, which is included in ASC Topic 855, Subsequent Events. ASC
Topic 855 established principles and requirements for evaluating and reporting subsequent events and distinguishes which subsequent
events should be recognized in the financial statements versus which subsequent events should be disclosed in the financial statements.
ASC Topic 855 also required disclosure of the date through which subsequent events are evaluated by management. ASC Topic 855 was
effective for interim periods ending after June 15, 2009 and applies prospectively. Because ASC Topic 855 impacted the disclosure
requirements, and not the accounting treatment for subsequent events, the adoption of ASC Topic 855 did not impact our results of
operations or financial condition.

      Effective July 1 , 2009, the Company adopted the Financial Accounting Standards Board (“FASB”) Accounting Standards
Codification (“ASC”) 105-10, Generally Accepted Accounting Principles - Overall (“ASC 105-10”). ASC 105-10 establishes the FASB
Accounting Standards Codification (the “Codification”) as the source of authoritative accounting principles recognized by the FASB to be
applied by nongovernmental entities in the preparation of financial statements in conformity with U.S. GAAP. Rules and inteipretive
releases of the SEC under authority of federal securities laws are also sources of authoritative U.S. GAAP for SEC registrants. All guidance
contained in the Codification carries an equal level of authority. The Codification superseded all existing non-SEC accounting and
reporting standards. All other non-grandfathered, non-SEC accounting literature not included in the Codification is non-authoritative. The
FASB will not issue new standards in the form of Statements, FASB Staff Positions or Emerging Issues Task Force Abstracts. Instead, it will
issue Accounting Standards Updates (“ASUs”).
     The FASB will not consider ASUs as authoritative in their own right. ASUs will serve only to update the Codification, provide
background infonnation about the guidance and provide the bases for conclusions on the change(s) in the Codification. References made to
FASB guidance throughout this document have been updated for the Codification.

       In August 2009, the FASB issued ASU No. 2009-05, Measuring Liabilities at Fair Value, which provides additional guidance on how
companies should measure liabilities at fair value under ASC 820. The ASU clarifies that the quoted price for an identical liability should be
used. However, if such infonnation is not available, an entity may use, the quoted price of an identical liability when traded as an asset,
quoted prices for similar liabilities or similar liabilities traded as assets, or another valuation technique (such as the market or income
approach). The ASU also indicates that the fair value of a liability is not adjusted to reflect the impact of contractual restrictions that prevent
its transfer and indicates circumstances in which quoted prices for an identical liability or quoted price for an identical liability traded as an
asset may be considered level 1 fair value measurements. This ASU is effective October 1, 2009. There was no material impact upon the
adoption of this standard on the Company’s consolidated financial statements.

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      In December 2009, the FASB issued Accounting Standards Update, or ASU, 2009-1 7, “Consolidations (Topic 810) — Improvements to
Financial Reporting by Enterprises Involved with Variable Interest Entities,” or ASU 2009-1 7, which amends the FASB ASC for the issuance
of FASB Statement No. 1 67, Amendments to FASB Interpretation No. 46(R), issued by the FASB in June 2009. The amendments in this ASU
replace the quantitative-based risks and rewards calculation for determining which reporting entity, if any, has a controlling financial
interest in a variable interest entity with an approach primarily focused on identifying which reporting entity has the power to direct the
activities of a variable interest entity that most significantly impact the entity’s economic performance and (1) the obligation to absorb the
losses of the entity or (2) the right to receive the benefits from the entity. ASU 2009-17 also requires additional disclosure about a reporting
entity’s involvement in VIE, as well as any significant changes in risk exposure due to that involvement. ASU 2009-1 7 is effective for
annual and interim periods beginning after November 15, 2009. Early application is not permitted. Please refer to “Principle of
Consolidation” in the footnote 2 to the Financial Statements.

Note 3 - INDEBTEDNESS
      Long-term debts were as follows:

                                                                                                               December 31,
                                                                                                        2009                  2008
                  Secured long-term loans                                                           $3,582,116         $3,569,132

      The interest expense was $ 1 80,568 and $ 1 74,466 for the years ended December 3 1 , 2009 and 2008, respectively.

      The secured long-term bank loans are secured by a pledge of certain of the Company’s machinery equipment and buildings.

      As of December 3 1 , 2009 and December 3 1, 2008, the secured long-term loans consisted of 2 bank loans. Both are due in November
201 1 with annual interest rate of 5.05%

Note 4 - COMPENSATED ABSENCES
      Regulation 45 of the local labor law of the People’s Republic of China (“PRC”) entitles employees to annual vacation leave after one
year of service. In general, all leave must be utilized annually, with proper notification. Any unutilized leave is cancelled.

Note 5 - TRADE DEPOSITS PAID IN ADVANCE
    The Company advances to certain vendors for the purchase of materials. As of December 3 1 , 2009 and 2008, the advances to suppliers
amounted to $98,888 and $ 1 1 ,939, respectively.

Note 6 - RELATED PARTY TRANSACTIONS
      Parties are considered to be related if one party has the ability, directly or indirectly, to control the other party or exercise significant
influence over the other party in making financial and operational decisions. Parties are also considered to be related if they are subject to
common control or common significant influence. The Revenue derived from related party transactions for the years ended December 3 1 ,
2009 and 2008 were $5,301,094, and $ 4,313,685, respectively. As of December 3 1, 2009 and December 31, 2008, the balance of accounts
receivable from related party were $ 342,000 and $1,277,550. As of December 3 1 , 2009 and December 3 1 , 2008, the balance of due from
shareholders was $1,550,085 and $1,357,721, respectively. Such amount is non-interest bearing and due upon demand.

Note 7 - STATUTORY RESERVE
       In accordance with the laws and regulations of the PRC, a wholly-owned Foreign Invested Enterprises income, after the payment of the
PRC income taxes, shall be allocated to the statutoiy surplus reserves and statutory public welfare fund. Prior to Januaty l, 2006 the
proportion of allocation for reserve was 1 0 percent of the profit aftertax to the surplus reserve fund and additional 5-1 0 percent to the public
affair fund. The public welfare fund reserve was limited to 50 percent of the registered capital. Effective January 1, 2006, there is now only
one fund requirement. The reserve is 10 percent of income after tax, not to exceed 50 percent of registered capital.

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      Statutory Reserve funds are restricted for set off against losses, expansion of production and operation or increase in register capital of
the respective company. Statutory public welfare fund is restricted to the capital expenditures for the collective welfare of employees. These
reserves are not transferable to the Company in the form of cash dividends, loans or advances. These reserves are therefore not available for
distribution except in liquidation. As of December 3 1, 2009 and 2008, the Company had allocated $2,811,323 and $1,415,563,
respectively, to these non-distributable reserve funds.

Note 8 - OTHER COMPREHENSIVE INCOME
     Balances of related after-tax components comprising accumulated other comprehensive income, included in stockholders’ equity, as
of December 3 1 , 2009 and 2008, are as follows:
                                                                                Foreign Currency                      Accumulated Other
                                                                             Translation Adjustment               Comprehensive Income
                 Balance at December 3 1 , 2007
                 Change for 2008                                                         651,895                                  651,895
                 Balance at December 3 1 , 2008                              $           651,895                  $               651,895
                 Change for 2009                                                          42,693                                   42,693
                 Balance at December 31, 2009                                $           694,588                  $               694,588

Note 9 - MAJOR CUSTOMERS AND CREDIT RISK
     Details of customers accounting for 1 0% or more of total net sales of the Company are as follows:
                                                                                                                 December 3 1 ,
                                                                                                      2009                               2008
     Kunming Shangri-La
     Medicine Co., Ltd (related party)                                                    $5,301,094            23.0%       $4,313,685          27.7%
     Hangzhou Hesheng
     Medicine Co., Ltd                                                                    $2,907,817            12.6%       $1,583,471          10.2%
     Total                                                                                $8,208,911            35.6%       $5,897,156          37.9%

Note 1 0 - SEGMENT REPORTING
    The Company operates and manages its business as a single segment that includes primarily the development, manufacture and sale of
modernized traditional Chinese medicine. The Company’s chief operating decision maker has been identified as Mr. Guo, the Chief
Executive Officer, who reviews the consolidated results when making decisions about allocating resources and assessing performance of the
Company.

     The revenues attributable to our product groups are as follows:
                                                                                                                December 31.
                                                                                                         2009                     2008
                 25 Ingredients Mandrake Pill                                                     $11,185,718             $ 7,789,246
                 1 5 Ingredients Gentiana Pill                                                    $ 4,941,706             $ 3,120,079
                 1 8 Ingredients Chebulic ( Myrobalan) Frusemide Pill                             $ 2,451,670             $ 1,567,877
                 Pomegranate Nichirin Pill                                                        $ 2,265,810             $ 1,535,484
                 28 Ingredients Pinang Pill                                                       $ 2,163,127             $ 1,567,583
                 Total                                                                            $23,008,031             $15,580,269

Note 11 - COMMON STOCK
      On December 30, 2009, the Company issued 1 50,000 shares of Company stock, valued at $ 1 57,500, to the CEO, Mr. Taylor Guo, for
services rendered to the Company.
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Note 12 - EARNINGS PER SHARE
     The following table sets forth the computation of basic and diluted earnings per share of common stock:
                                                                                                                    Year Ended December 31,
                                                                                                                   2009                   2008
Basic and diluted earnings per share:
Numerator:
Net income used in computing basic and diluted earnings per share                                            $ 9,244,978            $ 5,933,483
Net income (loss) applicable to common shareholders                                                          $ 9,244,978            S 5,933,483
Denominator:
Weighted average common shares outstanding                                                                       1 1,633,322            11,632,500
Basic and diluted earnings per share                                                                         $            0.79      $            0.51


Note 13 - SUBSEQUENT EVENT
     For the year ended December 3 1, 2009, the Company has evaluated subsequent events for potential recognition and disclosure.

      In July 201 0, the Company changed its name to Tibet Pharmaceuticals, Inc., which was disclosed in the footnote 1 to the financial
statements.

      In March 2010, a total of 3 0,000 shares of Company stock were subscribed but unpaid by three investors. Thereafter, two investors
paid their subscription fee in April 2010, and the third investor paid in June 2010, fora total of $120,000.

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  No dealer, salesperson or other person is authorized to give
any information or to represent anything not contained in this
prospectus. You must not rely on any unauthorized information
or representations. This prospectus is an offer to sell only the
shares offered hereby, but only under circumstances and in
jurisdictions where it is lawful to do so. The information
                                                                                  •
contained in this prospectus is current only as of its date.


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   Until April 14, 2011 (90 days after the commencement of this        Anderson & Strudwick,
offering), all dealers that effect transactions in these securities,
whether or not participating in this offering, may be required to
                                                                           Incorporated
deliver a prospectus. This is in addition to the dealer’s obligation
to deliver a prospectus when acting as a Placement Agent and
with respect to unsold allotments or subscriptions.




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